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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    YELLOW CORPORATION, et al.,1                                      )    Case No. 23-11069 (CTG)
                                                                      )
                              Debtors.                                )    (Jointly Administered)
                                                                      )

                              GLOBAL NOTES AND
                  STATEMENT OF LIMITATIONS, METHODOLOGY,
             AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
        OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS


       The Schedules of Assets and Liabilities (collectively, the “Schedules”) and the Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the “Schedules
and Statements”), filed by the above-captioned debtors and debtors in possession (collectively,
the Debtors), were prepared, pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
Rules”), and rule 1007-1 of the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware (the “Local Rules”), by management of
the Debtors, with the assistance of the Debtors’ advisors. The Schedules and Statements are
unaudited.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers Regarding
the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global
Notes”) are incorporated by reference in, and comprise an integral part of, all the Schedules and
Statements, and should be referred to and considered in connection with any review of the Schedules
and Statements.2

       The Schedules and Statements have been signed by Daniel L. Olivier, Chief Financial Officer
of Debtor Yellow Corporation. Daniel L. Olivier is an authorized signatory for each of the Debtors.

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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
      of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
      Park, Kansas 66211.

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      These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
      Statements. The fact that the Debtors have prepared a Global Note with respect to any of an individual Debtor’s
      Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to exclude
      the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as appropriate.
      Capitalized terms not defined herein shall have the meanings ascribed to such terms in the Declaration of Matthew
      A. Doheny, Chief Restructuring Officer of Yellow Corporation, In Support of the Debtors’ Chapter 11 Petitions and
      First Day Motions [Docket No. 14].



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In reviewing and signing the Schedules and Statements, Daniel L. Olivier relied upon the efforts,
statements, and representations of the Debtors’ other personnel and advisors. Daniel L. Olivier has
not (and could not have) personally verified the accuracy of each such statement and representation,
including, but not limited to, statements and representations concerning amounts owed to creditors,
classification of such amounts, and respective creditor addresses.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived from
their books and records that was available at the time of such preparation. Although the Debtors have
made every reasonable effort to ensure the accuracy and completeness of the Schedules and
Statements, subsequent information or discovery may result in material changes to the Schedules and
Statements. As a result, inadvertent errors or omissions may exist. For the avoidance of doubt, the
Debtors reserve all of their rights to amend and supplement the Schedules and Statements as may be
necessary or appropriate.

        The Debtors and their agents, attorneys, and advisors do not guarantee or warrant the accuracy
or completeness of the data that is provided herein and shall not be liable for any loss or injury arising
out of or caused in whole or in part by the acts, errors, or omissions, whether negligent or otherwise,
in procuring, compiling, collecting, interpreting, reporting, communicating, or delivering the
information contained herein or the Schedules and Statements. In no event shall the Debtors or their
agents, attorneys, and advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost business,
or lost profits), whether foreseeable or not and however caused, even if the Debtors or their agents,
attorneys, and advisors are advised of the possibility of such damages. The Debtors and their agents,
attorneys, and advisors expressly do not undertake any obligation to update, modify, revise, or
recategorize the information provided herein, or to notify any third party should the information be
updated, modified, revised, or recategorized, except as required by applicable law or order of the
Bankruptcy Court.

        Disclosure of information in one or more Schedules, one or more Statements, or one or more
exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be deemed to
be disclosed in the correct Schedules, Statements, exhibits, or attachments.

                            Global Notes and Overview of Methodology

1.     Description of the Cases. On August 6, 2023 (the “Petition Date”), the Debtors filed
       voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the United States
       Bankruptcy Court for the District of Delaware (the Bankruptcy Court). These chapter 11 cases
       have been consolidated for procedural purposes only and are being jointly administered
       pursuant to Bankruptcy Rule 1015(b) [Docket No. 169]. The chapter 11 cases are being jointly
       administered under Case No. 23-11069 (CTG). The Debtors are managing their businesses
       and their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the
       Bankruptcy Code. On August 16, 2023, the United States Trustee for the District of Delaware
       (the “U.S. Trustee”) appointed an official committee of unsecured creditors [Docket No. 269]
       (the “Committee”). No trustee or examiner has been appointed in these chapter 11 cases.




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2.   Global Notes Control. These Global Notes pertain to and comprise an integral part of each
     of the Debtors’ Schedules and Statements and should be referenced in connection with any
     review thereof. In the event that the Schedules and Statements differ from the Global Notes,
     the Global Notes shall control.

3.   “As Of” Information Date. To the best of the Debtors’ knowledge and except as otherwise
     noted herein, the asset information provided herein represents the asset data of the Debtors as
     of July 31, 2023, and the liability information herein represents the liability data of the Debtors
     as of August 6, 2023, the date by which the Debtors had ceased substantially all operations.
     Amounts ultimately realized may vary from net book value (or the applicable value ascribed
     herein) and such variance may be material. Accordingly, the Debtors reserve all of their rights
     to amend or adjust the value of each asset set forth herein. In addition, the amounts showing
     for total liabilities exclude items identified as “unknown,” “disputed,” “contingent,” or
     “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in the
     Schedules and Statements.

4.   Reservations and Limitations. Reasonable efforts have been made to prepare and file
     complete and accurate Schedules and Statements; however, as noted above, inadvertent errors
     or omissions may exist. The Debtors reserve all rights to amend and supplement the Schedules
     and Statements as may be necessary or appropriate. Nothing contained in the Schedules and
     Statements constitutes a waiver of any of the Debtors’ rights or an admission of any kind with
     respect to these chapter 11 cases, including, but not limited to, any rights or claims of the
     Debtors against any third party or issues involving substantive consolidation, equitable
     subordination, or defenses or causes of action arising under the provisions of chapter 5 of the
     Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws to
     recover assets or avoid transfers. Any specific reservation of rights contained elsewhere in
     the Global Notes does not limit in any respect the general reservation of rights contained in
     this paragraph.

     1.     No Admission. Nothing contained in the Schedules and Statements is intended as, or
            should be construed as, an admission or stipulation of the validity of any claim against
            the Debtors, any assertion made therein or herein, or a waiver of the Debtors’ rights to
            dispute any claim or assert any cause of action or defense against any party.

     2.     Recharacterization. Notwithstanding that the Debtors have made reasonable efforts
            to correctly characterize, classify, categorize, and designate the claims, assets,
            executory contracts, unexpired leases, and other items reported in the Schedules and
            Statements, the Debtors nonetheless may have improperly characterized, classified,
            categorized, designated or omitted certain items due to the complexity and size of the
            Debtors’ businesses. Accordingly, the Debtors reserve all rights to recharacterize,
            reclassify, recategorize, or redesignate items reported in the Schedules and Statements
            at a later time as necessary or appropriate, including, without limitation, whether
            contracts or leases listed herein were deemed executory or unexpired as of the Petition
            Date and remain executory and unexpired postpetition.

     3.     Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
            Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as


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     “executory” or “unexpired” does not constitute an admission by the Debtors of the
     legal rights of the claimant or contract counterparty or a waiver of the Debtors’ rights
     to recharacterize or reclassify such claim or contract.

4.   Claims Description. Any failure to designate a claim in the Schedules and Statements
     as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
     Debtors that such claim or amount is not “contingent,” “unliquidated,” or “disputed.”
     The Debtors reserve all of their rights to dispute, or to assert offsets or defenses to, any
     claim reflected on their Schedules or Statements on any grounds, including, but not
     limited to, amount, liability, priority, status, or classification, or to otherwise
     subsequently designate any claim as “contingent,” “unliquidated,” or “disputed.”
     Moreover, the Debtors reserve all of their rights to amend their Schedules and
     Statements as necessary and appropriate, including but not limited to, with respect to
     claim descriptions and designations. Listing a claim does not constitute an admission
     of liability by the Debtor against whom the claim is listed or by any of the other
     Debtors.

5.   Estimates and Assumptions. To prepare and file the Schedules and Statements in
     accordance with the deadline ordered by the Bankruptcy Court in these chapter 11
     cases, management was required to make reasonable estimates and assumptions that
     affected the reported amounts of these assets and liabilities. The Debtors reserve all
     rights to amend the reported amounts of assets and liabilities to reflect changes in those
     estimates or assumptions.

6.   Causes of Action. Despite their reasonable efforts to identify all known assets, the
     Debtors may not have listed all of their causes of action or potential causes of action
     against third parties as assets in their Schedules and Statements, including, without
     limitation, avoidance actions arising under chapter 5 of the Bankruptcy Code and
     actions under other relevant bankruptcy and non-bankruptcy laws to recover assets.
     The Debtors reserve all of their rights with respect to any cause of action (including
     avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
     recoupment, and any claim on contracts or for breaches of duties imposed by law or
     in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability,
     damage, judgment, account, defense, power, privilege, license, and franchise of any
     kind or character whatsoever, known, unknown, fixed or contingent, matured or
     unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
     undisputed, secured or unsecured, assertable directly or derivatively, whether arising
     before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
     pursuant to any other theory of law (collectively, “Causes of Action”) they may have,
     and neither these Global Notes nor the Schedules and Statements shall be deemed a
     waiver of any claims or Causes of Action or in any way prejudice or impair the
     assertion of such claims or Causes of Action.

7.   Intellectual Property Rights. Exclusion of certain intellectual property shall not be
     construed to be an admission that such intellectual property rights have been
     abandoned, have been terminated, or otherwise have expired by their terms, or have
     been assigned or otherwise transferred pursuant to a sale, acquisition, or other


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           transaction. Conversely, inclusion of certain intellectual property shall not be
           construed to be an admission that such intellectual property rights have not been
           abandoned, have not been terminated, or otherwise have not expired by their terms, or
           have not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
           transaction. The Debtors have made every effort to attribute intellectual property to
           the rightful Debtor owner, however, in some instances, intellectual property owned by
           one Debtor may, in fact, be owned by another. Accordingly, the Debtors reserve all
           of their rights with respect to the legal status of any and all intellectual property rights.

     8.    Insiders. In the circumstance where the Schedules and Statements require information
           regarding “insiders,” the Debtors have included information with respect to the
           individuals and entities whom the Debtors believe would be included in the definition
           of “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
           time periods. Such individuals may no longer serve in such capacities.

           The listing or omission of a party as an insider for purposes of the Schedules and
           Statements is not intended to be, nor should it be, construed as an admission of any
           fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
           expressly reserved. Parties listed as “insiders” have been included for informational
           purposes only, and such information may not be used for: (i) the purposes of
           determining (a) control of the Debtors; (b) the extent of which any party exercised
           management responsibilities or functions; (c) corporate decision making authority
           over the Debtors; or (d) whether the Debtors or any such insider could successfully
           argue that such party is not an “insider” under applicable law, including the
           Bankruptcy Code and federal securities laws, or with respect to any theories of
           liability; or (e) for any other purpose.

5.   Methodology.

     1.    Basis of Presentation. Information contained in the Schedules and Statements has
           been derived from the Debtors’ books and records and historical financial statements.
           For financial reporting purposes, prior to the Petition Date, the Debtors and their
           non-Debtor affiliate ordinarily prepared consolidated financial statements. These
           Schedules and Statements do not purport to represent financial statements prepared in
           accordance with GAAP or any other generally accepted accounting principles of
           foreign jurisdictions, as applicable, nor are they intended to fully reconcile to the
           financial statements prepared by the Debtors. Unlike the consolidated financial
           statements, the Schedules and Statements reflect the assets and liabilities of each
           separate Debtor, except where otherwise indicated. Accordingly, the totals listed in
           the Schedules will likely differ, at times materially, from the consolidated financial
           reports prepared by the Debtors for financial reporting purposes or otherwise.

           Additionally, the Schedules and Statements contain unaudited information that is
           subject to further review and potential adjustment and reflect the Debtors’
           commercially reasonable efforts to report the assets and liabilities of each Debtor on
           an unconsolidated basis. Moreover, given, among other things, the uncertainty
           surrounding the collection and ownership of certain assets and the valuation and nature


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     of certain liabilities, to the extent that a Debtor shows more assets than liabilities, this
     is not an admission that the Debtor was solvent as of the Petition Date or at any time
     prior to the Petition Date. Likewise, to the extent a Debtor shows more liabilities than
     assets, this is not an admission that the Debtor was insolvent at the Petition Date or
     any time prior to the Petition Date.

2.   Confidential or Sensitive Information. There may be instances in which the Debtors
     deemed it necessary and appropriate to redact certain information due to the nature of
     an agreement between a Debtor and a third party, concerns about the confidential or
     commercially sensitive nature of certain information, or concerns for the privacy of an
     individual. The alterations are limited to only what is necessary to protect the Debtor
     or third party and are consistent with the relief granted under the Creditor Matrix
     Order.

3.   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments may
     properly be disclosed in multiple parts of the Statements and Schedules. To the extent
     these disclosures would be duplicative, the Debtors have determined to only list such
     assets, liabilities, and prepetition payments once.

4.   Umbrella or Master Agreements. Contracts and leases listed in the Schedules and
     Statements may be umbrella or master agreements that cover relationships with some
     or all of the Debtors. Where relevant, such agreements have been listed in the
     Schedules and Statements only of the Debtor that signed the original umbrella or
     master agreement. Other Debtors, however, may be liable together with such Debtor
     on account of such agreements and the Debtors reserve all rights to amend the
     Schedules and Statements to reflect changes regarding the liability of the Debtors with
     respect to such agreements, if appropriate. Additionally, by listing an umbrella or
     master agreement in these Schedules and Statements, the Debtors make no
     representation as to the severability of such agreements and their related contracts and
     leases, including any subleases, and the Debtors reserve any and all rights with respect
     to any arguments or claims it may have in regard to the severability of such
     agreements.

5.   Executory Contracts. Although the Debtors made diligent efforts to attribute an
     executory contract to its rightful Debtor, in certain instances, the Debtors may have
     inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights with
     respect to the named parties of any and all executory contracts, including the right to
     amend Schedule G.

     The contracts, agreements, and leases listed on Schedule G may have expired or may
     have been modified, amended, or supplemented from time to time by various
     amendments, restatements, waivers, estoppel certificates, letters, memoranda, and
     other documents, instruments, and agreements that may not be listed therein despite
     the Debtors’ use of diligent efforts to identify such documents. In addition, although
     the Debtors have made diligent attempts to properly identify executory contracts and
     unexpired leases, the inclusion of a contract or lease on Schedule G does not constitute
     an admission as to the executory or unexpired nature (or non-executory or expired


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     nature) of the contract or lease, or an admission as to the existence or validity of any
     claims held by any counterparty to such contract or lease.

6.   Unexpired Leases. The Debtors have not included in the Schedules and Statements
     the future obligations of any capital or operating leases. To the extent that there was
     an amount outstanding as of the Petition Date, the creditor has been included on
     Schedule E/F.

7.   Valuation. It would be prohibitively expensive, unduly burdensome, and an
     inefficient use of estate assets for the Debtors to obtain current market valuations of
     all of their assets. Accordingly, unless otherwise indicated, net book values of the
     Debtors’ assets as of July 31, 2023, are reflected on the Schedules and Statements.
     Exceptions to this include operating cash and certain other assets. Operating cash is
     presented at bank balance as of August 6, 2023. Certain other assets, such as
     investments in the non-Debtor affiliates and other intangible assets, are listed at
     undetermined amounts, as the net book values may differ materially from fair market
     values. Amounts ultimately realized may vary from net book value (or whatever value
     was ascribed) and such variance may be material. Accordingly, the Debtors reserve
     all of their rights to amend or adjust the value of each asset set forth herein. In addition,
     the amounts shown for total liabilities exclude items identified as “unknown” or
     “undetermined,” and, thus, ultimate liabilities may differ materially from those stated
     in the Schedules and Statements. Also, assets that have been fully depreciated or that
     were expensed for accounting purposes either do not appear in these Schedules and
     Statements or are listed with a zero-dollar value, as such assets have no net book value.
     The omission of an asset from the Schedules and Statements does not constitute a
     representation regarding the ownership of such asset, and any such omission does not
     constitute a waiver of any rights of the Debtors with respect to such asset. Given,
     among other things, the current market valuation of certain assets and the valuation
     and nature of certain liabilities, nothing in the Debtors’ Schedules and Statements shall
     be, or shall be deemed to be an admission that any Debtor was solvent or insolvent as
     of the Petition Date.

8.   Property and Equipment. Unless otherwise indicated, owned property and
     equipment are stated at net book value. The Debtors may lease furniture, fixtures, and
     equipment from certain third-party lessors. Any such leases are set forth in the
     Schedules and Statements. Nothing in the Schedules and Statements is or shall be
     construed as an admission as to the determination as to the legal status of any lease,
     including whether any lease is a true lease or a financing arrangement, and the Debtors
     reserve all of their rights with respect thereto.

9.   Contingent Assets. The Debtors believe that they may possess certain claims and
     causes of action against various parties. Additionally, the Debtors may possess
     contingent claims in the form of various avoidance actions they could commence
     under the provisions of chapter 5 of the Bankruptcy Code and other relevant
     non-bankruptcy laws. The Debtors are continuing to review potential causes of action,
     and accordingly, despite reasonable efforts, may not have set forth all of their causes
     of action against third parties as assets in their Schedules and Statements. The Debtors


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      reserve all of their rights with respect to any claims, causes of action, or avoidance
      actions they may have and nothing contained in these Global Notes or the Schedules
      and Statements shall be deemed a waiver of any such claims, avoidance actions, or
      causes of action or in any way prejudice or impair the assertion of such claims.

10.   Undetermined Amounts. Claim amounts that could not be quantified by the Debtors
      are scheduled as “Undetermined”. The description of an amount as “Undetermined”
      is not intended to reflect upon the materiality of such amount.

11.   Totals. All totals that are included in the Schedules and Statements represent totals of
      all the known amounts included in the Schedules and Statements. To the extent there
      are undetermined amounts, the actual total may be different than the listed total. The
      description of an amount as “undetermined” is not intended to reflect upon the
      materiality of such amount. To the extent a Debtor is a guarantor of debt held by
      another Debtor, the amounts reflected in these Schedules and Statements are inclusive
      of each Debtor’s guarantor obligations.

12.   Allocation of Liabilities. The Debtors have sought to allocate liabilities between the
      prepetition and postpetition periods based on the information and research that was
      conducted in connection with the preparation of the Schedules and Statements. As
      additional information becomes available and further research is conducted, the
      allocation of liabilities between prepetition and postpetition periods may change. The
      Debtors reserve the right to amend the Schedules and Statements as they deem
      appropriate in this regard.

      The liabilities listed on the Schedules do not reflect any analysis of claims under
      section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of
      their rights to dispute or challenge the validity of any asserted claims under
      section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of
      any such transaction or any document or instrument related to any creditor’s claim.

13.   Paid Claims. Pursuant to certain orders of the Bankruptcy Court entered in these
      chapter 11 cases (collectively, the “First Day Orders”), the Debtors were authorized to
      pay, among other things, certain prepetition claims of employees, lien claimants,
      foreign claimants, critical vendors, claimants under section 503(b)(9) of the
      Bankruptcy Code, and taxing authorities. Accordingly, these liabilities may have been
      or may be satisfied in accordance with such First Day Orders. Regardless of whether
      such claims are listed in the Schedules and Statements, to the extent such claims are
      paid pursuant to an order of the Bankruptcy Court (including the First Day Orders),
      the Debtors reserve all rights to amend, supplement, or otherwise modify the
      Schedules and Statements.

14.   Other Paid Claims. To the extent the Debtors have reached any postpetition
      settlement with a vendor or other creditor, the terms of such settlement will prevail,
      supersede amounts listed in the Debtors’ Schedules and Statements, and shall be
      enforceable by all parties, subject to any necessary Bankruptcy Court approval. To
      the extent the Debtors pay any of the claims listed in the Schedules and Statements


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      pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights
      to amend, supplement, or otherwise modify the Schedules and Statements and take
      such other actions, including the filing of claims objections, as is necessary and
      appropriate to avoid overpayment or duplicate payment for such liabilities.

15.   Credits and Adjustments. The claims of individual creditors for, among other things,
      goods, products, services, or taxes are listed at the amounts entered on the Debtors’
      books and records and may not reflect credits, allowances, or other adjustments due
      from such creditors to the Debtors. The Debtors reserve all of their rights with regard
      to such credits, allowances, and other adjustments, including the right to assert claims
      objections and/or setoffs with respect to the same.

16.   Intercompany Claims. Receivables and payables among and between Debtors and
      (i) other Debtors and (ii) the non-Debtor affiliates are reported on Statement 4,
      Schedule A/B-77, and Schedule E/F, respectively, per the Debtors’ books and records
      as of July 31, 2023. The listing of any amounts with respect to such receivables and
      payables is not, and should not be construed as, an admission of the characterization
      of such balances as debt, equity, or otherwise or an admission as to the validity of such
      receivables and payables. For the avoidance of doubt, the Debtors reserve all rights,
      claims, and defenses in connection with any and all intercompany receivables and
      payables, including, but not limited to, with respect to the characterization of
      intercompany claims, loans, and notes. Without limiting the generality of the
      foregoing, certain intercompany receivables and payables among and between the
      Debtors have been consolidated and netted in the Debtors' books and records. Such
      treatment is not, and should not be construed as, an admission of the amount and/or
      validity of any such intercompany receivables and payables or the validity of any
      netting or offset per the Debtors’ books and records. The Debtors take no position in
      these Schedules and Statements as to whether any such amounts would be allowed as
      a claim or an interest, or not all allowed at all. The listing of these amounts is not
      necessarily indicative of the ultimate recovery, if any, on any intercompany asset
      account or the impairment or claim status of any intercompany liability account. The
      Debtors reserve all rights to later change the amounts, characterization, classification,
      categorization or designation of intercompany accounts reported in the Schedules and
      Statements.

      Prior to the Petition Date, the Debtors routinely engaged in intercompany transactions
      (collectively, “Intercompany Transactions”) resulting in intercompany payables and
      receivables (the “Intercompany Claims”).            Pursuant to the Interim Order
      (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management
      Systems, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
      Existing Business Forms, and (D) Perform Intercompany Transactions and
      (II) Granting Related Relief [Docket No. 178] (the “Interim Cash Management
      Order”), the Debtors received the authority to continue to collect, concentrate and
      disburse cash in accordance with the Cash Management System (as defined in the
      Interim Cash Management Order), including Intercompany Transactions between
      Debtors and other Debtors or non-Debtor affiliates. To the extent that an



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       Intercompany Claim has been satisfied pursuant to the Interim Cash Management
       Order, such Intercompany Claim is excluded from Schedule AB and Schedule E/F.

       In addition, certain of the Debtors act on behalf of other Debtors. Reasonable efforts
       have been made to indicate the ultimate beneficiary of a payment or obligation.
       Whether a particular payment or obligation was incurred by the entity actually making
       the payment or incurring the obligation is a complex question of applicable non-
       bankruptcy law, and nothing herein constitutes an admission that any Debtor entity is
       an obligor with respect to any such payment. The Debtors reserve all rights to
       reclassify any payment or obligation as attributable to another entity and all rights with
       respect to the proper accounting and treatment of such payments and liabilities.

17.    Guarantees and Other Secondary Liability Claims. The Debtors have exercised
       reasonable efforts to locate and identify guarantees and other secondary liability
       claims (collectively, the “Guarantees”) in their executory contracts, unexpired leases,
       secured financings, debt instruments, and other such agreements. Where such
       Guarantees have been identified, they have been included on Schedule H for the
       affected Debtor or Debtors. However, certain Guarantees embedded in the Debtors’
       executory contracts, unexpired leases, secured financings, debt instruments, and other
       such agreements may have been inadvertently omitted. The Debtors reserve all of
       their rights to amend, supplement, and otherwise modify the Schedules to the extent
       that additional Guarantees are identified.

18.    Claims of Third-Party Related Entities. While the Debtors have made every effort
       to properly classify each claim listed in the Schedules as being either disputed or
       undisputed, liquidated or unliquidated, and contingent or noncontingent, the Debtors
       have not been able to fully reconcile all payments made to certain third parties and
       their related entities on account of the Debtors’ obligations thereto. Therefore, to the
       extent that the Debtors have classified their estimate of claims of a creditor as disputed,
       all claims of such creditor’s affiliates listed in the Schedules and Statements shall
       similarly be considered as disputed, whether or not they are designated as such.

19.    Excluded Assets and Liabilities. The Debtors have excluded certain categories of
       assets, tax accruals, and liabilities from the Schedules and Statements, including
       without limitation, accrued salaries, employee benefit accruals and accrued accounts
       payable. The Debtors have also excluded potential rejection damage claims of
       counterparties to executory contracts and unexpired leases that may be rejected (if
       any), to the extent such damage claims exist. In addition, the Debtors may have
       excluded amounts for which the Debtors have been granted authority to pay pursuant
       to the First Day Orders or other order that may be entered by the Bankruptcy Court.
       Certain immaterial assets and liabilities may have been excluded.

20.    Liens. The inventories, property, and equipment listed in the Statements and
       Schedules are presented without consideration of any asserted mechanics’,
       materialmen, shippers’, or similar liens that may attach, or have attached, to such
       inventories, property, and equipment.



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     21.    Currency. All amounts are reflected in U.S. dollars, which the Company uses as its
            reporting currency. Unless otherwise noted, the Debtors used conversion rates
            provided by WSJ Markets as of the Petition Date. One significant exception is the
            value of prepetition transfers, which were valued using the conversion rates as of the
            date of such transfer.

     22.    Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary course
            of business. Such setoffs and nettings may occur due to a variety of transactions or
            disputes, including but not limited to, intercompany transactions, counterparty
            settlements, pricing discrepancies, rebates, returns, warranties, refunds, and
            negotiations and/or other disputes between the Debtors and their customers or vendors.
            These setoffs and other similar rights are consistent with the ordinary course of
            business in the Debtors’ industry and are not tracked separately. Therefore, although
            such setoffs and other similar rights may have been accounted for when scheduling
            certain amounts, these ordinary course setoffs are not independently accounted for
            and, as such, are or may not be included separately in the Schedules and Statements.
            In addition, some amounts listed in the Schedules and Statements may have been
            affected by setoffs or nettings by third parties of which the Debtors are not aware. The
            Debtors reserve all rights to challenge any setoff and/or recoupment rights that may
            be asserted.

6.   Specific Schedules Disclosures.

            Schedule A/B-3 – Checking, savings, or other financial accounts, CDs, etc.
            Schedule A/B-3 lists closing bank balances as of August 6, 2023. The Debtors have
            excluded bank accounts with no balance.

            Schedule A/B-11 – Accounts receivable. This item excludes intercompany
            receivables and certain non-operating accounts receivables. Please see Global Notes
            regarding Intercompany Items.

            Certain AR accounts including, but not limited to, overpayments in suspense, re-rates,
            etc. are not netted against amounts listed in AB 11.

            Schedule A/B-15 – Stock and interests in incorporated and unincorporated
            businesses. See Schedule Exhibit A/B-15 for additional businesses each applicable
            Debtor was a parent of or owned a significant interest in. Ownership interests in
            subsidiaries have been listed in an undetermined amount because the fair market value
            of such ownership is dependent on numerous variables and factors and may differ
            significantly from their net book value.

            Schedules A/B, Part 10, Items 59-66 – Intangibles and intellectual property. The
            Debtors’ patents and trademarks are listed in undetermined amounts. These assets are
            also part of an ongoing marketing effort and thus are currently being valued in
            connection with possible sale transactions.

            Schedules A/B-74 and 75 – Causes of action against third parties (whether or not
            a lawsuit has been filed) and other contingent and unliquidated claims or causes


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 of action of every nature, including counterclaims of the debtors and rights to set
 off claims. The Debtors attempted to list known causes of action and other claims.
 Potential preference actions and/or fraudulent transfer action were not listed because
 the Debtors have not completed an analysis of such potential claims. The Debtors’
 failure to list any cause of action, claim, or right of any nature is not an admission that
 such cause of action, claim, or right does not exist, and should not be construed as a
 waiver of such cause of action, claim, or right.

 Executory Contracts. The Debtors have not attached such agreements on Schedule
 A/B. Instead, the Debtors have only listed such agreements on Schedule G.

 Schedule D – Creditors Who Have Claims Secured by Property. Except as
 otherwise ordered by the Bankruptcy Court, the Debtors reserve their rights to dispute
 or challenge the validity, perfection, or immunity from avoidance of any lien purported
 to be granted or perfected in any specific asset for the benefit of a secured creditor
 listed on a Debtor’s Schedule D. Moreover, although the Debtors may have scheduled
 claims of various creditors as secured claims, the Debtors reserve all rights to dispute
 or challenge the secured nature of any such creditor’s claim or the characterization of
 the structure of any such transaction or any document or instrument (including without
 limitation, any intercompany agreement) related to such creditor’s claim.

 In certain instances, a Debtor may be a co-obligor with respect to scheduled claims of
 other Debtors. No claim set forth on Schedule D of any Debtor is intended to
 acknowledge claims of creditors that are or may be otherwise satisfied or discharged.

 Schedule D does not include beneficiaries of letters of credit. Although the claims of
 these parties may be secured by a letter of credit, the Debtors’ obligations under the
 letters of credit run to the issuers thereof, and not to the beneficiaries thereof.

 The descriptions provided in Schedule D are intended only to be a summary.
 Reference to the applicable loan agreements and related documents is necessary for a
 complete description of the collateral and the nature, extent and priority of any liens.
 Nothing in these Global Notes or the Schedules and Statements shall be deemed a
 modification or interpretation of the terms of such agreements.

 Except as specifically stated herein, real property lessors, utility companies, and other
 parties which may hold security deposits have not been listed on Schedule D. The
 Debtors have not included parties that may believe their Claims are secured through
 setoff rights or inchoate statutory lien rights.

 Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
 collateral relating to the debt contained on Schedule D are contained in the Motion of
 Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
 Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens
 and Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay,
 (IV) Authorizing the Debtors to Use UST Cash Collateral, (V) Granting Adequate
 Protection, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief



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 [Docket No. 16] (the “DIP Motion”). The secured debt is jointly and severally the
 responsibility of multiple Debtors, as such the liability has been listed on each Debtor
 who is an obligor or guarantor of such debt. Only the principal amount is listed on
 Scheduled D; however, other amounts might be due to the creditors.

 In response to “Describe debtor’s property that is subject to lien”, any description of
 the creditor’s liens or their priority herein is qualified in its entirety by reference to
 the operative documents, agreements, schedules, any amendments and exhibits to the
 preceding and any documents evidencing perfection of such lien. The Debtor is
 taking no position on the extent or priority of a particular creditor’s lien in this
 document.

 The Debtors have indicated that multiple creditors have an interest in the same
 property when, among other things, inchoate statutory liens may exist with respect to
 such property. The Debtors take no position in these Schedules and Statements
 regarding the validity of any such liens or the extent or validity of a particular creditor's
 lien, including other creditors listed in Schedule D, and the Debtors reserve their rights
 to dispute or challenge the validity, perfection, or immunity from avoidance of any
 lien purported to be granted or perfected on any such property.

 Schedule E/F – Creditors Who Hold Unsecured Claims

 Part 1 – Creditors with Priority Unsecured Claims. The listing of a claim on Schedule
 E/F, Part 1, does not constitute an admission by the Debtors that such claim or any
 portion thereof is entitled to priority treatment under section 507 of the Bankruptcy
 Code. The Debtors reserve all of their rights to dispute the amount and the priority
 status of any claim on any basis at any time.

 Pursuant to the Interim Order (I) Authorizing the Payment of Certain Taxes and Fees
 and (II) Granting Related Relief [Docket No. 276] (the “Interim Taxes Order”), the
 Debtors have been granted the authority to pay certain tax liabilities that accrued
 prepetition. Accordingly, unsecured priority tax claims may have been paid or may
 be paid pursuant to the Interim Taxes Order or pursuant to further Bankruptcy Court
 order. Therefore, the Debtors have listed certain taxing authorities with an
 undetermined amount.

 Employee PTO and Vacation Scheduled Claims:

 All non-active U.S. Union employees and Union and Non-Union Canadian
 employees as of the Petition Date.: as part of its customary benefits programs, the
 Debtors allow a certain amount of accrued and unpaid vacation to carry over for Union
 employees in the U.S. and Union and non-Union employees in Canada. The basis for
 determining the dates of carryover calculations varies by benefits program. Similarly,
 PTO and vacation accruals are determined specific to individual benefits programs and
 the Debtors have used records from July 21, 2023 for purposes of calculating such
 carryover as part of the claims listed for each former Union employee in the U.S and
 Union and non-Union employee in Canada. Further, for purposes of these Schedules


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 and Statements, the Debtors have listed all remaining, accrued and unpaid Non-Union
 PTO in the U.S. and Non-Union and Union vacation pay in Canada, as of the Petition
 Date, in an aggregate gross liquidated claim amount, without distinguishing between
 priority and unsecured portions for each individual employee, to the extent a
 bifurcation is applicable.

 All non-active Non-Union Employees in the U.S.: As part of its customary benefits
 programs, the Debtors allow a certain amount of accrued and unpaid PTO to carry over
 in accordance with the terms of each program. In addition, each employee is entitled
 to PTO during the current 2023 calendar year. For purposes of calculating the accruals
 for PTO earned in 2023 for non-Union employees in the U.S. , the Debtors multiplied
 the individual employee’s total vacation accrual potential for 2023 by 0.8667 to
 determine the portion of the 2023 balance that fell within the 180-day priority window
 and scheduled those amounts as a priority claim. The remainder of the 2023 balance
 for each claimant, as applicable, is scheduled as an unsecured claim, along with the
 total amount of any accrued and unused carryover days.

 All current Employees as of the Petition Date: all current U.S. and Non-U.S.
 employees, regardless of whether or not they are owed accrued and unused PTO or
 vacation pay, have had these liabilities omitted from the Schedules. As of September
 8, 2023, the Bankruptcy Court has entered the Third Interim Order (I) Authorizing the
 Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and
 Reimbursable Expenses and (B) Continue Employee Benefits Programs, and (II)
 Granting Related Relief [Docket No. 422] which, among other things, authorized the
 Debtors to pay all accrued and unused PTO or vacation pay, as applicable, to
 employees severed between August 7, 2023 – September 8, 2023. In the Wage Motion
 [Docket No. 20] currently in front of the Court, the Debtors have requested additional
 final relief to pay, non-insider, current employees all outstanding PTO or vacation, as
 applicable, as they are severed in the course of continuing the winddown of the
 Debtors’ business.

 In addition to PTO or vacation pay, certain current or former employees may be owed
 amounts by the Debtor for other liabilities. For those employees, the Debtors have
 listed these liabilities as a separate schedule entry.

 Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified on
 Schedule E/F, Part 2, are derived from the Debtors’ books and records. The Debtors
 made a reasonable attempt to set forth their unsecured obligations, although the actual
 amount of claims against the Debtors may vary from those liabilities represented on
 Schedule E/F Part 2. The listed liabilities may not reflect the correct amount of any
 unsecured creditor’s allowed claims or the correct amount of all unsecured claims.

 The Schedules generally attribute liabilities as reflected on the Debtors’ books and
 records.

 Pursuant to the First Day Orders, the Debtors received authority to pay certain
 prepetition claims. Accordingly, no undisputed, prepetition unsecured claims of


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 non-insiders that have been paid pursuant to the First Day Orders or pursuant to further
 Bankruptcy Court order have been listed on Schedule E/F, Part 2. Listing a claim or
 failure to list a claim on Schedule E/F, Part 2 that is subject to payment pursuant to the
 First Day Orders does not serve as an admission by the Debtors as to the validity of
 such claim or as to the status of payment of such claim.

 Schedule E/F, Part 2 and Statements, Part 3, Question 7, contain information regarding
 pending litigation involving the Debtors. The amounts for these potential claims are
 listed as “undetermined” and are marked as contingent, unliquidated, and disputed in
 the Schedules and Statements. For the avoidance of doubt, demand letters received
 from potential litigants that do not list a specific Debtor are listed in the Schedules for
 Debtor Yellow Corporation.

 Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties to
 executory contracts and unexpired leases. Such prepetition amounts, however, may
 be paid in connection with the assumption or assumption and assignment of an
 executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does not
 include claims that may arise in connection with the rejection of any executory
 contracts or unexpired leases, if any, that may be or have been rejected in these chapter
 11 cases.

 In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
 incurred on various dates or on a date or dates that are unknown to the Debtors or are
 subject to dispute. Where the determination of the date on which a claim arose,
 accrued, or was incurred would be unduly burdensome and costly to the Debtors’
 estates, the Debtors have not listed a specific date or dates for such claim.

 As of the time of filing of the Schedules and Statements, the Debtors may not have
 received all invoices for payables, expenses, and other liabilities that may have accrued
 prior to the Petition Date. Accordingly, the information contained on Schedules D and
 E/F may be incomplete. The Debtors reserve their rights to, but undertake no
 obligations to, amend Schedules D and E/F if and as they receive such invoices.

 Liabilities listed on Schedules E/F do not reflect any prepetition amounts paid under
 various authority granted by the Bankruptcy Court, including the First Day Orders,
 that have been issued postpetition. The Debtors expect that certain claimants may
 continue to receive payments for prepetition amounts paid under various authority
 granted by the Bankruptcy Court that would be issued postpetitition. The Debtors
 reserve all of their rights with respect to such payments, including the right to amend,
 supplement, or otherwise modify Schedule E/F, Part 2, to reflect such payments.

 Schedule E/F does not include certain deferred charges, deferred liabilities, accruals,
 or general reserves. Such amounts are, however, reflected on the Debtors’ books and
 records as required in accordance with GAAP. Such accruals are general estimates of
 liabilities and do not represent specific Claims as of the Petition Date. The Debtors
 have made every effort to include as contingent, unliquidated, or disputed the Claim




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 of any vendor not included on the Debtors’ open accounts payable that is associated
 with an account that has an accrual or receipt not invoiced.

 Schedule E/F reflects the prepetition amounts owing to counterparties to executory
 contracts and unexpired leases. Such prepetition amounts, however, may ultimately be
 paid in connection with the cure costs associated with assumption or assumption and
 assignment of an executory contract or unexpired lease.

 Schedule G – Executory Contracts and Unexpired Leases. While reasonable
 efforts have been made to ensure the accuracy of Schedule G, inadvertent errors,
 omissions, and unintended duplication or overinclusion of items may have occurred.

 Listing a contract, lease, or agreement on Schedule G does not constitute an admission
 that such contract, lease, or agreement is an executory contract or unexpired lease or
 that such contract, lease, or agreement was in effect on the Petition Date or is valid or
 enforceable. The Debtors hereby reserve all their rights, claims and Causes of Action
 with respect to the contracts, leases, or agreements on Schedule G, including the right
 to dispute the validity, status, or enforceability of, or otherwise modify any contracts,
 leases, or agreements set forth on Schedule G and to amend, supplement, or otherwise
 modify Schedule G as necessary, at any time, to remove any contracts, leases, or
 agreements.

 Certain contracts, leases, and agreements listed on Schedule G may contain renewal
 options, guarantees of payment, indemnifications, options to purchase, rights of first
 refusal, and other miscellaneous rights. Such rights, powers, duties, and obligations
 are not set forth separately on Schedule G. In addition, the Debtors may have entered
 into various other types of agreements in the ordinary course of business, such as
 supplemental agreements and letter agreements, which agreements may not be set
 forth on Schedule G. The Debtors reserve all of their rights to amend, supplement, or
 otherwise modify Schedule G to the extent that additional information regarding such
 agreements becomes available. Certain executory contracts or unexpired leases may
 not have been memorialized and could be subject to dispute. Any executory contracts
 or unexpired leases that have not been reduced to writing are not included on Schedule
 G.

 Certain of the contracts, leases, and agreements listed on Schedule G may consist of
 several parts, including, without limitation, purchase orders, amendments,
 restatements, waivers, letters, and other documents that may not be identified in
 Schedule G or that may be listed as a single entry. The Debtors expressly reserve their
 rights to determine or challenge whether such documents constitute an executory
 contract or unexpired lease, a single contract, agreement or lease, or multiple,
 severable or separate contracts, agreements or leases.

 The contracts, leases, and agreements identified in Schedule G may have expired or
 may have been modified, amended, or supplemented from time to time by various
 amendments, restatements, waivers, estoppel certificates, letters, memoranda, and




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 other documents, instruments, and agreements that may not be listed therein despite
 the Debtors’ use of reasonable efforts to identify such documents.

 Unless otherwise specified in Schedule G, each executory contract or unexpired lease
 identified therein shall include all exhibits, schedules, riders, modifications,
 declarations, amendments, supplements, attachments, restatements, or other
 agreements made directly or indirectly by any agreement, instrument, or other
 document that in any manner affects such executory contract or unexpired lease,
 without respect to whether such agreement, instrument, or other document is listed
 therein. In some cases, the same supplier or provider may appear multiple times in
 Schedule G. Multiple listings, if any, reflect distinct agreements between the
 applicable Debtor and such supplier or provider.

 The Debtors are party to certain confidentiality agreements which may constitute
 executory contracts. In order to not breach any such confidentiality agreements, the
 Debtors have not listed such confidentiality agreements in Schedule G. Such
 agreements may be provided upon request to the Debtors’ counsel.

 Omission of a contract, lease, or agreement from Schedule G does not constitute an
 admission that such omitted contract, lease, or agreement is not an executory contract
 or unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
 any such omitted contracts, leases, or agreements are not impaired by any such
 omission.

 Certain Debtors are guarantors and parties to guaranty agreements regarding the
 Debtors’ prepetition credit facility. The guaranty obligations arising under these
 agreements are reflected in Schedule D only and are not listed on Schedule E/F.

 In the ordinary course of business, the Debtors utilize purchase orders to obtain goods
 from various vendors. Due to the generally brief durations of purchase orders and the
 volume and frequency of these transactions, individual purchase orders that were
 active as of the Petition Date are not listed on Schedule G. The Debtors reserve all
 rights as to active purchase orders as of the Petition Date. The omission of purchase
 orders from Schedule G does not constitute an admission that any such purchase order
 is not an executory contract or unexpired lease.

 Schedule H – Co-Debtors. For purposes of Schedule H, the Debtors may not have
 identified certain guarantees that are embedded in the Debtors’ executory contracts,
 unexpired leases, debt instruments, and other agreements. Thus, the Debtors reserve
 their rights to amend Schedule H to the extent that additional guarantees are identified,
 or such guarantees are discovered to have expired or become unenforceable. The
 disclosure of a guarantee relationship in Schedule H does not constitute an admission
 by the Debtors as to the effectiveness or enforceability of such guarantee.

 In the ordinary course of businesses, the Debtors may become subject to pending or
 threatened litigation and claims arising out of the conduct of their businesses. These
 matters may involve multiple plaintiffs and defendants, some or all of whom may



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            assert cross-claims and counterclaims against other parties. The Debtors have not
            listed any litigation-related co-Debtors in Schedule H. Instead, all such listings to the
            extent known to the Debtors are listed on Schedule E/F.

7.   Specific Statements Disclosures.

            Statements, Part 1, Question 1 – Gross revenue from business. Revenue for fiscal
            year 2023 is as of July 31, 2023, is unaudited and as such could be subject to material
            adjustments.

            Statements, Part 1, Question 2 – Non-business revenue. Non-business revenue for
            fiscal year 2023 is as of July 31, 2023, which includes such items as interest income,
            foreign exchange gain, rental income on owned and leased property, gain on
            disposition and gain on property sales.

             Statements, Part 2, Question 3 – Certain payments or transfers to creditors
            within 90 days before filing this case. Prior to the Petition Date, the Debtors
            maintained a centralized cash management system through which certain Debtors
            made payments on behalf of certain Debtor affiliates and certain non-Debtor affiliates,
            as further explained in the Motion of Debtors for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to (A) Continue to Operate Their Cash Management
            System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
            Existing Business Forms, and (D) Perform Intercompany Transactions and
            (II) Granting Related Relief [Docket No. 10] (the “Cash Management Motion”). As
            further described in the Cash Management Motion, prior to the Petition Date, in the
            ordinary course of business, the Debtors engaged in intercompany transactions with
            one another and with their non-Debtor affiliate, which resulted in the creation of
            corresponding intercompany payables and receivables. Consequently, all payments to
            creditors listed in response to Statements, Part 2, Question 3 in each of the Debtors’
            Statements reflect payments made by Yellow Corporation or one of its Debtor
            affiliates from operating bank accounts on behalf of the corresponding Debtor,
            pursuant to the Debtors’ Cash Management System as described in the Cash
            Management Motion.

            Payments to insiders made in the ninety-day period before filing (and disclosed as part
            of the one-year period response to Statements, Part 2, Question 4) and payments
            related to bankruptcy in the ninety-day period before filing (and disclosed as part of
            the one-year period response to Statements, Part 6, Question 11) are not included in
            the response to Statements, Part 2, Question 3 – ninety-day payments. There is no
            overlap or duplication between or among the data presented in response to these
            disclosures.

            Disbursements made on account of multiple invoices may be reflected as a single
            payment on Statements, Part 2, Question 3.

            Statements, Part 2, Question 4 – Payments or other transfers of property made
            within 1 year before filing this case that benefited any insider. The listing of any



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 individual or entity as an insider does not constitute an admission or a final
 determination that any such individual or entity is or is not an insider. Distributions
 by the Debtors to their directors and officers are listed in the attachment to Statements,
 Part 2, Question 4. Certain directors and executive officers are directors and executive
 officers of multiple Debtor entities.

 In the ordinary course of business, certain of the Debtors’ eligible employees are
 granted awards whereby they are issued equity securities (“Equity Securities”) of
 Yellow Corporation as part of their compensation package. The Debtors transfer such
 Equity Securities on the vesting date. For purposes of Statement 3, Question 4, the
 Debtors have listed the fair market value of the Equity Securities as of their applicable
 vesting date. The Debtors have not listed the value of any Equity Securities that were
 granted in the one-year period prior to the Petition Date that have not vested.

 Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
 incurred by the Debtors, refer to section 4(w) of the Global Notes.

 Statements, Part 5, Question 10 – Certain losses. The Debtors occasionally incur
 losses for a variety of reasons, including theft and property damage. The Debtors,
 however, may not have records of all such losses to the extent such losses do not have
 a material impact on the Debtors’ businesses or are not reported for insurance
 purposes.

 Statements, Part 6, Question 11 – Payments related to bankruptcy. All
 disbursements listed in Statements, Part 2, Question 11 were initiated and disbursed
 by Yellow Corporation, but were for the benefit of all Debtors.

 Statements, Part 10, Question 20 – Off-premises storage. The locations listed for
 off-premises storage do not include shippers that are holding goods in-transit,
 including but not limited to goods on ships, in trucks, or in warehouses where they
 may be temporarily stored during the transport process.

 Statements, Part 11, Question 21 – Property Held for Another. As a trucking and
 logistics company that provides LTL services, the Debtors are in possession of
 customer shipments as part of the ordinary course of running their businesses. On the
 petition date, the Debtors were in possession of approximately 28,000 undelivered
 shipments. It would be unduly burdensome, and an inefficient use of estate assets for
 the Debtors to obtain the location, description, and value of every undelivered
 shipment in the Debtors’ possession as of the Petition Date. Therefore, the Debtors did
 not include the details of these undelivered shipments on Part 11, Question 21 of the
 Statements.

 Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
 Credited or Given to Insiders. Please refer to Statements, Part 2, Question 4
 regarding all payments to insiders.




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 Fill in this information to identify the case:

 Debtor name           Yellow Logistics, Inc.

 United States Bankruptcy Court for the:               District of Delaware


 Case number (If known):                23-11083 (CTG)
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $       Undetermined


     1b. Total personal property:
                                                                                                                                                                                         $      39,962,721.95*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $      39,962,721.95*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $    1,223,273,741.00*
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $     12,403,105.58*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $    1,235,676,846.58*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
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   Fill in this information to identify the case:

    Debtor name Yellow Logistics, Inc.


    United States Bankruptcy Court for the: District of Delaware
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 23-11083 (CTG)                                                                                                      amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $                      0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number

    3.1 JPMorgan Chase                                             Receivables / Concentration Account
                                                                                                 1    7     1     3                  $                10,028.87

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $                10,028.87
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    ¨ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    þ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1 See Attached Rider                                                                                                           $               166,234.49
    7.2                                                                                                                              $



Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                        Page 1
Debtor      Yellow Logistics, Inc.   Case 23-11083-CTG                  Doc 4         Filed 09/12/23              Page   22 of(If known)
                                                                                                                   Case number    649 23-11083 (CTG)
            Name



 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 See Attached Rider                                                                                                              $               600,882.23

     8.2                                                                                                                                 $

 9. Total of Part 2.
                                                                                                                                         $                767,116.72
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     ¨       No. Go to Part 4.
     þ       Yes. Fill in the information below.
                                                                                                                                        Current value of debtor's
                                                                                                                                        interest
 11. Accounts receivable

         11a. 90 days old or less:            21,547,644.71                            0.00                       =   ......             $             21,547,644.71
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                    916,068.95                      900,000.00                     =   ......             $                16,068.95
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                         $             21,563,713.66
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:        Investments

  13. Does the debtor own any investments?

     þ       No. Go to Part 5.
     ¨       Yes. Fill in the information below.                                                              Valuation method          Current value of debtor's
                                                                                                              used for current value    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1                                                                                                                                $

     14.2                                                                                                                                $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1                                                                                             %                                  $

     15.2                                                                                             %                                  $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1                                                                                                                                $

     16.2                                                                                                                                $



 17. Total of Part 4                                                                                                                     $                       0.00
         Add lines 14 through 16. Copy the total to line 83.




Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                            Page 2
Debtor     Yellow Logistics, Inc.   Case 23-11083-CTG                    Doc 4       Filed 09/12/23        Page   23 of(If known)
                                                                                                            Case number    649 23-11083 (CTG)
           Name



 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     þ       No. Go to Part 6.
     ¨       Yes. Fill in the information below.
         General Description                              Date of the last           Net book value of   Valuation method         Current value of
                                                          physical inventory         debtor's interest   used for current         debtor's interest
                                                                                     (Where available)   value

     19. Raw materials
                                                                                 $                                                $
                                                               MM / DD / YYYY
     20. Work in progress
                                                                                 $                                                $
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
                                                                                 $                                                $
                                                               MM / DD / YYYY
     22. Other inventory or supplies

                                                                                 $                                                $
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                                  $                      0.00
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     ¨       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     ¨       Yes. Book value $                       Valuation method                            Current value $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     ¨       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                         Net book value of   Valuation method        Current value of debtor's
                                                                                     debtor's interest   used for current        interest
                                                                                     (Where available)   value

  28. Crops-either planted or harvested
                                                                                 $                                                $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                 $                                                $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                 $                                                $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                 $                                                $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                 $                                                $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                       Page 3
Debtor     Yellow Logistics, Inc.   Case 23-11083-CTG                 Doc 4      Filed 09/12/23       Page   24 of(If known)
                                                                                                       Case number    649 23-11083 (CTG)
           Name


 33. Total of Part 6.
                                                                                                                             $                      0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                       Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¨        No. Go to Part 8.
    þ        Yes. Fill in the information below.

         General Description                                                    Net book value of   Valuation method        Current value of debtor's
                                                                                debtor's interest   used for current        interest
                                                                                (Where available)   value

 39. Office furniture
    None                                                                        $                                            $                      0.00

 40. Office fixtures
    None                                                                        $                                            $                      0.00

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
    Office Equipment & Furniture                                                $       42,989.39   Net Book Value           $               42,989.39

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1 None                                                                   $                                            $                      0.00
    42.2                                                                        $                                            $
    42.3                                                                        $                                            $

 43. Total of Part 7.
                                                                                                                             $               42,989.39
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    þ        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                  Page 4
                                     Case 23-11083-CTG                Doc 4        Filed 09/12/23        Page 25 of 649
Debtor      Yellow Logistics, Inc.                                                                           Case number (If known) 23-11083 (CTG)
            Name



 Part 8:        Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ¨       No. Go to Part 9.
     þ        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method             Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current             interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1 None                                                                 $                                                     $                        0.00
     47.2                                                                      $                                                     $
     47.3                                                                      $                                                     $
     47.4                                                                      $                                                     $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1 None                                                                 $                                                     $                        0.00
     48.2                                                                      $                                                     $


  49. Aircraft and accessories
     49.1 None                                                                 $                                                     $                        0.00
     49.2                                                                      $                                                     $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

     See Attached Rider                                                        $          699,930.53                                 $               Undetermined



  51. Total of Part 8.
                                                                                                                                     $               Undetermined
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     þ        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No
     þ        Yes




  *Plus Undetermined Amounts




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                           Page 5
Debtor      Yellow Logistics, Inc.   Case 23-11083-CTG                  Doc 4          Filed 09/12/23             Page   26 of(If known)
                                                                                                                   Case number    649 23-11083 (CTG)
            Name



 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of     Valuation method         Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest     used for current         debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)     value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $         294,668.20*                              $         Undetermined
     55.2                                                                                 $                                                  $
     55.3                                                                                 $                                                  $
     55.4                                                                                 $                                                  $
     55.5                                                                                 $                                                  $
     55.6                                                                                 $                                                  $

  56. Total of Part 9.
                                                                                                                                             $         Undetermined
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     þ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     ¨ No
     þ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     þ       No. Go to Part 11.
     ¨       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method           Current value of debtor's
                                                                                       debtor's interest     used for current           interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
                                                                                   $                                                     $

  61. Internet domain names and websites
                                                                                   $                                                     $

  62. Licenses, franchises, and royalties
                                                                                   $                                                     $

  63. Customer lists, mailing lists, or other compilations
                                                                                   $                                                     $

  64. Other intangibles, or intellectual property
                                                                                   $                                                     $

  65. Goodwill
                                                                                   $                                                     $

  66. Total of Part 10.
                                                                                                                                             $                   0.00
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                          Page 6
Debtor      Yellow Logistics, Inc.   Case 23-11083-CTG                  Doc 4        Filed 09/12/23           Page   27 of(If known)
                                                                                                               Case number    649 23-11083 (CTG)
            Name


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     ¨ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     ¨ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     ¨ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                                  Current value of
                                                                                                                                            debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =      $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year                 $                   0.00
                                                                                                               Tax Year                 $
                                                                                                               Tax Year                 $

  73. Interests in insurance policies or annuities
         See Attached Rider                                                                                                             $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                           $                   0.00

         Nature of Claim
         Amount Requested            $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                           $                   0.00

         Nature of Claim
         Amount Requested            $

  76. Trusts, equitable or future interests in property
         None                                                                                                                           $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                             $          17,578,873.31
                                                                                                                                        $

  78. Total of Part 11.
                                                                                                                                        $         17,578,873.31*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                      Page 7
                                         Case 23-11083-CTG                            Doc 4            Filed 09/12/23                 Page 28 of 649
Debtor     Yellow Logistics, Inc.                                                                                              Case number (If known)   23-11083 (CTG)
           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                      Current value
         Type of Property
                                                                                                            personal property                    of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $              10,028.87

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $             767,116.72

  82. Accounts receivable. Copy line 12, Part 3.                                                           $         21,563,713.66

  83. Investments. Copy line 17, Part 4.                                                                   $                   0.00

  84. Inventory. Copy line 23, Part 5.                                                                     $                   0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $              42,989.39
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $         Undetermined

  88. Real property. Copy line 56, Part 9. . ...............................................................................                     $Undetermined

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $                   0.00

  90. All other assets. Copy line 78, Part 11.                                                             $       17,578,873.31*

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $       39,962,721.95*      + 91b.    $Undetermined




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $    39,962,721.95*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                      Page 8
                               Case 23-11083-CTG                      Doc 4    Filed 09/12/23            Page 29 of 649
Debtor Name: Yellow Logistics, Inc.                                                                                       Case Number: 23-11083 (CTG)

                                                              Assets - Real and Personal Property

                                         Part 2, Question 7: Deposits, including security deposits and utility deposits



Deposits, including security deposits and utility deposits                              Current value of debtor's
(Description, including name of holder of deposit)                                      interest

Deposit - Rental Facility Security Deposit: Breit Industrial Canyon                                                                           $70,446.00



Deposit - Rental Facility Security Deposit: Hartman Road LLC                                                                                   $5,800.00



Deposit - Rental Facility Security Deposit: Various Parties                                                                                   $84,988.49



Deposit - Utility Deposit: Greystone Power                                                                                                     $5,000.00



TOTAL                                                                                                                                        $166,234.49




                                                                          Page 1 of 1
                              Case 23-11083-CTG                 Doc 4       Filed 09/12/23           Page 30 of 649
Debtor Name: Yellow Logistics, Inc.                                                                                   Case Number: 23-11083 (CTG)

                                                          Assets - Real and Personal Property


                      Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent


Prepayments, including prepayments on executory contracts, leases,                     Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)       interest

Prepayment - Insurance Payment: Roanoke Insurance Group, Inc.                                                                              $9,951.34


Prepayment - Miscellaneous: Various Parties                                                                                               $12,618.44


Prepayment - Miscellaneous: Progistics Distribution                                                                                      $500,000.00


Prepayment - Rent Payment: Breit Industrial Canyon GA 1B01 LLC                                                                            $78,312.45


TOTAL                                                                                                                                    $600,882.23




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                                Case 23-11083-CTG                Doc 4       Filed 09/12/23          Page 31 of 649
Debtor Name: Yellow Logistics, Inc.                                                                                 Case Number: 23-11083 (CTG)

                                                         Assets - Real and Personal Property

                         Part 8, Question 50: Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



Other machinery, fixtures, and equipment                             Net book value of     Valuation method            Current value of debtor's
(excluding farm machinery and equipment)                             debtor's interest     used for current value      interest
                                                                     (Where available)
IFS Equipment                                                                $571,685.06 N/A                                             Undetermined


Lift Equipment                                                               $128,245.47 N/A                                             Undetermined


                                                                                           TOTAL                                                   $0.00
                                                                                                                                  + Undetermined Amounts




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                                     Case 23-11083-CTG                    Doc 4      Filed 09/12/23          Page 32 of 649
Debtor Name: Yellow Logistics, Inc.                                                                                        Case Number: 23-11083 (CTG)

                                                                  Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent          Net book value of     Valuation method        Current value of
Include street address or other description such as    of debtor’s interest       debtor's interest     used for current        debtor's interest
Assessor Parcel Number (APN), and type of property     in property                (Where available)     value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

Buildings / Structures                                 Buildings / Structures            $244,047.43 N/A                                         Undetermined


Leasehold Improvements                                 Leasehold                          $50,620.77 N/A                                         Undetermined
                                                       Improvements

Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
1250 Terminus Drive
Lithia Springs, GA 30122
Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
1424 Corporate Center Drive, Building F
San Diego, CA 92154
Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
1460 East Kearney Street
Mesquite, TX 75149
Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
1876 S4130W
Salt Lake City, UT 84101
Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
2141 Southwest Boulevard
Grove City, OH 43123
Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
2200 Southwest Boulevard
Grove City, OH 43123
Leased Property:                                       Leased Real Property            Undetermined N/A                                          Undetermined
300 Hartman Road
Austell, GA 30168
                                                                                                        TOTAL                                             $0.00
                                                                                                                                         + Undetermined Amounts




                                                                                Page 1 of 1
                              Case 23-11083-CTG                 Doc 4         Filed 09/12/23          Page 33 of 649
Debtor Name: Yellow Logistics, Inc.                                                                                Case Number: 23-11083 (CTG)

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number               Current value of debtor's
(Description)                                                                                                        interest
ACE                                                Cargo Liability - Excess Valuation    N10700504                                    Undetermined
                                                   (Consumer Generated)

Aegis London                                       Excess Liability                      B080121224U21                                Undetermined


Aegis London                                       Excess Liability                      B080121224U21                                Undetermined


Aegis London                                       Excess Liability                      NAMCA2301488                                 Undetermined


AIG                                                11th Excess Side A DIC                01-613-52-20                                 Undetermined


AIG                                                Employed Lawyers Prof.                01-613-85-84                                 Undetermined


AIG                                                Excess Fiduciary                      01-615-93-03                                 Undetermined


AIG                                                Crime                                 01-613-92-02                                 Undetermined


AIG Specialty Insurance Company                    Storage Tank Liability                ST 67167890                                  Undetermined


Allianz Global Corporate & Specialty               Excess Liability                      B0713NAMCA2001331                            Undetermined


Allianz Global Corporate & Specialty               Punitive Wrap                         B080120233U20                                Undetermined


Allianz US Risk US Insurance Company               1st Excess D&O                        USF01159222                                  Undetermined


Allianz US Risk US Insurance Company               Primary Fiduciary                     USF01159322                                  Undetermined


Allied World Assurance Company, LTD (AWAC)         Excess Liability                      C060318/004                                  Undetermined


Applied (via RT Specialty)                         Excess Cyber                          BFLCYETKS011200_020803_                      Undetermined
                                                                                         01

Arcadian                                           Excess Liability                      ARCGL120462023                               Undetermined


Arch Reinsurance Ltd.                              Excess Liability                      UFP0064909-03                                Undetermined


Aspen American Insurance Co                        Excess Cyber                          AY00J2L22                                    Undetermined


AXA XL                                             11th Excess Side A DIC                ELU186108-22                                 Undetermined


AXA XL                                             Excess Cyber                          MTE904180202                                 Undetermined


AXA XL                                             Excess Liability                      BM00039016LI23A                              Undetermined


Axis Bermuda Puni-Wrap                             Punitive Wrap                         1148440123EC                                 Undetermined


Axis Insurance Company                             Crime                                 P-001-000440836-03                           Undetermined


Axis Surplus Insurance Company                     Excess Liability                      P-001-001165984-01                           Undetermined


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                               Case 23-11083-CTG                Doc 4          Filed 09/12/23         Page 34 of 649
Debtor Name: Yellow Logistics, Inc.                                                                              Case Number: 23-11083 (CTG)

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number             Current value of debtor's
(Description)                                                                                                      interest
Beazley                                            EPL Puni-Wrap Excess                  AR-V1621D220401                            Undetermined


Beazley Insurance Co.                              2nd Excess D&O                        V29054220301                               Undetermined


Beazley Insurance Co.                              EPL Excess                            V1621D220401                               Undetermined


Beazley Insurance Co.                              Excess Fiduciary                      V29019220701                               Undetermined


Beazley Insurance Co.                              Primary Cyber                         W3024A220201                               Undetermined


Berkshire Hathaway Specialty Insurance             8th Excess - Side A DIC Primary       47-EPC-324928-01                           Undetermined


Berkshire International                            Excess Liability                      92SRD307240                                Undetermined


Berkshire International                            Excess Liability                      92SRD307241                                Undetermined


Berkshire International                            Excess Liability                      92SRD307242                                Undetermined


Berkshire International                            Punitive Wrap                         1221238                                    Undetermined


Berkshire International                            Punitive Wrap                         1221240                                    Undetermined


Berkshire International                            Punitive Wrap                         1221242                                    Undetermined


Canopious (via RT Specialty)                       Excess Cyber                          CYT27220083                                Undetermined


Chubb                                              Crime                                 8224-2361                                  Undetermined


Chubb                                              Excess Fiduciary                      DOX G71102385 001                          Undetermined


Chubb                                              International DIC                     PHF D38239818 006                          Undetermined


Chubb                                              Pollution Legal Liability             PPI G2784652A 005                          Undetermined


Chubb                                              Primary D&O                           J05961403                                  Undetermined


Chubb                                              Self Insured States WC - All Other    C66934202, C66932412,                      Undetermined
                                                                                         C6693245A & C66932497

Chubb                                              Umbrella Liability                    XEU G71497513 005                          Undetermined


Chubb Bermuda Insurance, Ltd.                      Excess Liability                      YRCW-1020/BSF03                            Undetermined


Chubb Bermuda Insurance, Ltd.                      Punitive Wrap                         PD12428-001-A                              Undetermined


Chubb Bermuda Insurance, Ltd.                      Punitive Wrap                         PD12438-001-A                              Undetermined


CNA                                                10th Excess Side A DIC                652276604                                  Undetermined


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                              Case 23-11083-CTG                 Doc 4         Filed 09/12/23          Page 35 of 649
Debtor Name: Yellow Logistics, Inc.                                                                              Case Number: 23-11083 (CTG)

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number             Current value of debtor's
(Description)                                                                                                      interest
CNA                                                Excess Liability                      7033962247                                 Undetermined


Crum & Forester (RT Specialty)                     Excess Cyber                          CYB-104704                                 Undetermined


Emergin (via RT Specialty)                         Excess Cyber                          W3024A220201                               Undetermined


Everest                                            Excess Cyber                          CY5EX00488-221                             Undetermined


GAI Insurance Company, Ltd.                        Punitive Wrap                         EXC 1494396                                Undetermined


Great American Assurance Co.                       Excess Liability                      EXC 4455921                                Undetermined


HCC                                                K&R                                   U720-85886                                 Undetermined


Helix Underwriting Parnters Ltd                    Excess liability                      CASFO200019LO2023                          Undetermined


Lex-London                                         Excess Liability                      62785570                                   Undetermined


Lex-London                                         Punitive Wrap                         16135386                                   Undetermined


Lloyd's of London                                  Professional Liability (DFF)          RIGRTL09220112                             Undetermined


Lloyd's of London                                  Shippers Interest (Domestic Freight RIGCAR09220078                               Undetermined
                                                   Forwarding DFF - Customer
                                                   Purchase)
Magna Carta - Aegis                                Punitive Wrap                       B0713NAMCA2301493                            Undetermined


Magna Carta - Aegis                                Punitive Wrap                         MCPD20617330                               Undetermined


Magna Carta - Aegis                                Punitive Wrap                         MCPD20617330                               Undetermined


Markel                                             3rd Excess D&O                        MKLM6EL0008799                             Undetermined


Markel Bermuda                                     Primary EPL                           MKLB25GPL0004148                           Undetermined


Mosaic                                             Excess Cyber                          PCY2345322AA                               Undetermined


North Rock / CNA                                   Punitive Wrap                         702100314                                  Undetermined


Old Republic Ins. Co.                              Insured States WC                     MWC 108894 59                              Undetermined


Old Republic Insurance Co                          4th Excess D&O                        ORPRO 12 102800                            Undetermined


Old Republic Insurance Co                          Excess Fiduciary                      ORPRO 14 100452                            Undetermined


Old Republic Insurance Company                     Auto / General Liability              MWML18562                                  Undetermined


Old Republic Insurance Company of Canada           Canadian AL / GL                      CMWML 18562 19                             Undetermined


                                                                      Page 3 of 4
                              Case 23-11083-CTG                 Doc 4        Filed 09/12/23           Page 36 of 649
Debtor Name: Yellow Logistics, Inc.                                                                               Case Number: 23-11083 (CTG)

                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number              Current value of debtor's
(Description)                                                                                                       interest
Resilience                                         Excess Cyber                          720000344-0001                              Undetermined


Roanoke (Munich Re Syndicate)                      Excess Cargo (Terminal & Truck)                                                   Undetermined


RSUI (via RT Specialty)                            Excess Cyber                          LHZ798281                                   Undetermined


RSUI Indemnity                                     Excess Flood                          NHD930526                                   Undetermined


Sompo                                              9th Excess Side A DIC                 ADX30002068801                              Undetermined


Sompo (Endurance)                                  Excess Liability                      EXC10000006814                              Undetermined


Travelers                                          Primary Cargo Liability               QT-660-7S98668A-TIL-23                      Undetermined


Travelers                                          Property                              KTJ-CMB-1T61970-A-23                        Undetermined
Travelers of Canada

Vantage Risk Ltd                                   Excess Liability                      P02XC0000019010                             Undetermined


Westchester Surplus Insurance Company              Excess Liability                      G74350033 001                               Undetermined


                                                                                         TOTAL                                                  $0.00
                                                                                                                              + Undetermined Amounts




                                                                      Page 4 of 4
                              Case 23-11083-CTG               Doc 4        Filed 09/12/23           Page 37 of 649
Debtor Name: Yellow Logistics, Inc.                                                                             Case Number: 23-11083 (CTG)

                                                        Assets - Real and Personal Property


                                          Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                      Current value of debtor's
Examples: Season tickets, country club membership                                  interest
INTERCOMPANY RECEIVABLE FROM YELLOW CORPORATION                                                                                  $14,325,131.70


INTERCOMPANY RECEIVABLE FROM YRC FREIGHT CANADA COMPANY                                                                             $24,268.08


Other Receivables: Delivered not Billed                                                                                           $3,229,473.53


TOTAL                                                                                                                            $17,578,873.31




                                                                     Page 1 of 1
 Fill in this information Case   23-11083-CTG
                          to identify the case:                                     Doc 4          Filed 09/12/23             Page 38 of 649

 Debtor name        Yellow Logistics, Inc.

 United States Bankruptcy Court for the:           District of Delaware                                                                                 ¨ Check if this is an
                                                                                                                                                              amended filing
 Case number (If known):          23-11083 (CTG)


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                    Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                              Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                    Do not deduct the value   that supports this
                                                                                                                                    of collateral.            claim
2.1     Creditor's name                                               Describe debtor’s property that is subject to a lien
        CITADEL                                                     See Schedule D Disclosures
                                                                                                                                    $       485,372,693.00    $          Undetermined

        Creditor's mailing address
        SOUTHEAST FINANCIAL CENTER
        200 S. BISCAYNE BOULEVARD
        MIAMI, FL 33131                                              Describe the lien
                                                                    GUARANTOR OF B-2 TERM LOAN FACILITY (DEBT FORMERLY
                                                                    OWNED BY APOLLO GLOBAL MANAGEMENT)

        Creditor's email address, if known                            Is the creditor an insider or related party?
                                                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             UNDETERMINED
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      ¨ No
        number
                                                                      þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        ¨ No
        þ Yes. Specify each creditor, including this                  þ Contingent
            creditor, and its relative priority.                      þ Unliquidated
                                                                      ¨ Disputed
2.2     Creditor's name                                               Describe debtor’s property that is subject to a lien
        UNITED STATES DEPARTMENT OF TREASURY                          See Schedule D Disclosures
                                                                                                                                    $       337,042,758.00    $          Undetermined
        Creditor's mailing address
        ATTN: ASST. GENERAL COUNSEL
        1500 PENNSYLVANIA AVE., NW
        WASHINGTON, DC 20220                                          Describe the lien
                                                                      GUARANTOR OF UST TRANCHE A CREDIT FACILITY

        Creditor's email address, if known                            Is the creditor an insider or related party?
        Eric.Froman@treasury.gov                                      þ No
                                                                      ¨ Yes
        Date debt was incurred             UNDETERMINED
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      ¨ No
        number
                                                                      þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        ¨ No
        þ Yes. Have you already specified the relative                þ Contingent
            priority?                                                 þ Unliquidated
            þ No. Specify each creditor, including this               ¨ Disputed
                      creditor, and its relative priority.



            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                               $ 1,223,273,741.00

                                                                                                                                                                  + Undetermined Amounts



       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                                 Page 1 of 6
                                        Case 23-11083-CTG                   Doc 4          Filed 09/12/23              Page 39 of 649
Debtor     Yellow Logistics, Inc.                                                                          Case number (If known): 23-11083 (CTG)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.3      Creditor's name                                      Describe debtor’s property that is subject to a lien
         UNITED STATES DEPARTMENT OF TREASURY                 See Schedule D Disclosures

                                                                                                                                  $       399,999,770.00 $        Undetermined
         Creditor's mailing address
         ATTN: ASST. GENERAL COUNSEL
         1500 PENNSYLVANIA AVE., NW
         WASHINGTON, DC 20220                                 Describe the lien
                                                             GUARANTOR OF UST TRANCHE B CREDIT FACILITY


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         Eric.Froman@treasury.gov
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               ¨ No
                                                               þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         ¨ No                                                  Check all that apply.
         þ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             þ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                      Describe debtor’s property that is subject to a lien
         CITIZENS BUSINESS CAPITAL                            See Schedule D Disclosures

                                                                                                                                  $          858,520.00 $         Undetermined
         Creditor's mailing address
         ATTN: DAVID J. SLATTERY, VICE PRESIDENT
         1215 SUPERIOR AVE.
         6TH FLOOR                                            Describe the lien
         CLEVELAND, OH 44114
                                                             GUARANTOR OF ABL FACILITY


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         david.slattery@citizensbank.com
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               ¨ No
                                                               þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  Page 2 of 6
                                        Case 23-11083-CTG                   Doc 4          Filed 09/12/23              Page 40 of 649
Debtor     Yellow Logistics, Inc.                                                                          Case number (If known): 23-11083 (CTG)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.5      Creditor's name                                      Describe debtor’s property that is subject to a lien
         CITIZENS BUSINESS CAPITAL                            See Schedule D Disclosures

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         ATTN: DAVID J. SLATTERY, VICE PRESIDENT
         1215 SUPERIOR AVE.
         6TH FLOOR                                            Describe the lien
         CLEVELAND, OH 44114
                                                             LETTERS OF CREDIT - $359,288,388.60 OUTSTANDING AS OF
                                                             THE PETITION DATE

         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         david.slattery@citizensbank.com
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               ¨ No
                                                               þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                      Describe debtor’s property that is subject to a lien
         ALTER DOMUS PRODUCTS CORP                            As Provided in the UCC Financing Statement

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         AS COLLATERAL AGENT
         225 W WASHINGTON ST, 9TH FL
         CHICAGO, IL 60606                                    Describe the lien
                                                             DELAWARE UCC FINANCING STATEMENT NO.


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         LEGAL_AGENCY@ALTERDOMUS.COM
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               þ No
                                                               ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  Page 3 of 6
                                        Case 23-11083-CTG                   Doc 4          Filed 09/12/23              Page 41 of 649
Debtor     Yellow Logistics, Inc.                                                                          Case number (If known): 23-11083 (CTG)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.7      Creditor's name                                      Describe debtor’s property that is subject to a lien
         BANK OF NEW YORK MELLON, THE                         As Provided in the UCC Financing Statement

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         AS COLLATERAL AGENT
         240 GREENWICH ST, 7TH FL
         NEW YORK, NY 10286                                   Describe the lien
                                                             DELAWARE UCC FINANCING STATEMENT NO. 20220277962


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         DENNIS.ROEMLEIN@BNYMELLON.COM
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               þ No
                                                               ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                      Describe debtor’s property that is subject to a lien
         BANK OF NEW YORK MELLON, THE                         As Provided in the UCC Financing Statement

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         AS COLLATERAL AGENT
         240 GREENWICH ST, 7TH FL
         NEW YORK, NY 10286                                   Describe the lien
                                                             DELAWARE UCC FINANCING STATEMENT NO. 20220277996


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         DENNIS.ROEMLEIN@BNYMELLON.COM
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               þ No
                                                               ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  Page 4 of 6
                                        Case 23-11083-CTG                   Doc 4          Filed 09/12/23              Page 42 of 649
Debtor     Yellow Logistics, Inc.                                                                          Case number (If known): 23-11083 (CTG)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.9      Creditor's name                                      Describe debtor’s property that is subject to a lien
         CITIZENS BUSINESS CAPITAL                            As Provided in the UCC Financing Statement

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         1215 SUPERIOR AVE, 5TH FL
         CLEVELAND, OH 44114
                                                              Describe the lien
                                                             DELAWARE UCC FINANCING STATEMENT NO. 20219184939


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         DAVID.STILES@CITIZENSBANK.COM.
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               þ No
                                                               ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.10     Creditor's name                                      Describe debtor’s property that is subject to a lien
         CITIZENS BUSINESS CAPITAL                            As Provided in the UCC Financing Statement

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         1215 SUPERIOR AVE, 5TH FL
         CLEVELAND, OH 44114
                                                              Describe the lien
                                                             DELAWARE UCC FINANCING STATEMENT NO. 20234845458


         Creditor's email address, if known
                                                               Is the creditor an insider or related party?
         DAVID.STILES@CITIZENSBANK.COM.
                                                               þ No
                                                               ¨ Yes
         Date debt was incurred            UNDETERMINED
         Last 4 digits of account
                                                               Is anyone else liable on this claim?
         number
                                                               þ No
                                                               ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                               As of the petition filing date, the claim is:
         þ No                                                  Check all that apply.
         ¨ Yes. Have you already specified the relative
                   priority?                                   þ Contingent
                                                               þ Unliquidated
             ¨ No. Specify each creditor, including this       ¨ Disputed
                      creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  Page 5 of 6
                                    Case 23-11083-CTG                    Doc 4         Filed 09/12/23               Page 43 of 649
 Debtor    Yellow Logistics, Inc.                                                                       Case number (If known):     23-11083 (CTG)
           Name



Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity

   ALTER DOMUS PRODUCTS CORP.
   C/O: HOLLAND & KNIGHT LLP                                                                                           Line 2.      1
   ATTN: JOSHUA M. SPENCER
   150 N. RIVERSIDE PLAZA
   SUITE 2700
   CHICAGO, IL 60606

   ALTER DOMUS PRODUCTS CORP.
   ATTN: LISA SCHUTZ; LEGAL DEPARTMENT                                                                                 Line 2.      1
   225 W. WASHINGTON STREET
   9TH FLOOR
   CHICAGO, IL 60606

   CITIZENS BUSINESS CAPITAL
   C/O: CHOATE, HALL & STEWART LLP                                                                                     Line 2.      4
   ATTN: KEVIN J. SIMARD
   2 INTERNATIONAL PLACE
   BOSTON, MA 02110

   GRAY ROBINSON PA
   C/O CITADEL ADVISORS LLC                                                                                            Line 2.      1
   ATTN JEFFREY SCHLERF
   1007 N ORANGE ST, 4TH FL, #127
   WILMINGTON, DE 19801

   THE BANK OF NEW YORK MELLON
   ATTN: JOANNA SHAPIRO, MANAGING DIRECTOR                                                                             Line 2.      2
   240 GREENWICH STREET
   7TH FLOOR
   NEW YORK, NY 10286

   THE BANK OF NEW YORK MELLON
   ATTN: JOANNA SHAPIRO, MANAGING DIRECTOR                                                                             Line 2.      3
   240 GREENWICH STREET
   7TH FLOOR
   NEW YORK, NY 10286

   THE BANK OF NEW YORK MELLON
   C/O: HOGAN LOVELLS US LLP                                                                                           Line 2.      2
   ATTN: ROBERT A. RIPIN
   390 MADISON AVENUE
   NEW YORK, NY 10017

   THE BANK OF NEW YORK MELLON
   C/O: HOGAN LOVELLS US LLP                                                                                           Line 2.      3
   ATTN: ROBERT A. RIPIN
   390 MADISON AVENUE
   NEW YORK, NY 10017

   WHITE & CASE LLP
   C/O CITADEL ADVISORS LLC                                                                                            Line 2.      1
   ATTN S GREISSMAN; A ZATZ; E FELD
   1221 AVENUE OF THE AMERICAS
   NEW YORK, NY 10020-1095

   WHITE & CASE LLP
   C/O CITADEL ADVISORS                                                                                                Line 2.      1
   ATTN JASON N ZAKIA
   111 S WACKER DR, STE 5100
   CHICAGO, IL 60606


                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 6 of 6
                                    Case 23-11083-CTG                     Doc 4       Filed 09/12/23            Page 44 of 649
   Fill in this information to identify the case:

    Debtor       Yellow Logistics, Inc.


    United States Bankruptcy Court for the:   District of Delaware
                                                                                                                                            ¨ Check if this is an
    Case number      23-11083 (CTG)                                                                                                                amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    þ No. Go to Part 2.
    ¨ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim          Priority amount
2.1 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes
2.2 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes
2.3 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes


  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 588
  Debtor                          Case 23-11083-CTG
             Yellow Logistics, Inc.                             Doc 4        Filed 09/12/23     Page
                                                                                          Case number      45 of 649
                                                                                                      (If known) 23-11083 (CTG)
             Name


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      015 LOGISTICS INC                                                 Check all that apply.                            $                         850.00
      OR TRU FUNDING LLC                                                ¨ Contingent
      PO BOX 151013
      OGDEN, UT 84415                                                   ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      1 RELIABLE TRANSPORTATION INC                                     Check all that apply.                            $                         500.00
      OR TRIUMPH BUSINESS CAPITAL                                       ¨ Contingent
      PO BOX 610028
      DALLAS, TX 75261                                                  ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      1 XTREME PURPOSE LOGISTICS                                        Check all that apply.                            $                        2,050.00
      OR OTR SOLUTIONS                                                  ¨ Contingent
      PO BOX 1175760
      ATLANTA, GA 30368-7576                                            ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      101 US SUPPLY TRANSPORTATION LLC                                  Check all that apply.                            $                         500.00
      4228 SIBLEY AVE                                                   ¨ Contingent
      COLUMBUS, OH 43227
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      123 MOVING SOLUTIONS INC                                          Check all that apply.                            $                         131.10
      2149 VISCOUNT ROW                                                 ¨ Contingent
      ORLANDO, FL 32809
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      1ST PLATINUM FREIGHT INC                                          Check all that apply.                            $                        4,100.00
      OR COMPASS FUNDING SOLUTIONS                                      ¨ Contingent
      PO BOX 205154
      DALLAS, TX 75320-5154                                             ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Trade Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes




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3.7   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
      2 BROTHERS TRANSPORTATION LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.8   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,400.00
      203K LOGISTICS LLC
      OR INSIGHT TECHNOLOGY INC                                     ¨ Contingent
      PO BOX 200399                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.9   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
      2078081 ALBERTA LTD
      54 MAINARD CRES                                               ¨ Contingent
      BRAMPTON, L6R 2V1                                             ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,500.00
      2449248 ONTARIO INC
      OR REVOLUTION CAPITAL                                         ¨ Contingent
      27 ROYTEC ROAD - UNIT 11                                      ¨ Unliquidated
      WOODBRIDGE, L4L8E3                                            ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,200.00
      24X7 EXPEDITE
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



      Date or dates debt was incurred                               Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes


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3.12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,550.00
    288 TRUCKING LLC
    OR CENTURY FINANCE LLC                                          ¨ Contingent
    PO BOX 589                                                      ¨ Unliquidated
    MEMPHIS, TN 38101                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
    2GO TRANS LLC
    OR PHOENIX CAPITAL GROUP                                        ¨ Contingent
    PO BOX 1415                                                     ¨ Unliquidated
    DES MOINES, IA 50305                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
    360 ON THE DOT TRUCKING LLC
    OR INTERNET TRUCKSTOP PAYMENTS LLC                              ¨ Contingent
    PO BOX 7410411                                                  ¨ Unliquidated
    CHICAGO, IL 60674-0411                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
    3E TRUCKING LLC
    4219 MALUS DRIVE                                                ¨ Contingent
    SAINT LOUIS, MO 63125                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.16 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
    3K LOGISTICS LLC
    OR RTS FINANCIAL SERVICE, INC                                   ¨ Contingent
    PO BOX 840267                                                   ¨ Unliquidated
    DALLAS, TX 75284-0267                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,200.00
    3PARKS TRANSPORT
    OR GENERAL BUSINESS CREDIT                                      ¨ Contingent
    110 E. 9THST, SUITE C-900                                       ¨ Unliquidated
    LOS ANGELES, CA 90079                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
    4 GIRLS AND A TRUCK LLC
    OR ENGAGED FINANCIAL LLC                                        ¨ Contingent
    PO BOX 775553                                                   ¨ Unliquidated
    CHICAGO, IL 60677-5553                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,255.00
    4 SEASONS TRANSPORT LLC
    OR GAP FACTORING INC                                            ¨ Contingent
    PO BOX 150105                                                   ¨ Unliquidated
    OGDEN, UT 84415-0105                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.20 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
    4 TRANSPORTATION SERVICES, INC.
    OR COMPASS FUNDING SOLUTIONS                                    ¨ Contingent
    PO BOX 205154                                                   ¨ Unliquidated
    DALLAS, TX 75320                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    625.00
    441 EXPRESS LLC
    380 GOWAN ROAD                                                  ¨ Contingent
    LEXINGTON, TN 38351                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    575.00
    448 COURIERS LLC
    OR TRIUMPH BUSINESS CAPITAL                                     ¨ Contingent
    PO BOX 610028                                                   ¨ Unliquidated
    DALLAS, TX 75261-0028                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
    4WAY MOTORS LLC
    OR OTR SOLUTIONS                                                ¨ Contingent
    PO BOX 1175760                                                  ¨ Unliquidated
    ATLANTA, GA 30368-7576                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.24 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
    5 STAR LOGISTICS LLC
    OR OTR CAPITAL LLC                                              ¨ Contingent
    DEPT# 390 P.O. BOX 1000                                         ¨ Unliquidated
    MEMPHIS, TN 38148                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
    502VILLE TRUCKING LLC
    OR OTR SOLUTIONS                                                ¨ Contingent
    PO BOX 1175760                                                  ¨ Unliquidated
    ATLANTA, GA 30368-7576                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
    5B INTERNATIONAL SERVICE INC
    OR RTS FINANCIAL SERVICE, INC                                   ¨ Contingent
    PO BOX 840267                                                   ¨ Unliquidated
    DALLAS, TX 75284                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
    5N LOGISTICS LLC
    OR TAFS, INC                                                    ¨ Contingent
    P.O. BOX 872632                                                 ¨ Unliquidated
    KANSAS CITY, MO 64187                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.28 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    5R PRODUCTS INC
    15080 HILTON DR                                                 þ Contingent
    FONTANA, CA 92336                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,600.00
    5TH WHEEL LOGISTICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,925.00
    7 BROTHERS TRUCK LLC
    OR OTR SOLUTIONS                                                ¨ Contingent
    PO BOX 1175760                                                  ¨ Unliquidated
    ATLANTA, GA 30368-7576                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
    7 DAYS MOTOR LINES, LLC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    525.00
    7 STAR LOGISTICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,500.00
    8745200 CANADA CORPORATION
    PO BOX 68514 GREAT LAKES DR                                     ¨ Contingent
    BRAMPTON, ON L6R 2K7                                            ¨ Unliquidated
    CANADA                                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
    88MIKELLC
    156 W. MICHIGAN AVE UNIT # 269                                  ¨ Contingent
    JACKSON, MI 49201                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,300.00
    956 LOGISTICS LLC
    OR TRIUMPH FINANCIAL SERVICES, LLC                              ¨ Contingent
    PO BOX 610028                                                   ¨ Unliquidated
    DALLAS, TX 75261-0028                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.36 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
    9KSTRG TRUCKING LLC
    OR OPERATION FINANCE INC                                        ¨ Contingent
    PO BOX 227352                                                   ¨ Unliquidated
    DALLAS, TX 75222-7352                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    A & A MIDWEST REBUILDERS SUPPLIERS INC
    2580 N. COMMERCE ST.                                            þ Contingent
    NORTH LAS VEGAS, NV 89030                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    A & G DISTRIBUTING
    775 E 15TH ST STE B                                             þ Contingent
    COOKEVILLE, TN 38501                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
    A & K TRANSPORT LLC
    2414 CEDARMILL DR                                               ¨ Contingent
    FRANKLIN, IN 46131                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.40 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,400.00
    A & K TRANSPORTATION INC
    OR CD CONSORTIUM CORP.                                          ¨ Contingent
    8930 WAUKEGAN RD, STE 230                                       ¨ Unliquidated
    MORTON GROVE, IL 60053                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
    A & L TRANSIT INC
    OR APEX CAPITAL CORP                                            ¨ Contingent
    PO BOX 961029                                                   ¨ Unliquidated
    FT WORTH, TX 76161                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,600.00
    A & M GROUP ENTERPRISES, INC.
    OR FIRST LINE FUNDING GROUP                                     ¨ Contingent
    PO BOX 328                                                      ¨ Unliquidated
    MADISON, SD 57042                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    A & M VENDING
    323 W INTERSTATE RD                                             þ Contingent
    ADDISON, IL 60101                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.44 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,050.00
    A & N TRANSPORT INC
    2069 MASTERPIECE CT                                             ¨ Contingent
    MANTECA, CA 95336                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
    A & R MOTOR EXPRESS, INC
    OR RTS FINANCIAL SERVICE INC                                    ¨ Contingent
    PO BOX 840267                                                   ¨ Unliquidated
    DALLAS, TX 75284-0267                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
    A & S EXPRESS LLC
    1313 W 16TH ST                                                  ¨ Contingent
    SEDALIA, MO 65301                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 21,650.00
    A & T TRANSPORTATION LLC
    OR CROSSROAD SERVICES LLC                                       ¨ Contingent
    PO BOX 653076                                                   ¨ Unliquidated
    DALLAS, TX 75265-3076                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.48 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,700.00
    A G N TRANSPORT LLC
    OR TBS FACTORING SERVICE LLC                                    ¨ Contingent
    PO BOX 248920                                                   ¨ Unliquidated
    OKLAHOMA CITY, OK 73124-8920                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
    A JUAREZ TRANSPORTATION LLC
    OR PARIKH FINANCIAL                                             ¨ Contingent
    2802 TRAILRIDGE COURT                                           ¨ Unliquidated
    MISSOURI CITY, TX 77459                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
    A LIGHTNING TRUCKING LLC
    OR COREFUND CAPITAL LLC                                         ¨ Contingent
    PO BOX 223766                                                   ¨ Unliquidated
    DALLAS, TX 75222                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,200.00
    A M G TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
    A Y TRUCKING LLC
    OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773              ¨ Contingent
    DALLAS, TX 75320-6773                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
    A&D CARRIER INC
    OR ECAPITAL FREIGHT FACTORING (EAST) CORP                       ¨ Contingent
    PO BOX 100920                                                   ¨ Unliquidated
    ATLANTA, GA 30384-0920                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
    A&G FREIGHT SERVICE LLC
    2209 SAN SIMEON DR                                              ¨ Contingent
    MESQUITE, TX 75181                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
    A&M TRUCKING LLC
    OR TAB BANK                                                     ¨ Contingent
    PO BOX 150830                                                   ¨ Unliquidated
    OGDEN, UT 84415-0830                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.56 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,000.00
    A&T TRUCKING LLC
    OR TRIUMPH BUSINESS CAPITAL                                     ¨ Contingent
    PO BOX 610028                                                   ¨ Unliquidated
    DALLAS, TX 75261-0028                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
    A. & D. TRANSPORTATION, INC.
    PO BOX 246                                                      ¨ Contingent
    DRIFTING, PA 16834                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,250.00
    A. C. CARTAGE, INC.
    1702 EASTLINE RD                                                ¨ Contingent
    SEARCY, AR 72143                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,955.00
    A.I.M. LOGISTICS
    11214 BLUE SEDGE DR                                             ¨ Contingent
    ROANOKE, IN 46783                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.60 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
    A.S.L. GLOBAL LOGISTICS
    11 BLAIR DRIVE                                                  ¨ Contingent
    BRAMPTON, ON L6T2H4                                             ¨ Unliquidated
    CANADA                                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.10
    A1 FREEMAN NORTH AMERICAN INC
    11517 N BROADWAY EXT                                            ¨ Contingent
    OKLAHOMA CITY, OK 73114                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
    A2B TRUCKING LLC
    OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230              ¨ Contingent
    MORTON GROVE, IL 60053                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
    AA EXPRESS INC
    AA EXPRESS & LOGISTICS LLC                                      ¨ Contingent
    433 THATCHER AVENUE                                             ¨ Unliquidated
    SAINT LOUIS, MO 63147                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.64 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
    AAA FREIGHT INC
    AAA FREIGHT INC                                                 ¨ Contingent
    PO BOX 14470                                                    ¨ Unliquidated
    ST LOUIS, MO 63178-4470                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,750.00
    AAA SOLUTIONS GROUP
    751 KETTERING RD COLUMBUS                                       ¨ Contingent
    COLUMBUS, OH 43202                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,185.00
    AAA STARS LOGISTICS LLC
    OR RTS FINANCIAL SERVICE, INC, PO BOX 840267                    ¨ Contingent
    DALLAS, TX 75284                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
    AAM NETWORK INC
    OR TRIUMPH BUSINESS CAPITAL                                     ¨ Contingent
    PO BOX 610028                                                   ¨ Unliquidated
    DALLAS, TX 75261-0028                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.68 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,950.00
    AARYN LOGISTICS LLC
    OR OTR CAPITAL DBA OTR SOLUTIONS                                ¨ Contingent
    PO BOX 1175760                                                  ¨ Unliquidated
    ATLANTA, GA 30368-7576                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
    ABAS BROTHERS LLC
    OR TREADSTONE US CAPITAL LLC                                    ¨ Contingent
    PO BOX 631627                                                   ¨ Unliquidated
    CINCINNATI, OH 45263                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
    ABC TOWING & TRANSPORT
    OR THUNDER FUNDING                                              ¨ Contingent
    DEPT #3003 P. O. BOX 1000                                       ¨ Unliquidated
    MEMPHIS, TN 38148                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,380.00
    ABI TRUCKING INC
    OR COMPASS FUNDING SOLUTIONS                                    ¨ Contingent
    PO BOX 205154                                                   ¨ Unliquidated
    DALLAS, TX 75320-5154                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
    ABK LOGISTICS LLC
    OR TBS FACTORING SERVICE                                        ¨ Contingent
    PO BOX 248920                                                   ¨ Unliquidated
    OKLAHOMA CITY, OK 73124-8920                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,235.00
    ABO LOGISTICS INC
    OR ECAPITAL FREIGHT FACTORING CORP.                             ¨ Contingent
    PO BOX 206773                                                   ¨ Unliquidated
    DALLAS, TX 75320-6773                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
    ABTK TRANSPORTS LLC
    OR INTERNET TRUCKSTOP PAYMENTS LLC                              ¨ Contingent
    PO BOX 7410411                                                  ¨ Unliquidated
    CHICAGO, IL 60674-0411                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
    ABX
    7183 CARLS HILL RD                                              ¨ Contingent
    ZIONSVILLE, PA 18092                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.76 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,125.00
    AC TRANSIT INC
    OR RTS FINANCIAL SERVICE, INC                                   ¨ Contingent
    PO BOX 840267                                                   ¨ Unliquidated
    DALLAS, TX 75284-0267                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,600.00
    AC TRANSPORT SERVICES, INC
    PO BOX 4032                                                     ¨ Contingent
    RANCHO CUCAMONGA, CA 91729                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
    AC TRUCKING LLC
    OR RTS FINANCIAL SERVICE, INC                                   ¨ Contingent
    PO BOX 840267                                                   ¨ Unliquidated
    DALLAS, TX 75284                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    536.16
    ACCENT MOVING & STORAGE INC
    400 N POPLAR AVE                                                ¨ Contingent
    BROKEN ARROW, OK 74012-2335                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.80 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,230.00
    ACCURATE TRANSPORTATION, INC.
    ACCURATE TRANSPORTATION, INC.                                   ¨ Contingent
    2150 CLOVERLEAF ST EAST                                         ¨ Unliquidated
    COLUMBUS, OH 43232                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,224.00
    ACE TRANSPORTATION INC
    OR COMPASS FUNDING SOLUTIONS                                    ¨ Contingent
    PO BOX 205154                                                   ¨ Unliquidated
    DALLAS, TX 75320-5154                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
    ACOSTA TRANS LLC
    OR OTR CAPITAL LLC                                              ¨ Contingent
    PO BOX 1175760                                                  ¨ Unliquidated
    ATLANTA, GA 30368-7576                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,350.00
    ACTIVE MOVING, INC.
    2365 EAST 13 STREET SUITE 4N                                    ¨ Contingent
    BROOKLYN, NY 11229                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.84 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,550.00
    AD CARGO INC
    OR OPENROAD FINANCIAL SERVICES, INC.                            ¨ Contingent
    PO BOX 484                                                      ¨ Unliquidated
    DALLAS, OR 97338                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
    ADAL LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,600.00
    ADAL TRANSPORT LLC
    OR TRIUMPH BUSINESS CAPITAL                                     ¨ Contingent
    PO BOX 610028                                                   ¨ Unliquidated
    DALLAS, TX 75261                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,129.40
    ADAM TRANSPORTATION LLC
    OR ENGLAND CARRIER SERVICES                                     ¨ Contingent
    PO BOX 953086                                                   ¨ Unliquidated
    ST LOUIS, MO 63195-3086                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.88 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,400.00
    ADAMS TRANSIT, INC.
    P O BOX 338                                                     ¨ Contingent
    FRIESLAND, WI 53935                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,250.00
    ADELSA TRUCKING LLC
    OR TRIUMPH FINANCIAL SERVICES, LLC                              ¨ Contingent
    PO BOX 610028                                                   ¨ Unliquidated
    DALLAS, TX 75261-0028                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,550.00
    ADI FREIGHT LINES
    OR OTR CAPITAL DBA OTR SOLUTIONS                                ¨ Contingent
    PO BOX 1175760                                                  ¨ Unliquidated
    ATLANTA, GA 30368-7576                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
    ADIL TRUCKING LLC
    OR CARRIERNET GROUP FINANCIAL                                   ¨ Contingent
    PO BOX 1130                                                     ¨ Unliquidated
    SIOUX FALLS, SD 57101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
    ADVANCE EXPRESS LLC
    OR APEX CAPITAL CORP                                            ¨ Contingent
    PO BOX 961029                                                   ¨ Unliquidated
    FT WORTH, TX 76161                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.93 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    124.00
    ADVANCE RELOCATION SYSTEMS
    11500 CROSSROADS CIRCLE SUITE                                   ¨ Contingent
    BALTIMORE, MD 21220                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.94 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,700.00
    ADVANCE TRANSPORTATION SYSTEMS INC
    OR AMERISOURCE FUNDING INC                                      ¨ Contingent
    PO BOX 4738                                                     ¨ Unliquidated
    HOUSTON, TX 77210                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



    Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.95 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ADVANCED EV USA GOLF CARS LLC
    1406 SOUTHGATE DR.                                              þ Contingent
    ROSENBERG, TX 77471                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes

3.96 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    AEROCLEAN
    10455 RIVERSIDE DR STE 100                                      þ Contingent
    PALM BEACH GARDENS, FL 33410                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



    Date or dates debt was incurred       Undetermined              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.97 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,600.00
     AFLAH TRUCKING LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.98 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     AFS
     OR ASSIST FINANCIAL SERVICES INC                               ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.99 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AFS LOGISTICS
     PO BOX 18170                                                   þ Contingent
     SHREVEPORT, LA 71138                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.100 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     AFT TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.101 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    875.00
     AG EXPEDITED INC
     OR CREDENCE GROUP INC                                          ¨ Contingent
     95 W 61ST ST                                                   ¨ Unliquidated
     WESTMONT, IL 60559-2615                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.102 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     AG TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.103 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     AGEMETTA TRUCKING LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.104 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,360.00
     AGK LOGISTICS INC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.105 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     AGP TRANSPORT INC
     OR LOVES SOLUTIONS LLC                                         ¨ Contingent
     PO BOX 96-0479                                                 ¨ Unliquidated
     OKLAHOMA CITY, OK 73196-0479                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.106 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,200.00
     AGRA ENTERPRISE LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,328.00
     AGX FREIGHT CARRIERS, LLC
     P. O. BOX 72280                                                ¨ Contingent
     CLEVELAND, OH 44192                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.108 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     AH LOGISTICS
     5437 W TERRACE AVE                                             ¨ Contingent
     FRESNO, CA 93722-8652                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.109 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,400.00
     AH PRIME TRANSPORT LLC
     OR FARWEST CAPITAL                                             ¨ Contingent
     PO BOX 961209                                                  ¨ Unliquidated
     EL PASO, TX 79996                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.110 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AHTNA LOGISTICS LLC
     1420 STONERIDGE DR                                             þ Contingent
     STE A, MIDDLETOWN, PA 17057                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.111 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     AIDIAH TRUCKING LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AIR LIFT COMPANY
     2727 SNOW RD                                                   þ Contingent
     LANSING, MI 48917                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.113 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     AIR ROAD CARRIER LTD
     6330 131A ST                                                   ¨ Contingent
     SURREY, BC V3X1N9                                              ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.114 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     AIRPORT LOGISTICS SERVICES GROUP, INC.
     5600 NORTH RIVER ROAD SUITE 65                                 ¨ Contingent
     ROSEMONT, IL 60018                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.115 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AIRTEX
     259 LOWER MORRISVILLE RD.                                      þ Contingent
     FALLSINGTON, PA 19054                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.116 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     AISA TRANSPORTATION LLC
     1057 W 8TH ST                                                  ¨ Contingent
     CORONA, CA 92882                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.117 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,800.00
     AJ TRANSPORTATION LLC
     OR INTERNET TRUCKSTOP PAYMENTS LLC                             ¨ Contingent
     PO BOX 7410411                                                 ¨ Unliquidated
     CHICAGO, IL 60674-0411                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.118 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     AK EXPRESS TRANSPORT LLC
     OR ITHRIVE FUNDING                                             ¨ Contingent
     PO BOX 25357                                                   ¨ Unliquidated
     SALT LAKE CITY, UT 84125                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.119 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,150.00
     AKA CARGO INC
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.120 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    525.00
     AKAAL CARRIER INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.121 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,600.00
     AKKA EXPRESS INC
     7465 WATT AVE                                                  ¨ Contingent
     ROSEVILLE, CA 95661                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.122 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     AKS TRANS INC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.123 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     ALABAMA MOTOR EXPRESS, INC.
     PO BOX 487                                                     ¨ Contingent
     ASHFORD, AL 36312                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.124 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     ALADDIN'S LOGISTICS LLC
     OR TBS FACTORING SERVICE                                       ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.125 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ALAMOTAPE
     310 MAIN AVE WAY SE                                            þ Contingent
     HICKORY, NC 28602                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.126 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     ALANIS TRUCKING COMPANY LLC
     74 FRESNO CIRCLE                                               ¨ Contingent
     RIO GRANDE CITY, TX 78582                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.127 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     ALBANIA TRUCKING INC
     OR CAPITAL DEPOT                                               ¨ Contingent
     8930 N. WAUKEGAN ROAD, SUITE 230                               ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.128 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,500.00
     ALBAZI TRUCKING INC
     OR CARRIERNET GROUP FINANCIAL                                  ¨ Contingent
     PO BOX 1130                                                    ¨ Unliquidated
     SIOUX FALLS, SD 57101                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.129 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,350.00
     ALCIME LOGISTICS LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.130 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,200.00
     ALE LOGISTICS INCORPORATED
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.131 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,400.00
     ALESSI LLC
     OR TRANSAM FINANCIAL SERVICES, INC.                            ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,000.00
     ALEX TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.133 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     ALEXANDER LOGISTICS LLC (MC1442456)
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.134 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,000.00
     ALEXANDER, WINSTON & ASSOCIATES INC
     6515 GOODMAN RD SUITE 4                                        ¨ Contingent
     OLIVE BRANCH, MS 38654                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.135 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     ALKS INC
     9112 CONCORD DR                                                ¨ Contingent
     ORLAND PARK, IL 60462-2108                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.136 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,000.00
     ALL AMERICAN STAR COMPANY
     OR ENGLAND CARRIER SERVICES, LLC                               ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,223.90
     ALL CARE DELIVERY INC
     4157 JAMI LN                                                   ¨ Contingent
     SNELLVILLE, GA 30039                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.138 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    710.00
     ALL IN 1 LOGISTICS LLC
     OR TBS FACTORING SERVICE                                       ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.139 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     ALL IN TRANSPORT LLC (MC1243085)
     OR TBS FACTORING SERVICE LLC                                   ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124-8920                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.140 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,015.00
     ALL SEASON TRANSPORT LLC
     PO BOX 5174                                                    ¨ Contingent
     KENT, WA 98064                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.141 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     ALL STATE TRUCKING TRANSPORTATION INC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ALL STATES TRANSPORT LLC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101-4565                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.143 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,500.00
     ALL TRANSPORTATION SERVICES LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.144 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,750.00
     ALL V TRANSPORT, LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.145 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     ALL YEAR ROUND GROUNDSMAN LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.146 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ALLBOUND
     3540 SEVEN BRIDGES DR - STE 150                                ¨ Contingent
     WOODRIDGE, IL 60517                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.147 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,800.00
     ALLEN TRANSPORTATION INC
     OR CJM FINANCIAL INC                                           ¨ Contingent
     PO BOX 727                                                     ¨ Unliquidated
     ANKENY, IA 50021                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.148 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ALLIANCE CFS LLC
     OR HMD TRUCKING, INC.                                          ¨ Contingent
     10031 VIRGINIA AVE                                             ¨ Unliquidated
     CHICAGO RIDGE, IL 60415                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.149 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,700.00
     ALLIANCE TRUCKING INC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.150 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,200.00
     ALLSTATE FREIGHT SYSTEMS INC.
     OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL         ¨ Contingent
     PO BOX 741791                                                  ¨ Unliquidated
     LOS ANGELES, CA 90074                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.151 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ALMO ELECTRONICS
     2709 COMMERCE WAY                                              þ Contingent
     PHILADELPHIA, PA 19154                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.152 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ALONZO TRUCKING LLC
     OR TAFS, INC, P.O. BOX 872632                                  ¨ Contingent
     KANSAS CITY, MO 64187                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.153 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,275.00
     ALONZO TRUCKING LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.154 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     ALPHA EXPRESS LLC
     OR APEX CAPITAL CORP, PO BOX 961029                            ¨ Contingent
     FT WORTH, TX 76161                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.155 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,900.00
     ALPHA EXPRESS LLC (BOILING SPRINGS SC)
     OR ORANGE COMMERCIAL CREDIT                                    ¨ Contingent
     PO BOX 11099                                                   ¨ Unliquidated
     OLYMPIA, WA 98508-1099                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.156 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     ALPHA KING TRUCKING LLC
     450 RIDGE AVE                                                  ¨ Contingent
     GREENDALE, IN 47025                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.157 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     ALPHA LINES LLC
     OR INTEGRATED LOGISTICS & ASSOCIATES                           ¨ Contingent
     PO BOX 25189                                                   ¨ Unliquidated
     FARMINGTON, NY 14425                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.158 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,900.00
     ALPHA LION TRUCKING LLC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.159 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     ALPHA TRANS LTD
     38 MARIA ANTONIA ROAD                                          ¨ Contingent
     WOODBRIDGE, ON L4H 2S4                                         ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.160 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,400.00
     ALPHA TRANSPORT INC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.161 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     ALSOP TRUCKING INC
     8629 JEFFERSON DAVIS HIGHWAY                                   ¨ Contingent
     FREDERICKSBURG, VA 22407                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.162 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,350.00
     ALTAIR LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.163 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,150.00
     ALTL, INC.
     PO BOX 100, 3000 CORPORATE GROVE DRIVE                         ¨ Contingent
     HUDSONVILLE, MI 49426                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.164 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,750.00
     ALTPRO LC
     ALTPRO LC                                                      ¨ Contingent
     6119A GREENVILLE AVE# 305                                      ¨ Unliquidated
     DALLAS, TX 75206                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.165 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,100.00
     ALWAYS THERE EXPRESS CORPORATION
     OR APEX CAPITAL CORPORATION                                    ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FORT WORTH, TX 76161                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.166 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     ALYNEVYCH INC
     OR TRU FUNDING LLC                                             ¨ Contingent
     PO BOX 151013                                                  ¨ Unliquidated
     OGDEN, UT 84415-1013                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.167 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     AM TRANSPORT
     OR INSIGHT TECHNOLOGY INC                                      ¨ Contingent
     PO BOX 200399                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.168 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,900.00
     AMA LOGISTICS INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.169 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
     AMA TRANSPORT LLC
     OR GULF COAST BANK AND TRUST                                   ¨ Contingent
     PO BOX 732951                                                  ¨ Unliquidated
     DALLAS, TX 75373                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.170 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     AMAHTRUCKING LLC
     OR ALADDIN FINANCIAL, INC                                      ¨ Contingent
     PO BOX 1394                                                    ¨ Unliquidated
     SIOUX FALLS, SD 57101                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.171 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,350.00
     AMAL TRANSPORT LLC
     OR ALADDIN FINANCIAL, INC                                      ¨ Contingent
     PO BOX 1394                                                    ¨ Unliquidated
     SIOUX FALLS, SD 57101                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.172 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,500.00
     AMAN LOGISTICS LLC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161-1029                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.173 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     AMAN TRANS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.174 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,125.00
     AMARJOT INC
     22 JOHN ST                                                     ¨ Contingent
     MALDEN, MA 02148                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.175 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,100.00
     AMAROK LOGISTICS LLC
     6860 SCOTT ST                                                  ¨ Contingent
     HOLLYWOOD, FL 33024-3816                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.176 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,950.00
     AMASON INC
     OR TRU FUNDING LLC                                             ¨ Contingent
     PO BOX 151013                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.177 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,450.00
     AMBER LINE TRUCKING INC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.178 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     AMCAN FREIGHT EXPRESS LLC
     AMCAN FREIGHT EXPRESS LLC                                      ¨ Contingent
     PO BOX 643                                                     ¨ Unliquidated
     ROSEMONT, IL 60018                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.179 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     AMEN TRUCKING LLC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.180 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AMEREX CORPORATION
     7595 GADSDEN HWY                                               þ Contingent
     TRUSSVILLE, AL 35173                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.181 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,700.00
     AMEREX CORPORATION
     7595 GADSDEN HWY                                               ¨ Contingent
     TRUSSVILLE, AL 35173                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.182 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,000.00
     AMERI FREIGHT WAY
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.183 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     AMERICAN 1 LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.184 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AMERICAN BILTRITE CANADA LTD
     635 PEPIN RUE                                                  þ Contingent
     SHERBROOKE, QC J1L2P8                                          þ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.185 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 37,483.70
     AMERICAN CARGO ENTERPRISE LLC
     18 HYATT AVE BLDG 3                                            ¨ Contingent
     NEWARK, NJ 07105                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.186 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,895.00
     AMERICAN DREAM TRUCK LINES INC
     27274 W MOCKINGBIRD DR                                         ¨ Contingent
     FLAT ROCK, MI 48134                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     AMERICAN EXPRESS CARGO INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.188 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
     AMERICAN EXPRESS FREIGHT INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.189 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     AMERICAN FREIGHT EXPRESS INC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.190 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,000.00
     AMERICAN GLOBAL EXPRESS, LLC
     OR ECAPITAL FREIGHT FACTORING CORP                             ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.191 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,950.00
     AMERICAN LANES TRANSPORT LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.192 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AMERICAN LAUNDRY PRODUCTS
     300 NORTHLAND BLVD                                             þ Contingent
     AIKEN, SC 29801                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.193 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AMERICAN LIGHT METALS DBA EMPIRE DIE CASTING CO.
     635 HIGHLAND RD E                                              þ Contingent
     MACEDONIA, OH 44056                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.194 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AMERICAN PAPER
     14700 E 11 MILE RD                                             þ Contingent
     WARREN, MI 48089                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.195 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     AMERICAN SUCCESSFUL TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.196 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,250.00
     AMERICAN TIGERS LOGISTICS LLC
     OR BOBTAIL CAPITAL LLC                                         ¨ Contingent
     PO BOX 7410633                                                 ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.197 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     AMERICAN TRANSPORT SOLUTIONS, INC.
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.198 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 69,300.00
     AMERICAN TRANSPORT, INC.
     AMERICAN TRANSPORT, INC.                                       ¨ Contingent
     PO BOX 644831 - DEPT ATI                                       ¨ Unliquidated
     PITTSBURGH, PA 15264-4831                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.199 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,452.87
     AMERIGAS
     460 N GULPH RD.                                                ¨ Contingent
     KING OF PRUSSIA, PA 19406                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.200 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,875.00
     AMG EXPRESS TRUCKING LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     AMK TRANSPORT LLC
     OR TETRA CAPITAL, LLC                                          ¨ Contingent
     PO BOX 25297                                                   ¨ Unliquidated
     SALT LAKE CITY, UT 84125                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.202 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     AMO TRUCKING LLC
     OR OTR CAPITAL LLC, PO BOX 1175760                             ¨ Contingent
     ATLANTA, GA 30368-7576                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.203 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,450.00
     AMPO TRANSPORT LLC
     OR ECAPITAL FREIGHT FACTORING CORP                             ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.204 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,650.00
     AMPRO EXPRESS
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.205 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    775.00
     AMS TRANSPORT
     OR EXPRESS FREIGHT FINANCE                                     ¨ Contingent
     PO BOX 6188                                                    ¨ Unliquidated
     CAROL STREAM, IL 60197-6188                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.206 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
     AMZ TRANS INC
     8930 WAUKEGAN RD, STE 230                                      ¨ Contingent
     MORTON GROVE, IL 60053                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.207 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,100.00
     AN ENTERPRISE INC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.208 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ANAX HOLDINGS
     401 WILSHIRE BLVD FL 12                                        þ Contingent
     SANTA MONICA, CA 90401-1456                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.209 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,490.00
     ANDY O EXPRESS INC
     OR ASSIST FINANCIAL SERVICES INC                               ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.210 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,300.00
     ANET TRANSPORT LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.211 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,700.00
     ANGEL'S TRANSPORTATION LLC
     OR LOVES SOLUTIONS LLC, PO BOX 96-0479                         ¨ Contingent
     OKLAHOMA CITY, OK 73196-0479                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.212 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,750.00
     ANM TRANSPORT INC
     OR J D FACTORS                                                 ¨ Contingent
     PO BOX 3428                                                    ¨ Unliquidated
     PALOS VERDES, CA 90274                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.213 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,100.00
     ANMAR TRUCKING INC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.214 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     ANZU TRUCKING LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.215 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     AP LOGISTICS LLC (MC1362863)
     OR CFS INC DBA COMFREIGHT HAULPAY                              ¨ Contingent
     PO BOX 200400                                                  ¨ Unliquidated
     DALLAS, TX 75320-0400                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.216 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     APACHE SERVICE INC
     333 N AZUSA AVE                                                ¨ Contingent
     AZUSA, CA 91702                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.217 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     API
     12682 CARDINAL MEADOW DR WHSE 1-4                              þ Contingent
     SUGAR LAND, TX 77478                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.218 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     APOLLO EXPRESS, INC.
     170 CORPORATE WOODS COURT                                      ¨ Contingent
     BRIDGETON, MO 63044                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.219 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     APPALACHES NATURE
     1200 9E RUE S                                                  þ Contingent
     THEFORD MINES, QC G6G0G9                                       þ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.220 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     APPLE FASTENERS
     PO BOX 1039                                                    þ Contingent
     HILDEBRAN, NC 28637                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.221 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     APS TRANS INC (WIXOM MI)
     408 WRIGHT ST                                                  ¨ Contingent
     WIXOM, MI 48393                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.222 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,445.60
     APT TRANSPORT INC
     32 MADISON AVENUE                                              ¨ Contingent
     FRANKLIN SQUARE, NY 11010                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.223 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AQUA SCIENCE
     301 NOOSENECK RD                                               þ Contingent
     WYOMING, RI 02898                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.224 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     AR TRANSIT LLC
     OR NFUSION CAPITAL, LLC                                        ¨ Contingent
     PO BOX 151072                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.225 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,400.00
     ARAB CARTAGE & EXPRESS CO., INC.
     1101 NATHAN RD SW                                              ¨ Contingent
     ARAB, AL 35016                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.226 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ARAGOSO
     200 HOMER AVE STE 190                                          þ Contingent
     ASHLAND, MA 01721                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.227 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ARAMARK
     2900 S 20TH ST                                                 þ Contingent
     PHILADELPHIA, PA 19145                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.228 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,117.17
     ARAMARK
     PO BOX 650977                                                  ¨ Contingent
     DALLAS, TX 75265                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.229 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,855.00
     ARAS LOGISTICS INC
     OR J D FACTORS, LLC                                            ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.230 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,500.00
     ARAX LOGISTICS INC
     OR CROSSROAD SERVICES LLC                                      ¨ Contingent
     PO BOX 7410440                                                 ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.231 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,230.00
     ARCH TRANSPORT LLC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.232 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     ARIAS TRUCKING
     OR FLASH FUNDING LLC                                           ¨ Contingent
     PO BOX 224507                                                  ¨ Unliquidated
     DALLAS, TX 75222                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.233 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,600.00
     ARIES LOGISTICS INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.234 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,225.00
     ARKO TRANS LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.235 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,381.34
     ARL (MC152672)
     VETERAN CARRIERS (DIV OF ARL)                                  ¨ Contingent
     PO BOX 809374                                                  ¨ Unliquidated
     CHICAGO, IL 60680-9374                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.236 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    350.00
     ARM TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.237 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     ARMAAN TRANSPORT LLC
     12857 SE 225TH CT                                              ¨ Contingent
     KENT, WA 98031                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.238 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,400.00
     ARMADA TRANSPORT INC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.239 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    110.19
     ARNOFF MOVING & STORAGE
     10 STONEBREAK ROAD SUITE 1                                     ¨ Contingent
     MALTA, NY 12020                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.240 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     ARNOTT TRUCKING LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.241 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,600.00
     ARO TRANS LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.242 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     ARROWHEAD TRANSPORT (MC1497250)
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.243 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,550.00
     ARSH TRUCKING LLC
     10 SUGGS LANE                                                  ¨ Contingent
     HICKSVILLE, NY 11801                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.244 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,600.00
     AS EXPRESS CORP
     OR FINANCIAL CARRIER SERVICES                                  ¨ Contingent
     PO BOX 151052                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.245 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,500.00
     ASA PRO TRANS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.246 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     ASANTE TRUCKING LLC
     OR SAFINANCIAL GROUP INC                                       ¨ Contingent
     PO BOX 195                                                     ¨ Unliquidated
     GRANGER, IN 46530                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.247 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     ASAP TRUCKING COMPANY
     120 PEACH STATE CT, PO BOX 515                                 ¨ Contingent
     TYRONE, GA 30290                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.248 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,550.00
     ASAP XPRESS INC
     OR SOURCE FUNDING INC                                          ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.249 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,750.00
     ASB TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.250 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     ASE TRANSPORTS LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.251 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ASH TRANSPORT LLC (MC1190893)
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.252 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ASH TRANSPORT LOGISTICS LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.253 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ASHLEY FURNITURE INDUSTRIES INC
     1 ASHLEY WAY                                                   þ Contingent
     ARCADIA, WI 54612                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.254 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,350.00
     ASK TRANSPORT LLC
     8085 OWENS WAY                                                 ¨ Contingent
     ARVADA, CO 80005                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.255 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     ASLAM TRANSPORT INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.256 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   8,400.00
     ASLAN EXPRESS INC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.257 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     ASNE TRUCKING LLC
     OR INTEGRA FUNDING SOLUTIONS, LLC                              ¨ Contingent
     6300 RIDGLEA PL, SUITE 1101                                    ¨ Unliquidated
     FORT WORTH, TX 76116                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.258 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ASO LLC
     300 SARASOTA CENTER BLVD                                       þ Contingent
     SARASOTA, FL 34240                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.259 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,600.00
     ASR TRUCKING LLC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.260 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ASSOCIATED PACKAGING
     5250 EAGLE TRAIL DR STE B                                      þ Contingent
     TAMPA, FL 33634                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.261 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,650.00
     ASSURED DISPATCHING LLC
     OR SEVENOAKS CAPITAL ASSOCIATES LLC                            ¨ Contingent
     P O BOX 669130                                                 ¨ Unliquidated
     HOUSTON, TX 75266                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.262 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     AST
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.263 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     AT FAMILY TRUCKING LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.264 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,081.65
     ATB FREIGHT EXPEDITORS
     5505 BAHIA MAR CIRCLE                                          ¨ Contingent
     STONE MOUNTAIN, GA 30087                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.265 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     ATKORE
     4205 ELIZABETH ST                                              þ Contingent
     WAYNE, MI 48184                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.266 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     ATLANTIC CARGO INC
     OR ORANGE COMMERCIAL CREDIT                                    ¨ Contingent
     PO BOX 11099                                                   ¨ Unliquidated
     OLYMPIA, WA 98508-1099                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.267 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     ATOM LOGISTICS INC
     OR J D FACTORS                                                 ¨ Contingent
     PO BOX 3428                                                    ¨ Unliquidated
     PALOS VERDES, CA 90274                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.268 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     ATS CARRIER CORPORATION
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.269 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     ATS FREEWAY
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.270 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,700.00
     ATTEBERRY ENTERPRISES, LLC
     14058 HWY J                                                    ¨ Contingent
     CONWAY, MO 65632                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.271 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    556.95
     AUCA WESTERN FIRST AID LBX
     25259 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.272 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     AUGUSTA TRANSPORTATION
     PO BOX 1867                                                    ¨ Contingent
     AUGUSTA, GA 30903                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.273 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    625.00
     AUJLA TRANSPORTATION
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.274 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,050.00
     AULAKH BROS TRANS INC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.275 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,900.00
     AUSCOR TRANSPORTATION SERVICES
     PO BOX 625                                                     ¨ Contingent
     BERNARDSVILLE, NJ 07924                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.276 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   9,278.62
     AUSTIN KAYAK LLC
     3106 LONGHORN BLVD                                             ¨ Contingent
     AUSTIN, TX 78758                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.277 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     AUTHENTIC QUALITY TRANSPORT
     26401 ELINORE AVE                                              ¨ Contingent
     EUCLID, OH 44132                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.278 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     AV PADILLA TRUCKING LLC
     OR NU-KO CAPITAL LLC                                           ¨ Contingent
     PO BOX 150884                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.279 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     AV-DG LOGISTICS
     OR CFS, INC DBA COMFREIGHT HAULPAY                             ¨ Contingent
     65 PINE AVE, STE 853                                           ¨ Unliquidated
     LONG BEACH, CA 90802                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.280 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     AVELINO VIP TRANSPORT LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.281 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     AVONDALE SDA SCHOOL
     1201 N ORCHARD KNOB AVE                                        þ Contingent
     CHATTANOOGA, TN 37406                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.282 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,900.00
     AVP EXPRESS LLC
     OR YANKTON FACTORING                                           ¨ Contingent
     PO BOX 217                                                     ¨ Unliquidated
     YANKTON, SD 57078                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.283 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     AVP TRANSPORT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.284 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     AVR INC
     14698 GALAXIE AVE                                              ¨ Contingent
     APPLE VALLEY, MN 55124                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.285 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,450.00
     AX EXPRESS INC
     OR CAPITAL DEPOT INC                                           ¨ Contingent
     8930 WAUKEGAN RD SUITE 230                                     ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.286 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     AYG CARRIER LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.287 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
     AYR TRUCKING & DELIVERY LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.288 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    825.00
     AZAD LOGISTICS LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.289 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,450.00
     AZR TRANSPORT LLC
     11324 SIERRA GORDA DR                                          ¨ Contingent
     LAREDO, TX 78045                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.290 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     B & B TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.291 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,070.00
     B & G ALONZO TRUCKING
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.292 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,400.00
     B & K TRUCKING LLC
     287 JENNIFER LN NW                                             ¨ Contingent
     LILBURN, GA 30047                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.293 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     B & P TRANSPORT LLC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.294 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,200.00
     B & V TRUCKING LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.295 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     B EXPRESS LLC
     OR TBS FACTORING SERVICE                                       ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124-8920                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.296 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     B O I TRANSPORTATION INCORPORATED
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.297 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     B PLUS
     201 W WILLIAM WHITE WAY                                        þ Contingent
     SHELTON, WA 98584                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.298 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,400.00
     B&B TRANSPORT INC
     4263 E NORTH AVE                                               ¨ Contingent
     FRESNO, CA 93725                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.299 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     B&B TRUCKING
     4039 COLUMBIA AVE                                              ¨ Contingent
     COLUMBIA, PA 17512                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.300 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,500.00
     B&G ENTERPRISES II, LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.301 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,100.00
     B&M EXPRESS LLC
     OR CAPITAL DEPOT                                               ¨ Contingent
     8930 N. WAUKEGAN ROAD, SUITE 230                               ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.302 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     B&M TRUCKING SERVICES LLC
     OR TRIUMPH FINANCIAL SERVICES, LLC                             ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.303 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     BA SOLUTIONS NC CORP
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.304 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,200.00
     BAAJ TRANSPORT LLC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101-4565                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.305 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,700.00
     BADR TRANSPORTATION INC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.306 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    293.75
     BAE BAES TRANSPORTATION
     OR ECAPITAL FREIGHT FACTORING                                  ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.307 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,400.00
     BAGHDAD TRUCKING INC
     OR ECAPITAL FREIGHT FACTORING CORP.                            ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.308 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     BAIKOZU INC
     OR TAB BANK                                                    ¨ Contingent
     PO BOX 150830                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.309 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     BAKER'S LOGISTICS LLC
     OR LOVES SOLUTIONS LLC                                         ¨ Contingent
     PO BOX 96-0479                                                 ¨ Unliquidated
     OKLAHOMA CITY, OK 73196-0479                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.310 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,075.00
     BALIC TRANSPORT INC
     10151 E 107TH PL                                               ¨ Contingent
     BRIGHTON, CO 80601                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.311 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,700.00
     BALTIC CORP
     OR ASSIST FINANCIAL SERVICES, INC.                             ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.312 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,274.00
     BAM LOGISTICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.313 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,200.00
     BAMBOOTS CORPORATION
     8313 ROLLING ROCK DR                                           ¨ Contingent
     FORT WORTH, TX 76123                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.314 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,950.00
     BAMBY EXPRESS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.315 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     BANKO EXPRESS LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.316 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     BANKS & BANKS LLC
     33756 SANDY RIDGE ROAD                                         ¨ Contingent
     FRANKLIN, VA 23851                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.317 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,400.00
     BARNHART TRANSPORTATION LLC
     PO BOX 247                                                     ¨ Contingent
     HARBORCREEK, PA 16421                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.318 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     BARON EXPRESS INC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.319 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     BASIC BOB'S TRUCKING LLC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.320 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     BASKILE TRUCKING LLC
     OR ALADDIN FINANCIAL, INC                                      ¨ Contingent
     PO BOX 1394                                                    ¨ Unliquidated
     SIOUX FALLS, SD 57101                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.321 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     BATA LOGISTICS LLC
     OR J D FACTORS LLC                                             ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.322 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,017.47
     BATON ROUGE CARGO SERVICE, INC.
     2808 COURT ST                                                  ¨ Contingent
     PORT ALLEN, LA 70767                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.323 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,050.00
     BAY & BAKOL TRANSPORTATION LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.324 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAY INSULATION OF KANSAS CITY INC % SIMPLFIED LOGISTICS, LLC
     PO BOX 40088                                                   þ Contingent
     BAY VILLAGE, OH 44140-0088                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.325 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BAY INSULATION OF WASHINGTON % SIMPLIFIED LOGISTICS, LLC
     PO BOX 40088                                                   þ Contingent
     BAY VILLAGE, OH 44140-0088                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.326 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,200.00
     BAY TRUCKING LLC
     17155 W SHERMAN ST                                             ¨ Contingent
     PO BOX 7410440                                                 ¨ Unliquidated
     GOODYEAR, AZ 85338                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.327 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,000.00
     BAYSTAR TRANS INC
     PO BOX 2648                                                    ¨ Contingent
     UNION CITY, CA 94587                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.328 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 32,475.00
     BB EXPRESS LLC
     OR TRANSAM FINANCIAL SERVICES, INC.                            ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.329 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     BBE
     OR TBS FACTORING SERVICE                                       ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124-8920                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.330 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,000.00
     BC TRUCKING INC
     OR SINGH FINANCING                                             ¨ Contingent
     10206 FAIRBANKS N HOUSTON RD                                   ¨ Unliquidated
     HOUSTON, TX 77064                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.331 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     BCT TRANSPORT & LOGISTICS LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.332 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BEAR RIVER VALLEY CO OP
     2780 N 4800 W                                                  þ Contingent
     CORINNE, UT 84307                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.333 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BEARINGS MANUFACTURING
     15157 FOLTZ PKWY                                               þ Contingent
     STRONGSVILLE, OH 44149                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.334 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BED BATH & BEYOND
     650 LIBERTY AVE                                                þ Contingent
     UNION, NJ 07083                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.335 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 39,891.96
     BED BATH & BEYOND
     ATTN: JENNIFER LAWLER                                          ¨ Contingent
     650 LIBERTY AVE,                                               ¨ Unliquidated
     UNION, NJ 07083                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.336 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,100.00
     BEE ZONE LOGISTICS LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.337 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     BEEK LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.338 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     BEE-LINE DELIVERY SERVICE
     11113 LANDMARK 35 DR.                                          ¨ Contingent
     SAN ANTONIO, TX 78233                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.339 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     BEETLE TRANSPORTATION INCORPORATED
     P.O.BOX 1653                                                   ¨ Contingent
     LOMBARD, IL 60148                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.340 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,300.00
     BEJAY TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.341 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     BEK PRIME LOGISTICS INC
     OR TRIUMPH FINANCIAL SERVICES, LLC                             ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.342 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     BELEXPRESS LLC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.343 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,600.00
     BELTWAY TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.344 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,200.00
     BEN TRUCKING LLC
     OR PHOENIX CAPITAL GROUP, PO BOX 1415                          ¨ Contingent
     DES MOINES, IA 50305                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.345 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,250.00
     BENEFIT TRUCKING
     10031 VIRGINIA AVE                                             ¨ Contingent
     CHICAGO RIDGE, IL 60415                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.346 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     BENIPAL LOGISTICS LLC
     1310 EDGEWOOD LN                                               ¨ Contingent
     STREETSBORO, OH 44241-6604                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.347 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,400.00
     BENITEZ TRANSPORT
     2100 N JACKSON RD                                              ¨ Contingent
     HIDALGO, TX 78557                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.348 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,270.00
     BENJAMIN MAZER TRUCKING INC.
     2 UNIVERSITY PLAZA SUITE 100                                   ¨ Contingent
     HACKENSACK, NJ 07601                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.349 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     BENJEI ENTERPRISE INC
     OR ECAPITAL FREIGHT FACTORING CORP                             ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.350 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,012.50
     BERKELEY EXPRESS, INC.
     331 ELEANOR RD                                                 ¨ Contingent
     FORKED RIVER, NJ 08731                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.351 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BESSEY TOOLS INC
     757 DOUGLAS HILLS RD                                           þ Contingent
     LITHIA SPRINGS, GA 30122                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.352 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,600.00
     BEST AMERICAN TRANSPORT INC
     3 GRANT SQ # 401                                               ¨ Contingent
     HINSDALE, IL 60521                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.353 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,400.00
     BEST CARGO FREIGHT CORP
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.354 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     BEST COURIER & DELIVERY, AT-ONCE DELIVERY SYSTEMS INC.
     PO BOX 6327                                                    ¨ Contingent
     LIBERTYVILLE, IL 60048                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.355 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     BEST IN WEST TRANSPORTATION INC
     BEST IN WEST TRANSPORTATION INC                                ¨ Contingent
     13704 DE FOE AVENUE                                            ¨ Unliquidated
     SYLMAR, CA 91342                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.356 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     BEST SANITATION LLC
     OR PORTER BILLING SERVICES, LLC                                ¨ Contingent
     PO BOX 440127                                                  ¨ Unliquidated
     NASHVILLE, TN 37244                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.357 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    540.00
     BEST TRUCKING EXPRESS LLC
     3014 DAVID CT                                                  ¨ Contingent
     COLUMBUS, OH 43224                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.358 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,200.00
     BEST WAY TRANSPORT, INC.
     11205 SE FOSTER RD                                             ¨ Contingent
     PORTLAND, OR 97266                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.359 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,700.00
     BEVERLY FREIGHT INC
     OR CD CONSORTIUM CORP                                          ¨ Contingent
     8930 WAUKEGAN RD STE 230                                       ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.360 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     BEYOND FREIGHT INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.361 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,025.00
     BFB FREIGHT
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.362 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     BFNL TRUCKING LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.363 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     BFREIGHT INC
     OR OUTGO INC                                                   ¨ Contingent
     117 E LOUISA ST #161                                           ¨ Unliquidated
     SEATTLE, WA 98102                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.364 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,400.00
     BHF EXPRESS LLC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.365 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     BIG BIRD TRANSPORTATION LLC
     15614 SUMMER MAPLE TRAIL                                       ¨ Contingent
     CYPRESS, TX 77429                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.366 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,150.00
     BIG BLUE EXPRESS, LLC
     180 OLE STILL LANE                                             ¨ Contingent
     ELGIN, SC 29045                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.367 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     BIG BROTHER BUCKS TRUCKING LLC
     OR ECAPITAL FREIGHT FACTORING CORP.                            ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.368 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    662.50
     BIG GRIP STRIP TRUCKING LLC
     OR SUNBELT FINANCE                                             ¨ Contingent
     PO BOX 1000 DEPT 144                                           ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.369 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,800.00
     BIG ROCK TRANS INC
     OR CAPITAL DEPOT                                               ¨ Contingent
     8930 N. WAUKEGAN ROAD, SUITE 230                               ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.370 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BIG SKY FULFILLMENT
     PO BOX 1006                                                    þ Contingent
     BONNER, MT 59823                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.371 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     BIG WHEELS TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.372 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     BIGG RIGGIN INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.373 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     BIGSAM TRANSPORT LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.374 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   6,200.00
     BILIM LB INCORPORATED
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.375 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     BIR TRANSPORT COMPANY, INC.
     2042 TOWN CENTER BLVD PMB 350                                  ¨ Contingent
     KNOXVILLE, TN 37922                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.376 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     BISOM TRUCK LINE, INC.
     725 FIRST ST. NORTH                                            ¨ Contingent
     NEWTON, IA 50208                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.377 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     BJS LOGISTICS LLC
     OR CFS, INC DBA COMFREIGHT HAULPAY                             ¨ Contingent
     65 PINE AVE, STE 853                                           ¨ Unliquidated
     LONG BEACH, CA 90802                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.378 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,000.00
     BLACK DOG TRANSPORT INC
     OR CROSSROAD SERVICES LLC                                      ¨ Contingent
     PO BOX 653076                                                  ¨ Unliquidated
     DALLAS, TX 75265                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.379 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     BLACK HAWK INC
     OR CAPITAL DEPOT                                               ¨ Contingent
     8930 N WAUKEGAN ROAD, SUITE 230                                ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.380 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,125.00
     BLACK HAWK TRANSPORT LTD
     OR ECAPITAL ORILLIA (CAN)                                      ¨ Contingent
     174 WEST ST SOUTH 2ND FLOOR                                    ¨ Unliquidated
     ORILLIA, ON L3V 6L4                                            ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.381 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     BLACK PEARL TRANSPORT LTD
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.382 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BLACKSTRAP INDUSTRIES, INC.
     C/O: LARRY R. DAVIDSON                                         þ Contingent
     121 SW MORRISON ST., SUITE 1020                                þ Unliquidated
     PORTLAND, OR 97204                                             þ Disputed
                                                                    Basis for the claim: Open Litigation



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.383 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BLANCHARD USED PARTS
     3150 CHARLESTON HWY                                            þ Contingent
     WEST COLUMBIA, SC 29172                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.384 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     BLANCO TRANSPORTS
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.385 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     BLESSED EXPRESS LLC
     OR LOVES SOLUTIONS LLC, PO BOX 639565                          ¨ Contingent
     CINCINNATI, OH 45263-9565                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.386 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     BLF TRANSPORTATION, LLC
     OR PHOENIX CAPITAL GROUP LLC                                   ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.387 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     BLUE + YELLOW LLC
     OR BOBTAIL                                                     ¨ Contingent
     PO BOX 932119                                                  ¨ Unliquidated
     ATLANTA, GA 31193                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.388 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    835.00
     BLUE EAGLE CARRIER INC
     5910 TANGERINE AVE                                             ¨ Contingent
     SACRAMENTO, CA 95823                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.389 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,550.00
     BLUE EAGLE TRANSPORT LLC
     7255 WINBERLY                                                  ¨ Contingent
     RICHMOND, TX 77407                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.390 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,300.00
     BLUE NEXT DOOR TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.391 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,000.00
     BLUE ORCA EXPRESS LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.392 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,300.00
     BLUE PANORAMA CORP
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.393 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,900.00
     BLUE ROADS TRUCKING INC
     7820 SHALIMAR ST                                               ¨ Contingent
     MIRAMAR, FL 33023                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.394 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     BLUE SKY FREIGHT CARRIER LLC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101-4565                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.395 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,300.00
     BLUE STAR LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.396 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,398.04
     BLUE STREAK COURIERS
     PO BOX 551261                                                  ¨ Contingent
     JACKSONVILLE, FL 32255                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.397 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     BLUELINKS TRANSPORT
     OR G SQUARED FUNDING LLC                                       ¨ Contingent
     8215 ROSWELL RD BUILDING 600                                   ¨ Unliquidated
     SANDY SPRINGS, GA 30350                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.398 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  11,675.00
     BLUESTAR SERVICES LLC
     PO BOX 72847                                                   ¨ Contingent
     ROSELLE, IL 60172                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.399 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     BLUGO TRANSPORTATION LLP
     OR ECAPITAL FREIGHT FACTORING CORP.                            ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.400 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     BMS TRANSPORTATION COMPANY, INC.
     PO BOX 2326                                                    ¨ Contingent
     PLATTE CITY, MO 64079                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.401 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    660.00
     BMS TRUCKING LLC (MILWAUKEE WI)
     OR ALADDIN FINANCIAL, INC                                      ¨ Contingent
     PO BOX 1394                                                    ¨ Unliquidated
     SIOUX FALLS, SD 57101                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.402 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    660.00
     B-NASA TOWING LLC
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.403 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     BNBB TRUCKING INC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 PO BOX 1000                                          ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.404 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,200.00
     BNGN LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.405 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     BNJ TRUCKING LLC
     OR TRANSAM FINANCIAL SERVICES, INC.                            ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.406 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     BNT TRANSPORT LLC
     OR COMMERCIAL FUNDING INC                                      ¨ Contingent
     P.O. BOX 207527                                                ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.407 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     BO TRANSPORTS
     6063 SOUTHCREST WAY                                            ¨ Contingent
     ST LOUIS, MO 63129                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.408 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     BOGGSTRUCKING LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.409 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     BOGO TRAVEL INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.410 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,750.00
     BOHREN LOGISTICS, INC.
     325 N. TAYLOR RD.                                              ¨ Contingent
     GARRETT, IN 46738                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.411 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,700.00
     BOIZ TRANSPORTATION LLC
     7253 CROCKETT CT                                               ¨ Contingent
     FONTANA, CA 92336                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.412 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BOLT LOGISTICS
     157 ADELAIDE ST W                                              þ Contingent
     TORONTO, ON M5H4E7                                             þ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.413 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,800.00
     BONANZA CARRIERS LLC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.414 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BOWEN FOAM AND FABRICS
     7100 N LOOP E STE A7                                           þ Contingent
     HOUSTON, TX 77028                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.415 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     BOWERMAN TRUCKING, INC
     BOWERMAN TRUCKING, INC                                         ¨ Contingent
     180 LEE LANE                                                   ¨ Unliquidated
     SEARCY, AR 72143                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.416 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,000.00
     BOWKEYS LOGISTICS LLC
     OR TRIUMPH FINANCIAL SERVICES, LLC                             ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.417 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,295.00
     BOX TRUCK KING LLC
     OR REV CAPITAL                                                 ¨ Contingent
     PO BOX 741791                                                  ¨ Unliquidated
     LOS ANGELES, CA 90074                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.418 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     BR TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.419 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BRAKE PARTS INC % ITS TRAFFIC SYSTEMS
     28915 CLEMENS RD #200                                          þ Contingent
     WESTLAKE, OH 44145                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.420 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 671,549.49
     BRAKE PARTS INC % ITS TRAFFIC SYSTEMS
     28915 CLEMENS RD #200                                          ¨ Contingent
     WESTLAKE, OH 44145                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.421 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BRANDED GROUP SA
     2580 N POWERLINE RD STE 601                                    þ Contingent
     POMPANO BEACH, FL 33069                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.422 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,850.00
     BRAVO EXPRESS INC
     1111 TINKER RD                                                 ¨ Contingent
     ROCKLIN, CA 95765                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.423 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     BRAVO EXPRESS TRUCKING INC
     303 9TH ST                                                     ¨ Contingent
     WEST BABYLON, NY 11704                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.424 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    347.31
     BRENDAMOUR MOVING & STORAGE INC.
     2630 GLENDALE MILFORD ROAD                                     ¨ Contingent
     CINCINNATI, OH 45241                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.425 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,700.00
     BRIGHT FUTURE TRUCKING LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.426 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,500.00
     BRIO LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.427 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,050.00
     BRITE LOGISTICS INC
     5000 S HOMAN AVE                                               ¨ Contingent
     CHICAGO, IL 60632                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.428 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     BRIWAY LOGISTICS INC
     481 TALL GRASS CIRCLE                                          ¨ Contingent
     LAKE ZURICH, IL 60047                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.429 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BRN SLEEP PRODUCTS
     3771 CAMERON RD                                                þ Contingent
     ORANGEBURG, SC 29115                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.430 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
     BRO-KAGAE TRANSPORT & LOGISTICS LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.431 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,980.00
     BROTHERS EXPRESS LINE, LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.432 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    625.00
     BROTHERS EXPRESS, LLC
     7162 READING ROAD - SUITE 1001                                 ¨ Contingent
     CINCINNATI, OH 45237                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.433 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     BROTHERS TRANS LLC
     24131 94TH AVE S                                               ¨ Contingent
     KENT, WA 98030-4752                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.434 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,300.00
     BROTHERS TRUCKING COMPANY INC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.435 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,852.19
     BROWN & JOSEPH
     ONE PIERCE PLACE,                                              ¨ Contingent
     SUITE 700 W                                                    ¨ Unliquidated
     ITASCA, IL 60143                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.436 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     BROWN CARTAGE COMPANY INC.
     5801 NEW CALHOUN HWY. NE                                       ¨ Contingent
     ROME, GA 30161                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.437 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     BRUGER INC
     895 SUNRISE DR                                                 ¨ Contingent
     SOUTH ELGIN, IL 60177                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.438 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    725.00
     BRV TRUCKING LLC
     OR ECAPITAL FREIGHT FACTORING CORP                             ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.439 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    620.00
     BRYAN TRUCKING OPERATIONS CORP
     PO BOX 1984                                                    ¨ Contingent
     FERNLEY, NV 89408                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.440 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     BRZ
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.441 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,050.00
     BRZ TRUCKING LLC
     3005 CHIMNEY WOOD TRAIL                                        ¨ Contingent
     INDIAN TRAIL, NC 28079                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.442 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,185.00
     BSD TRUCKING INC
     OR ECAPITAL FREIGHT FACTORING                                  ¨ Contingent
     174 WEST ST SOUTH 2ND FLOOR                                    ¨ Unliquidated
     ORILLIA, ON L3V 6L4                                            ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.443 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     BSE TRANSPORT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.444 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,100.00
     BSL EXPRESS TRUCKING INC
     PO BOX 1249                                                    ¨ Contingent
     PO BOX 1249                                                    ¨ Unliquidated
     BOLINGBROOK, IL 60440-9998                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.445 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     BTI INC
     9 E ELLINGTON CT                                               ¨ Contingent
     SOUTH ELGIN, IL 60177                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.446 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     BTI LOGISTICS LLC
     1125 W 650 N                                                   ¨ Contingent
     CENTERVILLE, UT 84014                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.447 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     BTR TRUCKING INC
     447 WINDHAM COVE DRIVE                                         ¨ Contingent
     CRYSTAL LAKE, IL 60014                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.448 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     BTR-WAY LOGISTICS LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.449 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,700.00
     BTS TRANSPORT
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.450 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     BUCKEYE CARRIER LLC
     OR ENGAGED FINANCIAL LLC                                       ¨ Contingent
     PO BOX 775553                                                  ¨ Unliquidated
     CHICAGO, IL 60677                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.451 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    350.00
     BUCKLEY LOGISTICS LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.452 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     BUILDING SPECIALTIES COMPANY INC
     2171 RUFFNER RD                                                þ Contingent
     BIRMINGHAM, AL 35210                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.453 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     BULL TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.454 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     BURALE TRANSPORT LLC
     OR PAY4FREIGHT.COM                                             ¨ Contingent
     PO BOX 1429                                                    ¨ Unliquidated
     BELLEVUE, NE 68005                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.455 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     BURNS TRANSPORT INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.456 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     BURU LLC
     OR SAINT JOHN CAPITAL CORPORATION                              ¨ Contingent
     PO BOX 74007671                                                ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.457 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,800.00
     BX USA INC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.458 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,700.00
     C & C USA CORP
     OR CENTURY FINANCE LLC                                         ¨ Contingent
     PO BOX 589                                                     ¨ Unliquidated
     MEMPHIS, TN 38101                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.459 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     C & S TRANSFER LLC
     10 DOUBLE CREEK DRIVE A-14                                     ¨ Contingent
     HATTIESBURG, MS 39402                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.460 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,800.00
     C & S TRANSPORTATION INC
     730 EPPERSON DR                                                ¨ Contingent
     CITY OF INDUSTRY, CA 91748                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.461 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,770.00
     C DOUBLE SS TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.462 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     C&D TRANSPORT SERVICES LLC
     1233 BLUESTEM ST                                               ¨ Contingent
     PANAMA CITY, FL 32405                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.463 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     C&F LOGISTIC INC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101-4565                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.464 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,350.00
     C. I. T. E.
     1116 N W 5TH ST                                                ¨ Contingent
     RICHMOND, IN 47374                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.465 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,900.00
     C. PEREZ TRANSPORTATION INC.
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.466 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,200.00
     C.D. TRUCKING LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.467 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,600.00
     C2B CARGO LLC
     OR PRO FUNDING INC                                             ¨ Contingent
     PO BOX 1000 DEPT #3045                                         ¨ Unliquidated
     MEMPHIS, TN 38148-3045                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.468 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     C4 TRANSPORTATION INC
     OR ECAPITAL FREIGHT FACTORING                                  ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.469 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,600.00
     CABO TRANSPORT USA LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.470 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,700.00
     CAL CARRIER INC
     OR TAB BANK                                                    ¨ Contingent
     PO BOX 150830                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.471 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,300.00
     CALI BROTHERS INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.472 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     CAMBRIDGE TRANSPORT LLC
     OR TRANSAM FINANCIAL SERVICES, INC.                            ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.473 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     CAMELBACK TRANSPORTATION LLC
     OR EXPRESS FREIGHT FINANCE                                     ¨ Contingent
     PO BOX 6188                                                    ¨ Unliquidated
     CAROL STREAM, IL 60197-6188                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.474 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,968.03
     CANAL CARTAGE COMPANY
     PO BOX 207284                                                  ¨ Contingent
     DALLAS, TX 75320                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.475 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     CANAMEX-CARBRA TRANSPORTATION SERVICES INC.
     7415 TORBRAM ROAD                                              ¨ Contingent
     MISSISSAUGA, ON L4T 1G8                                        ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.476 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     CANDY GIRL TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.477 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,300.00
     CANIBALL LOGISTICS LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.478 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 42,955.68
     CANO & SONS TRUCKING LLC
     109 W DICKER ROAD SUITE B                                      ¨ Contingent
     SAN JUAN, TX 78589                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.479 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,500.00
     CAPITAL 1 TRANS INC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.480 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     CAPITAL 1 TRANSPORT LLC
     OR BC FACTORING LLC                                            ¨ Contingent
     P.O. BOX 172091                                                ¨ Unliquidated
     MEMPHIS, TN 38187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.481 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    375.00
     CAPRICORN EXPRESS LLC
     OR RIVIERA FINANCE - MINNEAPOLIS                               ¨ Contingent
     PO BOX 850243                                                  ¨ Unliquidated
     MINNEAPOLIS, MN 55485-0243                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.482 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,800.00
     CARAMEX LOGISTICS INC
     62 SELBY ROAD                                                  ¨ Contingent
     BRAMPTON, ON L6W3L4                                            ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.483 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,400.00
     CARDINAL TRANSPORT
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.484 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,000.00
     CAREY ALL FREIGHT LLC
     OR BASICBLOCK INC                                              ¨ Contingent
     PO BOX 8697                                                    ¨ Unliquidated
     OMAHA, NE 68108                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.485 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     CARGO KING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.486 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,750.00
     CARGO LINES
     OR SUNBELT FINANCE                                             ¨ Contingent
     PO BOX 1000 - DEPT 144                                         ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.487 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,687.00
     CARGO MANAGEMENT GROUP
     1100 BOLETUS DR                                                ¨ Contingent
     HENDERSON, NV 89011                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.488 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
     CARGO MODULES
     10 E MERRICK RD STE 209                                        þ Contingent
     VALLEY STREAM, NY 11580                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.489 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,500.00
     CARGO SOLUTION OREGON EXPRESS
     2515 GEARY ST                                                  ¨ Contingent
     ALBANY, OR 97322                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.490 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   5,900.00
     CARGO TRANSPORT ALLIANCE LLC
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.491 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,100.00
     CARGOTRANS INTERNATIONAL CORP.
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.492 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,000.00
     CARIBBEAN EAGLE LLC
     OR ECAPITAL FREIGHT FACTORING CORP.                            ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.493 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                         6.46
     CARLSTAR % TMC
     315 N RACINE AVE                                               ¨ Contingent
     CHICAGO, IL 60607                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.494 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,050.00
     CARRIER ASSURE INC
     1007 N ORANGE ST FLOOR 4 #222                                  ¨ Contingent
     WILMINGTON, DE 19801                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.495 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     CARRIER STAR INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.496 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,776.00
     CARRIER411 SERVICES, INC.
     1540 INTERNATIONAL PKWY                                        ¨ Contingent
     LAKE MARY, FL 32746                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.497 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     CARRY ON TRUCKING LLC
     PO BOX 883                                                     ¨ Contingent
     MARYSVILLE, WA 98270                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.498 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,900.00
     CARTER EXPRESS, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.499 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     CASCADE LOGISTICS LLC
     18000 SE VOGEL RD                                              ¨ Contingent
     DAMASCUS, OR 97089                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.500 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CASS
     13001 HOLLENBERG DR                                            þ Contingent
     BRIDGETON, MO 63044                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.501 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     CASTER LOGISTICS LLC
     OR TRIUMPH FINANCIAL SERVICES, LLC                             ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.502 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    486.30
     CASTIEL H&F LLC
     68 SOUTH DEVINE STREET                                         ¨ Contingent
     NEWARK, NJ 07106                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.503 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     CAYENNE EXPRESS INC.
     410 TRANSPOINT DR.                                             ¨ Contingent
     DUPO, IL 62239                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.504 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     CC&K TRUCKING LLC
     OR PARIKH FINANCIAL                                            ¨ Contingent
     2802 TRAILRIDGE COURT                                          ¨ Unliquidated
     MISSOURI CITY, TX 77459                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.505 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,780.00
     CCAMPOS TRUCKING, LLC.
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.506 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     CDAV TRANSPORTATION LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.507 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,400.00
     CDB TRANSPORTATION LLC
     OR TRIUMPH FINANCIAL SERVICES, LLC                             ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.508 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    675.00
     CDM TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.509 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     CDN LOGISTICS, INC.
     PO BOX 3360                                                    ¨ Contingent
     XXX                                                            ¨ Unliquidated
     NORTHLAKE, IL 60164-3360                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.510 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CED GREENTECH
     423 FOSTER BROTHERS DR STE 300                                 þ Contingent
     W COLUMBIA, SC 29172                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.511 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     CENTRAL VALLEY CAPACITY INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.512 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CENTRIC PARTS % ITS TRAFFICE SYSTEMS
     28915 CLEMENS RD # 200                                         þ Contingent
     WESTLAKE, OH 44145                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.513 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     CH FREIGHT INC
     OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230             ¨ Contingent
     MORTON GROVE, IL 60053                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.514 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     CH FREIGHT LINE LLC
     3212 EASTWOOD DRIVE                                            ¨ Contingent
     ROCHESTER HILLS, MI 48309                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.515 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,100.00
     CH TRUCKING EPT, LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.516 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     CHAHAL EXPRESS
     14 CARTERET ST                                                 ¨ Contingent
     PORT READING, NJ 07064                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.517 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAMP C/O ITS TRAFFIC SYSTEMS
     28915 CLEMENS RD STE 200                                       þ Contingent
     WESTLAKE, OH 44145                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.518 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHAMPION USA LLC
     1900 GLADES RD                                                 þ Contingent
     BOCA RATON, FL 33431                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.519 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,300.00
     CHANK LOGISTICS LLC
     OR INTEGRA FUNDING SOLUTIONS LLC                               ¨ Contingent
     6300 RIDGLEA PL, SUITE 316                                     ¨ Unliquidated
     FORT WORTH, TX 76116                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.520 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     CHAPPELL TRANSPORT LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.521 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,400.00
     CHASE FREIGHT SERVICES LLC
     31107 AVONDALE ST                                              ¨ Contingent
     CANTON, MI 48188                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.522 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,525.00
     CHASE TRANSPORTATION
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.523 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,700.00
     CHASER, LLC
     OR RTS FINANCIAL SERVICES INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.524 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,850.00
     CHASERS TRANSPORTATION LLC
     OR TAFS INC                                                    ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.525 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,250.00
     CHASIN CARGO INC
     OR SUNBELT FINANCE                                             ¨ Contingent
     PO BOX 1000 DEPT 144                                           ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.526 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     CHAVEZ BROS TRUCKING
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161-1029                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.527 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,200.00
     CHCL LOGISTICS INC
     OR GEELERS FINANCIAL                                           ¨ Contingent
     760 E TASMAN DR                                                ¨ Unliquidated
     MILPITAS, CA 95035                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.528 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    687.04
     CHEETAH FINAL MILE LLC
     15342 S KEELER ST STE A                                        ¨ Contingent
     OLATHE, KS 66062                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.529 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     CHEMA'S TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.530 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHEMPRENE
     483 FISHKILL AVE                                               þ Contingent
     BEACON, NY 12508                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.531 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     CHEP'S LOGISTICS LLC
     OR OPERATION FINANCE INC                                       ¨ Contingent
     PO BOX 227352                                                  ¨ Unliquidated
     DALLAS, TX 75222-7352                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.532 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    480.00
     CHICAGO EMPIRE INC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.533 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    675.00
     CHIRU CARRIER SERVICES,LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.534 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     CHORES LLC
     1200 BROADWAY APT 1105                                         ¨ Contingent
     NASHVILLE, TN 37203-5144                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.535 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     CHRISTOS LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.536 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHUBB GROUP
     436 WALNUT STREET                                              þ Contingent
     10TH FLOOR                                                     þ Unliquidated
     PHILADELPHIA, PA 19107                                         ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #K08805866



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      5866                      ¨ Yes


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3.537 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CHUBB GROUP
     436 WALNUT STREET                                              þ Contingent
     10TH FLOOR                                                     þ Unliquidated
     PHILADELPHIA, PA 19107                                         ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #K0898993A



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      993A                      ¨ Yes

3.538 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,200.00
     CIA TRANSPORTATION LLC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.539 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    764.26
     CINTAS
     P.O. BOX 740855                                                ¨ Contingent
     CINCINNATI, OH 45274                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.540 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     CIRCLE B INC.
     6402 LOFTUS ROAD                                               ¨ Contingent
     DE FOREST, WI 53532                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.541 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,900.00
     CIRCLE EXPRESS INTERNATIONAL GROUP INC
     15350 STAFFORD ST                                              ¨ Contingent
     CITY OF INDUSTY, CA 91744                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.542 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CIRCLE GRAPHICS % BLUEGRACE
     2846 S. FALKENBURG RD.                                         þ Contingent
     RIVERVIEW, FL 33578                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.543 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,798.50
     CIRCLE PROSCO
     401 N GATES DR                                                 ¨ Contingent
     BLOOMINGTON, IN 47404                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.544 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     CIRCLE T TRANSPORTATION, INC.
     OR EAGLE CAPITAL CORPORATION                                   ¨ Contingent
     PO BOX 4215                                                    ¨ Unliquidated
     TUPELO, MS 38803-4215                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.545 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     CISNEROS TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.546 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     CITY 2 CITY INC
     1932 BATH AVE                                                  ¨ Contingent
     BROOKLYN, NY 11214                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.547 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    376.63
     CITY BUSINESS SHIPPING INC
     225 EAST 9TH ST                                                ¨ Contingent
     LOS ANGELES, CA 90015                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.548 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,450.00
     CITYWIDE DELIVERY, INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.549 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,075.00
     CJI LLC
     OR JD FACTORS LLC                                              ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.550 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     CJK TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.551 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     CJM TRANSPORTATION INC
     7634 LOWER EAST VALLEY RD                                      ¨ Contingent
     PIKEVILLE, TN 37367                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.552 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,400.00
     CKAR TRANSPORT LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.553 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     CLAIR CARRIERS LLC
     OR ECAPITAL FREIGHT FACTORING                                  ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.554 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,025.00
     CLARITY FULFILLMENT
     6901 LYNN WAY                                                  ¨ Contingent
     PITTSBURGH, PA 15208                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.555 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,450.00
     CLASS 1 LOGISTICS LLC
     OR LOVES SOLUTIONS LLC                                         ¨ Contingent
     PO BOX 96-0479                                                 ¨ Unliquidated
     OKLAHOMA CITY, OK 73196                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.556 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,750.00
     CLASSIC TRANSPORTATION OF SUNBURY
     1879 FEDERAL PKWY                                              ¨ Contingent
     112                                                            ¨ Unliquidated
     COLUMBUS, OH 43207                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.557 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     CLB DELIVERY SERVICE LLP
     319 MESSINGER STREET                                           ¨ Contingent
     BANGOR, PA 18013                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.558 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,450.00
     CLEAR SKY LOGISTICS LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.559 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CLEVA TECHNOLOGIES
     1951 NW 19TH ST STE 101                                        þ Contingent
     BOCA RATON, FL 33431                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.560 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     CLEVELAND TRUCKING (MC670177)
     OR STEELHEAD FINANCE                                           ¨ Contingent
     3518 HEATHROW WAY                                              ¨ Unliquidated
     MEDFORD, OR 97504                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.561 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     CLIMATE EXPRESS, INC.
     P O BOX 1065                                                   ¨ Contingent
     UNION, MO 63084                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.562 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,775.00
     CLOUDTRUCKS LLC
     CLOUDTRUCKS LLC                                                ¨ Contingent
     PO BOX 120310 DEPT 0310                                        ¨ Unliquidated
     DALLAS, TX 75312-0310                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.563 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     CLR TRANSPORT LLC
     54 SAINT ANDREWS PL                                            ¨ Contingent
     YONKERS, NY 10705-3115                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.564 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     CLUTCH HAULING LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.565 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,279.35
     CNB EXPRESS
     4212 HUNTERS GREEN WAY NE                                      ¨ Contingent
     KENNESAW, GA 30144                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.566 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,850.00
     CNC LOGISTICS
     7157 MERCHANT AVE STE C                                        ¨ Contingent
     EL PASO, TX 79923                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.567 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    725.00
     CNG ENTERPRISE LLC
     OR ITHRIVE FUNDING LLC                                         ¨ Contingent
     DEPT#848 PO BOX 1000                                           ¨ Unliquidated
     MEMPHIS, TN 38148-1000                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.568 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     COACHYTO GLOBAL MOTORS INC
     OR TRANSAM FINANCIAL SERVICES, INC.                            ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.569 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,722.50
     COAST CONNECTION INC
     COAST CONNECTION INC                                           ¨ Contingent
     PO BOX 465                                                     ¨ Unliquidated
     LINCOLNSHIRE, IL 60069                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.570 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     COASTAL AGROBUSINESS INC
     2230 CAROLINA LEAF RD                                          ¨ Contingent
     GREENVILLE, NC 27834                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.571 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    875.00
     COBA LLC
     230 JR ACHIEVEMENT DR - B316                                   ¨ Contingent
     ELKHART, IN 46516                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.572 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    527.00
     COBB REFRIGERATED FREIGHT, INC.
     420 CALIFORNIA AVENUE                                          ¨ Contingent
     MODESTO, CA 95351                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.573 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COCO JOY
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.574 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10.00
     COCO JOY
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.575 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     COE LOGISTICS LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.576 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     COLUMBIA RIVER TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.577 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    476.33
     COMMON TRANSPORTATION LLC
     1819 HAYMARKET RD                                              ¨ Contingent
     WAUKESHA, WI 53189                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.578 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     COMPASS UNITED CARRIER LLC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.579 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     CONDOR TRANS INC
     1000 GROVE DRIVE APT 1B                                        ¨ Contingent
     MT PROSPECT, IL 60056                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.580 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
     CONSTANT TRANSPORTS
     OR INTEGRITY FACTORING & CONSULTING INC                        ¨ Contingent
     PO BOX 30015 DEPT 355                                          ¨ Unliquidated
     SALT LAKE CITY, UT 84130                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.581 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CONTAINER AND PACKAGING SUPPLY INCORPORA
     1345 E STATE ST                                                þ Contingent
     EAGLE, ID 83616                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.582 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    741.00
     CONTAINERPORT GROUP, INC.
     CONTAINERPORT GROUP, INC.                                      ¨ Contingent
     PO BOX 827506                                                  ¨ Unliquidated
     PHILADELPHIA, PA 19182                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.583 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,247.92
     CONTINENTAL FREIGHT SYSTEMS
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161-1029                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.584 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COOPER LIGHTING % CASS
     PO BOX 67                                                      þ Contingent
     SAINT LOUIS, MO 63166                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.585 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     COOPERS TRANSPORTATION LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.586 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,400.00
     CORB INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.587 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     CORIA TRUCKING, INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.588 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CORPORATE TIRE LLC
     130 SUNBELT CT                                                 þ Contingent
     GREER, SC 29650                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.589 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     CORSAN FREIGHT LLC
     13201 REESE BLVD W STE 100                                     ¨ Contingent
     HUNTERSVILLE, NC 28078                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.590 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    655.76
     CORVUS JANITORIAL SYSTEMS OF COLUMBUS
     PO BOX 636718                                                  ¨ Contingent
     CINCINNATI, OH 45263                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.591 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     COSMO LOGISTICS CORP
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.592 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     COTUNA TRANSPORT INC
     728 HATFIELD CIR                                               ¨ Contingent
     SALINE, MI 48176                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.593 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COUER DALENE WINDOW CO
     115 N SYCAMORE ST                                              þ Contingent
     SPOKANE, WA 99202                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.594 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,145.00
     COUGAR TRUCK LINES LLC
     OR BAY VIEW FUNDING                                            ¨ Contingent
     PO BOX 204703                                                  ¨ Unliquidated
     DALLAS, TX 75320-4703                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.595 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COUNTRY CONNECTION
     2805 RICHTER AVE                                               þ Contingent
     OROVILLE, CA 95966                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.596 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COUNTRY MALT GROUP
     716 RTE 9                                                      þ Contingent
     CHAMPLAIN, NY 12919                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.597 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    575.00
     COWEN TRUCK LINE, INC.
     P O BOX 480                                                    ¨ Contingent
     PERRYSVILLE, OH 44864                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.598 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     COYOTE LOGISTICS
     960 NORTH POINT PKWY                                           þ Contingent
     ALPHARETTA, GA 30005                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.599 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     CP SHAWN INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.600 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,000.00
     CP TRUCKING LLC
     6711 CHAMOIS CIR                                               ¨ Contingent
     CYPRESS, CA 90630                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.601 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,400.00
     CRAZY HORSE TRANSPORT LLC
     OR JD FACTORS LLC                                              ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.602 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CRDC USA
     390 N EBERTS LN                                                þ Contingent
     YORK, PA 17403                                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.603 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     CREDOMAX TRANSPORT INC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.604 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     CREST QUALITY SERVICE LLC
     6688 JOLIET RD UNIT 192                                        ¨ Contingent
     INDIAN HEAD PARK, IL 60525                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.605 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     CRF LOGISTICS
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.606 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CROCS CORPORATE OFFICE
     13601 VIA VARRA                                                þ Contingent
     BROOMFIELD, CO 80020                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.607 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     CROCS FOOTWEAR
     13601 VIA VARRA                                                þ Contingent
     BROOMFIELD, CO 80020                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.608 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     CROSSPOINT TRANSPORT LLC
     OR ITHRIVE FUNDING LLC                                         ¨ Contingent
     DEPT#848 PO BOX 1000                                           ¨ Unliquidated
     MEMPHIS, TN 38148-1000                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.609 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,250.00
     CROSSROADS CARRIERS, LLC
     OR TAB BANK                                                    ¨ Contingent
     PO BOX 150830                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.610 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    138.60
     CROSSTOWN COURIER, INC.
     1450 GOULD BLVD                                                ¨ Contingent
     LAVERGNE, TN 37086                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.611 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,450.00
     CROSSWOODS FREIGHT LLC
     OR SMARTTRUCKER LLC                                            ¨ Contingent
     PO BOX 30516 DEPT# 506                                         ¨ Unliquidated
     LANSING, MI 48909-8016                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.612 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,934.30
     CROWN EQUIPMENT CORPORATION
     PO BOX 641173                                                  ¨ Contingent
     CINCINNATI, OH 45264                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.613 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     CRUZE CARRIER INC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.614 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,050.00
     CRW INC.
     3716 S. ELYRIA ROAD                                            ¨ Contingent
     SHREVE, OH 44676                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.615 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,900.00
     CRYSTAL TRANS INC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.616 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,404.00
     CSX TRANSPORTATION INC
     CSX TRANSPORTATION INC                                         ¨ Contingent
     PO BOX 532601                                                  ¨ Unliquidated
     ATLANTA, GA 30353-2601                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.617 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,075.00
     CUCOS TRUCKING
     382 N. LEMON AVE #137                                          ¨ Contingent
     WALNUT, CA 91789                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.618 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,500.00
     CULT POWER INC
     OR VERO BUSINESS CAPITAL                                       ¨ Contingent
     PO BOX 639565                                                  ¨ Unliquidated
     CINCINNATI, OH 45263-9565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.619 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     CVL CARGO INC
     OR ORANGE COMMERCIAL CREDIT                                    ¨ Contingent
     PO BOX 11099                                                   ¨ Unliquidated
     OLYMPIA, WA 98508                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.620 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     D & G TRANSPORTATION, INC.
     N 118 W18574 BUNSEN DRIVE                                      ¨ Contingent
     GERMANTOWN, WI 53022                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.621 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     D & R TRUCKING LLC
     OR PARIKH FINANCIAL                                            ¨ Contingent
     2802 TRAILRIDGE COURT                                          ¨ Unliquidated
     MISSOURI CITY, TX 77459                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.622 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,180.00
     D & S ELITE TRANSPORT LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.623 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,300.00
     D E L TRANSPORT INC
     OR FACTORING EXPRESS LLC                                       ¨ Contingent
     P.O. BOX 150205                                                ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.624 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     D VITO TRUCKING CORP
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.625 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,750.00
     D&A CARGO LLC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.626 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,400.00
     D&C TRUCKING OF CHESTER, LLC
     OR MATCH FACTORS                                               ¨ Contingent
     P.O. BOX 13259                                                 ¨ Unliquidated
     FLORENCE, SC 29504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.627 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,000.00
     D&Z TRANSPORTATION LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.628 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     D12 COMMERCIAL INTERIORS
     2740 ATLANTA HWY                                               þ Contingent
     ATHENS, GA 30606                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.629 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    839.25
     D2D RELO, LLC
     OR G SQUARED FUNDING, LLC                                      ¨ Contingent
     8215 ROSWELL RD BUILDING 600                                   ¨ Unliquidated
     SANDY SPRINGS, GA 30350                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.630 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,750.00
     DAB TRUCKING SERVICES COMPANY
     OR ASSIST FINANCIAL SERVICES INC                               ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.631 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     DACS LOGISTICS LLC
     5662 MOUNTAIN HOLLOW DR                                        ¨ Contingent
     DALLAS, TX 75249                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.632 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    725.00
     DACSA TRUCKING LLC
     PO BOX 935                                                     ¨ Contingent
     IMPERIAL, CA 92251                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.633 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,900.00
     DADDY TRANSPORT SERVICES INC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.634 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     DAGO TRUCKING LLC
     OR CLOUDTRUCKS FLEX LLC                                        ¨ Contingent
     DEPT 2148, PO BOX 122148                                       ¨ Unliquidated
     DALLAS, TX 75312-2148                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.635 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,750.00
     DAK TRANSPORT INC
     OR J D FACTORS, LLC                                            ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.636 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,350.00
     DAL LEASING. LTD
     250 FM 2021                                                    ¨ Contingent
     LUFKIN, TX 75901                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.637 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     DALLA TRANSPORT LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.638 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DALTON ENTERPRISES
     131 WILLOW ST                                                  þ Contingent
     CHESHIRE, CT 06410                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.639 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     DAMY ENTERPRISE LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.640 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     DAN MIJAILOVIC TRANSPORT INC
     7743 CHERRY TREE LN                                            ¨ Contingent
     WILLOWBROOK, IL 60527                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.641 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     DANDD SERVICES PLUS LLC
     OR FREIGHT FACTORING SPECIALISTS LLC                           ¨ Contingent
     DEPT 10010 - PO BOX 31792                                      ¨ Unliquidated
     TAMPA, FL 33631                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.642 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,500.00
     DANSBY HAULING LLC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.643 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,450.00
     DARKSIDE TRUCKING, LTD.
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.644 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,900.00
     DART TRANS. NV, LLC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.645 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     DAS CARRIER INC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.646 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,475.00
     DASG TRUCKING INC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.647 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,175.00
     DASH FORTH LLC
     P.O. BOX 1709                                                  ¨ Contingent
     SANDPOINT, ID 83864                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.648 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,650.00
     DATONG INTERNATIONAL, INC
     PO BOX 4691                                                    ¨ Contingent
     HAYWARD, CA 94540                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.649 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     DAUOD PARWANI
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.650 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,500.00
     DAVER TRANS GROUP, INC
     OR CROSSROAD SERVICES LLC                                      ¨ Contingent
     PO BOX 7410440                                                 ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.651 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     DAYDIET PEREZ TRANSPORTATION LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.652 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,150.00
     DAYLIGHT LOGISTICS INC
     OR TRANSAM FINANCIAL SERVICES, INC.                            ¨ Contingent
     PO BOX 872632                                                  ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.653 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,800.00
     DB ROADLINE INC
     P O BOX 381                                                    ¨ Contingent
     FORTVILLE, IN 46040                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.654 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     DCA TRANSPORT & LOGISTICS LLC
     OR INTEGRITY FACTORING & CONSULTING INC                        ¨ Contingent
     PO BOX 30015 DEPT 355                                          ¨ Unliquidated
     SALT LAKE CITY, UT 84130                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.655 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     DCP CARDONA LLC
     OR AJG CAPITAL LLC, 1279 WINTER GARDEN VINELAND RD             ¨ Contingent
     WINTER GARDEN, FL 34787                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.656 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,000.00
     DDD TRANSPORT INC
     OR ACS FACTORS                                                 ¨ Contingent
     PO BOX 150306                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.657 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,300.00
     DDK TRANS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.658 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     DDX TRANSPORT, LLC
     1018 TOWN DR SUITE#9                                           ¨ Contingent
     WILDER, KY 41076                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.659 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,200.00
     DEANDER TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.660 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DEBUT
     2457 E 30TH ST                                                 þ Contingent
     VERNON, CA 90058                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.661 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     DEDICATED LANES LLC
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.662 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     DEEP CARRIERS INC
     OR SUNBELT FINANCE                                             ¨ Contingent
     PO BOX 1000, DEPT 144                                          ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.663 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     DEEP LLC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161-1029                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.664 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,700.00
     DEF TRANSPORT LLC
     OR ENGAGED FINANCIAL LLC                                       ¨ Contingent
     PO BOX 775553                                                  ¨ Unliquidated
     CHICAGO, IL 60677                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.665 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     DEI
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.666 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,000.00
     DELANEE TRUCKING LLC
     OR SAINT JOHN CAPITAL CORPORATION                              ¨ Contingent
     PO BOX 74007671                                                ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.667 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,670.00
     DELIVERY ENTERPRISES LLC
     10164 LYNN DR                                                  ¨ Contingent
     N ROYALTON, OH 44133                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.668 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     DELTA FREIGHT CORPORATION
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.669 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    575.00
     DELTA FREIGHT INC
     OR ASSIST FINANCIAL SERVICES, INC.                             ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.670 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 33,600.00
     DELTA LOGISTICS
     OR ORANGE COMMERCIAL CREDIT                                    ¨ Contingent
     PO BOX 11099                                                   ¨ Unliquidated
     OLYMPIA, WA 98508                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.671 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,378.00
     DELTA TRANSPORT LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.672 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     DELTA TRANSPORTATION SERVICES INCORPORATED
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.673 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DELTRAN USA LLC
     100 E NEW YORK AVE                                             þ Contingent
     DELAND, FL 32724                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.674 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,025.00
     DELUXE TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.675 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DEMICHELE SYSTEMS
     2110 S DOUGLAS DR                                              þ Contingent
     CHANDLER, AZ 85286                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.676 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     DENTRO CARRIERS LTD
     OR BVD CAPITAL CORPORATION                                     ¨ Contingent
     8177 TORBRAM RD                                                ¨ Unliquidated
     BRAMPTON, L6T5C5                                               ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.677 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,000.00
     DEOL TRANSPORT
     4003 WHITE SANDS DR                                            ¨ Contingent
     BAKERSFIELD, CA 93313                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.678 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     DEOL TRUCKING LLC
     2742 KRISTEN STREET                                            ¨ Contingent
     LIVE OAK, CA 95953                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.679 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,150.00
     DESERT EAGLE TRANSPORTATION LLC
     OR JD FACTORS LLC                                              ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.680 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,600.00
     DESI TRANSPORT LLC
     4483 WILLOW CHASE TER                                          ¨ Contingent
     JACKSONVILLE, FL 32258                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.681 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,750.00
     DESIGNER BRANDS INC
     SETH ECKHARDT                                                  ¨ Contingent
     810 DSW DR                                                     ¨ Unliquidated
     COLUMBUS, OH 43219                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.682 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    770.00
     DESTINY MOTOR FREIGHT LTD
     OR REVOLUTION CAPITAL                                          ¨ Contingent
     27 ROYTEC ROAD, UNIT 11                                        ¨ Unliquidated
     WOODBRIDGE, L4L8E3                                             ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.683 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     DETA LOGISTICS LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.684 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,050.00
     DETERMINATION INVESTORS LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.685 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     DFT TRANSPORTATION LLC
     OR GREAT PLAINS TRANSPORTATION SERVICES INC                    ¨ Contingent
     PO BOX 4539                                                    ¨ Unliquidated
     CAROL STREAM, IL 60197                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.686 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     DGL XPRESS
     12556 WEAVER RD                                                ¨ Contingent
     HORIZON CITY, TX 79928                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.687 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     DGS TRUCKING INC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.688 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,190.00
     DH CARRIERS
     1943 BLEVIN ROAD                                               ¨ Contingent
     YUBA CITY, CA 95993                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.689 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     DHILLON CARRIER INC
     OR CAPITAL DEPOT                                               ¨ Contingent
     8930 N. WAUKEGAN ROAD, SUITE 230                               ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.690 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     DIALVAN INC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.691 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     DIAZ & SONS LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.692 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIEFFENBACHS POTATO CHIPS
     8960 OLD ROUTE 22                                              þ Contingent
     BETHEL, PA 19507                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.693 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIETZGEN CORPORATE OFFICE
     121 KELSEY LN STE G                                            þ Contingent
     TAMPA, FL 33619                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.694 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,370.00
     DIN LINE INC
     101 BAR HARBOUR RD UNIT 4H                                     ¨ Contingent
     SCHAUMBURG, IL 60193                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.695 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     DINGO TRANSPORT LLC (MC1448041)
     OR PARTNERS FUNDING INC                                        ¨ Contingent
     PO BOX 5431                                                    ¨ Unliquidated
     CAROL STREAM, IL 60197-5431                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.696 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     DINO EXPRESS INC
     OR SAINT JOHN CAPITAL CORP                                     ¨ Contingent
     PO BOX 74007671                                                ¨ Unliquidated
     CHICAGO, IL 60674-7671                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.697 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     DION LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.698 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     DIPSI INC
     290 EAST CENTER STREET                                         ¨ Contingent
     WIND GAP, PA 18091                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.699 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     DIRECT FREIGHT CARRIER LLC
     4770 INDIANOLA AVE #101D                                       ¨ Contingent
     COLUMBUS, OH 43214                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.700 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    775.00
     DIRECT FREIGHT LLC
     5695 84TH ST SE                                                ¨ Contingent
     CALEDONIA, MI 49316                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.701 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DIRECT PACK
     612 AIRPORT RD                                                 þ Contingent
     ROCKINGHAM, NC 28379                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.702 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,400.00
     DIRECT TRANSPORTATION
     15218 SUMMIT AVE SUITE 300-435                                 ¨ Contingent
     FONTANA, CA 92336                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.703 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     DIRIR EXPRESS LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.704 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     DISCREET DISPOSAL LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.705 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,000.00
     DISPATCHTRACK, LLC
     DEPT. 0177                                                     ¨ Contingent
     PO BOX 120177                                                  ¨ Unliquidated
     DALLAS, TX 75312                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.706 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,396.25
     DISTANCE TRUCKING INC
     OR JD FACTORS LLC                                              ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.707 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     DIZDARWAY LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.708 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     DJ BROS LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 - PO BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.709 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     DJD TRANSPORTATION LLC
     OR PAY4FREIGHT                                                 ¨ Contingent
     PO BOX 1429                                                    ¨ Unliquidated
     BELLEVUE, NE 68005-1429                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.710 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    730.00
     DJS TRUCKING EXPRESS, INC.
     OR STEELHEAD FINANCE                                           ¨ Contingent
     3518 HEATHROW WAY                                              ¨ Unliquidated
     MEDFORD, OR 97504                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.711 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     DJS TRUCKING INC
     8029 BARRYMORE DRIVE                                           ¨ Contingent
     DARIEN, IL 60561                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.712 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     DLH LOGISTICS LLC
     OR PROVIDENT COMMERCIAL FINANCE LLC                            ¨ Contingent
     P.O. BOX 11407 DEPT#2659                                       ¨ Unliquidated
     BIRMINGHAM, AL 35246-2659                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.713 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,750.00
     DLR TRANSPORTATION
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.714 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,240.00
     DM EXPRESS INC
     OR APEX CAPITAL CORPORATION                                    ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FORT WORTH, TX 76161                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.715 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     DM INTERNATIONAL LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.716 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     DM TRANSPORTATION LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.717 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     DMC TRUCKIN
     125 SANTANDER DR                                               ¨ Contingent
     LAREDO, TX 78046                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.718 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     DNA LOGISTICS
     5640 NW 61ST STREET 1422                                       ¨ Contingent
     COCONUT CREEK, FL 33073                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.719 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     DNE JR TRANSPORTATION SERVICES LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.720 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,400.00
     DNI TRUCKING LLC
     748 GRANT BLVD                                                 ¨ Contingent
     LEHIGH ACRES, FL 33974                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.721 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    425.00
     DNK EXPRESS INC
     3901 S. EAST STREET SUITE A                                    ¨ Contingent
     INDIANAPOLIS, IN 46227                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.722 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     DOCK LOAD DELIVER LLC
     OR TAB BANK                                                    ¨ Contingent
     PO BOX 150830                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.723 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
     DODIK TRUCKING INC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.724 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DOLLAR TREE
     500 VOLVO PARKWAY                                              þ Contingent
     CHESAPEAKE, VA 23320                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.725 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,075.00
     DOLPHIN LINE, INC.
     4521 HIGGINS RD                                                ¨ Contingent
     XXX                                                            ¨ Unliquidated
     MOBILE, AL 36619                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.726 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     DOMIRIQUENOS LOGISTICS LLC
     OR BOBTAIL                                                     ¨ Contingent
     PO BOX 7410633                                                 ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.727 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     DON EXPRESS CORPORATION
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.728 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,000.00
     DOOLEYS TRANSPORTATION LLC
     OR ECAPITAL FREIGHT FACTORING                                  ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.729 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    275.00
     DOOWUTCHYALIKE TRUCKING
     7400 ORCHARD VIEW DR NE                                        ¨ Contingent
     ROCKFORD, MI 49341                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.730 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     DORU TRUCKING LINE INC
     DORU TRUCKING LINE INC                                         ¨ Contingent
     5171 WALLINGS RD SUITE 210                                     ¨ Unliquidated
     NORTH ROYALTON, OH 44133                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.731 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     DOSPED INC
     4830 N CUMBERLAND AVE                                          ¨ Contingent
     10C                                                            ¨ Unliquidated
     NORRIDGE, IL 60706                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.732 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     DOUBLE D EXPRESS, INC.
     P.O. BOX 606                                                   ¨ Contingent
     PERU, IL 61354                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.733 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     DOUBLE D TRANSPORT LLC
     OR CJM FINANCIAL INC                                           ¨ Contingent
     PO BOX 727                                                     ¨ Unliquidated
     ANKENY, IA 50021                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.734 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     DOUBLE J WORLD TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.735 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     DOUBLE TROUBLE TRKG LLC
     OR SUNBELT FINANCE                                             ¨ Contingent
     PO BOX 1000 DEPT 144                                           ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.736 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     DOUG BRADLEY TRUCKING, INC.
     680 E WATER WELL RD                                            ¨ Contingent
     SALINA, KS 67401                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.737 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 16,500.00
     DOUG GRANT TRUCKING LLC
     324 IRVIN ROAD                                                 ¨ Contingent
     BLANCHESTER, OH 45107                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.738 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     DOVE CONSULTING INC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.739 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,450.00
     DOWNEY EXPRESS TRANSPORTATION
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.740 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     DREAMS TRUCKING LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.741 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,550.00
     DREAMWORKS CARRIER LLC
     OR CD CONSORTIUM CORP.                                         ¨ Contingent
     8930 WAUKEGAN RD, STE 230                                      ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.742 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     DRIVE
     OR SMART FREIGHT FUNDING                                       ¨ Contingent
     3803 N 153RD ST, SUITE 100                                     ¨ Unliquidated
     OMAHA, NE 68116                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.743 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,870.00
     DS EXPRESS INC
     DS EXPRESS INC                                                 ¨ Contingent
     15850 NEW AVENUE - SUITE 110                                   ¨ Unliquidated
     LEMONT, IL 60439                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.744 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,624.87
     DSR EXPRESS LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.745 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     DTM TRANSPORT LLC
     OR OAK HILL CAPITAL CORP                                       ¨ Contingent
     PO BOX 744                                                     ¨ Unliquidated
     RED BANK, NJ 07701                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.746 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DUBLIN TECHNICAL SYSTEMS INCORPORATED
     6199 SHAMROCK CT                                               þ Contingent
     DUBLIN, OH 43016                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.747 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     DUNDEE TRUCKING INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.748 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    581.63
     DUNMAR MOVING SYSTEM
     8030 WHITEPINE ROAD                                            ¨ Contingent
     RICHMOND, VA 23237-2263                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.749 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     DURADEK US INC
     1142 CLAY STREET                                               þ Contingent
     KANSAS CITY, MO 64116                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.750 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,700.00
     DUTCH BOY TRUCKING INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.751 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,151.24
     DUVAL SEMI TRAILERS, INC.
     827 FAIRWAYS CT SUITE 110                                      ¨ Contingent
     STOCKBRIDGE, GA 30281                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.752 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     DYNAMIC FREIGHT HAULERS
     OR INVOICE PAYMENT SYSTEM                                      ¨ Contingent
     PO BOX 77226                                                   ¨ Unliquidated
     MISSISSAUGA, L5T2P4                                            ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.753 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,400.00
     DYNAMIC LIFECYCLE INNOVATIONS INC.
     N5549 COUNTY ROAD Z                                            ¨ Contingent
     ONALASKA, WI 54650                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.754 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,300.00
     DYNAMIC PRO SERVICES LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.755 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     E & J TRUCKING EMPIRE LLP
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.756 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     E & K LOGISTICS LTD
     OR ECAPITAL FREIGHT FACTORING CORP                             ¨ Contingent
     PO BOX 206773                                                  ¨ Unliquidated
     DALLAS, TX 75320-6773                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.757 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     E & R TRUCKING
     297 MALDONADO STREET                                           ¨ Contingent
     MENDOTA, CA 93640                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.758 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,100.00
     E AND A TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.759 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     E C TRUCKING (SPARKS NV)
     4594 GANNET PEAK CIRCLE                                        ¨ Contingent
     SPARKS, NV 89436                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.760 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     E N S TRANSPORTATION LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.761 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,531.67
     E ROCHA TRUCKING CORP
     1441 PASO REAL AVE #47                                         ¨ Contingent
     ROWLAND HEIGHTS, CA 91748                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.762 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,100.00
     E&R LOGISTICS LLC
     OR INTERNET TRUCKSTOP PAYMENTS LLC                             ¨ Contingent
     PO BOX 7410411                                                 ¨ Unliquidated
     CHICAGO, IL 60674-0411                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.763 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     E&R TRUCKING SERVICES LLC
     OR STEELHEAD FINANCE                                           ¨ Contingent
     3518 HEATHROW WAY                                              ¨ Unliquidated
     MEDFORD, OR 97504                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.764 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,200.00
     E.J.A. TRUCKING, INC.
     6040 BAUMGARTNER INDUSTRIAL DRIVE                              ¨ Contingent
     ST LOUIS, MO 63129                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.765 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     EAGLE 5 TRANSPORTATION LLC
     OR THUNDER FUNDING                                             ¨ Contingent
     DEPT #3003 P. O. BOX 1000                                      ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.766 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     EAGLE EXPRESS, INC.
     5601 BELLEVILLE ROAD                                           ¨ Contingent
     CANTON, MI 48188                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.767 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     EAGLE LOGISTICS LIMITED LIABILITY COMPANY
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.768 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,000.00
     EAGLE TRANS LLC
     OR ORANGE COMMERCIAL CREDIT                                    ¨ Contingent
     PO BOX 11099                                                   ¨ Unliquidated
     OLYMPIA, WA 98508-1099                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.769 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     EAGLE TRANSLINES LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.770 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     EAGLE TRANSPORT, LLC
     OR JD FACTORS LLC                                              ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.771 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     EAGLE TRANSPORTATION
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161-1029                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.772 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,100.00
     EAGLE TRUCKLINE LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.773 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,500.00
     EAST WEST HAULING INC
     700 FIRST ST                                                   ¨ Contingent
     HARRISON, NJ 07029                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.774 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,650.00
     EASTERN STAR HAULERS INC
     56 MORRELL PL STE 1                                            ¨ Contingent
     XX                                                             ¨ Unliquidated
     GARFIELD, NJ 07026                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.775 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    790.00
     EASTON FARM & TRUCKING LLC
     11524 HOLLOWAY RD                                              ¨ Contingent
     SPARTA, IL 62286                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.776 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,900.00
     EASTWEST XPRESS LLC
     8325 OLD SONOMA PLACE                                          ¨ Contingent
     BRISTOW, VA 20136                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.777 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     EASY WAY TRANS INC
     OR ASSIST FINANCIAL SERVICES, INC.                             ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.778 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,200.00
     EB LOGISTICS LLC
     OR DORADO FINANCE                                              ¨ Contingent
     1790 LEE TREVINO STE. 600                                      ¨ Unliquidated
     EL PASO, TX 79936                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.779 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,200.00
     EC TRANS INC
     801 S DUPONT AVE UNIT C2                                       ¨ Contingent
     ONTARIO, CA 91761                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.780 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,050.00
     ECCOTRANS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.781 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     ECHOTRANS
     OR CD CONSORTIUM CORP                                          ¨ Contingent
     8930 WAUKEGAN RD - STE 230                                     ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.782 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    875.00
     ECKLUND LOGISTICS, INC.
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.783 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,200.00
     ECM INDUSTRIES
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.784 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     ECO ADVANCEMENTS INC
     1564 W SEARCY ST                                               þ Contingent
     KENSETT, AR 72082                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.785 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,950.00
     ECO TRUCK LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.786 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     ECONOMY TRANSPORT CORPORATION
     P O BOX 24876                                                  ¨ Contingent
     ROCHESTER, NY 14624                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.787 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EDI EXPRESS
     2303 W 190TH ST                                                þ Contingent
     TORRANCE, CA 90504                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.788 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     EDIJEN TRANSPORT INC.
     5011 PEDLEY RD                                                 ¨ Contingent
     RIVERSIDE, CA 92509                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.789 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     EDITH'S TRUCKING
     OR INSIGHT TECHNOLOGY INC                                      ¨ Contingent
     PO BOX 200399                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.790 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     EDJ TRANSPORT LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.791 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EDLO SALES & ENGINEERING
     407 YORKTOWN RD                                                þ Contingent
     LOGANSPORT, IN 46947                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.792 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,128.59
     EDUARD S TRUCKING INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.793 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,900.00
     EDULINK GROUP INC
     OR BUSBOT INCORPORATED DBA AXLE                                ¨ Contingent
     PO BOX 392797                                                  ¨ Unliquidated
     PITTSBURGH, PA 15251-9797                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.794 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     EEC EXPRESS LLC
     3733 NE 4TH ST                                                 ¨ Contingent
     HOMESTEAD, FL 33033-6231                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.795 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     EFF EXPRESS LLC
     OR CCT FACTORING, LLC                                          ¨ Contingent
     PO BOX 116999                                                  ¨ Unliquidated
     ATLANTA, GA 30368                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.796 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,895.94
     EFS LLC
     PO BOX 630038                                                  ¨ Contingent
     CINCINNATI, OH 45263                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.797 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,800.00
     EGZIT CORPORATION
     OR CD CONSORTIUM CORP                                          ¨ Contingent
     8930 WAUKEGAN RD, STE 230                                      ¨ Unliquidated
     MORTON GROVE, IL 60053                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.798 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     EIGHTY-EIGHT TRUCKING & LOGISTICS LLC
     OR RTS FINANCIAL SERVICE INC                                   ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.799 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,210.00
     EKAM TRANSPORT LLC
     7 CAITLIN COURT                                                ¨ Contingent
     JOHNSONCITY, TN 37604                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.800 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,400.00
     EL TRONCO LLC
     OR TAFS, INC                                                   ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.801 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,080.00
     ELC EXPRESS LLC
     OR TBS FACTORING SERVICE                                       ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.802 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     ELEFANTE EXPRESS LTD
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.803 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     ELIANA STAR TRUCKING LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.804 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,038.17
     ELITE ANYWHERE
     18181 BUTTERFIELD BLVD STE 135                                 ¨ Contingent
     MORGAN HILLS, CA 95037                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.805 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     ELITE SUPREME ENTERPRISES LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.806 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,549.05
     ELITE TRANSFER LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.807 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,325.00
     ELITE TRUCKING INC
     3289 ARMSLEY DR                                                ¨ Contingent
     CHINO HILLS, CA 91709                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.808 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     ELLIS & ELLIS TRANSPORTATION LLC
     1200 PUNCHEON CREEK RD                                         ¨ Contingent
     LAWRENCEBURG, KY 40342                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.809 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    335.00
     ELLIS TRANSPORTATION
     740 HICKORY INDUSTRIAL DRIVE                                   ¨ Contingent
     OLD HICKORY, TN 37138                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.810 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
     ELLIS TRUCKING & BROKERAGE, LLC
     OR FINANCIAL CARRIER SERVICES                                  ¨ Contingent
     PO BOX 151052                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.811 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,250.00
     ELMER BUCHTA TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.812 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,500.00
     EM WAY INC
     OR PORTER BILLING SERVICES LLC                                 ¨ Contingent
     PO BOX 398                                                     ¨ Unliquidated
     BIRMINGHAM, AL 35201                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.813 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,100.00
     EMCO TRANSPORTATION LLC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.814 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    750.00
     EMPEROR TRANSPORT
     OR OAK HILL CAPITAL CORP                                       ¨ Contingent
     PO BOX 744                                                     ¨ Unliquidated
     RED BANK, NJ 07701                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.815 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,050.00
     EMV TRANSPORTATION LLC
     5941 STATE HIGHWAY 359                                         ¨ Contingent
     LAREDO, TX 78043                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.816 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,250.00
     ENCORE TRANSIT INC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.817 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     ENDALE INTL SERVICES LLC
     OR RTS FINANCIAL SERVICE, INC                                  ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284-0267                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.818 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     ENE TRUCKING LLC
     OR THUNDER FUNDING                                             ¨ Contingent
     DEPT #3003 P. O. BOX 1000                                      ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.819 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,583.88
     ENERGY FEDERATION INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.820 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,300.00
     ENG TRANSPORTATION INC.
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.821 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,050.00
     ENSAF LOGISTICS LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.822 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EOS LOGISTICS
     PO BOX 423                                                     þ Contingent
     ENID, OK 73702                                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.823 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     EP EXPEDITED TRANSPORT LLC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.824 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    450.00
     ERDNER BROS.,INC.
     PO BOX 68                                                      ¨ Contingent
     SWEDESBORO, NJ 08085                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.825 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,497.00
     ERIC'S DAWN TRANSPORTATION LLC
     OR SMARTTRUCKER LLC                                            ¨ Contingent
     PO BOX 30516 DEPT# 506                                         ¨ Unliquidated
     LANSING, MI 48909-8016                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.826 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,500.00
     ERIVES ENTERPRISES INC
     OR FARWEST CAPITAL                                             ¨ Contingent
     PO BOX 961209                                                  ¨ Unliquidated
     EL PASO, TX 79996                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.827 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    185.30
     ESQUIRE LOGISTICS INC
     8272 NW 21ST STREET                                            ¨ Contingent
     DORAL, FL 33122                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.828 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     ESQUIVEL TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.829 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     ETHEREDGE TRUCKING, INC.
     166 WOODSDALE DR                                               ¨ Contingent
     MOGADORE, OH 44260                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.830 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,019.00
     E-TRANSPORT CARRIERS INC
     E-TRANSPORT CARRIERS LLC                                       ¨ Contingent
     PO BOX 62892                                                   ¨ Unliquidated
     BALTIMORE, MD 21264-2892                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.831 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     EURO EXPRESS, LLC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.832 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     EURO UNITED LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.833 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
     EVA TRANSPORTS LLC
     OR PROVIDENT COMMERCIAL FINANCE, LLC                           ¨ Contingent
     P.O. BOX 11407 DEPT#2659                                       ¨ Unliquidated
     BIRMINGHAM, AL 35246-2659                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.834 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     EVANGER ENTERPRISES LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.835 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,695.56
     EVANS DELIVERY COMPANY, INC.
     EVANS DELIVERY COMPANY, INC.                                   ¨ Contingent
     PO BOX 62892                                                   ¨ Unliquidated
     BALTIMORE, MD 21264                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.836 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     EVEN GROUNDS FREIGHT LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.837 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     EVER TRUCKING LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.838 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     EVEREST TRANSIT INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320-5154                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.839 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    770.00
     EVERGREEN TRANSPORT INC
     5123 CHOCTAW RIDGE DR                                          ¨ Contingent
     INDIANAPOLIS, IN 46239                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.840 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,707.25
     EVOLUTION TRANSPORT INC
     5725 PLATINUM DRIVE                                            ¨ Contingent
     ERIE, PA 16509                                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.841 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,550.00
     E-WAY EXPRESS LLC
     1285 APPLE HOLLOW DR                                           ¨ Contingent
     ARNOLD, MO 63010                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.842 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,350.00
     EXCALIBUR TRUCKING LLC
     OR ECAPITAL FREIGHT FACTORING, PO BOX 206773                   ¨ Contingent
     DALLAS, TX 75320-6773                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.843 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     EXCLUSIVE ORTIZ TRANSPORTATION LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.844 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     EXECUTIVE LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.845 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     EXELLAR TRANSPORTATION INC
     EXELLAR TRANSPORTATION INC                                     ¨ Contingent
     7289 TORBRAM ROAD                                              ¨ Unliquidated
     MISSISSAUGA, L4T1G8                                            ¨ Disputed
     CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.846 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,076.60
     EXIT 215 LOGISTICS LLC
     680 SHORE DRIVE                                                ¨ Contingent
     LITHONIA, GA 30058                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.847 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     EXPEDIA CARRIERS INC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.848 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     EXPEDITED CARRIERS INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.849 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,200.00
     EXPEDITED TRUCKING INC.
     OR SAINT JOHN CAPITAL CORPORATION                              ¨ Contingent
     PO BOX 74007671                                                ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.850 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     EXPRESS LINE TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.851 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     EXPRESS TRADINGS CORP
     2801 PS BUSINESS CENTER DR                                     þ Contingent
     WOODBRIDGE, VA 22192                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.852 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     EXPRESS UNLIMITED FREIGHT LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.853 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    315.00
     EXPRESSWAY TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.854 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,793.41
     EYEMG - INTERACTIVE MEDIA GROUP
     190 N UNION ST STE 300                                         ¨ Contingent
     AKRON, OH 44304                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.855 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     EZANA TRUCKING LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.856 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,250.00
     F & A CARRIERS INC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.857 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    640.00
     F&D TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.858 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,500.00
     F&T INFINITY TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.859 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    775.00
     F.E.M TRANSPORT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.860 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     F1 EXPRESS INC
     OR TRANSWEST CAPITAL                                           ¨ Contingent
     PO BOX 123381 - DEPT 3381                                      ¨ Unliquidated
     DALLAS, TX 75312                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.861 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,050.00
     F2F TRANSPORT, LLC
     PO BOX 2487                                                    ¨ Contingent
     CHATTANOOGA, TN 37409                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.862 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    615.00
     FABIAN TRUCKING INC
     116 VON LOGAN DR                                               ¨ Contingent
     THOMASVILLE, NC 27360                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.863 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FABRICATION ENTERPRISE
     250 CLEARBROOK RD                                              þ Contingent
     ELMSFORD, NY 10523                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.864 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,850.00
     FACE 2 FACE EXPRESS
     FACE 2 FACE EXPRESS                                            ¨ Contingent
     405 BEAMER DR                                                  ¨ Unliquidated
     ANDERSON, SC 29625                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.865 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     FALCON EXPRESS
     11150 WATER ELM PL                                             ¨ Contingent
     FONTANA, CA 92337                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.866 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     FALCON TRANSPORTS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.867 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     FALU LOGISTICS
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.868 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,750.00
     FAMA TRUCKING LLC
     OR ATLAS FACTORING LLC                                         ¨ Contingent
     906 N. MESA STE 301                                            ¨ Unliquidated
     EL PASO, TX 79902                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.869 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,200.00
     FANTON LOGISTICS INC
     10801 BROADWAY AVE                                             ¨ Contingent
     CLEVELAND, OH 44125                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.870 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     FARBER MECHANICAL CONTRACTORS
     800 EAST 12TH AVENUE                                           ¨ Contingent
     COLUMBUS, OH 43211                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.871 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     FAREY TRUCKING LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.872 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,200.00
     FARM TRANSPORT LLC
     1353 COLUMBUS-SANDUSKY RD S                                    ¨ Contingent
     MARION, OH 43302                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.873 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     FARMORE TRUCKING LLC
     OR TRIUMPH FINANCIAL SERVICES, LLC                             ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.874 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    350.00
     FAST & FURIOUS FREIGHT LLC
     OR FINANCIAL CARRIER SERVICES                                  ¨ Contingent
     PO BOX 151052                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.875 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,050.00
     FAST ACTION TRUCKING, INC.
     29 WEST PLAINFIELD ROAD                                        ¨ Contingent
     COUNTRYSIDE, IL 60525                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.876 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     FAST CARGO INC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.877 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,950.00
     FAST DELIVERY TRANSPORT INC
     OR FACTORING EXPRESS LLC                                       ¨ Contingent
     PO BOX 150205                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.878 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     FAST4WARD EXPRESS INC
     OR J D FACTORS, LLC                                            ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.879 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FASTCAP LLC
     5016 PACIFIC HWY                                               þ Contingent
     FERNDALE, WA 98248                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.880 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,025.00
     FASTRACK LOGISTICS INC
     OR STEELHEAD FINANCE                                           ¨ Contingent
     3518 HEATHROW WAY                                              ¨ Unliquidated
     MEDFORD, OR 97504                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.881 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 35,103.26
     FASTSTAFF
     OR MP STAR FINANCIAL INC                                       ¨ Contingent
     PO BOX 645005                                                  ¨ Unliquidated
     CINCINNATI, OH 45264                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.882 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     FAUST RUNNERS INC
     OR SAINT JOHN CAPITAL CORPORATION                              ¨ Contingent
     PO BOX 74007671                                                ¨ Unliquidated
     CHICAGO, IL 60674                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.883 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     FAXSTAR INC
     OR WEX FLEET ONE                                               ¨ Contingent
     PO BOX 94565                                                   ¨ Unliquidated
     CLEVELAND, OH 44101-4565                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.884 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    950.00
     FDA LOGISTICS LLC
     211 SCOTT PLACE                                                ¨ Contingent
     CHEEKTOWAGA, NY 14225                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.885 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FE GROUP LLC
     16406 E US ROUTE 224 # 3                                       þ Contingent
     FINDLAY, OH 45840                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.886 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FEDERAL TOOL
     2150 STONEBRIDGE RD                                            þ Contingent
     W BEND, WI 53095                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.887 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,722.38
     FEDEX
     DEPT CH PO BOX 10306                                           ¨ Contingent
     PALATINE, IL 60055                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.888 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,200.00
     FERNANDEZ CARGO EXPRESS INC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.889 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,050.00
     FEXIMA EXPRESS LLC
     OR PRO FUNDING LTD                                             ¨ Contingent
     PO BOX 111                                                     ¨ Unliquidated
     FORT WORTH, TX 76101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.890 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,050.00
     FGE INC
     500 TROLLEY BLVD                                               ¨ Contingent
     ROCHESTER, NY 14606                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.891 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     FGS TRANS LLC
     1583 ROSE ST                                                   ¨ Contingent
     REDLANDS, CA 92374                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.892 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FGX INTERNATIONAL
     500 GEORGE WASHINGTON HWY                                      þ Contingent
     SMITHFIELD, RI 02917                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.893 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FICOSA NORTH AMERICA
     2991 HIGHLANDS PARK BLVD                                       þ Contingent
     COOKEVILLE, TN 38506                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.894 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FIELD FASTENERS
     10243 COUNTY ROAD 2121                                         þ Contingent
     TYLER, TX 75707                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.895 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.00
     FIGUEROA TRUCKING LLC
     OR TBS FACTORING SERVICE                                       ¨ Contingent
     PO BOX 248920                                                  ¨ Unliquidated
     OKLAHOMA CITY, OK 73124                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.896 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     FILIP TRUCKING INC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.897 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     FINAL TARGET LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.898 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,187.50
     FINANFAC&TRANSPORTERS LLC
     8165 W 36TH AVE APT 3                                          ¨ Contingent
     HIALEAH, FL 33018                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.899 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     FINEL TRANSPORTATION
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FORT WORTH, TX 76161                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.900 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,600.00
     FIRE EAGLE EXPRESS CORP
     OR STEELHEAD FINANCE, 3518 HEATHROW WAY                        ¨ Contingent
     MEDFORD, OR 97504                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.901 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,390.00
     FIRE TRANSPORT CORP
     OR OTR CAPITAL LLC                                             ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.902 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     FIRST CHOICE INTERNATIONAL SHIPPING LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.903 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,150.00
     FIRST OPTION, INC.
     P O BOX 68                                                     ¨ Contingent
     MARION, IN 46952                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.904 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     FIRST TRANSPORT LLC
     19660 W 8 MILE RD                                              ¨ Contingent
     SOUTHFIELD, MI 48075                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.905 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     FISCHAMMARI LOGISTICS
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.906 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FIVE COFFEE ROASTERS
     59-01 55TH ST                                                  þ Contingent
     MASPETH, NY 11378                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.907 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,100.00
     FIVE KEYS CARRIERS INC
     OR LOVES SOLUTIONS LLC                                         ¨ Contingent
     PO BOX 96-0479                                                 ¨ Unliquidated
     OKLAHOMA CITY, OK 73196-0479                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.908 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     FIVE LIONS TRANSPORTATION LLC
     OR OTR SOLUTIONS                                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.909 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 26,200.00
     FIVE RIVERS TRANSPORT
     FIVE RIVERS TRANSPORT                                          ¨ Contingent
     8918 QUAIL RIDGE LANE                                          ¨ Unliquidated
     LENEXA, KS 66220                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.910 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,400.00
     FIVE RIVERS TRUCKING,LLC
     511 CAN DO EXPRESSWAY                                          ¨ Contingent
     HAZLE TOWNSHIP, PA 18202                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.911 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,140.00
     FIVE STAR TRANSPORT LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.912 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
     FIVE STAR TRUCKING, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.913 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     FIVE STARS TRANSPORT LLC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.914 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,600.00
     FIVE TWO TRANSPORT LLC
     OR LOVES SOLUTIONS LLC, PO BOX 96-0479                         ¨ Contingent
     OKLAHOMA CITY, OK 73196-0479                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.915 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     FJ TRANSPORTATION INC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.916 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FLA ACCESSORIES
     290 TOWN CENTER DR STE 1000                                    þ Contingent
     DEARBORN, MI 48126                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.917 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     FLASH TRANS LOGISTICS LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.918 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,300.00
     FLEEMAN CARRIERS, INC
     605 WINDSOR DRIVE                                              ¨ Contingent
     LAWRENCEBURG, TN 38464                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.919 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,700.00
     FLEET QUEST LOGISTICS LLC
     OR APEX CAPITAL                                                ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.920 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    825.00
     FLEET SERVICES AND SALES LLC
     1087 S COBB DR SE                                              ¨ Contingent
     MARIETTA, GA 30060-3318                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.921 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,300.00
     FLEETEX TRANSPORT LTD
     30 SIMONA DRIVE                                                ¨ Contingent
     BOLTON, ON L7E 4E8                                             ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.922 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     FLETCHER TRANSPORT INC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.923 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 29,553.43
     FLETES MEXICO CARGA EXPRESS
     5924 GREENBRIER RD                                             ¨ Contingent
     EL PASO, TX 79912                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.924 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,400.00
     FLEX CARGO LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.925 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,650.00
     FLEX TRANSPORT INC
     OR PRO FUNDING INC                                             ¨ Contingent
     DEPT# 3045 - PO BOX 1000                                       ¨ Unliquidated
     MEMPHIS, TN 38148-3045                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.926 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     FLIGHT EXPRESS INC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.927 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    605.85
     FLT
     801 LUNT AVE                                                   ¨ Contingent
     ELK GROVE, IL 60007                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.928 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,150.00
     FLYHI TRANS, INC.
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.929 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,900.00
     FLYING CARRIERS LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.930 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     FM TRANS INC
     2969 SEASONS DR                                                ¨ Contingent
     GREENWOOD, IN 46143                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.931 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,100.00
     FMA TRUCKING LLC
     4889 SINCLAIR RD SUITE # 106                                   ¨ Contingent
     COLUMBUS, OH 43229                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.932 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,783.50
     FMJ FREIGHT & LOGISTICS LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.933 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     FMR LOGISTICS LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.934 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     FMS TRUCKING LLC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.935 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,350.00
     FOE GENERATIONAL WEALTH TRANSPORTATION
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.936 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FOOT LOCKER INC
     3543 SIMPSON FERRY RD                                          þ Contingent
     CAMP HILL, PA 17011                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.937 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FORBO MOVEMENT SYSTEMS
     10125 S TRYON ST                                               þ Contingent
     CHARLOTTE, NC 28273                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes

3.938 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,350.00
     FORCE TRANS INC
     OR CRESTMARK TPG LLC                                           ¨ Contingent
     PO BOX 682348                                                  ¨ Unliquidated
     FRANKLIN, TN 37068                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.939 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     FOREVER INC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.940 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,950.00
     FOREWAY TRANSPORTATION, INC.
     1413 RANDALL STREET                                            ¨ Contingent
     COOPERSVILLE, MI 49404                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.941 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FORMERRA
     1250 WINDHAM PKWY                                              þ Contingent
     ROMEOVILLE, IL 60446                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.942 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    425.00
     FORT MYERS TRUCKING, INC.
     PO BOX 150576                                                  ¨ Contingent
     CAPE CORAL, FL 33915-0576                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.943 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    625.00
     FORTECHO LLC
     PO BOX 3404                                                    ¨ Contingent
     MUNSTER, IN 46321                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.944 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,100.00
     FORTES CORPORATION
     OR JD FACTORS LLC                                              ¨ Contingent
     PO BOX 687                                                     ¨ Unliquidated
     WHEATON, IL 60187                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.945 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 40,573.69
     FORWARD AIR
     DEPT, #888155                                                  ¨ Contingent
     KNOXVILLE, TN 37995                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.946 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     FORWARD FREIGHT TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.947 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     FOUNTAIN VALLEY ENTERPRISE, INC.
     14986 COUNTY ROAD 20                                           ¨ Contingent
     FAYETTE, OH 43521                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.948 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     FOUR SEASONS TRUCKING LLC
     OR PORTER BILLING SERVICES, LLC                                ¨ Contingent
     PO BOX 440127                                                  ¨ Unliquidated
     NASHVILLE, TN 37244                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.949 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,600.00
     FOUR WAYS LOGISTICS II, INC.
     12910 85TH CT                                                  ¨ Contingent
     PALOS PARK, IL 60464                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.950 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     FOX FREIGHT INC
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.951 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,630.00
     FOX TRANSPORTATION INC
     P.O. BOX 3119                                                  ¨ Contingent
     RANCHO CUCAMONGA, CA 91729                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.952 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,800.00
     FOX TRUCKING XPRESS INC
     OR STEELHEAD FINANCE                                           ¨ Contingent
     3518 HEATHROW WAY                                              ¨ Unliquidated
     MEDFORD, OR 97504                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.953 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     FREDI TRANSPORT INC
     OR TRIUMPH BUSINESS CAPITAL                                    ¨ Contingent
     PO BOX 610028                                                  ¨ Unliquidated
     DALLAS, TX 75261-0028                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.954 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     FREEDOM FREIGHT INC.
     3605 SELMA-JAMESTOWN ROAD                                      ¨ Contingent
     SOUTH CHARLESTON, OH 45368                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.955 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,400.00
     FREEDOM TRANSPORT INC.
     10959 ALDER AVE                                                ¨ Contingent
     BLOOMINGTON, CA 92316                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.956 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     FREEWAY EXPRESS LLC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.957 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     FREEWAY TRANSPORTATION GROUP LLC
     OR CARRIERNET GROUP FINANCIAL                                  ¨ Contingent
     PO BOX 1130                                                    ¨ Unliquidated
     SIOUX FALLS, SD 57101                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.958 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     FREGOSO TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.959 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 28,944.00
     FREIGHT CONCEPTS INC.
     10805 N POMONA AVE                                             ¨ Contingent
     KANSAS CITY, MO 64153                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.960 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,300.00
     FREIGHT DIRECT LLC
     OR CROSSROAD SERVICES LLC                                      ¨ Contingent
     PO BOX 653076                                                  ¨ Unliquidated
     DALLAS, TX 75265-3076                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.961 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     FREIGHT HUNTER TRANSPORTATION INC
     16753 MAVERICK COURT                                           ¨ Contingent
     WESTFIELD, IN 46074                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.962 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    300.00
     FREIGHT OTR SERVICES LLC
     OR INTEGRA FUNDING SOLUTIONS, LLC                              ¨ Contingent
     6300 RIDGLEA PL, SUITE 1101                                    ¨ Unliquidated
     FORT WORTH, TX 76116                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.963 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    550.00
     FREIGHT PROS LLC
     OR THUNDER FUNDING                                             ¨ Contingent
     DEPT #3003 P. O. BOX 1000                                      ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.964 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,900.00
     FREIGHT SEEKERS LLC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.965 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,700.00
     FREIGHT USA LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.966 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,200.00
     FREIGHT WAY EXPRESS INC
     OR LOVES SOLUTIONS LLC                                         ¨ Contingent
     PO BOX 639565                                                  ¨ Unliquidated
     CINCINNATI, OH 45263-9565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.967 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     FREIGHTHAWK XPRESS LLC
     FREIGHTHAWK XPRESS LLC                                         ¨ Contingent
     255 MADSEN DRIVE                                               ¨ Unliquidated
     BLOOMINGDALE, IL 60108                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.968 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,000.00
     FREIGHTIE INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.969 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,475.00
     FREIGHTLINE REPUBLIC LLC
     OR VIVA CAPITAL FUNDING, INC.                                  ¨ Contingent
     PO BOX 17548                                                   ¨ Unliquidated
     EL PASO, TX 79917                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.970 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 30,700.00
     FREIGHTMANIA, INC.
     OR COMPASS FUNDING SOLUTIONS                                   ¨ Contingent
     PO BOX 205154                                                  ¨ Unliquidated
     DALLAS, TX 75320                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.971 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,500.00
     FREIGHTWELL LOGISTICS LLC
     OR BUSBOT INCORPORATED DBA AXLE                                ¨ Contingent
     PO BOX 392797                                                  ¨ Unliquidated
     PITTSBURGH, PA 15251-9797                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.972 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     FREZ & SONS LLC
     FREZ & SONS LLC                                                ¨ Contingent
     PO BOX 10553                                                   ¨ Unliquidated
     SILVER SPRINGS, MD 20914                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.973 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,400.00
     FRIENDLY FREIGHT INC
     OR ACS FACTORS                                                 ¨ Contingent
     PO BOX 150306                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.974 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     FRIENDOS FREIGHT LINES LLC
     OR FIRST LINE FUNDING GROUP                                    ¨ Contingent
     PO BOX 328                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.975 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,500.00
     FRONTLINE EXPRESS INC
     P.O. BOX 90323                                                 ¨ Contingent
     BROOKLYN, NY 11209                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.976 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    500.00
     FTC
     6311 STONER DRIVE                                              ¨ Contingent
     GREENFIELD, IN 46140                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.977 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,800.00
     FUENTES AND SONS TRANSPORTATION
     OR TAB BANK                                                    ¨ Contingent
     PO BOX 150290                                                  ¨ Unliquidated
     OGDEN, UT 84415                                                ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.978 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    400.00
     FUENTES TRANS EXPRESS LLC
     6932 LURLINE AVE                                               ¨ Contingent
     WINNETKA, CA 91306                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.979 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,000.00
     FUENTES TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.980 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,800.00
     FULL SPEED AHEAD INC
     355 W DUNDEE RD, STE 205                                       ¨ Contingent
     BUFFALO GROVE, IL 60089                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.981 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     FUN SWEETS LLC
     501 103RD AVE. N.                                              þ Contingent
     ROYAL PALM BEACH, FL 33411                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.982 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    900.00
     FUTURE STAR INC
     3102 OLD BAUMGARTNER RD                                        ¨ Contingent
     SAINT LOUIS, MO 63129                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.983 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,800.00
     FUTURE TRANS INC
     OR ENGLAND CARRIER SERVICES                                    ¨ Contingent
     PO BOX 953086                                                  ¨ Unliquidated
     ST LOUIS, MO 63195-3086                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.984 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,150.00
     FYN TRANSPORTATION LLC
     OR CFS, INC DBA COMFREIGHT HAULPAY                             ¨ Contingent
     65 PINE AVE, STE 853                                           ¨ Unliquidated
     LONG BEACH, CA 90802                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.985 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,950.00
     G & H MOTOR FREIGHT LINES
     116 NW TOWNLINE RD PO BOX 239                                  ¨ Contingent
     GREENFIELD, IA 50849                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.986 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,492.50
     G & I SOLUTIONS INC
     OR OTR CAPITAL LLC                                             ¨ Contingent
     DEPT# 390 P.O. BOX 1000                                        ¨ Unliquidated
     MEMPHIS, TN 38148                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.987 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     G & Y TRANSPORTATION LLC
     OR CASHWAY FUNDING                                             ¨ Contingent
     PO BOX 724051                                                  ¨ Unliquidated
     ATLANTA, GA 31139-4051                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.988 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     G E M FREIGHT CARRIERS LLC
     OR APEX CAPITAL CORP                                           ¨ Contingent
     PO BOX 961029                                                  ¨ Unliquidated
     FT WORTH, TX 76161-1029                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.989 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,800.00
     G F S TRANSPORT INC
     16550 PARADUXX CT                                              ¨ Contingent
     BAKERSFIELD, CA 93314                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.990 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     G G TRUCK LINES INC
     44289 WILMINGTON DR                                            ¨ Contingent
     CANTON, MI 48188                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.991 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    650.00
     G LOPEZ TRANSPORTATION
     OR ITHRIVE FUNDING LLC                                         ¨ Contingent
     DEPT#848 PO BOX 1000                                           ¨ Unliquidated
     MEMPHIS, TN 38148-1000                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.992 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,700.00
     G P B LOGISTICS LLC
     OR RTS FINANCIAL SERVICES                                      ¨ Contingent
     PO BOX 840267                                                  ¨ Unliquidated
     DALLAS, TX 75284                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.993 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,400.00
     G S DHAMI LLC
     OR TAFS INC                                                    ¨ Contingent
     P.O. BOX 872632                                                ¨ Unliquidated
     KANSAS CITY, MO 64187                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.994 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,325.00
     G T S TRUCKING INC
     719 SAWDUST RD STE 330                                         ¨ Contingent
     THE WOODLANDS, TX 77380                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.995 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,375.00
     G&J EXPRESS LLC
     5407 CHAPEL BROOK DR                                           ¨ Contingent
     HOUSTON, TX 77069                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.996 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,800.00
     G&T INTERNATIONAL
     17 GALTEE RD                                                   ¨ Contingent
     BRAMPTON, ON L6X 0J5                                           ¨ Unliquidated
     CANADA                                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.997 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,300.00
     G&VN INC
     OR ASSIST FINANCIAL SERVICES, INC                              ¨ Contingent
     PO BOX 347                                                     ¨ Unliquidated
     MADISON, SD 57042                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.998 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    700.00
     GAKAMI & SONS LOGISTICS, LLC
     OR PHOENIX CAPITAL GROUP                                       ¨ Contingent
     PO BOX 1415                                                    ¨ Unliquidated
     DES MOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.999 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,200.00
     GALEE TRUCKING INC
     OR OTR CAPITAL DBA OTR SOLUTIONS                               ¨ Contingent
     PO BOX 1175760                                                 ¨ Unliquidated
     ATLANTA, GA 30368-7576                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GALERIE AU CHOCOLAT
      330 LANGLEY DRIVE                                             þ Contingent
      HEBRON, KY 41048                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,075.00
                                                                    Check all that apply.
      GALT LOGISTICS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    450.00
                                                                    Check all that apply.
      GALVAN TRUCKING
      3032 KALEI CT                                                 ¨ Contingent
      PERRIS, CA 92571-3773                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    900.00
                                                                    Check all that apply.
      GAMA TRADE INC
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    985.00
                                                                    Check all that apply.
      GAMBIT LOGISTICS LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    150.00
                                                                    Check all that apply.
      GAN-TRANS, LTD A CORP.
      800 CARDEN ST                                                 ¨ Contingent
      SAN LEANDRO, CA 94577                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      GAO TRANSPORTATION INC
      1822 SHORELINE DR                                             ¨ Contingent
      MISSOURI CITY, TX 77459                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GARDEN STATE BULB COMPANY LLC
      2720 INDUSTRIAL WAY                                           þ Contingent
      VINELAND, NJ 08360                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    525.00
                                                                    Check all that apply.
      GARLAND TRUCKING
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.100
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,700.00
                                                                    Check all that apply.
      GARRIDO COMPANY TRUCK INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,800.00
                                                                    Check all that apply.
      GBT TRUCKING LLC
      OR GH FACTOR LLC                                              ¨ Contingent
      PO BOX 746847                                                 ¨ Unliquidated
      ATLANTA, GA 30374-6847                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,650.00
                                                                    Check all that apply.
      GCUBED TRUCKING LLC
      OR RIVIERA FINANCE - MINNEAPOLIS                              ¨ Contingent
      P.O BOX 850243                                                ¨ Unliquidated
      MINNEAPOLIS, MN 55485-0243                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      GD TRANSPORT SERVICES CORP
      OR FACTOR PLUS LLC                                            ¨ Contingent
      PO BOX 45-1653                                                ¨ Unliquidated
      MIAMI, FL 33245                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GE HEALTHCARE TECHNOLOGIES % EM6 LOGISTI
      EM6- ATTN: GE HEALTHCARE                                      þ Contingent
      ORMOND BEACH, FL 32173                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      GE TRANS
      12008 CORLEY DR                                               ¨ Contingent
      WHITTIER, CA 90604                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      GEC TRANSPORT SOLUTIONS LLC
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    925.00
                                                                    Check all that apply.
      GEE TRUCKING INC.
      18 ARBOR DRIVE                                                ¨ Contingent
      LEXINGTON, NC 27292                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    118.56
                                                                    Check all that apply.
      GEESE CARTAGE & COURIER, LLC
      1345 DIAMOND SPRINGS ROAD SUITE 101                           ¨ Contingent
      VIRGINIA BEACH, VA 23455-3629                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,775.00
                                                                    Check all that apply.
      GELLE TRUCKING LLC
      OR ALADDIN FINANCIAL, INC                                     ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.101
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      GENEX EXPRESS ENTERPRISES INC
      152 TOUHY COURT                                               ¨ Contingent
      DES PLAINES, IL 60018                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      GERALD TRUCKING INC
      OR CAPITAL DEPOT                                              ¨ Contingent
      8930 N. WAUKEGAN ROAD, SUITE 230                              ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    800.00
                                                                    Check all that apply.
      GES TRANS INC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      GETGO TRANSPORTATION CO., LLC
      28500 LEMOYNE RD                                              ¨ Contingent
      MILLBURY, OH 43447                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    950.00
                                                                    Check all that apply.
      GFS EXPRESS INC
      PO BOX 831915                                                 ¨ Contingent
      MIAMI, FL 33283                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,850.00
                                                                    Check all that apply.
      GGC TRANSPORT INC
      OR THUNDER CARRIER SERVICES, LLC                              ¨ Contingent
      P. O. BOX 1000 DEPT #3003                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      GGF
      OR STEELHEAD FINANCE                                          ¨ Contingent
      3518 HEATHROW WAY                                             ¨ Unliquidated
      MEDFORD, OR 97504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      GGT-FREIGHT LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,700.00
                                                                    Check all that apply.
      GH & W LOGISTICS LLC
      OR TBS FACTORING SERVICE LLC                                  ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      GHUMAAN TRUCKING INC
      17016 PECAN HOLLOW WAY                                        ¨ Contingent
      LATHROP, CA 95330                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.102
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,850.00
                                                                    Check all that apply.
      GHUMAN LOGISTICS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      GIBSONS EXPRESS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 47,700.00
                                                                    Check all that apply.
      GIGG EXPRESS INC
      5355 CREEKBANK ROAD                                           ¨ Contingent
      MISSISSAUGA, ON L4W 5L5                                       ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      GIL TRANSPORT INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    700.00
                                                                    Check all that apply.
      GILL CARRIER
      6569 N RIVERSIDE DR STE102 # 502                              ¨ Contingent
      FRESNO, CA 93722                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    700.00
                                                                    Check all that apply.
      GIOVANNI LOGISTICS LLC
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      GIS TRUCKING INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      GK CARGO, INC.
      1449 CHASE CT                                                 ¨ Contingent
      BUFFALO GROVE, IL 60089                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      GK TRANSPORT INC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GLADON COMPANY
      1350 S KINGSHIGHWAY BLVD                                      þ Contingent
      SAINT LOUIS, MO 63110                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.103
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GLOBAL FOUNDRIES
      400 STONEBREAK EXT                                            þ Contingent
      BALLSTON SPA, NY 12020                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GLOBAL INDUSTRIES
      107 GAITHER DR                                                þ Contingent
      MOUNT LAUREL, NJ 08054                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    600.00
                                                                    Check all that apply.
      GLOBAL K LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      GLOBAL OMNIS DISTRIBUTION LOGISTICS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 37,260.00
                                                                    Check all that apply.
      GLOBALTRANZ ENTERPRISES, INC.
      PO BOX 203285                                                 ¨ Contingent
      DALLAS, TX 75320                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 15,550.00
                                                                    Check all that apply.
      GLOBE LOGISTICS INC
      70 ELM ST                                                     ¨ Contingent
      NORTH ARLINGTON, NJ 07031                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,668.57
                                                                    Check all that apply.
      GLOBE TECH LLC
      101 INDUSTRIAL DR                                             ¨ Contingent
      PLYMOUTH, MI 48170                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  4,380.08
                                                                    Check all that apply.
      GLOBE TRANSPORTATION INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      GLOBEMASTER INCORPORATED
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      GLOBEMAX EXPRESS INC
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.104
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GLOVIS AMERICA INC
      17305 VON KARMAN AVE                                          þ Contingent
      STE 200, IRVINE, CA 92614                                     þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GLOVIS USA
      3675 CRESTWOOD PKWY NW STE 501                                þ Contingent
      DULUTH, MN 30096                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      GM CARGO FORWARDERS INCORPORATED
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    550.00
                                                                    Check all that apply.
      GM EXPRESS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    750.00
                                                                    Check all that apply.
      GMA EXPRESS, LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 PO BOX 1000                                         ¨ Unliquidated
      MEMPHIS, TN 38148-0390                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    990.00
                                                                    Check all that apply.
      GMBS TRANSPORTS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      GMH TRANS, LLC
      7668 US ROUTE 5                                               ¨ Contingent
      WESTMINSTER, VT 05158                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  5,400.00
                                                                    Check all that apply.
      GMR XPRESS INCORPORATED
      7928 GRANT ST                                                 ¨ Contingent
      DARIEN, IL 60561                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      GMT LOGISTIC INC
      50706 VARSITY COURT                                           ¨ Contingent
      WIXOM, MI 48393                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    800.00
                                                                    Check all that apply.
      GMT TRANSPORTATION SERVICES INC
      12710 JACK LANE                                               ¨ Contingent
      CORONA, CA 92880                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.105
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      GND TRANSPORT INC
      2839 COLLETON DR                                              ¨ Contingent
      MARIETTA, GA 30066                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      GND TRANSPORT INC (MC882992)
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 PO BOX 1000                                        ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    750.00
                                                                    Check all that apply.
      GO FRANK EXPRESS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,780.00
                                                                    Check all that apply.
      GO POWER INC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      GOD'S MERCY TRUCKING LLC
      1901 WINDY HILL PT                                            ¨ Contingent
      LAWRENCEVILLE, GA 30046                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    425.00
                                                                    Check all that apply.
      GODSPEED TRANSPORTING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      GOIN MOBILE LLC
      PO BOX                                                        ¨ Contingent
      HAYDEN, CO 81639                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  5,700.00
                                                                    Check all that apply.
      GOLD STAR EXPRESS LLC
      OR SOUND FINANCE CORPORATION                                  ¨ Contingent
      PO BOX 206489                                                 ¨ Unliquidated
      DALLAS, TX 75320-6489                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      GOLD STAR EXPRESS LLC (BOWLING GREEN KY)
      OR CJM FINANCIAL INC                                          ¨ Contingent
      PO BOX 727                                                    ¨ Unliquidated
      ANKENY, IA 50021                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      GOLDEN EAGLE TRANS INC
      5771 BOXWOOD HILLS PLACE                                      ¨ Contingent
      ANTELOPE, CA 95843                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.106
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      GOLDEN GATE TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    900.00
                                                                    Check all that apply.
      GOLDEN STAR TRANSPORT INC
      OR GREAT PLAINS TRANSPORTATION SERVICES INC                   ¨ Contingent
      PO BOX 4539                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,700.00
                                                                    Check all that apply.
      GOLDEN TIME TRUCKING INC
      P.O. BOX 5262                                                 ¨ Contingent
      EL MONTE, CA 91734                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      GOLDEN WINGS UZ INC
      604 HOGELAND LANE                                             ¨ Contingent
      BENSALEM, PA 19020                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GOOD DYE YOUNG
      2726 LARMON DR                                                þ Contingent
      NASHVILLE, TN 37204                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      GOOD FOLKES TRUCKING LLC
      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING        ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      GOOD NEWS CARRIER
      13450 KING RD                                                 ¨ Contingent
      LEMONT, IL 60439                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 30,977.50
                                                                    Check all that apply.
      GOOD SOURCE TRUCKING INC
      OR SUNBELT FINANCE                                            ¨ Contingent
      PO BOX 1000 DEPT 144                                          ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      GORAYA & SONS INC
      6702 WINDCHIME CT                                             ¨ Contingent
      BAKERSFIELD, CA 93313                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      GORGAN TRUCKING LLC
      OR INTEGRA FUNDING SOLUTIONS, LLC                             ¨ Contingent
      6300 RIDGLEA PL, SUITE 1101                                   ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.107
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,950.00
                                                                    Check all that apply.
      GORGOR TRANSPORT LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      GOV FORWARD INC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GP FABRICATION
      2401 FT WORTH ST                                              þ Contingent
      STE B, GRAND PRAIRIE, TX 75050                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,172.50
                                                                    Check all that apply.
      GP TRANSPORTATION COMPANY
      PO BOX 95379                                                  ¨ Contingent
      CHICAGO, IL 60694                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      GR QUALITY TRANSPORTS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    700.00
                                                                    Check all that apply.
      GRADE A DISPATCH & LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      GRAND LINE GROUP INC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      GRAND RAPIDS TRANSPORT, INC.
      2278 PORT SHELDON ST                                          ¨ Contingent
      JENISON, MI 49428                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     50.00
                                                                    Check all that apply.
      GRAPE SOLAR
      2635 W. 7TH PL.                                               ¨ Contingent
      EUGENE, OR 97402                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      GRATEFUL TRANSPORT INC
      OR YANKTON FACTORING, INC                                     ¨ Contingent
      PO BOX 217                                                    ¨ Unliquidated
      YANKTON, SD 57078                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.108
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    900.00
                                                                    Check all that apply.
      GREAT EXPRESS TRANSPORTATION LLC
      4239 WOODS CREEK LN                                           ¨ Contingent
      SUWANEE, GA 30024                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GREAT JONES BOOKS INC
      27 ROUTE 31                                                   þ Contingent
      PENNINGTON, NJ 08534                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 17,070.00
                                                                    Check all that apply.
      GREAT LAKES TRUCKING MI INC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      GREAT NORTHERN
      OR TRIUMPH BUSINESS CAPITAL                                   þ Contingent
      PO BOX 610028                                                 þ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      GREEN CARGO LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    361.25
                                                                    Check all that apply.
      GREEN DIAMOND COMMERCIAL CLEANING LLC
      OR TRANSAM FINANCIAL SERVICES, INC.                           ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      GREEN HORNETS LOGISTICS INC
      OR SAINT JOHN CAPITAL CORP                                    ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674-7671                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    750.00
                                                                    Check all that apply.
      GREEN TRUCKING
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  6,950.00
                                                                    Check all that apply.
      GREENSCREENS AI LLC
      PO BOX 567                                                    ¨ Contingent
      FORT PIERCE, FL 34954                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  9,700.00
                                                                    Check all that apply.
      GREENTREE TRANSPORTATION COMPANY
      GREENTREE TRANSPORTATION COMPANY                              ¨ Contingent
      PO BOX 644831 - DEPT GTC                                      ¨ Unliquidated
      PITTSBURGH, PA 15264-4831                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.109
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    150.00
                                                                    Check all that apply.
      GREENWAY TRANSPORT INC
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    800.00
                                                                    Check all that apply.
      GRIFFIN TRANSPORTATION INC
      4525 Clay Avenue Sw                                           ¨ Contingent
      GRAND RAPIDS, MI 49548                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    800.00
                                                                    Check all that apply.
      GROEN ENTERPRISES, INC.
      7568 US 264 E                                                 ¨ Contingent
      WASHINGTON, NC 27889                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      GSA LOGISTICS INC (MC1182724)
      OR CAPITAL DEPOT                                              ¨ Contingent
      8930 N WAUKEGAN RD STE 230                                    ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      GSC HEAVY HAULING LLC
      OR PARTNERS FUNDING INC.,                                     ¨ Contingent
      PO BOX 5431                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-5431                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      GSG TRANSPORTATION, LLC.
      4149 ST AUGUSTINE RD                                          ¨ Contingent
      JACKSONVILLE, FL 32207                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      GSR TRANSPORT LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    400.00
                                                                    Check all that apply.
      GSTER FINANCIAL SERVICES
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      GT TRUCK TRANSPORTATION INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    700.00
                                                                    Check all that apply.
      GTG TRANSPORTATION, INC.
      P. O. BOX 1082                                                ¨ Contingent
      JONESBORO, GA 30237                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.110
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 86,300.00
                                                                    Check all that apply.
      GTS EXPRESS INC
      2300 N BARRINGTON ROAD STE 400                                ¨ Contingent
      HOFFMAN ESTATES, IL 60169                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      GTS TRANSPORTATION CORPORATION
      7545 S MADISON STREET                                         ¨ Contingent
      7545 S MADISON STREET                                         ¨ Unliquidated
      BURR RIDGE, IL 60527                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      GTY SERVICES LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    245.99
                                                                    Check all that apply.
      GUARDIAN LOGISTICS
      DBA GUARDIAN LOGISTICS SOLUTIONS                              ¨ Contingent
      P.O. BOX 51160                                                ¨ Unliquidated
      DURHAM, NC 27717                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      GUIANO INTERNATIONAL LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      GULF LINE GROUP LTD
      1278 CONCESSION RD                                            ¨ Contingent
      CAMBRIDGE, ON N3H4L6                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      GUNDLACH & SONS LEASING COMPANY, INC.
      P O BOX 830                                                   ¨ Contingent
      LA PAZ, IN 46537                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    575.00
                                                                    Check all that apply.
      GUR EXPRESS INC (MC1221653)
      OR CAPITAL DEPOT                                              ¨ Contingent
      8930 N WAUKEGAN RD SUITE 230                                  ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     50.00
                                                                    Check all that apply.
      GURB TRANSP0RT LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      GUREY GLOBAL TRUCKING LLC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.111
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    850.00
                                                                    Check all that apply.
      GUYER THE MOVER, INC.
      1050 INDUSTRIAL PARKWAY                                       ¨ Contingent
      PERU, IN 46970                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    620.00
                                                                    Check all that apply.
      GUZMAN TRUCKING
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    300.00
                                                                    Check all that apply.
      GWC MASTERMINDING LLC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 7410633                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,320.00
                                                                    Check all that apply.
      H & H EXPRESS LANES LLC
      5245 RISCHOW DR SW                                            ¨ Contingent
      WYOMING, MI 49509                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      H & H EXPRESS LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      H & J TRANSPORT INC
      21 SHELDUCK LANE                                              ¨ Contingent
      MECHANICSBURG, PA 17050                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    550.00
                                                                    Check all that apply.
      H & P TRANSPORT LLC
      OR NFUSION CAPITAL, LLC, PO BOX 151072                        ¨ Contingent
      OGDEN, UT 84415                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    950.00
                                                                    Check all that apply.
      H & Y TRUCKING, INC.
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      H&JS TRUCKING LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      H&S LOGISTICS SERVICES INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.112
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      H.F. KROEGER TRUCKING, LLC
      106 S 3RD AVE                                                 ¨ Contingent
      ELDRIDGE, IA 52748                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    513.58
                                                                    Check all that apply.
      HACKBARTH DELIVERY SERVICE, INC.
      3200 EXECUTIVE PARK CIR                                       ¨ Contingent
      MOBILE, AL 36606                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    550.00
                                                                    Check all that apply.
      HAI LONG TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HALSTEAD NEW ENGLAND
      104 THOMAS ST                                                 þ Contingent
      CALHOUN, GA 30701                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HAMILTON PARKER
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      HAMP'S LOGISTICS LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      HAND TO HAND TRANSPORTATION
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,525.00
                                                                    Check all that apply.
      HANEY FREIGHTWAYS LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    880.88
                                                                    Check all that apply.
      HANTOVER INC
      5200 W 110TH STE 100                                          ¨ Contingent
      OVERLAND PARK, KS 66211                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    500.00
                                                                    Check all that apply.
      HARBOR BREEZE LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.113
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      HARDING METALS INC
      42 HARDING DRIVE                                              ¨ Contingent
      NORTHWOOD, NH 03261                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      HARED TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      HARGUN FREIGHT LINES
      3900 HORNER ST #128                                           ¨ Contingent
      UNION CITY, CA 94587                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,900.00
                                                                    Check all that apply.
      HARI INCORPORATION
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      HARMANDER TRANSPORT INC
      390 CONSERVATION DR                                           ¨ Contingent
      BRAMPTON, ON L6Z 0B9                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    900.00
                                                                    Check all that apply.
      HARPER GLOBAL LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      HARPERS HOT SHOT TRUCKING LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,175.00
                                                                    Check all that apply.
      HART TO HART TRANSPORTATION LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   1,400.00
                                                                    Check all that apply.
      HART XPRESS INC
      4031 PARKWAY DR STE D                                         ¨ Contingent
      FLORENCE, AL 35630                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HASKELL OFFICE
      273 MONTGOMERY AVE                                            þ Contingent
      BALA CYNWYD, PA 19004                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.114
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                   6,050.00
                                                                    Check all that apply.
      HAULAGE NORTH AMERICA INC
      24 BUSHCROFT TRAIL                                            ¨ Contingent
      BRAMPTON, ON L7A 2L1                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 151,995.84
                                                                    Check all that apply.
      HAULISTIC LLC
      PO BOX 778724                                                 ¨ Contingent
      CHICAGO, IL 60677-8724                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   1,500.00
                                                                    Check all that apply.
      HAULSTER TRANSPORT LTD.
      62 ROZMUS BAY                                                 ¨ Contingent
      WINNIPEG, MB R2P 1E1                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      HAWKS TRANSPORT LLC
      OR SOUND FINANCE CORPORATION                                  ¨ Contingent
      P.O. BOX 206489                                               ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      HAYAT EXPRESS LLC
      OR TREADSTONE US CAPITAL, LLC                                 ¨ Contingent
      PO BOX 631627                                                 ¨ Unliquidated
      CINCINNATI, OH 45263-1627                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      HB LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      HCH TRUCKING INC
      OR FACTORING EXPRESS LLC                                      ¨ Contingent
      PO BOX 150205                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      HDH TRANSPORTATION INC
      3006 N HUNTINGTON DR                                          ¨ Contingent
      ARLINGTON HEIGHTS, IL 60004                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      HDZ TRANSPORTATION CO
      HDZ TRANSPORTATION CO                                         ¨ Contingent
      125 WOODSTREAM BLVD - SUITE 301                               ¨ Unliquidated
      STAFFORD, VA 22556                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      HE LOGISTICS LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.115
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      HEALTH ONE TRANSPORT LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HEAT MAKES SENSE
      300 MESEROLE ST                                               þ Contingent
      BROOKLYN, NY 11206                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 18,250.00
                                                                    Check all that apply.
      HEBRON CARGO INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 653076                                                 ¨ Unliquidated
      DALLAS, TX 75265                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      HECHAVARRIA PEREZ LLC
      OR NU-KO CAPITAL, LLC                                         ¨ Contingent
      PO BOX 150884                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HEEBY'S SURPLUS
      1164 PARK RD                                                  þ Contingent
      READING, PA 19605                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    250.00
                                                                    Check all that apply.
      HERCULEAN MOVERS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 55,700.00
                                                                    Check all that apply.
      HERITAGE LOGISTICS LLC
      OR RIVIERA FINANCE OF CA                                      ¨ Contingent
      PO BOX 848062                                                 ¨ Unliquidated
      LOS ANGELES, CA 90084-8062                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    600.00
                                                                    Check all that apply.
      HERITAGE MOTOR FREIGHT, INC.
      733 NELSON RD                                                 ¨ Contingent
      MORRISDALE, PA 16858                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      HERO TRANSPORT LLC
      OR CAPITAL DEPOT, 8930 N WAUKEGAN ROAD, SUITE 230             ¨ Contingent
      MORTON GROVE, IL 60053                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      HETMEYER XPRESS, LLC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 932119                                                 ¨ Unliquidated
      ATLANTA, GA 31193                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.116
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      HETZELS OVERLAND TRANSPORT, INC.
      P O BOX 6075                                                  ¨ Contingent
      EFFINGHAM, IL 62401                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    750.00
                                                                    Check all that apply.
      HFT LOGISTICS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      HH LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    450.00
                                                                    Check all that apply.
      HICOVILLE INT'L INC
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 P. O. BOX 1000                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 10,000.00
                                                                    Check all that apply.
      HIGAREDA TRANSPORT LLC
      OR TRANSWEST CAPITAL                                          ¨ Contingent
      PO BOX 123381 - DEPT 3381                                     ¨ Unliquidated
      DALLAS, TX 75312-3381                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    300.00
                                                                    Check all that apply.
      HIGH SKY TRANSPORT LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HIGH TEMPERATURE SUPERCONDUCTORS
      320 N NOPAL ST                                                þ Contingent
      SANTA BARBARA, CA 93103                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 36,250.00
                                                                    Check all that apply.
      HIGHLANDER TRANSPORTATION INC
      HIGHLANDER TRANSPORTATION INC                                 ¨ Contingent
      1300 LUNT AVE                                                 ¨ Unliquidated
      ELK GROVE VILLAGE, IL 60007                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    900.00
                                                                    Check all that apply.
      HILL BROTHERS TRANSPORTATION, INC.
      7850 I STREET                                                 ¨ Contingent
      OMAHA, NE 68127                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    712.00
                                                                    Check all that apply.
      HILLANDALE FARMS EAST
      PO BOX 269                                                    ¨ Contingent
      HARTLY, DE 19953                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.117
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HILLENBRAND - CTSI
      4165 HALF ACRE RD                                             þ Contingent
      BATAVIA, OH 45103                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      HINES TRANSPORTATION SERVICES LLC
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    300.00
                                                                    Check all that apply.
      HINES VIP TRUCKING
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  8,100.00
                                                                    Check all that apply.
      HIRA TRANSPORT INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    895.79
                                                                    Check all that apply.
      HIRSH INDUSTRIES
      631 RIDGELY ST STE 14                                         ¨ Contingent
      DOVER, DE 19904                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 10,000.00
                                                                    Check all that apply.
      HJ INTERNATIONAL GROUP INC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    940.00
                                                                    Check all that apply.
      HL TRANSPORTATION
      108 PINE ST                                                   ¨ Contingent
      KEENE, TX 76059                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,900.00
                                                                    Check all that apply.
      HM FREIGHT LLC
      10921 REED HARTMAN HWY 304G                                   ¨ Contingent
      BLUE ASH, OH 45242                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      HMD LLC
      OR HMD TRUCKING, INC.                                         ¨ Contingent
      10031 VIRGINIA AVE                                            ¨ Unliquidated
      CHICAGO RIDGE, IL 60415                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      HMD TRUCKING, INC.
      10031 VIRGINIA AVE                                            ¨ Contingent
      CHICAGO RIDGE, IL 60415                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.118
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      HMS EXPRESS LLC
      OR ALADDIN FINANCIAL INC                                      ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HNRY LOGISTICS INC
      5200 W 110TH ST                                               þ Contingent
      LEAWOOD, KS 66211                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      HOLLAM GLOBAL LOGISTICS LLC
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    400.00
                                                                    Check all that apply.
      HOLLAND TRANSFER COMPANY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      HOLTKAMP TRANSPORTATION LLC
      2282 WINDMILL WAY                                             ¨ Contingent
      WEST POINT, IA 52656                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HOME DEPOT PRO
      151 JOHN JAMES AUDUBON PKWY                                   þ Contingent
      BUFFALO, NY 14228                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 131,699.03
                                                                    Check all that apply.
      HOME DEPOT PRO
      151 JOHN JAMES AUDUBON PKWY                                   ¨ Contingent
      BUFFALO, NY 14228                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   1,795.44
                                                                    Check all that apply.
      HOME DEPOT PRO % NATIONAL TRAFFIC
      701 SAN MARCO BLVD                                            ¨ Contingent
      JACKSONVILLE, FL 32207                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,475.00
                                                                    Check all that apply.
      HOMER EXPRESS LLC
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      HOMESTRETCH LOGISTICAL SOLUTIONS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.119
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      HOMEWERKS WORLDWIDE
      55 ALBRECHT DR                                                þ Contingent
      LAKE BLUFF, IL 60044                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,262.40
                                                                    Check all that apply.
      HORIZON FREIGHT SYSTEM, INC.
      PO BOX 70242                                                  ¨ Contingent
      CLEVELAND, OH 44190                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,174.85
                                                                    Check all that apply.
      HOT SHOT FINAL MILE, LLC
      PO BOX 701189                                                 ¨ Contingent
      HOUSTON, TX 77270-1189                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      HOT-LINE FREIGHT SYSTEM, INC.
      PO BOX 205                                                    ¨ Contingent
      WEST SALEM, WI 54669                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    150.00
                                                                    Check all that apply.
      HOUSESPRINGS TRUCKING LC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    650.00
                                                                    Check all that apply.
      HOUSTON TANK SERVICES, LLC
      P.O. BOX 566                                                  ¨ Contingent
      PARIS, TN 38242                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    248.58
                                                                    Check all that apply.
      HOWARD MILLER COMPANY
      860 E MAIN AVE                                                ¨ Contingent
      ZEELAND, MI 49464                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      HS TRANS INC
      OR SINGH FINANCING                                            ¨ Contingent
      10206 FAIRBANKS N. HOUSTON RD.                                ¨ Unliquidated
      HOUSTON, TX 77064                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      HSG TRUCKING INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    625.00
                                                                    Check all that apply.
      HTL
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.120
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    980.00
                                                                    Check all that apply.
      HTS LOGISTICS LLC (MC1257495)
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,850.00
                                                                    Check all that apply.
      HU FRIEDY MFG CO LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    650.00
                                                                    Check all that apply.
      HUB2HOME LLC
      41 ORCHARD ST # 103                                           ¨ Contingent
      RAMSEY, NJ 07446                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,500.00
                                                                    Check all that apply.
      HUGO HUNTER INC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      HUICHOL TRANSPORT
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  4,200.00
                                                                    Check all that apply.
      HUNTERS EXPRESS INC
      3102 GLOUCESTER DR                                            ¨ Contingent
      STERLING HEIGHTS, MI 48310                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      HUSBAND&WIFE TRANSPORTATION LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,350.00
                                                                    Check all that apply.
      HUSTLER TRANSPORT INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      HYAB TRANSPORTATION LLC (MC1438998)
      OR GREAT PLAINS TRANSPORTATION SERVICES INC                   ¨ Contingent
      PO BOX 4539                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-4539                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    800.00
                                                                    Check all that apply.
      HYBRID LOGISTICS LLC
      P.O.BOX 153927                                                ¨ Contingent
      IRVING, TX 75015                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.121
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    900.00
                                                                    Check all that apply.
      HYPER FREIGHT
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      I & B TRANSPORTATION LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      I & I BROTHERS EXPRESS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    350.00
                                                                    Check all that apply.
      I & N TRANSPORTATION LLC
      16725 168TH TERRACE SE                                        ¨ Contingent
      RENTON, WA 98058                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      I T S TRUCKING
      5405 BLACKSTOCK RD                                            ¨ Contingent
      SPARTANBURG, SC 29303                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      I Y C XPRESS
      OR RIVIERA FINANCE OF TX                                      ¨ Contingent
      PO BOX 202487                                                 ¨ Unliquidated
      DALLAS, TX 75320-2487                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      I. O. TRUCKING LLC
      24811 NW 4TH COURT                                            ¨ Contingent
      RIDGEFIELD, WA 98642                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    850.00
                                                                    Check all that apply.
      IAMLOGISTICS444
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 P. O. BOX 1000                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      IAN TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      IBO EXPRESS LLC
      OR GAP FACTORING INC                                          ¨ Contingent
      PO BOX 150105                                                 ¨ Unliquidated
      OGDEN, UT 84415-0105                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.122
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      IC LOGISTIC CORP
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    950.00
                                                                    Check all that apply.
      ICLF TRUCKING INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    150.00
                                                                    Check all that apply.
      ICOG EXPRESS LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      ICONIC FLEET LLC
      OR BASICBLOCK INC.                                            ¨ Contingent
      PO BOX 8697                                                   ¨ Unliquidated
      OMAHA, NE 68108                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      IDAHO ICE
      220 W MORTON ST                                               þ Contingent
      MOSCOW, ID 83843                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  6,400.00
                                                                    Check all that apply.
      IDAN EXPRESS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      IDEAL TRANS LLC
      15143 BEVERLY DR UNIT B                                       ¨ Contingent
      PHILADELPHIA, PA 19116                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      IDEAL XPRESS LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      IDS EXPRESS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      IDS TRUCKING INC
      OR JD FACTORS LLC                                             ¨ Contingent
      490 E ROOSEVELT ROAD SUITE 103                                ¨ Unliquidated
      WEST CHICAGO, IL 60185                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.123
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    550.00
                                                                    Check all that apply.
      IFENZE LOGISTICS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      IGN LOGISTICS CO
      IGN LOGISTICS CO                                              ¨ Contingent
      15725 ORLAN BROOK DR #73                                      ¨ Unliquidated
      ORLAND PARK, IL 60462                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,320.00
                                                                    Check all that apply.
      IGS TRANS INC
      33286 N BATTERSHALL RD                                        ¨ Contingent
      GRAYSLAKE, IL 60030                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      IHAUL FREIGHT, INC.
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068-2348                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      IIK TRANSPORT INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      IKAMAL INC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      ILOAD TRUCKING LTD
      5308 E GREEN ALDER WAY                                        ¨ Contingent
      REGINA, S4V 3M7                                               ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      IMAN TRUCKING LLC (MC1072031)
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      IME EXPRESS LLC
      OR FACTORING EXPRESS LLC                                      ¨ Contingent
      P.O. BOX 150205                                               ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      IMPALA LOGISTICS LLC
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.124
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      IMPRESSIONS MARKETING GROUP
      234 SPRINGS RD                                                þ Contingent
      WASHINGTON, NC 27889                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    682.69
                                                                    Check all that apply.
      INCSTORES LLC
      ATTN: OPERATIONS                                              ¨ Contingent
      OPERATIONS                                                    ¨ Unliquidated
      11201 N TATUM BLVD                                            ¨ Disputed
      PHOENIX, AZ 85028
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      INDIAN CREEK EXPRESS, LLC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,250.00
                                                                    Check all that apply.
      INFINITI ELITE DELIVERY SERVICES LLC
      OR TRANSWEST CAPITAL                                          ¨ Contingent
      PO BOX 123381 - DEPT 3381                                     ¨ Unliquidated
      DALLAS, TX 75312-3381                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,536.49
                                                                    Check all that apply.
      INFINITY FABRICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,125.00
                                                                    Check all that apply.
      INFINITY FREIGHT LOGISTICS CORP
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  5,900.00
                                                                    Check all that apply.
      INFINITY LINE LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    350.00
                                                                    Check all that apply.
      INFURNITURE INC
      8500 CARBIDE CT SUITE B                                       ¨ Contingent
      SACRAMENTO, CA 95828                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      INTACT GROUP
      605 HIGHWAY 169 N                                             þ Contingent
      PLYMOUTH, MN 55441                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #800006682



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      6682                      ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      INTEGRITY FREIGHT SERVICES, INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      P.O. BOX 1000 DEPT# 390                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.125
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      INTELLATRANS INC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    150.00
                                                                    Check all that apply.
      INTERNATIONAL CARRIER, INC.
      4618 TRADD CIRCLE                                             ¨ Contingent
      MONROE, NC 28110                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      INTERNET PLUS SPACE TIME
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 14,500.00
                                                                    Check all that apply.
      INTERSTATE EXPRESS INC
      PO BOX 121                                                    ¨ Contingent
      KEENE, KY 40339                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      INTERSTATE FREIGHT CARRIERS LLC
      OR COMMERCIAL FUNDING INC                                     ¨ Contingent
      PO BOX 207527                                                 ¨ Unliquidated
      DALLAS, TX 75320-7527                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      INTERSTATE ROADWAYS CORP
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 24,135.00
                                                                    Check all that apply.
      INVICTUS TRANSPORT LLC
      7927 DOCKAL ROAD                                              ¨ Contingent
      HOUSTON, TX 77028                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    375.00
                                                                    Check all that apply.
      IP EXPRESS INC
      8888 BELTON DR                                                ¨ Contingent
      N RIDGEVILLE, OH 44039                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    650.00
                                                                    Check all that apply.
      ISCO EXPRESS TRUCKING LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      ISCO TRUCKING LLC
      C/O APEX CAPITAL CORP                                         ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FORT WORTH, TX 76161                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.126
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      ISHER TRANSPORT INC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 932119                                                 ¨ Unliquidated
      ATLANTA, GA 31193                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      ISME TRANSPORT LLC
      OR MATCH FACTORS                                              ¨ Contingent
      P.O. BOX 13259                                                ¨ Unliquidated
      FLORENCE, SC 29504                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,550.00
                                                                    Check all that apply.
      ISSA LOGISTICS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 10,675.00
                                                                    Check all that apply.
      ITF LLC
      OR TRANSAM FINANCIAL SERVICES INC                             ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      ITRUCKING LLC (MC1040744)
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    600.00
                                                                    Check all that apply.
      IWACHU TRANSPORTATION LLC
      OR SMARTTRUCKER, LLC                                          ¨ Contingent
      PO BOX 30516 DEPT# 506                                        ¨ Unliquidated
      LANSING, MI 48909-8016                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      J & B SERVICES, INC.
      J & B SERVICES, INC.                                          ¨ Contingent
      79 SAND PEBBLE DRIVE                                          ¨ Unliquidated
      JACKSON, TN 38305                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    520.00
                                                                    Check all that apply.
      J & E FREIGHT SERVICES LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      J & J TRUCKING (MC587609)
      OR PHOENIX CAPITAL GROP LLC                                   ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      J & M TRANZPORT INC
      OR TRANSAM FINANCIAL SERVICES INC                             ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.127
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    900.00
                                                                    Check all that apply.
      J & N TRANSPORTATION LLC
      OR G SQUARED FUNDING, LLC                                     ¨ Contingent
      8215 ROSWELL RD - BUILDING 600                                ¨ Unliquidated
      SANDY SPRINGS, GA 30350                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    550.00
                                                                    Check all that apply.
      J & S DRAYAGE, LLC
      J & S DRAYAGE, LLC                                            ¨ Contingent
      PO BOX 6818                                                   ¨ Unliquidated
      OAKLAND, CA 94603                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,200.00
                                                                    Check all that apply.
      J & Z EXPRESS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      J A S & L LOGISTIC LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      J C PARRY & SONS INC
      3901 WASHINGTON BLVD                                          þ Contingent
      BALTIMORE, MD 21227                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,425.00
                                                                    Check all that apply.
      J E OWEN TRUCKING
      1091 BLACKWATER ROAD                                          ¨ Contingent
      FOREST, VA 24551                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      J J REYNOLDS TRANSPORT INC
      OR SMART FREIGHT FUNDING                                      ¨ Contingent
      PO BOX 3474                                                   ¨ Unliquidated
      OMAHA, NE 68103                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      J LARIOS TRANSPORTATION
      OR TAFS, INC                                                  ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      J MANE ENTERPRISE LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    450.00
                                                                    Check all that apply.
      J P L TRUCKING
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.128
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      J&A PRESTIGE TRANSPORT SERVICES LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      J&G LOGISTICS LLC
      OR BIG BROTHER FINANCIAL                                      ¨ Contingent
      P.O. BOX 1949                                                 ¨ Unliquidated
      SUGAR LAND, TX 77487-1949                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      J&J 72 TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    550.00
                                                                    Check all that apply.
      J&J BROS TRUCKING INC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  7,732.14
                                                                    Check all that apply.
      J&J PALLET SOLUTIONS, INC.
      P.O. BOX 1147                                                 ¨ Contingent
      ALPHARETTA, GA 30009                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,700.00
                                                                    Check all that apply.
      J. CIOFFI LEASING & TRUCKING INC
      PO BOX 591                                                    ¨ Contingent
      CARTERET, NJ 07008                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      J.S.K. TRUCKING COMPANY, INC.
      OR J D FACTORS                                                ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      J2O CONSULTANTS LLC
      OR SMARTTRUCKER, LLC                                          ¨ Contingent
      PO BOX 30516 DEPT# 506                                        ¨ Unliquidated
      LANSING, MI 48909-8016                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    400.00
                                                                    Check all that apply.
      J3 TRUCKING LLC
      OR EWALL CAPITAL SOLUTIONS, PO BOX 33849                      ¨ Contingent
      LAS VEGAS, NV 89133                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      JACK WINN COLOR
      ADDRESS ON FILE                                               þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.129
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    850.00
                                                                    Check all that apply.
      JACKDOLLARS TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      JACKY LINES, INC.
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  8,050.00
                                                                    Check all that apply.
      JAGIM TRANSPORTATION, INC.
      4335 PARADISE RD, PO BOX 206                                  ¨ Contingent
      WATSONTOWN, PA 17777                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      JAGUAR LOGISTICS LLC
      OR RTS FINANCIAL SERVICE                                      ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,550.00
                                                                    Check all that apply.
      JAI MATA DI TRANS INC
      18516 20TH AVE CT E                                           ¨ Contingent
      SPANAWAY, WA 98387                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,700.00
                                                                    Check all that apply.
      JALWO TRUCKING LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508-1099                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      JAMBO LOGISTICS
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      JAMES AND JAMES WOOD SHOP
      1609 N. MISSOURI RD.                                          þ Contingent
      SPRINGDALE, AR 72764                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,185.00
                                                                    Check all that apply.
      JAMES WILLIAMS TRUCKING
      OR NEAL FREEMAN INVESTMENTS                                   ¨ Contingent
      PO BOX 505062                                                 ¨ Unliquidated
      ST LOUIS, MO 63150                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      JAMESKKEXP LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.130
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      JAMESTOWN ADVANCED PRODUCTS
      2855 GIRTS RD                                                 þ Contingent
      JAMESTOWN, NY 14701                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,337.00
                                                                    Check all that apply.
      JAMM TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      JANDO TRANSPORTATION
      4988 KINGSLEY ST                                              ¨ Contingent
      MONTCLAIR, CA 91763                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 11,550.00
                                                                    Check all that apply.
      JANN LOGISTICS INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 653076                                                 ¨ Unliquidated
      DALLAS, TX 75265                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  4,200.00
                                                                    Check all that apply.
      JANNA TRANSPORT LLC
      OR NEAL FREEMAN INVESTMENTS                                   ¨ Contingent
      PO BOX 505062                                                 ¨ Unliquidated
      ST LOUIS, MO 63150                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,350.00
                                                                    Check all that apply.
      JAPCO TRANSPORT INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      JARINI ASSOCIATES LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      JASMA LLC
      OR TAFS, INC                                                  ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,905.00
                                                                    Check all that apply.
      JASMIN LOGISTICS LLC
      1300 HARVARD DR                                               ¨ Contingent
      ROCHESTER HILLS, MI 48307                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,900.00
                                                                    Check all that apply.
      JAT OF FORT WAYNE, INC.
      5031 INDUSTRIAL ROAD                                          ¨ Contingent
      FORT WAYNE, IN 46825                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.131
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      JAT SOLUTIONS LLC
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 10,881.55
                                                                    Check all that apply.
      JATT AIRWAYS TRANSPORT INC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      JAYRAY TRUCKING LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,400.00
                                                                    Check all that apply.
      JAZZ ENTERPRISES LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      JB & SONS EXPRESS LLC
      PO BOX 966                                                    ¨ Contingent
      BANNING, CA 92220                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    550.00
                                                                    Check all that apply.
      JBS EXPRESS INC
      OR FREIGHT FACTORING SPECIALISTS LLC                          ¨ Contingent
      DEPT 10010 - PO BOX 31792                                     ¨ Unliquidated
      TAMPA, FL 33631                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    900.00
                                                                    Check all that apply.
      JBS TRUCKING INC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,275.00
                                                                    Check all that apply.
      JCA TRANSPORT INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 653076                                                 ¨ Unliquidated
      DALLAS, TX 75265                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      JCC TRANSPORT INC
      295 NAPLES ST                                                 ¨ Contingent
      MENDOTA, CA 93640                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    550.00
                                                                    Check all that apply.
      JCP ENTERPRISE LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.132
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      JD LOGISTICS TRUCKING INC
      1933 S WEST AVE                                               ¨ Contingent
      WAUKESHA, WI 53189                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,900.00
                                                                    Check all that apply.
      JDC LOGISTICS LLC
      OR NUKO CAPITAL LLC                                           ¨ Contingent
      PO BOX 150884                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    850.00
                                                                    Check all that apply.
      JDF TRUCKING, LLC
      405 GAMBIT CIR                                                ¨ Contingent
      WAKE FOREST, NC 27587                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    500.00
                                                                    Check all that apply.
      JDM FREIGHT LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    625.00
                                                                    Check all that apply.
      JEEP TRANSPORT INC
      OR RTS FINANCIAL SERVICES                                     ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,600.00
                                                                    Check all that apply.
      JELEN'S TRANSPORTATION, INC.
      PO BOX 119                                                    ¨ Contingent
      LONG POND, PA 18334                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    850.00
                                                                    Check all that apply.
      JENKINS EXPRESS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      JERICO PLASTIC IND INC
      401 BRIDGE ST                                                 þ Contingent
      MINERVA, OH 44657                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      JESSUP LOGISTICS LLC
      11180 NORTH STATE ROAD 67                                     ¨ Contingent
      MOORESVILLE, IN 46158                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  6,075.00
                                                                    Check all that apply.
      JFG INTERNATIONAL INC
      1351 AIR WING RD STE 3                                        ¨ Contingent
      SAN DIEGO, CA 92154                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.133
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      JGA TRUCKING, INC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      JH 1131 LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      JIM LAWRENCE TRANSPORTATION INC
      20086 US HIGHWAY 301 NORTH                                    ¨ Contingent
      STARKE, FL 32091                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    500.00
                                                                    Check all that apply.
      JIREH-SHALOM TRUCKING LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    550.00
                                                                    Check all that apply.
      JJ&K TRUCKING LLC
      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144                      ¨ Contingent
      MEMPHIS, TN 38148                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    600.00
                                                                    Check all that apply.
      JJR TRUCKING LLC
      OR G SQUARED FUNDING, LLC                                     ¨ Contingent
      8215 ROSWELL RD BUILDING 600                                  ¨ Unliquidated
      SANDY SPRINGS, GA 30350                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 54,500.00
                                                                    Check all that apply.
      JKP LOGISTICS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      JL OCEAN CONTAINER SERVICE LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      2299 SW 27 AVE                                                ¨ Unliquidated
      MIAMI, FL 33145                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      JLA TRANSPORT INC
      17820 SAN JACINTO AVE                                         ¨ Contingent
      FONTANA, CA 92336                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,055.00
                                                                    Check all that apply.
      JLF LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.134
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    500.00
                                                                    Check all that apply.
      JM EXPRESS SERVICES INC
      P.O. BOX 4117                                                 ¨ Contingent
      CLIFTON, NJ 07012                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,250.00
                                                                    Check all that apply.
      JM&F USA TRANSPORT CORP
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      PO BOX 748841                                                 ¨ Unliquidated
      ATLANTA, GA 30374-8841                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      JMD TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    700.00
                                                                    Check all that apply.
      JMV TRANSPORT INC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      JOANN DC % INTUNE LOGISTICS
      208 ADLEY WAY                                                 þ Contingent
      GREENVILLE, SC 29607                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      JOE MACK TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      JOELG TRUCKING
      OR AZALINE CAPITAL, LLC                                       ¨ Contingent
      PO BOX 200814                                                 ¨ Unliquidated
      DALLAS, TX 75320-0814                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    750.00
                                                                    Check all that apply.
      JOHN EXPRESS TRUCKING LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    350.00
                                                                    Check all that apply.
      JOHNIE'S TRUCK & TRAILER LLC
      OR PHOENIX CAPITAL                                            ¨ Contingent
      P.O. BOX 1415                                                 ¨ Unliquidated
      DESMOINES, IA 50305                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      JOHNSON ONE INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.135
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      JOKERS TRUCKING LLC
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    450.00
                                                                    Check all that apply.
      JOMARRON TRANSPORTATION LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,505.00
                                                                    Check all that apply.
      JONES FAMILY FREIGHT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    950.00
                                                                    Check all that apply.
      JONES TRANSPORTATION
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    500.00
                                                                    Check all that apply.
      JONI TRANS LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      JOSE A RAMIREZ
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      JOSIAHS EMPIRE TRANSPORT INC
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 P. O. BOX 1000                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      JP LOGISTICS INC
      671 EXECUTIVE DRIVE - SUITE C                                 ¨ Contingent
      671 EXECUTIVE DRIVE - SUITE C                                 ¨ Unliquidated
      WILLOWBROOK, IL 60527                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      JP TRUCKING INC
      54340 SMILAX ROAD                                             ¨ Contingent
      NEW CARLISLE, IN 46552                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,049.00
                                                                    Check all that apply.
      JPK TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.136
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      JR TRANSPORT INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    800.00
                                                                    Check all that apply.
      JRC TRANSPORT
      OR VIVA CAPITAL FUNDING, INC., PO BOX 17548                   ¨ Contingent
      EL PASO, TX 79917                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    875.00
                                                                    Check all that apply.
      JRR TRANSPORT INC
      4511 BIRD FARM RD                                             ¨ Contingent
      CHINO HILLS, CA 91709                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      JS EXPRESS
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      JS TRANSPORTATION
      21306 W 82ND STREET                                           ¨ Contingent
      LENEXA, KS 66220                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,105.00
                                                                    Check all that apply.
      JS UNITED EXPRESS INC
      5438 W HARVARD AVE                                            ¨ Contingent
      FRESNO, CA 93722                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      JSD TRANS INCORPORATED
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    650.00
                                                                    Check all that apply.
      JSL TRUCKING INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  4,900.00
                                                                    Check all that apply.
      JSP LINES
      OR ASSIST FINANCIAL SERVICES INC                              ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      JT TRANSPORTATION INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 7410440                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.137
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      JT XPRESS LLC
      62 SUMMER ST APT 1                                            ¨ Contingent
      HYDE PARK, MA 02136-1565                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    560.00
                                                                    Check all that apply.
      JTX
      OR TAFS, INC                                                  ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    600.00
                                                                    Check all that apply.
      JUAN CALDERA TRANSPORT CORP
      23265 WALNUT ST                                               ¨ Contingent
      PERRIS, CA 92570                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    950.00
                                                                    Check all that apply.
      JUGGERNAUT SPARK LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,900.00
                                                                    Check all that apply.
      JULES TRANSPORTATION LLC
      OR INTEGRA FUNDING SOLUTIONS LLC                              ¨ Contingent
      6300 RIDGLEA PL, SUITE 316                                    ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    550.00
                                                                    Check all that apply.
      JULIAN EXPRESS INC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 732951                                                 ¨ Unliquidated
      DALLAS, TX 75373-2148                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      JURGEN TRUCKIN INC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    150.00
                                                                    Check all that apply.
      JUST RIGHT LOGISTICS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      JUST-N-TIME LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      JV FREIGHT LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.138
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      JV TRANSPORTATION LLP
      OR FARWEST CAPITAL                                            ¨ Contingent
      PO BOX 961209                                                 ¨ Unliquidated
      EL PASO, TX 79996                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      JVF TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    375.00
                                                                    Check all that apply.
      JVM VENEGAS TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      K & J EXPRESS LOGISTICS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      K & ZL TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      K EXPRESS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    350.00
                                                                    Check all that apply.
      K GARCIA ENTERPRISE LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      K JACOB LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      K K EXPRESS INC
      810 SOUTH MAIN STREET                                         ¨ Contingent
      AKRON, OH 44311                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      K S CARRIERS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.139
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    600.00
                                                                    Check all that apply.
      K&G TRUCK LINES LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    750.00
                                                                    Check all that apply.
      K. S. D. ATLANTIC TRANSPORT SYSTEMS INC.
      84 G WARREN AVE                                               ¨ Contingent
      WESTBROOK, ME 04092                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    750.00
                                                                    Check all that apply.
      K. W. SERVICE, INC.
      12236 JEFFERSON STREET                                        ¨ Contingent
      PERRYSBURG, OH 43551                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,700.00
                                                                    Check all that apply.
      K2 EXPRESS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,781.00
                                                                    Check all that apply.
      KAD GROUP LOGISTICS INC
      1627 EAGLE GROVE CT                                           ¨ Contingent
      WHEELING, IL 60090                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      KADAFY LOGISTICS CORP
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      KAIJU TRUCKING LLC
      OR TBS FACTORING                                              ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      KAM
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      KAMEX TRANSPORT LIMITED LIABILITY COMPANY
      500 LINWOOD DRIVE APT 3H                                      ¨ Contingent
      FORT LEE, NJ 07024                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    600.00
                                                                    Check all that apply.
      KANG TRANSPORT INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.140
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    150.00
                                                                    Check all that apply.
      KAPISH TRUCKING LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      KARL'S TRANSPORT, INC.
      PO BOX 333                                                    ¨ Contingent
      ANTIGO, WI 54409                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,700.00
                                                                    Check all that apply.
      KARSHE TRANSPORT LLC
      OR INSIGHT TECHNOLOGY, INC                                    ¨ Contingent
      PO BOX 200399                                                 ¨ Unliquidated
      DALLAS, TX 75320-0399                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    800.00
                                                                    Check all that apply.
      KASAK WORLD LOGISTICS INC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      KASONGO TRUCKING LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      KAUSHAL EXPRESS INC
      PO BOX 417                                                    ¨ Contingent
      SEVERN, MD 21144                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      KAZ TRUCKING, LLC
      302 NORTH RD                                                  ¨ Contingent
      BROAD BROOK, CT 06016                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,825.00
                                                                    Check all that apply.
      KBFLOGISTICS LLC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 7410633                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,575.00
                                                                    Check all that apply.
      KBG LOGISTICS
      50 INEZ DR                                                    ¨ Contingent
      BAY SHORE, NY 11706                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  4,000.00
                                                                    Check all that apply.
      KBX
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.141
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      KC GLOBAL TRUCKING
      PO BOX 24366                                                  ¨ Contingent
      HOUSTON, TX 77229                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    650.00
                                                                    Check all that apply.
      KCE ENTERPRISES LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      KEANE THUMMEL TRUCKING, INC.
      PO BOX 33                                                     ¨ Contingent
      NEW MARKET, IA 51646                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      KEEN CARGO EXPEDITE INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,150.00
                                                                    Check all that apply.
      KEEN CARGO INC
      OR APEX CAPITAL                                               ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  6,700.00
                                                                    Check all that apply.
      KEEP MOVING FORWARD ENTERPRISE LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      KEEP MOVING FREIGHT LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      2299 SW 27TH AVE                                              ¨ Unliquidated
      MIAMI, FL 33145                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 17,800.00
                                                                    Check all that apply.
      KEITH A LAWLESS COMPANIES, LLC.
      OR VENTURE CAPITAL INC.                                       ¨ Contingent
      P.O. BOX 274                                                  ¨ Unliquidated
      DRAPER, UT 84020-0274                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      KEJR, INC
      1835 WALL ST                                                  þ Contingent
      SALINA, KS 67401                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      KEL & JON TRUCKING LLC
      30 PILOT STREET SUITE 6H                                      ¨ Contingent
      BRONX, NY 10464                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.142
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,675.00
                                                                    Check all that apply.
      KELLER TRUCK LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      KETTNER SPIRITS
      6915 FLANDERS DR STE C                                        þ Contingent
      SAN DIEGO, CA 92121                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,990.00
                                                                    Check all that apply.
      KEY CARRIER GROUP, CO.
      OR PRO FUNDING INC                                            ¨ Contingent
      DEPT #3045 PO BOX 1000                                        ¨ Unliquidated
      MEMPHIS, TN 38148-3045                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      KFORCE EXPRESS, INC
      OR CD CONSORTIUM CORP                                         ¨ Contingent
      8930 WAUKEGAN RD, STE 230                                     ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      KG ACE TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      KG GROUP LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      KG LINE GROUP INCORPORATED
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      KGS TRANSPORT LLC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    450.00
                                                                    Check all that apply.
      KHAIRA CARRIER INC
      1360 WHISPERING WIND DR                                       ¨ Contingent
      TRACY, CA 95377                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,800.00
                                                                    Check all that apply.
      KHALSA FREIGHT INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.143
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      KIC TRANSPORT INC
      PO BOX 34645                                                  ¨ Contingent
      CHICAGO, IL 60634                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,361.12
                                                                    Check all that apply.
      Kid Kraft
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,140.00
                                                                    Check all that apply.
      KING KONG TRANSPORTATION. INC
      2743 EVELYN AVE                                               ¨ Contingent
      ROSEMEAD, CA 91770                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,150.00
                                                                    Check all that apply.
      KING LOGISTICS, INC.
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  7,100.00
                                                                    Check all that apply.
      KING TRANSPORT INC
      OR COMMONWEALTH CAPITAL LLC                                   ¨ Contingent
      PO BOX 1575 #168                                              ¨ Unliquidated
      MINNEAPOLIS, MN 55480                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,850.00
                                                                    Check all that apply.
      KINGS EAGLE, INC.
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    239.70
                                                                    Check all that apply.
      KING'S MOVING & STORAGE INC
      2111 INDUSTRIAL PO BOX 16284                                  ¨ Contingent
      WICHITA, KS 67218                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      KINGSTON TRANSPORTATION LLC
      OR CAPITAL DEPOT                                              ¨ Contingent
      8930 N. WAUKEGAN ROAD, SUITE 230                              ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    950.00
                                                                    Check all that apply.
      KINOVA LOGISTICS LLC
      OR SMARTTRUCKER LLC                                           ¨ Contingent
      PO BOX 30516 DEPT# 506                                        ¨ Unliquidated
      LANSING, MI 48909-8016                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      KIYAN TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.144
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,075.00
                                                                    Check all that apply.
      KK TRUCKING EXPRESS LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    575.00
                                                                    Check all that apply.
      KLDM LOGISTICS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,240.00
                                                                    Check all that apply.
      KLMB TRANSPORTATION INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      KLYM SPIRIT INCORPORATED
      OR J D FACTORS, LLC                                           ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 11,200.00
                                                                    Check all that apply.
      KMS TRANS INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      KNIGHT RESTORATION
      4200 SOJOURN DR STE 307                                       þ Contingent
      ADDISON, TX 75001                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    500.00
                                                                    Check all that apply.
      KNL LOGISTICS
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      KNOCK KNOCK LLC
      6695 GREEN VALLEY CIR UNIT 5167                               þ Contingent
      CULVER CITY, CA 90230                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      KOLOBOK INC
      3 GOLF CENTER UNITE 180                                       ¨ Contingent
      HOFFMAN ESTATES, IL 60169                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    400.00
                                                                    Check all that apply.
      KOM TRANSPORTATION LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.145
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      KORE LOGISTICS
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      KOYO CORPORATION OF USA
      4903 SOUTHRIDGE BLVD STE 1                                    þ Contingent
      MEMPHIS, TN 38141                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,545.00
                                                                    Check all that apply.
      KOZOVA TRANSPORT INC
      1649 MAPLE GROVE CT                                           ¨ Contingent
      STREETSBORO, OH 44241                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      KRA TRUCKING EXPRESS LLC
      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING        ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,825.00
                                                                    Check all that apply.
      KRAKOWSKI TRUCKING, INC.
      1100 W SMITH RD                                               ¨ Contingent
      MEDINA, OH 44256                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,075.00
                                                                    Check all that apply.
      KRANAWETTER TRANSPORT LLC
      RT 5 BOX 2228                                                 ¨ Contingent
      PATTON, MO 63662                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      KROACH ENTERPRISES LLC
      KROACH ENTERPRISES LLC                                        ¨ Contingent
      1230 WALTS ROAD                                               ¨ Unliquidated
      GEORGETOWN, IN 47122                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      KROGER CENTRAL DIVISION
      5960 CASTLEWAY WEST DR                                        þ Contingent
      INDIANAPOLIS, IN 46250                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      KRUPP TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 10,900.00
                                                                    Check all that apply.
      KSA EXPRESS INC
      360 S LILAC AVE                                               ¨ Contingent
      RIALTO, CA 92376                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.146
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      KSE TRUCKING LLC
      OR FLASH FUNDING LLC, PO BOX 4745                             ¨ Contingent
      HOUSTON, TX 77210                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      KSK TRANSPORT INC.
      KSK TRANSPORT INC.                                            ¨ Contingent
      1375 REMINGTON RD - SUITE W                                   ¨ Unliquidated
      SCHAUMBURG, IL 60173                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      KST LOGISTICS GROUP CORP
      OR SUN CAPITAL GROUP                                          ¨ Contingent
      6664 ANGELINA CT                                              ¨ Unliquidated
      CHINO, CA 91710                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      KULAR TRANSPORT INC
      253 CATHERINE ST, 253 CATHERINE ST                            ¨ Contingent
      SOUTH AMBOY,NJ, NJ 08879                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,625.00
                                                                    Check all that apply.
      KULLAR BROS INC
      25 ROCK ROAD                                                  ¨ Contingent
      EPHRATA, PA 17522                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      KUPEL TRANSPORT LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 14,580.00
                                                                    Check all that apply.
      KVC LOGISTICS CORP
      OR TRANSAM FINANCIAL SERVICES, INC.                           ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      KWIK KARGO INC TRANSPORT
      OR COMMERCIAL FUNDING INC                                     ¨ Contingent
      P.O. BOX 207527                                               ¨ Unliquidated
      DALLAS, TX 75320-7527                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    800.00
                                                                    Check all that apply.
      KYGUA LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,093.70
                                                                    Check all that apply.
      KZ EXPRESS INC
      672 BANBURY WAY                                               ¨ Contingent
      BOLINGBROOK, IL 60440                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.147
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      L & A TRANSPORTATION INCORPORTAED
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,118.17
                                                                    Check all that apply.
      L BLACKMON TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      L N K INTL
      50 DAVIDS DRIVE                                               þ Contingent
      HAUPPAUGE, NY 11788                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      L. S. S. D. INC.
      1501 KAMAR DRIVE                                              ¨ Contingent
      PITTSFIELD, IL 62363                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      LABOY EXPRESS LLC
      OR TRUCKING PROS FINANCIAL                                    ¨ Contingent
      PO BOX 150523                                                 ¨ Unliquidated
      OGDEN, UT 84111                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LABRADA BODYBUILDING NUTRITION INC
      333 NORTHPARK CENTRAL DR STE Z                                þ Contingent
      HOUSTON, TX 77073                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,700.00
                                                                    Check all that apply.
      LAC TRUCKING INC
      OR FIDELITYT FACTORING, 2121 AVENUE OF THE STARS SUITE 800    ¨ Contingent
      CENTURY CITY, CA 90067                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    481.93
                                                                    Check all that apply.
      LAMBERT TRANSFER CO., INC.
      PO BOX 1179                                                   ¨ Contingent
      POCA, WV 25159                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    400.00
                                                                    Check all that apply.
      LANDIS EXPRESS LLC
      2600 BELTLINE AVE                                             ¨ Contingent
      READING, PA 19605                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      LANDSTAR EXPRESS AMERICA, INC.
      13410 SUTTON PARK DRIVE SOUTH                                 ¨ Contingent
      JACKSONVILLE, IL 32224                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.148
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 11,445.00
                                                                    Check all that apply.
      LANDSTAR GEMINI, INC.
      P O BOX 784302                                                ¨ Contingent
      PHILADELPHIA, PA 19178                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,675.00
                                                                    Check all that apply.
      LANDY TRANSPORT INC.
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LANTERN TRANSPORT LLC
      OR PARTNERS FUNDING INC                                       ¨ Contingent
      PO BOX 5431                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-5431                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LARRY VITITOW TRUCKING, L.L.C.
      PO BOX 351                                                    ¨ Contingent
      SULPHUR SPRINGS, TX 75482                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      LARRY WILLIAMS TRUCKING, L.L.C.
      466 SASSAFRAS STREET                                          ¨ Contingent
      COLCORD, OK 74338                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    695.00
                                                                    Check all that apply.
      LAST CALL LOGISTICS LLC
      N7784 HIGHWAY 67                                              ¨ Contingent
      MAYVILLE, WI 53050                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LATE NITE TRUCKING INC
      OR MATCH FACTORS                                              ¨ Contingent
      P.O. BOX 13259                                                ¨ Unliquidated
      FLORENCE, SC 29504                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    670.00
                                                                    Check all that apply.
      LATHAM TRANSPORT LLC
      OR TRUCKSTOP                                                  ¨ Contingent
      P.O. BOX 74 0411                                              ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    644.00
                                                                    Check all that apply.
      LATIN EXPRESS CORPORATION
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LATIN PRO
      33 WOOD AVE S STE 605-606                                     þ Contingent
      ISELIN, NJ 08830                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.149
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    650.00
                                                                    Check all that apply.
      LC TRUCK SERVICES LLC
      OR NU-KO CAPITAL LLC                                          ¨ Contingent
      PO BOX 150884                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    925.00
                                                                    Check all that apply.
      LCA TRUCKING, INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      LEA LOGISTICS COMPANY LLC
      OR TBS FACTORING SERVICE LLC                                  ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LEADERSHIPTRUCKING LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 11,794.42
                                                                    Check all that apply.
      LEAN STAFFING SOLUTIONS INC
      11555 HERON BAY BLVD STE 301                                  ¨ Contingent
      CORAL SPRINGS, FL 33076                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    900.00
                                                                    Check all that apply.
      LEASH TRANSPORTATION LLC
      OR FIVE STAR FACTORING LLC                                    ¨ Contingent
      5789 WESTWOOD DRIVE                                           ¨ Unliquidated
      WELDON SPRING, MO 63304                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    550.00
                                                                    Check all that apply.
      LEGACY 2B LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    800.00
                                                                    Check all that apply.
      LEGACY ADVANTAGE TRUCKING
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      LEGACY EXPRESS TRUCKING INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      LEGRA TRANSPORT LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      PO BOX 748841                                                 ¨ Unliquidated
      ATLANTA, GA 30374-8841                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.150
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      LEIR ONE TRANSPORT INC
      2502 MT MORIAH A116                                           ¨ Contingent
      MEMPHIS, TN 38115                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LEISURE TIME PRODUCTS INC
      PO BOX 604                                                    þ Contingent
      PITTSBURG, KS 66762                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LEMANS
      45 ISIDOR CT                                                  þ Contingent
      SPARKS, NV 89441                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      LENA TRUCKING TRANSPORTATION LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      LEON TRANSPORT, LLC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    850.00
                                                                    Check all that apply.
      LERA EXPRESS LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      LEVI EXPRESS LLC
      OR INTEGRA FUNDING SOLUTIONS, LLC                             ¨ Contingent
      6300 RIDGLEA PL, SUITE 1101                                   ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      LEWIS TRANSPORTATION, INC.
      13523 E 1750TH AVE                                            ¨ Contingent
      NEWTON, IL 62448                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LEWIS TRUCK LINES
      OR TRANSPORT CLEARING EAST, 4651 CHARLOTTE PARK DR SUITE      ¨ Contingent
      450                                                           ¨ Unliquidated
      CHARLOTTE, NC 28217                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    150.00
                                                                    Check all that apply.
      LGB LOGISTICS INC
      3 STIMA AVE                                                   ¨ Contingent
      CARTERET, NJ 07008                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.151
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      LGB TRUCKING LLC
      136 HIGH STREET                                               ¨ Contingent
      CARTERET, NJ 07008                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      LGM FASTER & SAFER EXPRESS LLC
      4545 WILLOWROCK LN                                            ¨ Contingent
      FORT WORTH, TX 77244                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LGS ELITE TRANSPORTATION LLC
      7159 W MAGNUM VISTA PL                                        ¨ Contingent
      WEST VALLEY CITY, UT 84128                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    950.00
                                                                    Check all that apply.
      LH TRANSPORTATION INC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LIBERTY MUTUAL GROUP
      175 BERKELEY STREET                                           þ Contingent
      BOSTON, MA 02116                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #674010586



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      0586                      ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LIBERTY MUTUAL GROUP
      175 BERKELEY STREET                                           þ Contingent
      BOSTON, MA 02116                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #674218080



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      8080                      ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LIBERTY MUTUAL GROUP
      175 BERKELEY STREET                                           þ Contingent
      BOSTON, MA 02116                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #674211502



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      1502                      ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LIBERTY MUTUAL GROUP
      175 BERKELEY STREET                                           þ Contingent
      BOSTON, MA 02116                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Surety Bond - Bond #674020857



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number      0857                      ¨ Yes


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3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  5,450.00
                                                                    Check all that apply.
      LIBERTY TRUCKING LLC
      OR INSTAPAY FLEXIBLE, LLC                                     ¨ Contingent
      PO BOX 660771                                                 ¨ Unliquidated
      DALLAS, TX 75266-0771                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    975.00
                                                                    Check all that apply.
      LIDOSTAR EXPRESS LLC
      OR INTEGRATED LOGISTICS & ASSOCIATES                          ¨ Contingent
      PO BOX 25189                                                  ¨ Unliquidated
      FARMINGTON, NY 14425                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.152
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      LIFE SUPPORT CONSULTANTS LLC
      303 W OHIO ST UNIT #3409                                      ¨ Contingent
      CHICAGO, IL 60654                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    750.00
                                                                    Check all that apply.
      LIION MOUNTAIN TRANSPORT LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    900.00
                                                                    Check all that apply.
      LIKAM INTEGRATED SOLUTIONS INC.
      4500 BORDENTOWN AVE, PMB 128                                  ¨ Contingent
      SAYREVILLE, NJ 08872                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      LIMAX LOGISTICS LLC
      OR SUNBELT FINANCE                                            ¨ Contingent
      PO BOX 1000 DEPT 144                                          ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,150.00
                                                                    Check all that apply.
      LIMITLESS LOGISTICS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      LIMITLESS TRANS AUTO GROUP INC.,
      OR PARTNERS FUNDING INC.,                                     ¨ Contingent
      PO BOX 5431                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-5431                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      LINAT LOGISTICS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LINCOLN - CLEVELAND
                                                                    þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LINCOLN ELECTRIC SYSTEM
      2620 FAIRFIELD ST                                             þ Contingent
      LINCOLN, NE 68521                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    150.00
                                                                    Check all that apply.
      LINX LOGISTICS LLC
      8640 INNOVATION CAMPUS WAY                                    ¨ Contingent
      NEW ALBANY, OH 43054                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.153
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    850.00
                                                                    Check all that apply.
      LIONHEARTED LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LITCHFIELD DISTILLERY
      569 BANTAM RD                                                 þ Contingent
      LITCHFIELD, CT 06759                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LITERATI INC
      1145 W 5TH ST                                                 þ Contingent
      AUSTIN, TX 78703                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      LITMAX LINES INC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LITTLE RAPIDS CORP
      2273 LARSEN RD                                                þ Contingent
      GREEN BAY, WI 54303                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  7,850.00
                                                                    Check all that apply.
      LIV TRANSPORTATION INC
      2 PLAZA DR # 5098                                             ¨ Contingent
      WOODRIDGE, IL 60517                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      LIZARD TRANSPORT INC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    900.00
                                                                    Check all that apply.
      LJ GOMEZ TRANSPORT LLC
      2031 HILLVIEW PL                                              ¨ Contingent
      ARROYO GRANDE, CA 93420                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      LJ TRANSPORTATION
      176 WINDING CEDAR DR                                          ¨ Contingent
      STATESVILLE, NC 28677                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  4,650.00
                                                                    Check all that apply.
      LJM INTERNATIONAL LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      P.O. BOX 1000 DEPT# 390                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.154
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,950.00
                                                                    Check all that apply.
      LJR TRANSPORT LLC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 7410633                                                ¨ Unliquidated
      CHICAGO, IL 60674-0633                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      LK LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      LKC FRESNO CORP.
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    450.00
                                                                    Check all that apply.
      LKRZ LLC
      OR TREADSTONE US CAPITAL LLC                                  ¨ Contingent
      PO BOX 631627                                                 ¨ Unliquidated
      CINCINNATI, OH 45263                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      LLI
      402 OLD KNOXVILLE HIGHWAY                                     ¨ Contingent
      NEW TAZEWELL, TN 37825                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    975.00
                                                                    Check all that apply.
      LMV LOGISTICS INC
      OR PRO FUNDING INC                                            ¨ Contingent
      PO BOX 1000 DEPT #3045                                        ¨ Unliquidated
      MEMPHIS, TN 38148-3045                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,650.00
                                                                    Check all that apply.
      LOAD EXPRESS LLC
      7936 BELL ROAD                                                ¨ Contingent
      LENEXA, KS 66219                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      LOADCENTRIC INC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      LOADED UP LOGISTICS
      OR FLAT RATE FUNDING GROUP, LLC                               ¨ Contingent
      P.O. BOX 150581                                               ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    800.00
                                                                    Check all that apply.
      LOADLINER INC
      P O BOX 681151                                                ¨ Contingent
      SCHAUMBURG, IL 60168                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.155
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      LOADS 24-7 TRANSPORT LLC
      961 GARRISON DR                                               ¨ Contingent
      GREENWOOD, IN 46143                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    650.00
                                                                    Check all that apply.
      LOB LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      LOGAN TRANSPORTATION LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,800.00
                                                                    Check all that apply.
      LOGISTIC PROS LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LOGISTICS FREIGHT SOLUTIONS
      3105 NW 107TH AVE                                             þ Contingent
      STE 504, MIAMI, FL 33172                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,890.00
                                                                    Check all that apply.
      LOGIX TRANSPORTATION, INC.
      LOGIX TRANSPORTATION, INC.                                    ¨ Contingent
      NW 7215 - PO BOX 1450                                         ¨ Unliquidated
      MINNEAPOLIS, MN 55485-7215                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      LOMEX LIMITED
      OR PRO FUNDING INC                                            ¨ Contingent
      PO BOX 1000 DEPT #3045                                        ¨ Unliquidated
      MEMPHIS, TN 38148-3045                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    150.00
                                                                    Check all that apply.
      LONGGO TRANS
      PO BOX 1578                                                   ¨ Contingent
      CHINO, CA 91708                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    450.00
                                                                    Check all that apply.
      LONGIA TRUCKING INC
      4316 MALDENHAIR DR                                            ¨ Contingent
      INDIANAPOLIS, IN 46239                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    550.00
                                                                    Check all that apply.
      LOPEZ EXPRESS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.156
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,087.50
                                                                    Check all that apply.
      LOPEZ PENA BROTHERS TRUCKING
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,200.00
                                                                    Check all that apply.
      LOS COLOMBINOS TRANSPORT INC
      OR CAPITAL CREDIT INC                                         ¨ Contingent
      PO BOX 204695                                                 ¨ Unliquidated
      DALLAS, TX 75320-4695                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      LOS TACOS NO 1
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 49,382.68
                                                                    Check all that apply.
      LOUP LOGISTICS COMPANY
      14671 COLLECTIONS CENTER DRIVE                                ¨ Contingent
      CHICAGO, IL 60693                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      LOVE STAR LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      LOWMOVERS LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      LOYAL SERVICES TRANSPORTATION LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    900.00
                                                                    Check all that apply.
      LOYD TRANSPORT LLC
      OR CFS INC DBA COMFREIGHT HAULPAY                             ¨ Contingent
      P.O. BOX 200400                                               ¨ Unliquidated
      DALLAS, TX 75320-0400                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      LOZA TRUCKING INC
      OR TRUCKSTOP FACTORING                                        ¨ Contingent
      P O BOX 7410411                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      LOZAR INC
      5105 TOLLVIEW DRIVE SUITE #295                                ¨ Contingent
      ROLLING MEADOWS, IL 60008                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.157
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    400.00
                                                                    Check all that apply.
      LR TRANSPORT & TOWING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      LSC COMM US TOPS PRODUCTS
      850 W PARK ROAD                                               þ Contingent
      UNION, MO 63084                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    650.00
                                                                    Check all that apply.
      LSTRUCKING LLC
      6690 AUTUMN WOOD CV                                           ¨ Contingent
      MEMPHIS, TN 38141                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      LUCERO & KIDS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  6,450.00
                                                                    Check all that apply.
      LUCKY STONE EXPRESS INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT #390 PO BOX 1000                                         ¨ Unliquidated
      MEMPHIS, TN 38148-0390                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    975.00
                                                                    Check all that apply.
      LUCKY TRANSPORTATION INC
      4308 W DORSANEO LN                                            ¨ Contingent
      NEW RIVER, AZ 85087                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      LUCKY TRANSPORTATION LLC
      7728 W 158TH CT                                               ¨ Contingent
      ORLAND PARK, IL 60462                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  4,750.00
                                                                    Check all that apply.
      LUCKY WAY LOGISTICS INC
      OR SAINT JOHN CAPITAL CORP                                    ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674-7671                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  6,400.00
                                                                    Check all that apply.
      LUCKY WHEELS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      LUCKYS EXPRESS TRUCKING
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.158
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      LUIS SANCHEZ TRASPORTENSON LLC
      OR GH FACTOR LLC                                              ¨ Contingent
      PO BOX 746847                                                 ¨ Unliquidated
      ATLANTA, GA 30374-6847                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      LUKAS CARGO SYSTEMS LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      LULUAL TRANSPORT LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 14,150.00
                                                                    Check all that apply.
      LUTSK EXPRESS LLC
      4226 KIOWA RD                                                 ¨ Contingent
      RICHFIELD, OH 44286                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    700.00
                                                                    Check all that apply.
      LV TRANSPORT
      324 E 81ST ST                                                 ¨ Contingent
      LOS ANGELES, CA 90003                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    950.00
                                                                    Check all that apply.
      LVH TRUCKING LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    270.51
                                                                    Check all that apply.
      LYKE FURNITURE GROUP LLC
      3612 DECATUR ST                                               ¨ Contingent
      PHILADELPHIA, PA 19136                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      LYMAR FREIGHT SERVICE, INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 26,300.00
                                                                    Check all that apply.
      LYN TRUCK LINES
      PO BOX 2897                                                   ¨ Contingent
      SAN GABRIEL, CA 91778                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      M & H TRUCKING LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.159
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    150.00
                                                                    Check all that apply.
      M & I TRUCKING LLC
      OR LOVES SOLUTIONS LLC, PO BOX 96-0479                        ¨ Contingent
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      M & S TRANSPORT INC
      765 RT 83 STE 112                                             ¨ Contingent
      BENSENVILLE, IL 60106                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    600.00
                                                                    Check all that apply.
      M & VK TRANSPORTATION INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    850.00
                                                                    Check all that apply.
      M 3 M INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    625.00
                                                                    Check all that apply.
      M A L TRANSPORTATION
      104 SHAKER CT N                                               ¨ Contingent
      NEW WINDSOR, NY 12553                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      M GARCIA TRUCKING
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,950.00
                                                                    Check all that apply.
      M MIGUELE LLC
      6328 ARMADILLO CT                                             ¨ Contingent
      FT WORTH, TX 76179                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      M PET GROUP
      2980 NE 207TH ST STE 701                                      þ Contingent
      MIAMI, FL 33180                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,720.00
                                                                    Check all that apply.
      M V K TRANSPORT CORPORATION
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,625.00
                                                                    Check all that apply.
      M&C FREIGHT LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.160
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      M&L 1TRANSPORT LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    800.00
                                                                    Check all that apply.
      M&P KANG TRANSPORT INC
      OR SUNBELT FINANCE                                            ¨ Contingent
      PO BOX 1000 DEPT 144                                          ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    900.00
                                                                    Check all that apply.
      M.SIMON&SON'S TRUCKING LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      MA LOGISTICS LLC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    900.00
                                                                    Check all that apply.
      MAA LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MAAX BATH INC
      600 RTE CAMERON                                               þ Contingent
      SAINTE-MARIE, QC G6E1B2                                       þ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      MABLE LOGISTIC INC
      OR SAFINANCIAL GROUP INC                                      ¨ Contingent
      P.O. BOX 195                                                  ¨ Unliquidated
      GRANGER, IN 46530                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      MAELY LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,935.02
                                                                    Check all that apply.
      MAF EXPEDITED/BHM EXPRESS
      4820 WESTPORT BLVD                                            ¨ Contingent
      MONTGOMERY, AL 36108                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  7,650.00
                                                                    Check all that apply.
      MAG CARRIERS LLC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.161
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    600.00
                                                                    Check all that apply.
      MAGIA LOGISTICS LLC
      146 WATER ST                                                  ¨ Contingent
      READING, PA 19605                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    150.00
                                                                    Check all that apply.
      MAGNOLIA FREIGHT SERVICE, LLC
      120 CR 1389                                                   ¨ Contingent
      SALTILLO, MS 38866                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,950.00
                                                                    Check all that apply.
      MAGNUM FREIGHT INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      MAHIR TRUCKING LLC
      2007 MAYFIELD VILLA DR APT 13204                              ¨ Contingent
      ARLINGTON, TX 76014-4733                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MAISHA LOGISTIC LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    600.00
                                                                    Check all that apply.
      MAK MAX LLC
      OR PRO FUNDING INC DEPT #3045                                 ¨ Contingent
      PO BOX 1000                                                   ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      MAKEBA TRANSPORT LLC
      OR ALTACAPITAL                                                ¨ Contingent
      10455 N CENTRAL EXPRESSWAY #109-364                           ¨ Unliquidated
      DALLAS, TX 75231                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      MAKSI TRANS LLC
      1385 101ST ST STE F                                           ¨ Contingent
      LEMONT, IL 60439                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MALCO PRODUCTS
      14080 STATE HIGHWAY 55 NW                                     þ Contingent
      ANNANDALE, MN 55302                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  6,200.00
                                                                    Check all that apply.
      MALHI LOGISTICS INC
      OR NEAL FREEMAN INVESTMENTS                                   ¨ Contingent
      PO BOX 505062                                                 ¨ Unliquidated
      ST LOUIS, MO 63150                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.162
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MALIBU TAN SALON
      1133 E KARSCH BLVD                                            þ Contingent
      FARMINGTON, MO 63640                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    650.00
                                                                    Check all that apply.
      MALUQUINHO TRANSPORTATION LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      MAMO TRUCKING LLC
      OR ALTACAPITAL                                                ¨ Contingent
      10455 N CENTRAL EXPRESSWAY #109-364                           ¨ Unliquidated
      DALLAS, TX 75231                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    575.00
                                                                    Check all that apply.
      MAND FREIGHT WORKS LLC
      24 DURHAM DRIVE                                               ¨ Contingent
      COLUMBUS, NJ 08022                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    700.00
                                                                    Check all that apply.
      MANDALAY FREIGHT LLC
      OR COREFUND CAPITAL LLC                                       ¨ Contingent
      PO BOX 223766                                                 ¨ Unliquidated
      DALLAS, TX 75222                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MANE INC
      10261 CHESTER RD                                              þ Contingent
      CINCINNATI, OH 45215                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      MANGAT BROS TRUCKING INC
      13352 MUSCATEL STREET                                         ¨ Contingent
      HESPERIA, CA 92344                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      MANHATTAN LOGISTICS GROUP INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  5,700.00
                                                                    Check all that apply.
      MANN BROS LOGISTICS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      MANYANI TRANSPORT LLC
      3 PARKWOOD DR APT I                                           ¨ Contingent
      SOUTH AMBOY, NJ 08879                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.163
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MARCO POLO INT'L TRADING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,500.00
                                                                    Check all that apply.
      MARIETTA TRANSFER COMPANY, INC.
      OR TRANSPORT CLEARINGS EAST                                   ¨ Contingent
      9140 ARROWPOINT BLVD SUITE 370                                ¨ Unliquidated
      CHARLOTTE, NC 28273                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      MARIN LOGISTIC TRANSPORTATION, LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    725.00
                                                                    Check all that apply.
      MARINA EXPRESS
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 639565                                                 ¨ Unliquidated
      CINCINNATI, OH 45263-9565                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    550.00
                                                                    Check all that apply.
      MARIO MOVING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      MARK ONE TRANSPORT LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      MARKO POLO EXPRESS LLC
      OR PRO FUNDING INC                                            ¨ Contingent
      DEPT# 3045 - PO BOX 1000                                      ¨ Unliquidated
      MEMPHIS, TN 38148-3045                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,425.00
                                                                    Check all that apply.
      MARRLIN TRANSIT, INC.
      PO BOX 645                                                    ¨ Contingent
      VAN BUREN, AR 72957                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      MARSHALL TRANSPORT & LOGISTICS INC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    150.00
                                                                    Check all that apply.
      MARSHAL'S CANADIAN EXPRESS INC
      4019 3 ST NW                                                  ¨ Contingent
      EDMONTON, AB T6P 1T3                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.164
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    350.00
                                                                    Check all that apply.
      MARTIN TRANSPORTATION SYSTEMS INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    900.00
                                                                    Check all that apply.
      MARTIN'S BULK MILK SERVICE, INC.
      P.O. BOX 276                                                  ¨ Contingent
      WILTON, WI 54670                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      MARTINS TRUCKING STAR LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  6,200.00
                                                                    Check all that apply.
      MAS TRANSPORT INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    740.00
                                                                    Check all that apply.
      MASE LOGISTICS LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      MASSMAN TRUCKING INC
      3403 JAMES PHILLIPS DR                                        ¨ Contingent
      OKEMOS, MI 48864                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      MAST TRUCKING, INC.
      6471 COUNTY ROAD 625                                          ¨ Contingent
      MILLERSBURG, OH 44654                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MASTER BUILDER SOLUTIONS LLC % TMC
      3146 S CHESTNUT AVE                                           þ Contingent
      FRESNO, CA 93725                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MASTER BUILDERS % TMC
      1103 NORTHPOINT PKWY SE                                       þ Contingent
      ACWORTH, GA 30102                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    600.00
                                                                    Check all that apply.
      MASTER TRUCKING USA CORP
      OR FIRST LINE FUNDING                                         ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.165
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      MASTERMIND DELIVERY LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      MAT TRANS INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      MATRIX INC
      2200 STONINGTON AVE STE 240 & 250                             ¨ Contingent
      HOFFMAN ESTATES, IL 60169                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,775.00
                                                                    Check all that apply.
      MATT GENERAL TRANSPORTATION LLC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      MAVERICK EXPRESS CARRIERS LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      MAX MOVE LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      MAXFINE GROUP INC
      121 S DEL MAR AVE C68                                         ¨ Contingent
      SAN GABRIEL, CA 91766                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MAXUM EXPO
      6754 CALLE DE LINEA                                           þ Contingent
      UNIT 109, OTAY MESA, CA 92154                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  7,750.00
                                                                    Check all that apply.
      MAYBACH INTERNATIONAL GROUP INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,345.00
                                                                    Check all that apply.
      MB SERVICES
      OR PROVIDENT COMMERCIAL FINANCE LLC                           ¨ Contingent
      P.O. BOX 11407 DEPT#2659                                      ¨ Unliquidated
      BIRMINGHAM, AL 35246-2659                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.166
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      MC FREIGHT BROKERS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      MC RAE'S U S MAIL SERVICE INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      MCCOMBS TRUCKING LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MCCOURT MFG COMPANY
      1001 N 3RD ST                                                 þ Contingent
      FORT SMITH, AR 72901                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    450.00
                                                                    Check all that apply.
      MCLS GLOBAL ENTERPRISES INC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      MCM TRUCKING INC
      OR EXPRESS FREIGHT FINANCE                                    ¨ Contingent
      PO BOX 6188                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      MCSHEER TRUCK'IN, LLC
      2470 LITTLE ROCK RD                                           ¨ Contingent
      ROSE BUD, AR 72137                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    500.00
                                                                    Check all that apply.
      MDC LOGISTICS
      OR PORTER BILLING SERVICES LLC                                ¨ Contingent
      PO BOX 440127                                                 ¨ Unliquidated
      NASHVILLE, TN 37244                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,650.00
                                                                    Check all that apply.
      MDN FREIGHT INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MECURY
      1 CROSSWAYS PARK DRI                                          þ Contingent
      WOODBURY, NJ 11797                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.167
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  6,450.00
                                                                    Check all that apply.
      MEDALLION TRANSPORT & LOGISTICS LLC
      701 EAST GATE DRIVE STE 110                                   ¨ Contingent
      MT LAUREL, NJ 08054                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      MEERAB FREIGHTLINES INC
      MEERAB FREIGHTLINES INC                                       ¨ Contingent
      10 FORSYTH CRESCENT                                           ¨ Unliquidated
      BRAMPTON, L6X5N2                                              ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    750.00
                                                                    Check all that apply.
      MEGA EXPRESS INC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MEGA SHIPPING AND FORWARDING LTD
      301 PENHORN AVE STE 4                                         þ Contingent
      SECAUCUS, NJ 07094                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    950.00
                                                                    Check all that apply.
      MEI FREIGHT INC.
      OR CRESTMARK                                                  ¨ Contingent
      P.O. BOX 682338                                               ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 133,650.00
                                                                    Check all that apply.
      MELGAR TRUCKING SERVICE INC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                   1,300.00
                                                                    Check all that apply.
      MENDOZA TRUCKING
      OR TBS FACTORING                                              ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   2,150.00
                                                                    Check all that apply.
      MENH LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      MENKE LLC
      6260 E TOWER RD                                               ¨ Contingent
      LEAVENWORTH, IN 47137                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    950.00
                                                                    Check all that apply.
      MERCHANT EXCAVATING, INC
      4040 STATE ROAD                                               ¨ Contingent
      ALMA, MI 48801                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.168
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      METSO OUTOTEC
      1041 PONDEROSA POINT DR                                       þ Contingent
      COLUMBIA, SC 29203                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MEXHANIX
      28525 W WITHERSPOON PKWY                                      þ Contingent
      VALENCIA, CA 91355                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MG COMICS
      10035 AV DE BRUXELLES                                         þ Contingent
      MONTREAL-NORD, QC H1H4R1                                      þ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,750.00
                                                                    Check all that apply.
      MG EXPRESS INC
      15347 S US 169 HWY STE A                                      ¨ Contingent
      OLATHE, KS 66062-3403                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MG TRUCKING INC.
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MGA LOGISTICS LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MGN LOGISTICS
      MGN LOGISTICS, 712 FERRY ST                                   þ Contingent
      EASTON, PA 18042                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 20,488.26
                                                                    Check all that apply.
      MH EQUIPMENT COMPANY
      #774469                                                       ¨ Contingent
      4469 SOLUTIONS CENTER                                         ¨ Unliquidated
      CHICAGO, IL 60677                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MHC CARRIER
      2700 S 88TH ST                                                þ Contingent
      KANSAS CITY, KS 66111                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    630.00
                                                                    Check all that apply.
      MI XPRESS
      4643 ELLERY DR                                                ¨ Contingent
      COLUMBUS, OH 43227                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.169
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      MICHEL TRANSPORT
      OR CFS INC DBA COMFREIGHT HAULPAY                             ¨ Contingent
      P.O. BOX 200400                                               ¨ Unliquidated
      DALLAS, TX 75320-0400                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      MICHIGAN PROCUREMENTS LLC
      OR FLAT RATE FUNDING GROUP, LLC                               ¨ Contingent
      P.O. BOX 150581                                               ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    950.00
                                                                    Check all that apply.
      MID STAR EXPRESS
      4524 WIMBERLY RD                                              ¨ Contingent
      TOXEY, AL 36921                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      MID-CON CARRIERS CORP.
      9600 S SUNNYLANE ROAD                                         ¨ Contingent
      OKLAHOMA CITY, OK 73160                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,351.70
                                                                    Check all that apply.
      MIDDLE BAY TRANSPORTATION
      PO BOX 745020                                                 ¨ Contingent
      ATLANTA, GA 30374                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    150.00
                                                                    Check all that apply.
      MIDI TRANSPORT INC
      OR TETRA CAPITAL, LLC                                         ¨ Contingent
      PO BOX 25297                                                  ¨ Unliquidated
      SALT LAKE CITY, UT 84125                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    650.00
                                                                    Check all that apply.
      MIDWEST DIRECT TRANSPORT
      411 64TH AVENUE                                               ¨ Contingent
      COOPERSVILLE, MI 49404                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      MIDWEST EXPRESS
      4931 WIND CREEK DR                                            ¨ Contingent
      SACRAMENTO, CA 95838                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      MIDWEST EXPRESS LLC
      3627 FOREST DALE DRIVE                                        ¨ Contingent
      ST LOUIS, MO 63125                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      MIDWEST FREIGHT EXPRESS, INC
      796 FAIRWAY DRIVE                                             ¨ Contingent
      BENSENVILLE, IL 60106                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.170
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MIDWEST STEEL INC
      2525 E GRAND BLVD                                             þ Contingent
      DETROIT, MI 48211                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MIELLE ORGANICS
      8707 LOUISIANA ST                                             þ Contingent
      MERRILLVILLE, IN 46410                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      MIG TRANSPORTATION INC
      OR GREAT PLAINS TRANSPORTATION SERVICES INC                   ¨ Contingent
      PO BOX 4539                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-4539                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      MIGUEL MADERAS RODRIGUEZ TRUCKING LLC
      OR FLASH FUNDING LLC                                          ¨ Contingent
      PO BOX 224507                                                 ¨ Unliquidated
      DALLAS, TX 75222                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 20,845.00
                                                                    Check all that apply.
      MIH FLEET SERVICES LLC
      OR TRANSPORT FACTORING, INC.                                  ¨ Contingent
      PO BOX 167648                                                 ¨ Unliquidated
      IRVING, TX 75016                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  6,400.00
                                                                    Check all that apply.
      MIKES TRUCKING INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    700.00
                                                                    Check all that apply.
      MILER XPRESS INC
      OR REVOLUTION CAPITAL                                         ¨ Contingent
      27 ROYTEC ROAD, UNIT 11                                       ¨ Unliquidated
      WOODBRIDGE, L4L8E3                                            ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      MILES AHEAD
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MILESTONE TRUCKING
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      MILLENNIUM TRUCKING LLC
      PO BOX 25659                                                  ¨ Contingent
      CHARLOTTE, NC 28229                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.171
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MILLER AUTO TECHNOLOGY
      766 INDUSTRIAL BLVD                                           þ Contingent
      SUGAR LAND, TX 77478                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,650.00
                                                                    Check all that apply.
      MILLER'S EXPRESS TRUCKING LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    700.00
                                                                    Check all that apply.
      MILLERS MOBILE WRENCHIN INC
      1526 PERU OLENA ROAD WEST                                     ¨ Contingent
      NORWALK, OH 44857                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    550.00
                                                                    Check all that apply.
      MILLION TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MILWAUKEE ELECTRIC TOOL C/O TRANS INTERNATIONAL LLC
      N93 W16288 MEGAL DRIVE                                        þ Contingent
      MENOMONEE FALLS, WI 53051-1503                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    950.00
                                                                    Check all that apply.
      MISSION TRANSPORT, INC.
      15044 HOTCHKISS VALLEY ROAD E                                 ¨ Contingent
      LOUDON, TN 37774                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MITSUBISHI INTERNATIONAL
      5080 TUTTLE CROSSING BLVD #400                                þ Contingent
      DUBLIN, OH 43016                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MITY LITE
      1301 W 400 N                                                  þ Contingent
      OREM, UT 84057                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    432.00
                                                                    Check all that apply.
      MJ MAINSTREAM AUTO & CARGO TRANSPORT SOLUTIONS LLC
      4531 RIPPLEWOOD DR                                            ¨ Contingent
      LITHONIA, GA 30038                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    800.00
                                                                    Check all that apply.
      MJ TOP SHELF LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.172
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      MK CARRIERS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      MK MOVERS
      OR STEELHEAD FINANCE                                          ¨ Contingent
      3518 HEATHROW WAY                                             ¨ Unliquidated
      MEDFORD, OR 97504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      MKU4 LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,675.00
                                                                    Check all that apply.
      MLBD TRANSPORTATION LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    750.00
                                                                    Check all that apply.
      MLG FREIGHT LLC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,100.00
                                                                    Check all that apply.
      MM EXPRESS
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    550.00
                                                                    Check all that apply.
      MMRA TRANZ-IT COMPANY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      MMRL TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      MMW TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 10,850.00
                                                                    Check all that apply.
      M-N TRANSPORTATION INC
      OR INTEGRA FUNDING SOLUTIONS, LLC                             ¨ Contingent
      6300 RIDGLEA PL, SUITE 1101                                   ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.173
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      MN89 INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    350.00
                                                                    Check all that apply.
      MNH TRUCK LEASING CO., LLC
      MNH TRUCK LEASING CO., LLC                                    ¨ Contingent
      PO BOX 984                                                    ¨ Unliquidated
      FOSTORIA, OH 44830                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    450.00
                                                                    Check all that apply.
      MNK TRANS LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   2,300.00
                                                                    Check all that apply.
      MNM TRANSPORT SERVICES LLC
      OR CD CONSORTIUM CORP                                         ¨ Contingent
      8930 WAUKEGAN RD STE 230                                      ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    700.00
                                                                    Check all that apply.
      MNQ LOGISTICS LLC
      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING        ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 253,527.45
                                                                    Check all that apply.
      MODE TRANSPORTATION LLC
      PO BOX 936644                                                 ¨ Contingent
      ATLANTA, GA 31193                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                   1,900.00
                                                                    Check all that apply.
      MODEL TRANSPORT LLC
      9304 FOREST LN #236                                           ¨ Contingent
      DALLAS, TX 75243                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                   1,300.00
                                                                    Check all that apply.
      MODELME FREIGHT MANAGEMENT LLC
      OR BASICBLOCK INC                                             ¨ Contingent
      PO BOX 8697                                                   ¨ Unliquidated
      OMAHA, NE 68108                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      MODENA FREIGHT LLC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      MOE LOGISTICS INC
      OR BASICBLOCK INC.                                            ¨ Contingent
      PO BOX 8697                                                   ¨ Unliquidated
      OMAHA, NE 68108                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.174
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      MOHAWKS TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      MOHIE TRANS LINE
      OR SOUND FINANCE CORPORATION                                  ¨ Contingent
      PO BOX 679281                                                 ¨ Unliquidated
      DALLAS, TX 75267-9281                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,800.00
                                                                    Check all that apply.
      MOLDEX INC.
      OR CD CONSORTIUM CORP.                                        ¨ Contingent
      8930 WAUKEGAN RD, STE 230                                     ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MOLEKULE INC
      1301 FOLSOM ST ST                                             þ Contingent
      SAN FRANCISCO, CA 94103                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    750.00
                                                                    Check all that apply.
      MOLINA DELIVERIES LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,135.00
                                                                    Check all that apply.
      MOLINAR & SON'S TRUCKING
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    750.00
                                                                    Check all that apply.
      MOMOS TRUCKING LLC
      OR SINGLE POINT CAPITAL                                       ¨ Contingent
      PO BOX 224379                                                 ¨ Unliquidated
      DALLAS, TX 75222                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    150.00
                                                                    Check all that apply.
      MONTVALE TRANSPORT LLC
      4522 HOMESTEAD DR.                                            ¨ Contingent
      NAZARETH, PA 18064                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    725.00
                                                                    Check all that apply.
      MOOSE POWER INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    950.00
                                                                    Check all that apply.
      MORALES TRANSPORT LLC
      OR INTEGRITY FACTORING & CONSULTING, INC                      ¨ Contingent
      PO BOX 30015 DEPT 355                                         ¨ Unliquidated
      SALT LAKE CITY, UT 84130                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.175
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,012.00
                                                                    Check all that apply.
      MORE XPRESS USA LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      MORNING STAR EXPRESS INC
      OR EXPRESS FREIGHT FINANCE                                    ¨ Contingent
      PO BOX 6188                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-6188                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    500.00
                                                                    Check all that apply.
      MOSQUEDA 1 TRUCKING LLC
      OR EXPRESS FREIGHT FINANCE                                    ¨ Contingent
      PO BOX 6188                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-6188                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    657.50
                                                                    Check all that apply.
      MOTIVATED FREIGHT LLC
      OR COMMONWEALTH CAPITAL LLC                                   ¨ Contingent
      PO BOX 1575 #168                                              ¨ Unliquidated
      MINNEAPOLIS, MN 55480-1575                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      MOVE IT FORWARD
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      MOY TRUCKING LLC
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 P. O. BOX 1000                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      MP CARRIERS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    400.00
                                                                    Check all that apply.
      MR FOSTER TRANSPORT COMPANY LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      MR G TRANSPORTATION LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  6,070.00
                                                                    Check all that apply.
      MRK EXPRESS INC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.176
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,650.00
                                                                    Check all that apply.
      MRT TRANSPORTATION LLC
      4447 KIRK LN SW                                               ¨ Contingent
      ALBUQUERQUE, NM 87121-7418                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MS RESTAURANT EQUIPMENT & SALES
      209 MEADOW LN                                                 þ Contingent
      MECHANICSBURG, PA 17055                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    750.00
                                                                    Check all that apply.
      MS TRANS INC
      OR TRANSPORTATION FUNDING GROUP                               ¨ Contingent
      PO BOX 580054                                                 ¨ Unliquidated
      MINNEAPOLIS, MN 55458                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,850.00
                                                                    Check all that apply.
      MSB LOGISTICS LLC
      17806 IH 10 W SUITE 300                                       ¨ Contingent
      SAN ANTONIO, TX 78257                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MSC
      PO BOX 9073                                                   þ Contingent
      MELVILLE, NY 11747                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MSC FTL % ASHLEY FURNITURE
      1 ASHLEY WAY                                                  þ Contingent
      ARCADIA, WI 54612                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  9,350.00
                                                                    Check all that apply.
      MSC TRANSPORTATION CORP
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,210.00
                                                                    Check all that apply.
      MSP STAR TRANSPORTATION LLC
      OR SMARTTRUCKER LLC                                           ¨ Contingent
      PO BOX 30516 DEPT# 506                                        ¨ Unliquidated
      LANSING, MI 48909-8016                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    800.00
                                                                    Check all that apply.
      MSP TRUCK LINES INC
      1275 CAMDEN WAY                                               ¨ Contingent
      YUBA CITY, CA 95991-3469                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      MSS TRUCKING INC
      PO BOX 741791                                                 ¨ Contingent
      LOS ANGELES, CA 90074                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.177
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      MT EMPIRE INC
      4740 N CUMBERLAND AVE #103                                    ¨ Contingent
      CHICAGO, IL 60656                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    900.00
                                                                    Check all that apply.
      MT. POCONO TRANSPORTATION INC
      469 INDUSTRIAL PARK DRIVE                                     ¨ Contingent
      MT POCONO, PA 18344                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  8,620.00
                                                                    Check all that apply.
      MTC TRUCKING LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MTD CORPORATION
      5903 GRAFTON RD                                               þ Contingent
      VALLEY CITY, OH 44280                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  4,400.00
                                                                    Check all that apply.
      MTI (MC1086729)
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MTK TRANSPORTATION INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,435.00
                                                                    Check all that apply.
      MTY TRANSPORTATION LLC
      3838 RHOTEN DR                                                ¨ Contingent
      STERLING HEIGHTS, MI 48310                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    600.00
                                                                    Check all that apply.
      MUFASA LOGISTICS LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,280.00
                                                                    Check all that apply.
      MUK TRANSPORTATION INC
      533 SURF CT                                                   ¨ Contingent
      WHEELING, IL 60090-5142                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    600.00
                                                                    Check all that apply.
      MURDOCK TECHNOLOGY SERVICES CORPORATION
      OR INTERNET TRUCKSTOP PAYMENTS                                ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.178
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      MUSE FREIGHT
      ATTN: NATE STOVER                                             þ Contingent
      3943 MAIN ST                                                  þ Unliquidated
      KANSAS CITY, MO 64111                                         ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      MUSHIANA TRANSPORT INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    900.00
                                                                    Check all that apply.
      MUSHTAQ TRANSPORT LLC
      OR INSIGHT TECHNOLOGY INC                                     ¨ Contingent
      PO BOX 200399                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,100.00
                                                                    Check all that apply.
      MV FREIGHT INC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 12,995.00
                                                                    Check all that apply.
      MVT SERVICES LLC
      PO BOX 674364                                                 ¨ Contingent
      DALLAS, TX 75267-4634                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      M-WEST-EXPRESS LLC
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      MX TRANSPORT LLC
      2450 ADONAI BLVD                                              ¨ Contingent
      COLUMBUS, OH 43219                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      MY GENA MEDIA LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,152.50
                                                                    Check all that apply.
      MY WAY TRUCKING INC
      570 S MOLLISON AVE APT 22                                     ¨ Contingent
      EL CAJON, CA 92020                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      MYKITTOS EXPRESS CORP
      OR FREIGHT FUNDING LLC                                        ¨ Contingent
      PO BOX 16180                                                  ¨ Unliquidated
      JONESBORO, AR 72403                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.179
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      MZ TRANSPORTS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      N BHULLAR TRANSPORT LTD
      5610 CEDARCREEK DR                                            ¨ Contingent
      CHILLIWACK, V2R 5W1                                           ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    450.00
                                                                    Check all that apply.
      NAAJI INC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    475.00
                                                                    Check all that apply.
      NAC TRUCKING LLC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      NAJERA S LOGISTICS LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      NAKFA TRUCKING LLC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 18,475.00
                                                                    Check all that apply.
      NAMANAGH INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      NAMI TRANSPORTATION INC.
      6249 N CICERO AVE STE 2N                                      ¨ Contingent
      CHICAGO, IL 60646                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NANOLUX TECHNOLOGY
      884 W 2ND ST BAY 1                                            þ Contingent
      OGDEN, UT 84404                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      NAPORA INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.180
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      NARA TRANSPORT LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    400.00
                                                                    Check all that apply.
      NARMER CARRIER SERVICE LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      NAS LOGISTICS LLC
      OR TAFS, INC                                                  ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      NASH TRANSPORT LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NATCO PRODUCTS CORPORATION % TABS
      100 CORPORATE PLACE                                           þ Contingent
      PEABODY, MA 01960                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      NATION WIDE DELIVERY LLC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,584.58
                                                                    Check all that apply.
      NATIONAL DISTRIBUTORS LEASING, INC.
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    400.00
                                                                    Check all that apply.
      NATIONAL FREIGHT LINES INC (ASHEBORO NC)
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508-1099                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 11,650.00
                                                                    Check all that apply.
      NATIONAL LOGISTICS NETWORK, LLC
      PO BOX 6528                                                   ¨ Contingent
      ERIE, PA 16512                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    700.00
                                                                    Check all that apply.
      NATURAL STATE CARRIERS INC
      135 JOHNSTON RD                                               ¨ Contingent
      SEARCY, AR 72143                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.181
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    589.20
                                                                    Check all that apply.
      NAV TRANSPORTATION LLC
      17 MOVIE CT                                                   ¨ Contingent
      EASTON, CT 18045                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,900.00
                                                                    Check all that apply.
      NAVGILL CARRIER INC
      5958 ROOSEVELT DR                                             ¨ Contingent
      FONTANA, CA 92336-5368                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,370.00
                                                                    Check all that apply.
      NAVIGATOR TRUCKING LLC
      3 BLUE SKY CT                                                 ¨ Contingent
      MISSOURI CITY, TX 77459                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      NAVN TRANSPORT INC
      3276 ZACCARIA WAY                                             ¨ Contingent
      STOCKTON, CA 95212                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    900.00
                                                                    Check all that apply.
      NC EXPRESS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    900.00
                                                                    Check all that apply.
      NC TRUCKING INC
      5423 WEST LAWRENCE AVE                                        ¨ Contingent
      CHICAGO, IL 60630                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      NEHAL TRUCKING LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      NEHTRAC TRANSPORT LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      NEPTUNE TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 70,762.77
                                                                    Check all that apply.
      NESCO RESOURCE
      PO BOX 901372                                                 ¨ Contingent
      CLEVELAND, OH 44190                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.182
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,775.00
                                                                    Check all that apply.
      NEST GROUP LLC
      OR INTEGRA FUNDING SOLUTIONS LLC                              ¨ Contingent
      6300 RIDGLEA PL, SUITE 316                                    ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NEW CENTURY
      OR TCI BUSINESS CAPITAL, PO BOX 9149                          þ Contingent
      MINNEAPOLIS, MN 55480-9149                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 31,800.00
                                                                    Check all that apply.
      NEW CENTURY TRANSPORT LLC
      OR TCI BUSINESS CAPITAL                                       ¨ Contingent
      PO BOX 9149                                                   ¨ Unliquidated
      MINNEAPOLIS, MN 55480-9149                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,700.00
                                                                    Check all that apply.
      NEW EAGLE TRANSPORT
      1432 30 STREET NW                                             ¨ Contingent
      EDMONTON, T6T 1A8                                             ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    925.00
                                                                    Check all that apply.
      NEW EXPEDITIONS TRANSPORTATION LLC
      OR TREADSTONE US CAPITAL, LLC                                 ¨ Contingent
      PO BOX 631627                                                 ¨ Unliquidated
      CINCINNATI, OH 45263-1627                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      NEW LINE CARRIERS INC
      OR PRO FUNDING INC                                            ¨ Contingent
      DEPT #3045 PO BOX 1000                                        ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      NEW LINE GROUP INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    236.29
                                                                    Check all that apply.
      NEW PENN MOTOR EXPRESS, INC
      10990 ROE AVE                                                 ¨ Contingent
      OVERLAND PARK, KS 66211                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NEW PIG
      1 PORK AVE                                                    þ Contingent
      TIPTON, PA 16684                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  8,700.00
                                                                    Check all that apply.
      NEW RAM EXPRESS LLC
      OR ENGAGED FINANCIAL                                          ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.183
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      NEW SUNRISE MOVERS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    650.00
                                                                    Check all that apply.
      NEW VIEW TRANSPORT INC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      NEW WAY EXPRESS INC
      309 E RAND RD STE 178                                         ¨ Contingent
      ARLINGTON HEIGHTS, IL 60004                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NEWAGE PRODUCTS INC
      1190 CALEDONIA RD                                             þ Contingent
      NORTH YORK, ON M6A2W5                                         þ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    222.00
                                                                    Check all that apply.
      NEWAGE PRODUCTS INC
      1190 CALEDONIA RD                                             ¨ Contingent
      TORONTO, ON M6A 2W5                                           ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      NEXOSS TRUCKING
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      NEXT GENERATION FREIGHT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    850.00
                                                                    Check all that apply.
      NEXT LEVEL TRANSPORTATION INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    300.00
                                                                    Check all that apply.
      NF TRUCKING COMPANY LLC
      2715 NW 66TH ST                                               ¨ Contingent
      KANSAS CITY, MO 64151                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  5,600.00
                                                                    Check all that apply.
      NFG TRUCKLINE INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.184
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      NGOC AI TRANSPORT INC.
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      NH TRANSPORT INC
      5132 JEROME AVE                                               ¨ Contingent
      SKOKIE, IL 60077                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    650.00
                                                                    Check all that apply.
      NIAGRA LASALLE CORP
      16655 S CANAL ST                                              ¨ Contingent
      SOUTH HOLLAND, IL 60473                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 11,800.00
                                                                    Check all that apply.
      NIAZI GOODS
      OR TAB BANK                                                   ¨ Contingent
      PO BOX 150830                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      NICA'S FREIGHT GROUP LLC
      NICAS FREIGHT GROUP LLC                                       ¨ Contingent
      19201 CRANWOOD PKWY                                           ¨ Unliquidated
      WARRENSVILLE HTS, OH 44128                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      NICK HOLDEN TRANSPORT COMPANY
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      Nicole Express LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NIGHTHAWKS
      PO BOX 101                                                    þ Contingent
      LEONIA, NJ 07605                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      NIGSAM INC
      2162 CONWELL AVE                                              ¨ Contingent
      PHILADELPHIA, PA 19115                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      NIKA TRANSPORT LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.185
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      NJN LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    750.00
                                                                    Check all that apply.
      NMK EXPRESS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      NN TRUCKING INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      NOAH STAR TRANSPORT LLC
      389 CREEK WOOD DR                                             ¨ Contingent
      LANCASTER, TX 75146                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,280.08
                                                                    Check all that apply.
      NOB TRANS LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      NOBLE FREIGHT LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  8,350.00
                                                                    Check all that apply.
      NOHID TRUCKING LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    850.00
                                                                    Check all that apply.
      NOIZ LOGISTICS LLC
      PO BOX 1505                                                   ¨ Contingent
      PALATKA, FL 32178                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      NOOR CORP INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    425.00
                                                                    Check all that apply.
      NORDIC LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.186
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NORMAN MEXICO COMPANY LIMITED S A DE C V
      EDOUARD MICHELIN NO EXT 104                                   þ Contingent
      LEON,                                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      NORTH AMERICAN CARGO SERVICES, INC.
      365 H STREET STE 227                                          ¨ Contingent
      BLAINE, WA 98230                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      NORTH CAROLINA LOGOSTICS INC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,750.00
                                                                    Check all that apply.
      NORTH EAST LOGISTICS LLC.
      5572 CANDLEWOOD CT                                            ¨ Contingent
      PARMA, OH 44134                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      NORTH EXPRESS LLC
      4961 S IMPERIAL CIR                                           ¨ Contingent
      GREENFIELD, WI 53220                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      NORTH LOGISTICS COMPANY
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NORTHERN BUILDING COMP
      44815 CR 388                                                  þ Contingent
      BLOOMINGDALE, MI 49026                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      NORTHERN EXPRESS LLC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      NORTHGATE TRANSPORTATION INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      NORTHLAND INC.
      4078 STRATFORD LN                                             ¨ Contingent
      CARPENTERSVILLE, IL 60110                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.187
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,275.00
                                                                    Check all that apply.
      NORTON TRUCKING INC
      1327 STANFORD DR                                              ¨ Contingent
      KANKAKEE, IL 60901                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    500.00
                                                                    Check all that apply.
      NOS LOGIX LLC
      OR QP CAPITAL LLC                                             ¨ Contingent
      PO BOX 1062                                                   ¨ Unliquidated
      MIDDLETOWN, OH 45042                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    750.00
                                                                    Check all that apply.
      NOTHING BUT LOVE LLC
      5104 ALYSHEBA DR                                              ¨ Contingent
      INDIAN TRAIL, NC 28079                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    950.00
                                                                    Check all that apply.
      NOVA FREIGHT LLC (MC1161243)
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      NOVA MEDICAL
      PO BOX 848513                                                 þ Contingent
      DALLAS, TX 75284                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      NOVA START INC
      16165 N 83RD AVE STE 200                                      ¨ Contingent
      PEORIA, AZ 85382                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      NOVAS EXPRESS INC
      OR SUNBELT FINANCE                                            ¨ Contingent
      PO BOX 1000 DEPT 144                                          ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  9,400.00
                                                                    Check all that apply.
      NOVI TRUCKING INC
      OR TCI BUSINESS CAPITAL                                       ¨ Contingent
      PO BOX 9149                                                   ¨ Unliquidated
      MINNEAPOLIS, MN 55480-9149                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      NOW DELIVERY & LOGISTICS LLC
      NOW DELIVERY & LOGISTICS LLC                                  ¨ Contingent
      DEPT 4035 - PO BOX 30516                                      ¨ Unliquidated
      LANSING, MI 48909-8016                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    550.00
                                                                    Check all that apply.
      NR TRUCKING LLC
      OR FLAT RATE FUNDING GROUP, LLC                               ¨ Contingent
      PO BOX 150581                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.188
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,350.00
                                                                    Check all that apply.
      NS EXPRESS LLC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,250.00
                                                                    Check all that apply.
      NU AGE LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,850.00
                                                                    Check all that apply.
      NUFORTUNE
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,290.00
                                                                    Check all that apply.
      NULINE DELIVERY
      1690 BRANDYWINE AVE STE A                                     ¨ Contingent
      CHULA VISTA, CA 91911                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      NUSSBAUM TRANSPORTATION SERVICES, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    950.00
                                                                    Check all that apply.
      NVK LOGISTICS INC.
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    750.00
                                                                    Check all that apply.
      NVR EXPRESS INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 13,800.00
                                                                    Check all that apply.
      NYC TRUCKING INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  4,150.00
                                                                    Check all that apply.
      NYSR TRUCKING LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      NZ TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.189
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,910.00
                                                                    Check all that apply.
      O K B TRANSPORT INC.
      5822 BEESTON LN                                               ¨ Contingent
      HOUSTON, TX 77084                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      O K TRANSPORT LLC
      647 SW CHERRY PK RD                                           ¨ Contingent
      PO BOX 593                                                    ¨ Unliquidated
      TROUTDALE, OR 97060                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    950.00
                                                                    Check all that apply.
      O&L TRUCKING LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,900.00
                                                                    Check all that apply.
      O11 NETWORK INC
      OR J D FACTORS, LLC                                           ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,250.00
                                                                    Check all that apply.
      OAK TRUCKERS LLC
      OR RDS FUNDING LLC                                            ¨ Contingent
      500 W. PLAINFIELD RD STE 200                                  ¨ Unliquidated
      COUNTRYSIDE, IL 60525                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OAMIC
      6 LABRIOLA COURT                                              þ Contingent
      ARMONK, NY 10504                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    300.00
                                                                    Check all that apply.
      OASIS TRUCKING LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OBERTO SNACKS INC
      7060 OBERTO DR                                                þ Contingent
      KENT, WA 98032                                                þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      OCEAN LOGISTICS INC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OCT LINE USA LOGISTICA LTDA
      4160 TEMESCAL CANYON RD STE 401                               þ Contingent
      CORONA, CA 92883                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.190
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    900.00
                                                                    Check all that apply.
      ODAA BULTUM EXPRESS
      OR ORANGE COMMERCIAL CREDIT, PO BOX 11099                     ¨ Contingent
      OLYMPIA, WA 98508-1099                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      ODELL MOP COMPANY
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      OHIO FREIGHT SOLUTIONS LLC
      445 W NORTH BEND RD                                           ¨ Contingent
      CINCINNATI, OH 45216                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      OHIO TRANSIT COMPANY INC
      OR YANKTON FACTORING, INC                                     ¨ Contingent
      PO BOX 217                                                    ¨ Unliquidated
      YANKTON, SD 57078                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,375.00
                                                                    Check all that apply.
      OHIO TRANSPORT CORPORATION
      OHIO TRANSPORT CORPORATION                                    ¨ Contingent
      PO BOX 896751                                                 ¨ Unliquidated
      CHARLOTTE, NC 28289-6751                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      OL LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 12,600.00
                                                                    Check all that apply.
      OLD PAL TRANSPORTATION INC
      18492 PEPPER ST                                               ¨ Contingent
      CASTRO VALLEY, CA 94546                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      OLD STAR EXPRESS INC
      OR GREAT PLAINS TRANSPORTATION SERVICES INC                   ¨ Contingent
      PO BOX 4539                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-4539                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      OLYMPIC TRANSFER CORP.
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OMEGA CASTINGS INCORPORATED
      301 FRITZ KEIPER BLVD                                         þ Contingent
      BATTLE CREEK, MI 49037                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.191
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    400.00
                                                                    Check all that apply.
      OMEGA TRUCKING LLC (DEARBORN, MI)
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    150.00
                                                                    Check all that apply.
      OMNIA TRUCKING LLC
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    625.00
                                                                    Check all that apply.
      ON LAND TRANSPORT INC.
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    900.00
                                                                    Check all that apply.
      ON THE ROCK LOGISTICS & FREIGHT FORWARDING, INC.
      OR SUNBELT FINANCE LLC                                        ¨ Contingent
      DEPT 144 PO BOX 1000                                          ¨ Unliquidated
      MEMPHIS, TN 38148-0144                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    900.00
                                                                    Check all that apply.
      ON THE WAY LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,475.00
                                                                    Check all that apply.
      ON TIME TRANSPORT
      OR TRANSWEST CAPITAL                                          ¨ Contingent
      PO BOX 123381 - DEPT 3381                                     ¨ Unliquidated
      DALLAS, TX 75312-3381                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      ON TRACK FREIGHT INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 10,000.00
                                                                    Check all that apply.
      ONE CARGO
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      ONE FAMILY TRUCKING INC
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 P. O. BOX 1000                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,975.00
                                                                    Check all that apply.
      ONE LINE LOGISTICS INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 653076                                                 ¨ Unliquidated
      DALLAS, TX 75265                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.192
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,225.00
                                                                    Check all that apply.
      ONE8 FREIGHT LLC
      3813 ILLINOIS AVE                                             ¨ Contingent
      ST CHARLES, IL 60174                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    700.00
                                                                    Check all that apply.
      ONLINE TRANSPORT, INC.
      6311 STONER DRIVE                                             ¨ Contingent
      GREENFIELD, IN 46140                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    875.00
                                                                    Check all that apply.
      ONOREVOLE TRANSPORTATION LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      ONTIME EXPRESS LINE, INC.
      OR PORTER BILLING SERVICES, LLC                               ¨ Contingent
      PO BOX 440127                                                 ¨ Unliquidated
      NASHVILLE, TN 37244                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      ONTIME EXPRESS, LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    975.00
                                                                    Check all that apply.
      ONTIME TRANSPORT & LOGISTICS LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    950.00
                                                                    Check all that apply.
      ONTRACK TRANSPORTATION, INC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      ONWARD FREIGHT SERVICES
      OR J D FACTORS CORPORATION                                    ¨ Contingent
      315 MATHESON BLVD EAST                                        ¨ Unliquidated
      MISSISSAUGA, ON L4Z 1X8                                       ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OONI
      2140 S DUPONT HWY                                             þ Contingent
      CAMDEN WYOMING, DE 19934                                      þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      OPPERMANN WEBBING INC
      129 HOLLOW DR                                                 þ Contingent
      PIEDMONT, SC 29673                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.193
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      OPTIMA EXPRESS LINES INC
      217 WATERS RUN LN                                             ¨ Contingent
      SIMPSONVILLE, SC 29681                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      OPTIN TRANSPORT LLC
      OR RIVIERA FINANCE OF TEXAS                                   ¨ Contingent
      PO BOX 202485                                                 ¨ Unliquidated
      DALLAS, TX 75320-2487                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      OPTION TRANSPORT INC
      OR ASSIST FINANCIAL SERVICES INC                              ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      ORANGE COAST EXPRESS INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      ORD TRANS INC
      2375 PRATT BLVD                                               ¨ Contingent
      ELK GROVE VILLAGE, IL 60007                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      ORD TRANSPORTATION INC
      8N154 PHAR LAP DR                                             ¨ Contingent
      ST CHARLES, IL 60175                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      ORION TRUCK INC
      OR EXPRESS FREIGHT FINANCE                                    ¨ Contingent
      PO BOX 6188                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-6188                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      ORNELAS FREIGHT LINES CORP
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ORPHAN GRAIN TRAIN
      33 S MAIN ST                                                  þ Contingent
      TERRYVILLE, CT 06786                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,750.00
                                                                    Check all that apply.
      OSCAR MORENO
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.194
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      OSEGUERA TRUCKING
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      OTESCO LOGISTICS LLC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 7410633                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    920.00
                                                                    Check all that apply.
      OVERLAND TRANSPORT LLC
      OR CJM FINANCIAL INC                                          ¨ Contingent
      PO BOX 727                                                    ¨ Unliquidated
      ANKENY, IA 50021                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,175.00
                                                                    Check all that apply.
      OXBOW TEAM TRANSPORT
      OR TRUCKSTOP FACTORING                                        ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    500.00
                                                                    Check all that apply.
      P & P TRUCKING, INC.
      2807 QUALITY DRIVE                                            ¨ Contingent
      SEARCY, AR 72143                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      P & R TRUCKING INC
      3205 OLD COOKEVILLE RD                                        ¨ Contingent
      SPARTA, TN 38583                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,650.00
                                                                    Check all that apply.
      PACIFIC DRIVELINES
      10040 10TH LINE                                               ¨ Contingent
      GEORGETOWN, ON L7G0N2                                         ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 14,237.50
                                                                    Check all that apply.
      PACIFIC GATEWAY TRANSPORT INC
      OR TCI BUSINESS CAPITAL                                       ¨ Contingent
      PO BOX 9149                                                   ¨ Unliquidated
      MINNEAPOLIS, MN 55480                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    685.00
                                                                    Check all that apply.
      PACKAGE PROS LOGISTICS LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      PACKER TRANSPORTATION CO.
      OR BVD CAPITAL CORPORATION                                    ¨ Contingent
      8177 TORBRAM ROAD                                             ¨ Unliquidated
      BRAMPTON, ON L6T 5C5                                          ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.195
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 23,209.84
                                                                    Check all that apply.
      Pac-Tec, Inc
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      PAIGE LOGISTICAL SOLUTIONS, LLC
      2506 MOUNT MORIAH ROAD SUITE 418                              ¨ Contingent
      MEMPHIS, TN 38115                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  9,555.00
                                                                    Check all that apply.
      PAM INTERNATIONAL INC
      OR CD CONSORTIUM CORP.                                        ¨ Contingent
      8930 WAUKEGAN RD, STE 230                                     ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PAMLICOAIR
      4841 LAMM R.                                                  þ Contingent
      WILSON, NC 27893                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      PAN AMERICAN CARGO LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,750.00
                                                                    Check all that apply.
      PANDHER CARGO INC
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 7410633                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PANDUIT CORPORATION % TRANZACT TECHNOLOGIES
      18900 PANDUIT DR                                              þ Contingent
      TINLEY PARK, IL 60487                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      PANIAGUA TRUCKING, LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      PAPERCHASINGTRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    500.00
                                                                    Check all that apply.
      PAPPY'S TRUCKING SERVICES LLC
      OR NU-KO CAPITAL LLC                                          ¨ Contingent
      PO BOX 150884                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.196
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      PARADISE TRUCKING CORP
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,250.00
                                                                    Check all that apply.
      PARAMOUNT LOGISTICS INC
      4826 4TH ST                                                   ¨ Contingent
      IRWINDALE, CA 91706                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      PARASOURCE INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    672.00
                                                                    Check all that apply.
      PARIS TRANSPORT LLC
      118 JAMES LAKE WAY                                            ¨ Contingent
      EASLEY, SC 29642-8868                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      PARK ONE PRO LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    550.00
                                                                    Check all that apply.
      PARMAR FREIGHTLINES LLC
      OR SOUND FINANCE CORPORATION                                  ¨ Contingent
      P.O. BOX 679281                                               ¨ Unliquidated
      DALLAS, TX 75267-9281                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  9,975.00
                                                                    Check all that apply.
      PAT REILLY TRUCKING
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      PATAGONIA LOGISTICS INC
      OR PRO FUNDING INC                                            ¨ Contingent
      PO BOX 1000 DEPT #3045                                        ¨ Unliquidated
      MEMPHIS, TN 38148-3045                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    500.00
                                                                    Check all that apply.
      PAUL TRANSPORTATION INC.
      OR TRANSAM FINANCIAL SERVICES, INC.                           ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,760.00
                                                                    Check all that apply.
      PAUL'S TRUCKING
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.197
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      PAV TRUCKING
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    700.00
                                                                    Check all that apply.
      PB02 TRANSPORT INC
      OR GREAT PLAINS TRANSPORTATION SERVICES INC                   ¨ Contingent
      PO BOX 4539                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  6,250.00
                                                                    Check all that apply.
      PC LOGISTICS GROUP INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      PDS EXPRESS INC
      1070 SWANSON DR                                               ¨ Contingent
      BATAVIA, IL 60510                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      PDX TRANSIT LLC
      PO BOX 410                                                    ¨ Contingent
      CLACKAMAS, OR 97015-0410                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      PEARFAM TRANSPORT LLC
      OR MATCH FACTORS                                              ¨ Contingent
      P.O. BOX 13259                                                ¨ Unliquidated
      FLORENCE, SC 29504                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      PEARL VALLEY TRANSPORT LLC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PEETS COFFEE & TEA
      1400 PARK AVE                                                 þ Contingent
      EMERYVILL, CA 94608                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  7,950.00
                                                                    Check all that apply.
      PEGAS TRUCKING GROUP INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,324.00
                                                                    Check all that apply.
      PEGASUS TRANS LINK INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.198
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      PEI, INC.
      598 RED OAK ROAD                                              ¨ Contingent
      STOCKBRIDGE, GA 30281                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    850.00
                                                                    Check all that apply.
      PENMARK TRANSPORTATION INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    700.00
                                                                    Check all that apply.
      PENTAGON LOGISTICS INC
      7045 MILLCREEK DRIVE                                          ¨ Contingent
      MISSISSAUGA, ON L5N 3R3                                       ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  7,224.00
                                                                    Check all that apply.
      PERFORMANCE PACKAGING INC
      7850 BARNSBURY RD                                             ¨ Contingent
      WEST BLOOMFIELD, MI 48324                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PERFORMANCE SYSTEMS
      5310 ELM ST                                                   þ Contingent
      HOUSTON, TX 77081                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PETPARTNERS, INC
      8051 ARCO CORPORATE DR                                        þ Contingent
      RALEIGH, NC 27617                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,650.00
                                                                    Check all that apply.
      PHAGAN TRUCKING, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      PHELPS FARMS, INC.
      41 S HIGH ST 21ST FLOOR                                       ¨ Contingent
      COLUMBUS, OH 43215                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      PHILLIPS LOGISTICS LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    503.00
                                                                    Check all that apply.
      PHOENIX 682 LLC
      29436 ROBERT DR                                               ¨ Contingent
      LIVONIA, MI 48150                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.199
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,700.00
                                                                    Check all that apply.
      PHOENIX TRUCKLINE LLC
      254 S MULBERRY STE 113                                        ¨ Contingent
      MESA, AZ 85202                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PICTSWEET COMPANY
      10 PICTSWEET DR                                               þ Contingent
      BELLS, TN 38006                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    750.00
                                                                    Check all that apply.
      PIEDMONT, LLC
      PIEDMONT, LLC                                                 ¨ Contingent
      PO BOX 503                                                    ¨ Unliquidated
      BYRON CENTER, MI 49315                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  6,925.00
                                                                    Check all that apply.
      PIGEON FREIGHT SERVICES, INC.
      OR PRO FUNDING INC - DEPT #3045                               ¨ Contingent
      PO BOX 1000                                                   ¨ Unliquidated
      MEMPHIS, TN 38148-3045                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      PIKE TRANSPORT INC
      6958 STATE HWY 2 41 M35                                       ¨ Contingent
      GLADSTONE, MI 49837                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    775.00
                                                                    Check all that apply.
      PINNACO TRANSPORTATION
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      PIONEER TANK LINES, INC.
      12501 HUDSON ROAD SOUTH                                       ¨ Contingent
      AFTON, MN 55001                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      PIRAMID TRUCKING INC
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,695.00
                                                                    Check all that apply.
      PISHON EXPRESS INC.
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    550.00
                                                                    Check all that apply.
      PJJ EXPRESS INC
      PO BOX 389270                                                 ¨ Contingent
      CHICAGO, IL 60638                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.200
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 11,400.00
                                                                    Check all that apply.
      PJR TRUCKING INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    700.00
                                                                    Check all that apply.
      PK TRANSPORTATION LLC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      PKG EXPRESS, INC.
      PO BOX 301                                                    ¨ Contingent
      SHELBYVILLE, IN 46176                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    400.00
                                                                    Check all that apply.
      PL & Y TRUCKING CORP
      249 ROCKWOOD ST                                               ¨ Contingent
      PORT CHARLOTTE, FL 33952                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    460.00
                                                                    Check all that apply.
      PLACENCIA TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PLAN T
      7400 TECHNOLOGY DR                                            þ Contingent
      UNIT B, W MELBOURNE, FL 32904                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      PLATINUM EXPRESS
      OR CAPITAL CREDIT INC                                         ¨ Contingent
      PO BOX 204695                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    950.00
                                                                    Check all that apply.
      PLOGER TRANSPORTATION LLC
      300 CLEVELAND RD.                                             ¨ Contingent
      NORWALK, OH 44857                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,150.00
                                                                    Check all that apply.
      PLUS FREIGHT SYSTEMS LLC
      OR CAPITAL DEPOT                                              ¨ Contingent
      8930 N WAUKEGAN ROAD, SUITE 230                               ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 11,100.00
                                                                    Check all that apply.
      PLUS ONE EXPRESS
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.201
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    975.00
                                                                    Check all that apply.
      PMF LOGISTICS INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      PMS XPRESS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    550.00
                                                                    Check all that apply.
      POINTDIRECT TRANSPORT, INC.
      10858 ALMOND AVE                                              ¨ Contingent
      FONTANA, CA 92337                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    750.00
                                                                    Check all that apply.
      POLARIS LOGISTICS INC
      OR PARTNERS FUNDING INC                                       ¨ Contingent
      PO BOX 5431                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-5431                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      POLARIUM
      8369 SOUTHPARK LN                                             þ Contingent
      LITTLETON, CO 80120                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    550.00
                                                                    Check all that apply.
      POLVON LLC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      POLYTEK DEVELOPMENT CORP
      55 HILTON ST                                                  þ Contingent
      EASTON, PA 18042                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      POOLCORP % TMC
      109 NORTHPARK BLVD FL 4                                       þ Contingent
      COVINGTON, LA 70433                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     33.77
                                                                    Check all that apply.
      POOLCORP % TMC
      109 NORTHPARK BLVD FL 4                                       ¨ Contingent
      COVINGTON, LA 70433                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    385.50
                                                                    Check all that apply.
      PORTER COUNTY SUPERIOR CRT 6
      3560 WILLOW CREEK RD                                          ¨ Contingent
      PORTAGE, IN 46368                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.202
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    930.00
                                                                    Check all that apply.
      PORTER MOVING COMPANY LLC
      28261 WOODLAWN DR UNIT F                                      ¨ Contingent
      PUNTA GORDA, FL 33982                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  7,040.00
                                                                    Check all that apply.
      PORTLAND CONTAINER REPAIR CORPORATION
      8316 N LOMBARD                                                ¨ Contingent
      PORTLAND, OR 97203                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    542.08
                                                                    Check all that apply.
      POWERPACK
      10613 STRAW FLOWER DR                                         ¨ Contingent
      AUSTIN, TX 78733                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      POWERPACK LLC
      10613 STRAW FLOWER DR                                         ¨ Contingent
      AUSTIN, TX 78733                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRAXIS CO
      435 INDUSTRIAL RD                                             þ Contingent
      SAVANNAH, TN 38372                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,400.00
                                                                    Check all that apply.
      PREET LOGISTICS INC
      10419 MUSTANG PEAK DR                                         ¨ Contingent
      BAKERSFIELD, CA 93311                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PREMIER PAN
      33 MCGOVERN BLVD                                              þ Contingent
      CRESCENT, PA 15046                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      PREMIER TRANSPORTATION LLC (MC959420)
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      PREMIUM EXPRESS TRUCKING INC
      OR CD CONSORTIUM CORP                                         ¨ Contingent
      8930 WAUKEGAN RD STE 230                                      ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    300.00
                                                                    Check all that apply.
      PREP ONE TRUCKING LLC
      OR NU-KO CAPITAL, LLC                                         ¨ Contingent
      PO BOX 150884                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.203
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,880.00
                                                                    Check all that apply.
      PRESERVER TRANS LLC
      3475 MUSGRAVE AVE                                             ¨ Contingent
      LIVE OAK, CA 95953                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      PRESIDENTIAL TRANSPORTATION LLC
      OR TRUCK STOP FACTORING                                       ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      PRESTRIGE TRANSPORT
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      PREVAIL LOGISTICS LLC
      OR SMARTTRUCKER LLC                                           ¨ Contingent
      PO BOX 30516 DEPT# 506                                        ¨ Unliquidated
      LANSING, MI 48909-8016                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    675.00
                                                                    Check all that apply.
      PRH TRUCKING INC
      1121 N ELLIS ST                                               ¨ Contingent
      BENSENVILLE, IL 60106                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    375.00
                                                                    Check all that apply.
      PRIEST TRANSPORT LLC
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      PRIMARY EXPRESS CO
      39W895 STONECROP CT                                           ¨ Contingent
      ST CHARLES, IL 60175                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      PRIME EXPRESS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    400.00
                                                                    Check all that apply.
      PRIME EXPRESS TRANSPORTATION
      2502 HUDSPETH ST                                              ¨ Contingent
      INGLEWOOD, CA 90303                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    600.00
                                                                    Check all that apply.
      PRIME FREIGHT LLC
      OR INSIGHT TECHNOLOGY, INC                                    ¨ Contingent
      PO BOX 200399                                                 ¨ Unliquidated
      DALLAS, TX 75320-0399                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.204
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,250.00
                                                                    Check all that apply.
      PRIME ROAD CARRIERS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      PRIME TRANS INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      PRIME TRANSPORTATION SERVICES INC
      OR PATHWARD NATIONAL ASSOCIATION                              ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRIORITY 1
      PO BOX 398                                                    þ Contingent
      NORTH LITTLE ROCK, AR 72115                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRIORITY LOGISTICS
      6900 COLLEGE BLVD, STE 470                                    þ Contingent
      OVERLAND PARK, KS 66211                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred       Undetermined             Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      PRO LOGISTIC LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,550.00
                                                                    Check all that apply.
      PRO STAR LOGISTIC INC
      OR SAINT JOHN CAPITAL CORP                                    ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674-7671                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,657.50
                                                                    Check all that apply.
      PRO TRUCKING INC (MC792385)
      OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028             ¨ Contingent
      DALLAS, TX 75261-0028                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     1,700.00
                                                                    Check all that apply.
      PRODUCE TRANSPORT INC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRODUCERS PEANUT CO INC
      337 MOORE AVE                                                 þ Contingent
      SUFFOLK, VA 23434                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.205
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRODUCTION TOOL SUPPLY
      21000 MAC ARTHUR BLVD                                         þ Contingent
      WARREN, MI 48089                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 1,233,740.37
                                                                    Check all that apply.
      PROGISTICS DISTRIBUTION INC
      PO BOX 5045                                                   ¨ Contingent
      HAYWARD, CA 94540                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   20,709.94
                                                                    Check all that apply.
      PROLOGISTIX
      PO BOX 102332                                                 ¨ Contingent
      ATLANTA, GA 30368                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    550.00
                                                                    Check all that apply.
      PRO-MEN TRANSFER LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,270.00
                                                                    Check all that apply.
      PRON LOGISTICS LLC
      34970 ANN ARBOR TRL UNIT D10                                  ¨ Contingent
      LIVONIA, MI 48150-3780                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,250.00
                                                                    Check all that apply.
      PROPER TRUCKING INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 7410440                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,298.54
                                                                    Check all that apply.
      PRORELO, INC.
      1600 1ST STREET NW                                            ¨ Contingent
      ALBUQUERQUE, NM 87102                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  4,690.00
                                                                    Check all that apply.
      PROSPERITY TRUCKING LLC
      OR STEELHEAD FINANCE                                          ¨ Contingent
      3518 HEATHROW WAY                                             ¨ Unliquidated
      MEDFORD, OR 97504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      PRY TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      PRYDE INDUSTRIAL INC
      187 EXETER RD RD                                              þ Contingent
      LONDON, ON N6L1A4                                             þ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.206
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,725.00
                                                                    Check all that apply.
      PS EXPRESS INC
      1555 E AMAR ROAD SUITE B #200                                 ¨ Contingent
      WEST COVINA, CA 91792                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    700.00
                                                                    Check all that apply.
      PSALMS LLC
      OR THUNDER FUNDING                                            ¨ Contingent
      DEPT #3003 P. O. BOX 1000                                     ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      PSB TRANS INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    750.00
                                                                    Check all that apply.
      PSG TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    850.00
                                                                    Check all that apply.
      PTD, INC.
      1731 PRICE HOUSE RD                                           ¨ Contingent
      ROEBUCK, SC 29376                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      PTX SERVICES, LLC
      1431 BRUHY ROAD                                               ¨ Contingent
      PLYMOUTH, WI 53073                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 12,875.00
                                                                    Check all that apply.
      PUNIA EXPRESS INC
      16494 W 132ND CT                                              ¨ Contingent
      OLATHE, KS 66062                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  9,050.00
                                                                    Check all that apply.
      PUNJAB TRANSIT LLC
      OR SOUND FINANCE CORPORATION                                  ¨ Contingent
      PO BOX 679281                                                 ¨ Unliquidated
      DALLAS, TX 75267-9281                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      PW LOGISTICS, LLC
      OR OUTGO, INC                                                 ¨ Contingent
      117 E LOUISA ST # 161                                         ¨ Unliquidated
      SEATTLE, WA 98102                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,800.00
                                                                    Check all that apply.
      QALASTRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.207
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,975.00
                                                                    Check all that apply.
      QFS TRANSPORTATION LLC
      P.O. BOX 912394                                               ¨ Contingent
      DENVER, CO 80291                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    350.00
                                                                    Check all that apply.
      QQT TRUCKING LLC
      OR TRANSAM FINANCIAL SERVICES, INC.                           ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,825.00
                                                                    Check all that apply.
      QTI TRANS , LLC
      OR YANKTON FACTORING INC                                      ¨ Contingent
      PO BOX 217                                                    ¨ Unliquidated
      YANKTON, SD 57078                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      QUALITY EXPRESS CORP
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 12,739.07
                                                                    Check all that apply.
      QUALITY LIFT TRUCKS
      115 NORTH GLOVER AVENUE                                       ¨ Contingent
      CHULA VISTA, CA 91910                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    455.00
                                                                    Check all that apply.
      QUALITY SERVICES MEXICO
      2455 OTAY CENTER DR # 117-19                                  ¨ Contingent
      SAN DIEGO, CA 92154                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      QUALITY SUPPLIER TRUCKING, INC.
      PO BOX 488                                                    ¨ Contingent
      KEYSER, WV 26726                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,750.00
                                                                    Check all that apply.
      QUALITY TRANSFER LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    600.00
                                                                    Check all that apply.
      QUALITY TRANSPORTATION LLC (MC1108492)
      OR ALADDIN FINANCIAL INC                                      ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      QUALITY TRUCKING SERVICES LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.208
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      QUANTINUUM
      310 INTERLOCKEN PKWY STE 120                                  þ Contingent
      BROOMFIELD, CO 80021                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      QUANTUM FREIGHT LLC
      OR EDEN TRANSPORT CAPITAL, LLC                                ¨ Contingent
      PO BOX 5699                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-5699                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    500.00
                                                                    Check all that apply.
      QUANTUM LOGISTICS INC.
      13258 NELSON AVE                                              ¨ Contingent
      CITY OF INDUSTRY, CA 92336                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      QUEEN TRANSPORTATION, LLC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    675.00
                                                                    Check all that apply.
      QUEENZ LOGISTIC INC
      7771 SUMMERLIN BLVD                                           ¨ Contingent
      LIBERTY TOWNSHIP, OH 45044                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    452.24
                                                                    Check all that apply.
      QUENCH USA INC
      PO BOX 781393                                                 ¨ Contingent
      PHILADELPHIA, PA 19178                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      QUEST TRANSPORTATION LLC
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    300.00
                                                                    Check all that apply.
      QUICK FREIGHT LOGISTICS INC
      OR CD CONSORTIUM CORP                                         ¨ Contingent
      8930 WAUKEGAN RD, SUITE 230                                   ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      R & K TRUCKING OF MONTANA, INC.
      OR TAB BANK                                                   ¨ Contingent
      PO BOX 150290                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    400.00
                                                                    Check all that apply.
      R & R TRUCKING LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.209
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      R & W FREIGHT LINE LLC
      OR INTEGRATED LOGISTICS & ASSOCIATES                          ¨ Contingent
      PO BOX 25189                                                  ¨ Unliquidated
      FARMINGTON, NY 14425-0189                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    350.00
                                                                    Check all that apply.
      R A C FREIGHT LLC
      OR OPERATION FINANCE, INC                                     ¨ Contingent
      PO BOX 227352                                                 ¨ Unliquidated
      DALLAS, TX 75222-7352                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    945.00
                                                                    Check all that apply.
      R D F LOGISTICS INC.
      7425 INDUSTRIAL PARKWAY                                       ¨ Contingent
      LORAIN, OH 44053                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    500.00
                                                                    Check all that apply.
      R D V TRANSPORT LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      R H CRAWFORD INC
      341 MOULSTOWN RD                                              ¨ Contingent
      HANOVER, PA 17331                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    839.58
                                                                    Check all that apply.
      R S G TRANSPORT
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    950.00
                                                                    Check all that apply.
      R T EXPRESS
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      R&A CORE
      15024 ANACAPA RD                                              þ Contingent
      VICTORVILLE, CA 92392                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,270.00
                                                                    Check all that apply.
      R&A'S STR8 SHOT INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 10,500.00
                                                                    Check all that apply.
      R&B TRUCKING, INC.
      OR WALLACE COMPANY INC                                        ¨ Contingent
      PO BOX 988                                                    ¨ Unliquidated
      FULTON, MS 38843                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.210
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,171.25
                                                                    Check all that apply.
      R&J CARGO INC
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,257.00
                                                                    Check all that apply.
      R&L PRODUCE TRANSPORTATION LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,325.00
                                                                    Check all that apply.
      R&RTRUCKINGANDLOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      R.A.B. EXPRESS, INC.
      1247 EASTWOOD AVE.                                            ¨ Contingent
      TALLMADGE, OH 44278                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    150.00
                                                                    Check all that apply.
      RADHOO INC
      OR CD CONSORTIUM CORP.                                        ¨ Contingent
      8930 WAUKEGAN RD, STE 230                                     ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RADIANT GLOBAL
      405 114TH AVE SE                                              þ Contingent
      BELLEVUE, WA 98004                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      RAINE LOGISTICS INC
      PO BOX 513                                                    ¨ Contingent
      GETZVILLE, NY 14068                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  7,550.00
                                                                    Check all that apply.
      RAINIER TRANSPORTATION, INC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      RAJ PURA TRANSPORT
      4225 BOUL HEBERT                                              ¨ Contingent
      SALABERRY-DE-VALLEYFIELD, QC J6S 6J2                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      RAJEANA LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.211
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      RAKMARK INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    550.00
                                                                    Check all that apply.
      RAM TRUCKING GROUP, LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,181.25
                                                                    Check all that apply.
      RAMA TRUCKING ENTERPRISE, INC.
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    500.00
                                                                    Check all that apply.
      RAMIRO ELIZONDO DIAZ
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    950.00
                                                                    Check all that apply.
      RAMZ TRANSPORT INC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      RANA TRANSPORT LLC
      OR PARTNERS FUNDING INC.,                                     ¨ Contingent
      PO BOX 5431                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 45,000.00
                                                                    Check all that apply.
      RANA TRUCKLINE LLC
      RANA TRUCKLINE LLC                                            ¨ Contingent
      465 ALEMAR WAY                                                ¨ Unliquidated
      YUBA CITY, CA 95991                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    800.00
                                                                    Check all that apply.
      RANGE EXPRESS LLC
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      RANI EXPRESS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,650.00
                                                                    Check all that apply.
      RAPID TRANSPORT INC.
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 639565                                                 ¨ Unliquidated
      CINCINNATI, OH 45263-9565                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.212
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,500.00
                                                                    Check all that apply.
      RAPIDUS AMERICA LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,150.00
                                                                    Check all that apply.
      RAPTOR AUTO TRANSPORT INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,550.00
                                                                    Check all that apply.
      RATHOUR LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      RAV TRANSPORT INC
      ECAPITAL ORILLIA (CAN)                                        ¨ Contingent
      174 WEST ST SOUTH - 2ND FLOOR                                 ¨ Unliquidated
      ORILLIA, L3V6L4                                               ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RAVAGO
      1900 SUMMIT TOWER BLVD STE 900                                þ Contingent
      ORLANDO, FL 32810                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      RAVEN EXPRESS TRUCKING
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,350.00
                                                                    Check all that apply.
      RAY & SHERI TRUCKING, LLC
      44 BEACH STREET                                               ¨ Contingent
      NORTH HAVEN, CT 06473                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      RAYKO TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      RAYMOND D TRUCKING LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    400.00
                                                                    Check all that apply.
      RAY'S TRANSPORT INC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.213
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      RAYSTAR EXPRESS, LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    800.00
                                                                    Check all that apply.
      RB CARGO INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      RDX, LLC
      7731 HIGHWAY 70 SUITE 107                                     ¨ Contingent
      BARTLETT, TN 38133                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,500.00
                                                                    Check all that apply.
      READY 2 PICKUP LLC
      OR YANKTON FACTORING INC                                      ¨ Contingent
      PO BOX 217                                                    ¨ Unliquidated
      YANKTON, SD 57078                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    375.00
                                                                    Check all that apply.
      READY2GOTRUCKING LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      REAL STAR TRUCKING LLC
      11421 SE 214TH ST                                             ¨ Contingent
      KENT, WA 98031                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    350.00
                                                                    Check all that apply.
      REALTRANS TRANSPORTATION INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    900.00
                                                                    Check all that apply.
      RECASNER TRUCKING, L.L.C.
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RED DEVIL INC
      4175 WEBB ST                                                  þ Contingent
      PRYOR, OK 74361                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      RED HEELER TRANSPORTATION LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.214
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      RED SEA TRANSPORT LLC
      OR TREADSTONE US CAPITAL, LLC                                 ¨ Contingent
      PO BOX 32160 - DEPT #128                                      ¨ Unliquidated
      LOUISVILLE, KY 40232                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      RED SEA TRUCKING
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  6,000.00
                                                                    Check all that apply.
      RED TRANSPORT USA INC
      OR NEXT DAY FUNDING INC                                       ¨ Contingent
      PO BOX 640                                                    ¨ Unliquidated
      CHICAGO HEIGHTS, IL 60412                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      REDDAWAY CARTAGE ONLY
      PO BOX 1300                                                   þ Contingent
      TUALATIN, OR 97062                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      REDPATH TRANSPORTATION INC
      OR REVOLUTION CAPITAL                                         ¨ Contingent
      PO BOX 741791                                                 ¨ Unliquidated
      LOS ANGELES, CA 90074                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      REFRIGERATED DIRECT TRANSIT, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      REGAL TRANS INC
      OR TRANSPORTATION FUNDING GROUP                               ¨ Contingent
      PO BOX 580054                                                 ¨ Unliquidated
      MINNEAPOLIS, MN 55458-0054                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      REISCH TRUCKING INC
      316 E WARREN                                                  ¨ Contingent
      LUVERNE, MN 56156                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    786.22
                                                                    Check all that apply.
      REJUVENATION
      2550 NW NICOLAI ST                                            ¨ Contingent
      PORTLAND, OR 97210                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      REK EXPRESS INC
      2740 W LEXINGTON AVE                                          ¨ Contingent
      ELKHART, IN 46514                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.215
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  8,770.00
                                                                    Check all that apply.
      REL EXPRESS INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 653076                                                 ¨ Unliquidated
      DALLAS, TX 75265                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  6,400.00
                                                                    Check all that apply.
      RELAXED LOGISTICS LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      RELIABLE CARRIERS, INC.
      POST OFFICE BOX 288                                           ¨ Contingent
      MANCHESTER, TN 37349                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,500.00
                                                                    Check all that apply.
      RELIABLE ENTERPRISE LLC
      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING        ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      RELIABLE INC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      RELIABLE LOGISTIC SERVICES LLC
      15 COOPERATIVE WAY                                            ¨ Contingent
      WRIGHT CITY, MO 63390                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 39,900.00
                                                                    Check all that apply.
      RELIABLE TRANSPORT LLC
      2311 S MEADOWLARK LANE                                        ¨ Contingent
      SPRINGFIELD, MO 65807                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    950.00
                                                                    Check all that apply.
      REN EXPRESS LLC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RESPONSIVE RESPIRATORY
      6244 LEMAY FERRY RD                                           þ Contingent
      SAINT LOUIS, MO 63129                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RETURNS % GLOVIS AMERICA
      17305 VON KARMAN AVE                                          þ Contingent
      IRVINE, CA 92614                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.216
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    650.00
                                                                    Check all that apply.
      REVI EXPRESS INC
      OR INTERNET TRUCKSTOP PAYMENTS, LLC                           ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      REVOLUCION LOGISTICS INC
      54 E JASMINE ST                                               ¨ Contingent
      MESA, AZ 85201                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,000.00
                                                                    Check all that apply.
      REYHANA TRANSPORT INC
      OR TAB BANK                                                   ¨ Contingent
      PO BOX 150290                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RF MACDONALD
      25920 EDEN LANDING RD                                         þ Contingent
      HAYWARD, CA 94545                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,085.00
                                                                    Check all that apply.
      RGR TRANS INC.
      OR CD CONSORTIUM CORP.                                        ¨ Contingent
      8930 WAUKEGAN RD, STE 230                                     ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      RHODES RECOVERY LOGISTICS LLC
      OR PORTER BILLING SERVICES LLC                                ¨ Contingent
      PO BOX 440127                                                 ¨ Unliquidated
      NASHVILLE, TN 37244                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,358.60
                                                                    Check all that apply.
      RICARDO'S & SON LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,215.00
                                                                    Check all that apply.
      RICCA AMERICAN MOTOR FREIGHT, LLC
      OR LOVE'S SOLUTIONS LLC, PO BOX 639745                        ¨ Contingent
      CINCINNATI, OH 45263                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      RIFT VALLEY CARRIERS LLC
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    900.00
                                                                    Check all that apply.
      RIGHT CHOICE TRANS INC
      868 SOMMERSWEET RUN                                           ¨ Contingent
      GREENWOOD, IN 46143                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.217
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 10,606.50
                                                                    Check all that apply.
      RIGHT TIME TRANSPORT COMPANY
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,150.00
                                                                    Check all that apply.
      RITAL TRANSPORTATION LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      RITEX EXPRESS LIMITED
      10 PEACEKEEPING CRT                                           ¨ Contingent
      BRAMPTON, ON L6P 4H1                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      RITTER TRANSPORT, INC.
      2075 W PINNACLE PEAK RD, STE 130                              ¨ Contingent
      PHOENIX, AZ 85027                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    550.00
                                                                    Check all that apply.
      RIVERA ALAMO TRANSPORTACION LLC
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75001                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    850.00
                                                                    Check all that apply.
      RIVERS TRUCKING INC
      16586 E MARIPOSA ROAD                                         ¨ Contingent
      STOCKTON, CA 95215                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      RIVERWOOD TRUCKING
      1005 N 500 E                                                  ¨ Contingent
      PLEASANT GROVE, UT 84062                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    945.00
                                                                    Check all that apply.
      RJ TRANSPORT LLC
      OR TBS FACTORING SERVICE, PO BOX 248920                       ¨ Contingent
      OKLAHOMA CITY, OK 73124                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    500.00
                                                                    Check all that apply.
      RJAD TRANSPORTATION LLC
      OR ECAPITAL FREIGHT FACTORING                                 ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    550.00
                                                                    Check all that apply.
      RJDJ TRANSPORTATION CO
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.218
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      RJ'S TRANSPORT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    750.00
                                                                    Check all that apply.
      R-K-CAMPF TRANSPORT
      465 NEWGARDEN AVENUE                                          ¨ Contingent
      SALEM, OH 44460                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      RKK TRUCKING INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,100.00
                                                                    Check all that apply.
      RLH EXPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    600.00
                                                                    Check all that apply.
      RLW TRUCKING LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,175.00
                                                                    Check all that apply.
      RMW EXPEDITORS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    740.00
                                                                    Check all that apply.
      RNR LOGISTICS LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      ROAD HOGZ TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    600.00
                                                                    Check all that apply.
      ROAD KING EXPRESS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 85,250.00
                                                                    Check all that apply.
      ROAD RANGE INC
      OR CRESTMARK                                                  ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068-2348                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.219
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,650.00
                                                                    Check all that apply.
      ROAD STAR CARRIER INC.
      6545 MARKET AVE N STE 100                                     ¨ Contingent
      N CANTON, OH 44721-2430                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      ROAD WOLVES INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    500.00
                                                                    Check all that apply.
      ROADACITY LLC
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      ROADFLEET CARRIER SERVICES INC
      3243 W PIMA ST                                                ¨ Contingent
      PHOENIX, AZ 85009                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      ROADJET TRANSPORT INC
      24811 RIVARD RD                                               ¨ Contingent
      MORENO VALLEY, CA 92551                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      ROADLINE CORPORATION
      217 WASHINGTON AVE                                            ¨ Contingent
      CARLSTADT, NJ 07072                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      ROADONE INTERMODALOGISTICS / CROWN INTERMODALOGISTICS
      OR RTS HOLDINGS, LLC                                          ¨ Contingent
      PO BOX 674939                                                 ¨ Unliquidated
      DETROIT, MI 48267                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      ROADWAYS TRANS INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,350.00
                                                                    Check all that apply.
      ROADX EXPRESS LTD.
      OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL        ¨ Contingent
      PO BOX 741791                                                 ¨ Unliquidated
      LOS ANGELES, CA 90074                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      ROANE TRANSPORTATION SERVICES LLC
      284 CARDIFF VALLEY ROAD                                       ¨ Contingent
      ROCKWOOD, TN 37854                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.220
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    118.93
                                                                    Check all that apply.
      ROANOKE INSURANCE GROUP INC.
      35079 EAGLE WAY                                               ¨ Contingent
      CHICAGO, IL 60678                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,950.00
                                                                    Check all that apply.
      ROAR LOGISTICS, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROCHLING ADVENT TOOL & MOLD
      999 RIDGEWAY AVE                                              þ Contingent
      ROCHESTER, NY 14615                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      ROCK TRUCKER INC
      OR TRANS FG, PO BOX 743863                                    ¨ Contingent
      LOS ANGELES, CA 90074-3863                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      ROCKNROLLA TRANSPORT, INC.
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 14,060.00
                                                                    Check all that apply.
      ROCKWELL TRUCK LINE
      11277 COUNTY ROAD 42                                          ¨ Contingent
      TECUMSEH, ON N8N0H1                                           ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    835.00
                                                                    Check all that apply.
      ROCWAY LLC
      1781 LONG POND RD STE 1                                       ¨ Contingent
      ROCHESTER, NY 14606-4031                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      ROGUE CARRIER INC
      1312 MARQUETTE DR UNIT E                                      ¨ Contingent
      ROMEOVILLE, IL 60446                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROL TECH
      62 ELM ST                                                     þ Contingent
      FORT LORAMIE, OH 45845                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    600.00
                                                                    Check all that apply.
      ROLL IN ROYAL TRUCKING LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.221
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    350.00
                                                                    Check all that apply.
      ROMAGA TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      ROMEXPRESS INC
      23405 STONEYBROOK DRIVE                                       ¨ Contingent
      NORTH OLMSTED, OH 44070                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      ROMTEX TRANSPORT LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    850.00
                                                                    Check all that apply.
      RON FREIGHT
      12344 PARSIDE CR                                              ¨ Contingent
      YUCAIPA, CA 92399                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  4,400.00
                                                                    Check all that apply.
      ROSA TRUCK SERVICES INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    150.00
                                                                    Check all that apply.
      ROSAVA GROUP INC
      PO BOX 2488                                                   ¨ Contingent
      NORTHLAKE, IL 60164                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    875.00
                                                                    Check all that apply.
      ROSCOES XPRESS INC
      OR PATHWARD NATIONAL ASSOCIATION                              ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      ROSE CARRIER INC
      OR ASSIST FINANCIAL SERVICES INC                              ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      ROSEMONT LOGISTICS LLC
      OR STEELHEAD FINANCE                                          ¨ Contingent
      3518 HEATHROW WAY                                             ¨ Unliquidated
      MEDFORD, OR 97504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    500.00
                                                                    Check all that apply.
      ROSHI FREIGHT & DISPATCHING LLC
      510 TAYLOR AVE #F                                             ¨ Contingent
      GLEN ELLYN, IL 60137                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.222
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      ROSS TRUCKING INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FORT WORTH, TX 76161                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      ROWE TRANSFER, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      ROWONE RETRANS FREIGHT
      PO BOX 9490                                                   þ Contingent
      FALL RIVER, MA 02720                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      ROYAL CARGO LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,585.00
                                                                    Check all that apply.
      ROYAL FREIGHT INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      ROYAL GLOBAL LOGISTICS & CONSULTING LLC
      5011 BARTLEY WAY                                              ¨ Contingent
      MCLEANSVILLE, NC 27301                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,717.92
                                                                    Check all that apply.
      ROYAL HUNTS INC
      4641 ZOE AVE                                                  ¨ Contingent
      KEYES, CA 95328                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      ROYAL LOGISTICS, INC.
      4083 37TH ST N                                                ¨ Contingent
      FARGO, ND 58102-6223                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,227.92
                                                                    Check all that apply.
      ROYAL TRUCKING COMPANY
      OR CORPORATE BILLING LLC                                      ¨ Contingent
      Dept 100 - Po Box 830604                                      ¨ Unliquidated
      BIRMINGHAM, AL 35283                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    800.00
                                                                    Check all that apply.
      ROYAL X INC
      13 EQUINE RUN                                                 ¨ Contingent
      BURLINGTON, NJ 08016                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.223
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  9,650.00
                                                                    Check all that apply.
      ROYAL3 INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      ROZAFA TRANSPORT, INC.
      52011 FINCH COURT                                             ¨ Contingent
      SHELBY TOWNSHIP, MI 48315                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      RPM TRUCKING COMPANY LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  5,050.00
                                                                    Check all that apply.
      RPS TRUCKING LLC
      16166 Z HWY                                                   ¨ Contingent
      NELSON, MO 65347                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    650.00
                                                                    Check all that apply.
      RRK TRUCKING INC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    600.00
                                                                    Check all that apply.
      RRT TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 15,350.00
                                                                    Check all that apply.
      RS LOGISTIC SOLUTIONS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    450.00
                                                                    Check all that apply.
      RSA TRANSPORT LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      RSB
      OR COMPASS FUNDING SOLUTIONS LLC                              ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      RTN EXPRESS INC
      OR NEXT DAY FUNDING, INC.                                     ¨ Contingent
      PO BOX 640                                                    ¨ Unliquidated
      CHICAGO HEIGHTS, IL 60412                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.224
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RTP CO - WINONA - 99070100
      580 E FRONT ST                                                þ Contingent
      WINONA, MN 55987                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      RTS EXPRESS INC
      RTS EXPRESS INC                                               ¨ Contingent
      PO BOX 88                                                     ¨ Unliquidated
      WOOD DALE, IL 60191-0088                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUAG AMMOTEC
      6706 N 54TH ST                                                þ Contingent
      TAMPA, FL 33610                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,130.00
                                                                    Check all that apply.
      RUBBER MEETS ROAD, INC.
      OR ADVANCE FINANCIAL CORPORATION                              ¨ Contingent
      PO BOX 1147                                                   ¨ Unliquidated
      ALPHARETTA, GA 30009-1147                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      RUBIN TRANSPORTATION LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  6,950.00
                                                                    Check all that apply.
      RUMA TRANSPORT LLC
      OR PAY4FREIGHT.COM                                            ¨ Contingent
      PO BOX 1429                                                   ¨ Unliquidated
      BELLEVUE, NE 68005                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      RUMCO TRANSPORT SERVICES LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      RUN FREIGHT LLC
      2435 PILLSBURY AVE S APT 405                                  ¨ Contingent
      MINNEAPOLIS, MN 55404                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      RUNFOREST INC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RUNTAL NORTH AMERICAN
      187 NECK RD                                                   þ Contingent
      HAVERHILL, MA 01835                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.225
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,625.00
                                                                    Check all that apply.
      RUSE EXPRESS INC
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    800.00
                                                                    Check all that apply.
      RUSSELL'S EASY TRUCKING LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    400.00
                                                                    Check all that apply.
      RUSSELL'S TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      RVK EXPRESS INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    675.00
                                                                    Check all that apply.
      RW AMERICAN TRANSPORT INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    400.00
                                                                    Check all that apply.
      RYAN LOGISTICS, INC.
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      RYDER CARRIER % DATA2LOGIISTICS
      4330 SILVERPARK DR                                            þ Contingent
      CHARLOTTE, NC 28269                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      RYPE LOGISTICS LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      RZS EXPRESS LLC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,689.65
                                                                    Check all that apply.
      S & D TRANSPORT INC
      1169 113TH STREET                                             ¨ Contingent
      GRAND PRAIRIE, TX 75050                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.226
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    620.00
                                                                    Check all that apply.
      S & P LOGISTICS LLC
      OR RIVIERA FINANCE OF TX                                      ¨ Contingent
      PO BOX 202487                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    900.00
                                                                    Check all that apply.
      S D TRUCK WORLD INC
      617 ANNA DR                                                   ¨ Contingent
      YUBA CITY, CA 95993                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      SFT
      2231 TREVA WAY                                                ¨ Contingent
      GREENWOOD, IN 46143                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      S P RICHARDS
      8231 STAYTON DR STE C                                         þ Contingent
      JESSUP, MD 20794                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      S S J LOGISTICS LLC
      1359 WOODLANE ROAD                                            ¨ Contingent
      EASTAMPTON, NJ 08060                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    300.00
                                                                    Check all that apply.
      S&H TRUCKING, INC.
      P.O.BOX 6099                                                  ¨ Contingent
      CHATTANOOGA, TN 37401                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  6,750.00
                                                                    Check all that apply.
      S&T TRANSPORT, INC.
      4830 N Cumberland Ave                                         ¨ Contingent
      SUITE 2                                                       ¨ Unliquidated
      NORRIDGE, IL 60706                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      S. J. S., INC.
      6329 S. 2000 W.                                               ¨ Contingent
      REXBURG, ID 83440                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,150.00
                                                                    Check all that apply.
      S.G. LOGISTICS
      OR J D FACTORS CORPORATION                                    ¨ Contingent
      315 MATHESON BLVD EAST                                        ¨ Unliquidated
      MISSISSAUGA, L4Z 1X8                                          ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      S10 TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.227
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,470.00
                                                                    Check all that apply.
      SADLER BROS. TRUCKING & LEASING CO., INC.
      436 ENOS REED DRIVE                                           ¨ Contingent
      NASHVILLE, TN 37210                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      SAE LOGISTICS LLC
      OR RIVIERA FINANCE OF TEXAS                                   ¨ Contingent
      PO BOX 202485                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,080.00
                                                                    Check all that apply.
      SAFARI EXPRESS
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SAFE & SECURE TRUCKING LLC
      1333 CEDAR GROVE RD# 485                                      ¨ Contingent
      CONLEY, GA 30288                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    500.00
                                                                    Check all that apply.
      SAFE HOUSE LOGISTICS LLC
      OR G SQUARED FUNDING, LLC                                     ¨ Contingent
      8215 ROSWELL RD - BUILDING 600                                ¨ Unliquidated
      SANDY SPRINGS, GA 30350                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 41,500.00
                                                                    Check all that apply.
      SAFER TRANSPORTATION INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                     72.14
                                                                    Check all that apply.
      SAFETY-KLEEN SYSTEMS INC
      PO BOX 382066                                                 ¨ Contingent
      PITTSBURGH, PA 15250                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SAFEX TRANSPORT
      216 RUE DE L'AFFLUENT                                         ¨ Contingent
      VAUDREUIL DORION, QC J7V 0E3                                  ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      SAFEX TRANSPORT INC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      SAHUARO TRUCKING LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      PO BOX 748841                                                 ¨ Unliquidated
      ATLANTA, GA 30374-8841                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.228
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  8,605.00
                                                                    Check all that apply.
      SAINCY ENTERPRISE LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      SALAAM TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      SALAZAR TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      SALU TRUCKING LLC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,425.00
                                                                    Check all that apply.
      SAM CARRIER CORP
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      2299 SW 27 AVE                                                ¨ Unliquidated
      MIAMI, FL 33145                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SAMCO FREIGHT
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      SAMI TRUCKING LLC (MC1239675)
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    600.00
                                                                    Check all that apply.
      SAMJE LOGISTIC INC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. Box 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    500.00
                                                                    Check all that apply.
      SAMRA TRUCKING LLC
      43329 SILVERWOOD DR                                           ¨ Contingent
      CANTON, MI 48188                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      SAMRA TRUCKING LLC
      43329 SILVERWOOD DR                                           ¨ Contingent
      CANTON, MI 48188                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.229
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SAN TRANSPORTATION LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      SANCHEZ TRUCKING
      OR ADVANCED COMMERCIAL CAPITAL                                ¨ Contingent
      761 EAST ENTERPRISE DR. #1                                    ¨ Unliquidated
      ST. GEORGE, UT 84790                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    400.00
                                                                    Check all that apply.
      SANDERS FREIGHT ENTERPRISES
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    875.00
                                                                    Check all that apply.
      SANDHU BROS INC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      SANDHU ROYAL INC
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SANDUSKY PACKAGING CORP
      2016 GEORGE ST                                                þ Contingent
      SANDUSKY, OH 44870                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      SANGHA CARRIER
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  4,750.00
                                                                    Check all that apply.
      SANGHA LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    250.00
                                                                    Check all that apply.
      SANTANA & SONS
      OR KINGPIN CAPITAL INC                                        ¨ Contingent
      PO BOX 150226                                                 ¨ Unliquidated
      OGDEN, UT 84415-0226                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      SANTANA LOGISTICS EXPRESS INC
      292 YOSEMITE AVE                                              ¨ Contingent
      PERRIS, CA 92570-8664                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.230
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      SANTANA TRANSPORTATION LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    850.00
                                                                    Check all that apply.
      SAR TRANSPORTATION LLC
      OR ALADDIN FINANCIAL, INC                                     ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      SARA LOGISTICS LLC
      888 MERIWETHER STREET                                         ¨ Contingent
      GRIFFIN, GA 30224                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,150.00
                                                                    Check all that apply.
      SARA TRANS EXPRESS INC
      OR RIVIERA FINANCE - ATLANTA                                  ¨ Contingent
      PO BOX 945213                                                 ¨ Unliquidated
      ATLANTA, GA 30394-5213                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  5,100.00
                                                                    Check all that apply.
      SARAN TRUCKING INC
      6512 AVERELL DRIVE                                            ¨ Contingent
      DAYTON, OH 45424                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SARAT UA INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  5,464.00
                                                                    Check all that apply.
      SAROYA EXPRESS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,630.00
                                                                    Check all that apply.
      SAS ENRAPTURE LLC
      765 NW 9TH STREET                                             ¨ Contingent
      GRESHAM, OR 97030                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SAS INC
      OR ALADDIN FINANCIAL, INC                                     ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SASHCO
      10300 E 107TH PL                                              þ Contingent
      BRIGHTON, CO 80601                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.231
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,675.00
                                                                    Check all that apply.
      SATKARTAR LOGISTICS INC
      3643 IGNACIO CIR                                              ¨ Contingent
      STOCKTON, CA 95209-3900                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      SATURDAY LOGISTICS LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,950.00
                                                                    Check all that apply.
      SAUER TRANSPORT INC.
      2128 N DEVLIN WAY                                             ¨ Contingent
      NAMPA, ID 83687                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    950.00
                                                                    Check all that apply.
      SAYLESS LOGISTICS LLC
      OR PORTER BILLING SERVICES LLC                                ¨ Contingent
      PO BOX 440127                                                 ¨ Unliquidated
      NASHVILLE, TN 37244                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    775.00
                                                                    Check all that apply.
      SAYRAM CORP
      ADDRESS ON FILE                                               ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      SB TRANSPORT
      131 FLORIDA ST UNIT 3R                                        ¨ Contingent
      SPRINGFIELD, MA 01109                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SB TRUCKING SERVICES INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    150.00
                                                                    Check all that apply.
      SBC TRANSPORTATION INC
      OR RTS FINANCIAL SERVICE IN                                   ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                   2,005.00
                                                                    Check all that apply.
      SBDS TRANSPORT LLC
      132 CARLTON AVE FL 2                                          ¨ Contingent
      JERSEY CITY, NJ 07306                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                   2,850.00
                                                                    Check all that apply.
      SBT TRANS INC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.232
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SCHAFER SYSTEMS INC
      1000 FLAG RD                                                  þ Contingent
      ADAIR, IA 50002                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 282,499.17
                                                                    Check all that apply.
      SCHNEIDER NATIONAL, INC.
      PO BOX 841831                                                 ¨ Contingent
      DALLAS, TX 75284                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    150.00
                                                                    Check all that apply.
      SCHROEDER ASSOCIATES, INC.
      2529 W FERGUSON ROAD                                          ¨ Contingent
      FORT WAYNE, IN 46809                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,075.00
                                                                    Check all that apply.
      SCORPION EXPRESS LOGISTICS CORP
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      SEA & SUN TRANSPORTATION
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    880.00
                                                                    Check all that apply.
      SEA TRANSPORT & LOGISTICS INC
      1 ORIENT WAY SUITE F#109                                      ¨ Contingent
      RUTHERFORD, NJ 07070                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    850.00
                                                                    Check all that apply.
      SEBAS TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SECURE IT ADS LLC
      29601 SOLON RD.                                               þ Contingent
      SOLON, OH 44139                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    450.00
                                                                    Check all that apply.
      SECURE LOGISTICS, LLC
      700 WEST RANDALL STREET                                       ¨ Contingent
      COOPERSVILLE, MI 49404                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SECUREIT CO RETRANS FREIGHT
      1005 W. WINTERGREEN ROAD                                      þ Contingent
      HUTCHINS, TX 75141                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.233
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,762.85
                                                                    Check all that apply.
      SEKO WORLDWIDE, LLC
      PO BOX 71141                                                  ¨ Contingent
      CHICAGO, IL 60694                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      SEKULA LLC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    300.00
                                                                    Check all that apply.
      SELFMADE ELITE LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      PO BOX 748841                                                 ¨ Unliquidated
      ATLANTA, GA 30374-8841                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      SER TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SEROT LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      SERVICE ONE TRANSPORT INC
      220 INDUSTRIAL DRIVE                                          ¨ Contingent
      MUSCLE SHOALS, AL 35661                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  8,697.50
                                                                    Check all that apply.
      SERVICE TRANSFER, INC.
      4101 WILCOX STREET                                            ¨ Contingent
      CHESAPEAKE, VA 23324                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                     10.00
                                                                    Check all that apply.
      SERVICES EN TRANSPORT STCH INC
      248 BOUL INDUSTRIEL                                           ¨ Contingent
      CHATEAUGUAY, QC J6J4Z2                                        ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    450.00
                                                                    Check all that apply.
      SEVEN ELEVEN TRANSPORTATION LLC
      214 E 23RD ST                                                 ¨ Contingent
      LOS ANGELES, CA 90011                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SEVEN WHEELS, INC.
      PO BOX 237                                                    ¨ Contingent
      MORRISTOWN, TN 37815                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.234
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      SGC SEVEN STAR, INC.
      21262 ALAMEDA ST                                              ¨ Contingent
      CARSON, CA 90810                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    792.00
                                                                    Check all that apply.
      SGK TRANSPORT LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      PO BOX 748841                                                 ¨ Unliquidated
      ATLANTA, GA 30374-8841                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      SGT TRANSPORT INC
      OR CENTURY FINANCE LLC                                        ¨ Contingent
      PO BOX 589                                                    ¨ Unliquidated
      MEMPHIS, TN 38101                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      SH TRU TRUCKING LTD LIABILITY CO
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      SHAAN TRANS INC
      2969 SILVER LN                                                ¨ Contingent
      LIVINGSTON, CA 95334-9124                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,285.00
                                                                    Check all that apply.
      SHABAD TRANSPORT INC
      4445 E ARBOR CT                                               ¨ Contingent
      WEST CHESTER, OH 45069                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SHAD TRANSPORTATION
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,650.00
                                                                    Check all that apply.
      SHADAI TRUCKING SERVICES LIMITED LIABILITY COMPANY
      OR CENTURY FINANCE LLC                                        ¨ Contingent
      PO BOX 589                                                    ¨ Unliquidated
      MEMPHIS, TN 38101                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SHALOM TRANS LLC
      297 SHILOH CROSSING                                           ¨ Contingent
      AVON, IN 46123                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SHAMA EXPRESS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.235
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,250.00
                                                                    Check all that apply.
      SHARK'S LOGISTICS LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      SHARP ONE INC.
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      SHARP TRANSPORTATION, INC.
      390 NORTH 900 EAST                                            ¨ Contingent
      WELLSVILLE, UT 84339                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHAW INDUSTRIES % DATA2LOGISTICS
      PO BOX 61050                                                  þ Contingent
      FORT MYERS, FL 33906                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  6,000.00
                                                                    Check all that apply.
      SHEEHY EXPRESS, INC.
      127 CENTRAL AVE                                               ¨ Contingent
      WATERLOO, WI 53594                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHELTERWORDS
      2616 S 3RD ST                                                 þ Contingent
      ST LOUIS, MO 63118                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,475.00
                                                                    Check all that apply.
      SHEPARD TRUCKING LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      SHIBA TRUCKING LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SHIPAZON
      72 S ATLANTIC ST                                              þ Contingent
      SEATTLE, WA 98134                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 17,573.69
                                                                    Check all that apply.
      SHOPPA'S MATERIAL HANDLING, LTD.
      PO BOX 612027                                                 ¨ Contingent
      DALLAS, TX 75261                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.236
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    150.00
                                                                    Check all that apply.
      SI LOGISTICS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      SIAN TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,573.33
                                                                    Check all that apply.
      SIBIC TRUCKING LLC
      SIBIC TRUCKING LLC                                            ¨ Contingent
      12032 TESSON FERRY RD - STE 104                               ¨ Unliquidated
      ST LOUIS, MO 63128                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      SID COURIER LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      SIDHU FREIGHTLINES
      2211 VIA BASILICA AVE                                         ¨ Contingent
      DELANO, CA 93215-3860                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      SIERRA EXPEDITING INC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SIERRA SHEET & PLATE
      15160 PRATER DR                                               þ Contingent
      COVINGTON, GA 30014                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  6,200.00
                                                                    Check all that apply.
      SIKORA EXPRESS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  6,800.00
                                                                    Check all that apply.
      SILENCE LINES LLC
      9276 MARINE CITY HWY                                          ¨ Contingent
      CASCO, MI 48064                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    500.00
                                                                    Check all that apply.
      SILVAN TRUCKING COMPANY OF OHIO
      3150 VALLEYVIEW DRIVE                                         ¨ Contingent
      COLUMBUS, OH 43204                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.237
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SILVER CITY EXPRESS LLC
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      SILVER FORTRESS LOGISTICS INC
      1300 W OPTICAL DR #600                                        ¨ Contingent
      AZUSA, CA 91702                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SIMPLE FREIGHT INC
      OR RM CAPITAL GROUP INC                                       ¨ Contingent
      PO BOX 8331                                                   ¨ Unliquidated
      LA CRESCENTA, CA 91224                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SIMPSON STRONG TIE % DATA2LOGISTICS
      PO BOX 61050                                                  þ Contingent
      FORT MYERS, FL 33906                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,754.00
                                                                    Check all that apply.
      SINGH EXP LLC
      OR SINGH FINANCING                                            ¨ Contingent
      10206 FAIRBANKS N. HOUSTON RD.                                ¨ Unliquidated
      HOUSTON, TX 77064                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    900.00
                                                                    Check all that apply.
      SINGHLOGISTIC LLC
      OR CAPITAL CREDIT INC.                                        ¨ Contingent
      PO BOX 204695                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SINGLE SOURCE LOGISTICS, INC.
      OR CORPORATE BILLING, LLC                                     ¨ Contingent
      DEPT 100 - PO BOX 830604                                      ¨ Unliquidated
      BIRMINGHAM, AL 35283                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                 50,050.00
                                                                    Check all that apply.
      SIP LOGISTICS INC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      SITES TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    650.00
                                                                    Check all that apply.
      SIX 10 TRANSPORT, LLC
      OR STEELHEAD FINANCE                                          ¨ Contingent
      3518 HEATHROW WAY                                             ¨ Unliquidated
      MEDFORD, OR 97504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.238
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      SIZLON LLC
      PO BOX 1390                                                   ¨ Contingent
      VINELAND, NJ 08362                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      SKI TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SKR LOGISTICS INC
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  6,000.00
                                                                    Check all that apply.
      SKY HIGH CARRIERS INC
      OR TRANSAM FINANCIAL SERVICES, INC.                           ¨ Contingent
      PO BOX 872632                                                 ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SKYJACK MEXICO S DE RL DE CV
      3000-1 AVENIDA CHUY MARIA RAMON                               þ Contingent
      RAMOS ARIZPE,                                                 þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,950.00
                                                                    Check all that apply.
      SKYLINE LOGISTICS LLC (MC1144325)
      OR ALADDIN FINANCIAL, INC                                     ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  4,200.00
                                                                    Check all that apply.
      SKYLINE LOGISTICS LLC (MC810540)
      OR GREAT PLAINS TRANSPORTATION SERVICES INC                   ¨ Contingent
      PO BOX 4539                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-4539                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  7,400.00
                                                                    Check all that apply.
      SKYLINE TRANSPORTATION GROUP LLC
      10005 NE 163RD CIR                                            ¨ Contingent
      BATTLE GROUND, WA 98604                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      SKYLINE TRANSPORTATION, INC.
      OR ENGS COMMERCIAL CAPITAL LLC                                ¨ Contingent
      PO BOX 6745                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SKYLOGISTIX
      4100 N COMMERCE DR                                            þ Contingent
      ATLANTA, GA 30344                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.239
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,300.00
                                                                    Check all that apply.
      SKYSTAR LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  9,516.55
                                                                    Check all that apply.
      SLAM TRUCKING, LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      SLR EXPRESS INC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SM INVESTMENT & PROPERTY MGT LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,411.25
                                                                    Check all that apply.
      SMACK TRUCKING LLC
      1050 COKER CIR NW                                             ¨ Contingent
      KENNESAW, GA 30144                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      SMANDX LOGISTICS LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,575.00
                                                                    Check all that apply.
      SMART CHOICE TRUCKING INC
      OR TREADSTONE US CAPITAL, LLC                                 ¨ Contingent
      PO BOX 32160 DEPT# 128                                        ¨ Unliquidated
      LOUISVILLE, KY 40232                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      SMART J SERVICES INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      SMARTLINK SATELLITE LLC
      PO BOX 8176                                                   ¨ Contingent
      JERSEY CITY, NJ 07308                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      SMARTWAY CARRIER LLC
      OR SOUND FINANCE CORPORATION                                  ¨ Contingent
      P.O. BOX 206489                                               ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.240
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      SMD TRANSPORTATION & LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    640.00
                                                                    Check all that apply.
      SMITH EXPRESS INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    650.00
                                                                    Check all that apply.
      SMITH TRANSPORT LLC
      4301 DIXON RD                                                 ¨ Contingent
      EATON, OH 45320                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      SMP TRUCKING INC
      8518 S 79TH CT                                                ¨ Contingent
      JUSTICE, IL 60458                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    850.00
                                                                    Check all that apply.
      SMS TRANSPORT
      OR EXPRESS FREIGHT FINANCE                                    ¨ Contingent
      PO BOX 6188                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-6188                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      SMT TRANS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SNIDER FLEET
      6025 LEES MILL RD                                             þ Contingent
      FOREST PARK, GA 30297                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,375.00
                                                                    Check all that apply.
      SNL LOGISTICS L.L.C.
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      SOFI LOGISTICS INC
      4344 FOX RIDGE CT                                             ¨ Contingent
      SAINT PAUL, MN 55122                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      SOFIIA TRANSPORT INC
      OR GAP FACTORING INC                                          ¨ Contingent
      PO BOX 150105                                                 ¨ Unliquidated
      OGDEN, UT 84415-0105                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.241
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      SOGA CARRIERS
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SOGO
                                                                    þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    400.00
                                                                    Check all that apply.
      SOLANO LOGISTICS INC
      OR NFUSION CAPITAL, LLC                                       ¨ Contingent
      PO BOX 151072                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,400.00
                                                                    Check all that apply.
      SOLE TRANS LLC
      21126 SE HWY 212                                              ¨ Contingent
      DAMASCUS, OR 97089                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      SOLID GROUP INC
      50 WEST 75TH STREET SUITE 210                                 ¨ Contingent
      WILLOWBROOK, IL 60527                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    600.00
                                                                    Check all that apply.
      SOLO EXPRESS INC
      13637 W MONTEBELLO AVE                                        ¨ Contingent
      LITCHFIELD PARK, AZ 85340                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      SOLOONG TRANSPORTATION INC
      SOLOONG TRANSPORTATION INC, 12433 MISSISSIPPI DR              ¨ Contingent
      EASTVALE, CA 91752                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    350.00
                                                                    Check all that apply.
      SONG LOGISTICS LLC
      PO BOX 3125                                                   ¨ Contingent
      RIDGEFIELD, NJ 07657                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      SONIC LOGISTICS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,100.00
                                                                    Check all that apply.
      SONIC TRANSPORT INC
      PO BOX 117626                                                 ¨ Contingent
      CARROLLTON, TX 75011                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.242
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      SONY TRANSPORT CORP
      52 PORTLAND STREET                                            ¨ Contingent
      EDISON, NJ 08820                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,652.50
                                                                    Check all that apply.
      SOS LOADRUNNER LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,750.00
                                                                    Check all that apply.
      SOS TRUCKING SERVICES LLC
      OR FINANCIAL CARRIER SERVICES                                 ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      SOUND TRANSPORTATION INC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,950.00
                                                                    Check all that apply.
      SOUTHWEST STAR INC
      5301 POLK STREET, BUILDING 9                                  ¨ Contingent
      HOUSTON, TX 77023                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SOUTHWIND TRANSPORTATION , INC.
      OR RIVIERA FINANCE - ATLANTA                                  ¨ Contingent
      PO BOX 535213                                                 ¨ Unliquidated
      ATLANTA, GA 30353                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    375.00
                                                                    Check all that apply.
      SPARTAN TRANSPORTATION LLC
      1487 E PEARCE BLVD                                            ¨ Contingent
      WENTZVILLE, MO 63385                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      SPECIALIZED TRANSPORT SOLUTIONS
      128 HOLIDAY COURT SUITE 113                                   ¨ Contingent
      FRANKLIN, TN 37067                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      SPEED FREIGHT INC.
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      SPEED HAULIER INC
      3422 FABRIZIO CT                                              ¨ Contingent
      STOCKTON, CA 95212                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.243
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      SPEED TRUX LOGISTICS INC
      12 WISHING WELL CR                                            ¨ Contingent
      CALEDON, ON L7C 3R2                                           ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      SPEEDSMART FREIGHT SERVICES INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    362.51
                                                                    Check all that apply.
      SPEEDY DELIVERY LLC
      901 AARON DR                                                  ¨ Contingent
      RICHLAND, WA 99352                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,250.00
                                                                    Check all that apply.
      SPEEDY EAGLE TRUCKING INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SPENCER GIFTS % RIGHT FREIGHT SOLUTIONS
      PO BOX 35783                                                  þ Contingent
      AMF G BORO, NC 27425                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      SPINE LOGISTICS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    630.00
                                                                    Check all that apply.
      SPIRIT LOGISTICS LLC (MC019041)
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SPIRITCRAFT FURNITURE
      PO BOX 6047                                                   þ Contingent
      KENNEWICK, WA 99336                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    350.00
                                                                    Check all that apply.
      SPOT ON TMS LLC
      PO BOX 26551                                                  ¨ Contingent
      KANSAS CITY, MO 64196                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,747.12
                                                                    Check all that apply.
      SPREETAIL LLC
      2021 TRANSFORMATION DR                                        ¨ Contingent
      SUITE 2500                                                    ¨ Unliquidated
      LINCOLN, NE 68508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.244
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      SPREEWAY SOLUTIONS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SPRING MEADOW NURSERY
      12601 120TH AVE                                               þ Contingent
      GRAND HAVEN, MI 49417                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,325.00
                                                                    Check all that apply.
      SRT TRUCKING LLC
      132 AURORA SPRINGS DR                                         ¨ Contingent
      KATY, TX 77493                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 12,800.00
                                                                    Check all that apply.
      SS TRANSPORT LLC (MAYER MN)
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    900.00
                                                                    Check all that apply.
      SSR EXPRESS LLC
      3922 GLENMEADOW DR                                            ¨ Contingent
      MATTHEWS, NC 28105                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,650.00
                                                                    Check all that apply.
      ST GERMAIN'S WAREHOUSE CO. INC.
      PO BOX 116                                                    ¨ Contingent
      WOONSOCKET, RI 02895                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      ST MICHAEL FREIGHT LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    500.00
                                                                    Check all that apply.
      ST. MARYS TRUCKING COMPANY, INC.
      625 SOUTH WAYNE STREET                                        ¨ Contingent
      SAINT MARYS, OH 45885                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    600.00
                                                                    Check all that apply.
      STALLMAN TRUCKING INC.
      1001 PHOENIX LAKE AVENUE                                      ¨ Contingent
      STREAMWOOD, IL 60107                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STALWART PLASTICS
      7701 CHATTSWORTH RD                                           þ Contingent
      MIDLAND, GA 31820                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.245
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    830.00
                                                                    Check all that apply.
      STAN & SON LOGISTICS LLC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      STAN KOCH & SONS TRUCKING, INC.
      SDS - 12 - 2753                                               ¨ Contingent
      P.O. BOX 86                                                   ¨ Unliquidated
      MINNEAPOLIS, MN 55486                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  5,300.00
                                                                    Check all that apply.
      STAN THE MAN TRUCKING LLC
      OR OPENROAD FINANCIAL SERVICES INC                            ¨ Contingent
      PO BOX 484                                                    ¨ Unliquidated
      DALLAS, OR 97338                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      STANDARD XPRESS LLC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STAPLES
      19499 NE RIVERSIDE                                            þ Contingent
      PORTLAND, OR 97230                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      STAR LINE TRANSPORT LLC
      4040 ERIE ST UNIT 1132                                        ¨ Contingent
      WILLOUGHBY, OH 44096-8647                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,350.00
                                                                    Check all that apply.
      STAR PLASTICS & LOGISTICS SERVICES LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508-1099                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      STAREX TRANSPORT LLC
      4641 GRAVOIS AVE STE B                                        ¨ Contingent
      SAINT LOUIS, MO 63116                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      STARGATE TRANSPORTATION
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      STARMARK TRANSPORT INC
      23605 NE HALSEY ST STE B                                      ¨ Contingent
      WOOD VILLAGE, OR 97060                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.246
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    600.00
                                                                    Check all that apply.
      STATE LINE TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      STATELINE CARRIER LLC
      OR ALADDIN FINANCIAL, INC                                     ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      STATUS TRANSPORTATION CORPORATION
      OR STEELHEAD FINANCE LLC                                      ¨ Contingent
      3518 HEATHROW WAY                                             ¨ Unliquidated
      MEDFORD, OR 97504                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      STEADY FLEET LOGISTICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      STEAM CARGO, INC
      6974 CAMPBELL BLVD                                            ¨ Contingent
      N TONAWANDA, NY 14120-9605                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      STEEL CITY ENTERPRISES, INC.
      OR G SQUARED FUNDING, LLC                                     ¨ Contingent
      8215 ROSWELL RD BUILDING 600                                  ¨ Unliquidated
      SANDY SPRINGS, GA 30350                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    375.00
                                                                    Check all that apply.
      STEFAN TRUCKING INC (MC1263207)
      6184 BURROUGHS AVE                                            ¨ Contingent
      STERLING HEIGHTS, MI 48314                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      STELLIUM TRANSPORT CORP
      OR J D FACTORS                                                ¨ Contingent
      PO BOX 3428                                                   ¨ Unliquidated
      PALOS VERDES, CA 90274                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      STEP EXPRESS INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    800.00
                                                                    Check all that apply.
      STEREO LOGISTICS INC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.247
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      STEVENS CREEK LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      STEVENS TRUCKING CO.
      PO BOX 19608                                                  ¨ Contingent
      OKLAHOMA CITY, OK 73144                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 15,794.00
                                                                    Check all that apply.
      STG INTERMODAL SOLUTIONS
      27836 NETWORK PLACE                                           ¨ Contingent
      CHICAGO, IL 60673                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      STIG, LLC
      OR TAFS, INC                                                  ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,550.00
                                                                    Check all that apply.
      STO INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STOELZLE GLASS USA INC
      400 9TH ST                                                    þ Contingent
      MONACA, PA 15061                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      STP TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,318.10
                                                                    Check all that apply.
      StrategIQ Commerce
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      STRATEGIQ COMMER
      549 W RANDOLPH ST FL                                          þ Contingent
      CHICAGO, IL 60661                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      STREAM TRANSPORT, LLC
      OR TAB BANK                                                   ¨ Contingent
      PO BOX 150830                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.248
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                     82.60
                                                                    Check all that apply.
      STREET FLEET
      PO BOX 130081                                                 ¨ Contingent
      ROSEVILLE, MN 55113                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    700.00
                                                                    Check all that apply.
      STRONG TRANSPORTATION & SERVICES LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    700.00
                                                                    Check all that apply.
      STYER TRANSPORTATION CO.
      PO BOX 592                                                    ¨ Contingent
      LAKEVILLE, MN 55044                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SUBARU % CASS
      PO BOX 17618                                                  þ Contingent
      SAINT LOUIS, MO 63178                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    402.68
                                                                    Check all that apply.
      SUBURBAN PROPANE PARTNERS, L.P.
      240 ROUTE 10 W                                                ¨ Contingent
      WHIPPANY, NJ 07981                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  4,470.00
                                                                    Check all that apply.
      SUN EXPRESS (MC900966)
      4300 LINCOLN AVE STE O                                        ¨ Contingent
      ROLLING MEADOWS, IL 60008                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      SUNBOW TRUCKING INC
      145 S 8TH AVE                                                 ¨ Contingent
      CITY OF INDUSTRY, CA 91746                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,775.00
                                                                    Check all that apply.
      SUNGOR TRANSPORTATION INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    500.00
                                                                    Check all that apply.
      SUNNY TRUCKING LLC
      41542 STRAWBERRY CT                                           ¨ Contingent
      CANTON, MI 48188                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,350.00
                                                                    Check all that apply.
      SUNRISE CARRIER INC
      OR ECAPITAL FREIGHT FACTORING (EAST) CORP                     ¨ Contingent
      PO BOX 100920                                                 ¨ Unliquidated
      ATLANTA, GA 30384-0920                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.249
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 22,722.44
                                                                    Check all that apply.
      SUNSET PACIFIC TRANSPORTATION. INC.
      13875 NORTON AVE                                              ¨ Contingent
      CHINO, CA 91710                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      SUNSET XPRESS LLC
      3850 CADET CT                                                 ¨ Contingent
      PENN LAIRD, VA 22846                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,700.00
                                                                    Check all that apply.
      SUNWAY CARRIERS INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SUPER EXPRESS TRANSPORT TX LLC
      OR CDF CAPITAL, LLC                                           ¨ Contingent
      1212 N OAK ST                                                 ¨ Unliquidated
      ALTON, TX 78573                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    800.00
                                                                    Check all that apply.
      SUPER SERVICE CARRIERS LLC
      OR INTEGRA FUNDING SOLUTIONS, LLC                             ¨ Contingent
      6300 RIDGLEA PL, SUITE 316                                    ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      SUPERFAST TRUCKING INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 10,045.32
                                                                    Check all that apply.
      SUPERIOR SOLUTIONS STAFFING SVCS INC 1
      PO BOX 1577                                                   ¨ Contingent
      GAINESVILLE, TX 76241                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SUPERIOR THIRD PARTY LOGISTICS
      245 COUCHVILLE INDUSTRIAL BOULEVARD                           þ Contingent
      MOUNT JULIET, TN 37122                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      SUPERSONIK TRANS LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,800.00
                                                                    Check all that apply.
      SUPERSTAR TRUCKING GROUP LLC
      OR RIVIERA FINANCE OF TEXAS                                   ¨ Contingent
      PO BOX 202487                                                 ¨ Unliquidated
      DALLAS, TX 75320-2487                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.250
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SUPPLYHOUSE LLC
      130 SPAGNOLI RD                                               þ Contingent
      MELVILLE, NY 11747                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      SUPREME ENTERPRISES LLC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  7,350.00
                                                                    Check all that apply.
      SUPREME EXPRESS
      3041 W NIELSEN AVE                                            ¨ Contingent
      FRESNO, CA 93706                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    825.00
                                                                    Check all that apply.
      SUPREME LAWN CARE LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 18,500.00
                                                                    Check all that apply.
      SUPREME LOGISTICS SOLUTIONS
      6 KALEIGH CT                                                  ¨ Contingent
      BARRINGTON, IL 60010-9349                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      SURCAL TRANSPORTATION INC
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      SUSCO TRANSPORTATION
      266 OLD TOM MORRIS RD                                         ¨ Contingent
      GARLAND, NC 28441                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      SV WAY LLC
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      SVENS-SONS TRUCKING LLC
      OR RIVIERA FINANCE OF TX                                      ¨ Contingent
      PO BOX 202487                                                 ¨ Unliquidated
      DALLAS, TX 75320-2487                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      SVX TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.251
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,000.00
                                                                    Check all that apply.
      SWEET LIFE LLC
      OR CRESTMARK TPG LLC                                          ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    900.00
                                                                    Check all that apply.
      SYBROS LOGISTICS LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508-1099                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SYLVRLEAF LLC
      51 MUSANO CT                                                  þ Contingent
      WEST ORANGE, NJ 07052-4114                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      SYNAGRO HYPEX
      451 N CANNON AVE                                              þ Contingent
      LANSDALE, PA 19446                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                 27,885.48
                                                                    Check all that apply.
      SYNTER RESOURCE GROUP, LLC
      PO BOX 62016                                                  ¨ Contingent
      CHARLESTON, SC 29419                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    500.00
                                                                    Check all that apply.
      SYP TRUCKING, LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      T & J TRANSPORT, INC.
      46 BIG HILL DRIVE                                             ¨ Contingent
      BEATTYVILLE, KY 41311                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    900.00
                                                                    Check all that apply.
      T & T FREIGHT CORP
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      T E TRANSPORT
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      T&A
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.252
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      T&A LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      T. ALEXANDER III TRUCKING LLC
      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING        ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    550.00
                                                                    Check all that apply.
      T. MOSS TRUCKING, INC.
      OR G SQUARED FUNDING LLC                                      ¨ Contingent
      8215 ROSWELL RD BUILDING 600                                  ¨ Unliquidated
      SANDY SPRINGS, GA 30350                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    900.00
                                                                    Check all that apply.
      T. S. EXPEDITING SERVICES, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      TA GRAHAM TRUCKING LLC
      OR TBS FACTORING SERVICE LLC                                  ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      TAG TRANS INC
      7701 S GRANT STREET SUITE D                                   ¨ Contingent
      BURR RIDGE, IL 60527                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    750.00
                                                                    Check all that apply.
      TAILGATORS CORPORATION OF ATLANTA
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      TAK TRANSPORT LLC
      OR QP CAPITAL LLC                                             ¨ Contingent
      PO BOX 1062                                                   ¨ Unliquidated
      MIDDLETOWN, OH 45042                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    525.00
                                                                    Check all that apply.
      TALLIE HANDYMAN SERVICE LIMITED LIABILITY COMPANY
      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING        ¨ Contingent
      P.O. BOX 7410411                                              ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      TALON LOGISTICS SERVICES, LLC
      PO BOX 2124                                                   ¨ Contingent
      JEFFERSONVILLE, IN 47131                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.253
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TANTARA TRANSPORTATION CORP.
      2420 STEWART ROAD                                             ¨ Contingent
      MUSCATINE, IA 52761                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TARGET STORES
      7000 TARGET PKWY                                              þ Contingent
      BROOKLYN PARK, MN 55445                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,469.58
                                                                    Check all that apply.
      TASIC TRUCKING LLC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      TAT TRANSIT LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TAYLOR TRANSPORT, INC.
      1708 HWY 113 SW                                               ¨ Contingent
      CARTERSVILLE, GA 30120                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  4,100.00
                                                                    Check all that apply.
      TAYLOR TRUCK LINE INC
      801 Hwy 3 N                                                   ¨ Contingent
      NORTHFIELD, MN 55057                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    790.00
                                                                    Check all that apply.
      TAYLORGANG TRUCKING LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      TAZ TRANS INC
      OR CAPITAL DEPOT                                              ¨ Contingent
      8930 N. WAUKEGAN ROAD, SUITE 230                              ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TAZ TRUCKING, INC.
      TAZ TRUCKING, INC.                                            ¨ Contingent
      6318 TAZ COURT                                                ¨ Unliquidated
      BOWLING GREEN, KY 42104                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      TDH TRANSPORT INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.254
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    600.00
                                                                    Check all that apply.
      TEAM ARMSTRONG TRUCKING LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,652.50
                                                                    Check all that apply.
      TEAM TRUCKER LLC
      527 STUYVESANT AVE                                            ¨ Contingent
      LYNDHURST, NJ 07071-2627                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,220.97
                                                                    Check all that apply.
      TECH SPECIALIST, INC
      810 GREAT SOUTHWEST PKWY.                                     ¨ Contingent
      ATLANTA, GA 30336                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TECHNISOURCE
      4475 N 124TH ST STE C                                         þ Contingent
      BROOKFIELD, WI 53005                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TECLAB
      6450 VALLEY INDUSTRIAL DR                                     þ Contingent
      KALAMAZOO, MI 49009                                           þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 20,103.86
                                                                    Check all that apply.
      TEDDY'S TRANSPORT
      930 INTERCHANGE DR                                            ¨ Contingent
      HOLLAND, MI 49423                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TEH TUNG CORP
      3654 ENTERPRISE AVE                                           þ Contingent
      HAYWARD, CA 94545                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    950.00
                                                                    Check all that apply.
      TELMAN EXPRESS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TEMPER CORPORATION
      544 PERSSE RD                                                 þ Contingent
      FONDA, NY 12068                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    900.00
                                                                    Check all that apply.
      TEMPLAR INVESTING GROUP LLC
      OR LOVE'S SOLUTIONS, LLC DBA LOVE'S FINANCIAL                 ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.255
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      TEMPO FREIGHT SYSTEMS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      TEN-EIGHT INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      TERA LOGISTICS INC
      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267                  ¨ Contingent
      DALLAS, TX 75284                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      TERRAZAS TRANSPORTATION, LLC
      OR FARWEST CAPITAL                                            ¨ Contingent
      PO BOX 961209                                                 ¨ Unliquidated
      EL PASO, TX 79996                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      TESHAVOY CARGO LLC
      20 S 3RD ST, SUITE 210                                        ¨ Contingent
      COLUMBUS, OH 43215                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      TESLA LOGISTICS INC
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      TEXARKANA SUGAR HILL, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TGI WAREHOUSE
      6930 SAN TOMAS RD                                             þ Contingent
      ELKRIDGE, MD 21075                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      TGT TRUCKING LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      THAD TRANSPORT LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.256
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      THE BBT COMPANY LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THE BOEING COMPANY
      12701 FAIR LAKES CIR BLDG 95-701                              þ Contingent
      FAIRFAX, VA 22033                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      THE BUFFALO GROUP OF COMPANIES LTD.
      THE BUFFALO GROUP OF COMPANIES LTD.                           ¨ Contingent
      938 W TROY AVENUE                                             ¨ Unliquidated
      INDIANAPOLIS, IN 46225                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,636.70
                                                                    Check all that apply.
      THE DELIVERY PEOPLE
      13025 CERISE AVENUE                                           ¨ Contingent
      HAWTHORNE, CA 90250                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THE GAP STORES % CASS
      PO BOX 67                                                     þ Contingent
      SAINT LOUIS, MO 63166                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      THE HAIRSTON GROUP LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,138.93
                                                                    Check all that apply.
      THE HOME DEPOT
      601 NORTH CREEK DR                                            ¨ Contingent
      SHERMAN, TX 75092                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      THE MITTEN TRANSPORT LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THE PACKAGING WHOLESALERS % MIHFELD
      63 GREEN MOUNTAIN RD                                          þ Contingent
      HAZLETON, PA 18202                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THE PLANT STAND OF ARIZON
      6420 S 28TH ST                                                þ Contingent
      PHOENIX, AZ 85042                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.257
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    950.00
                                                                    Check all that apply.
      THE RELIANT LIFTERS LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    400.00
                                                                    Check all that apply.
      THE RIGHT PATH EXPRESS LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    150.00
                                                                    Check all that apply.
      THE SUPPLY CHAIN INC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    505.00
                                                                    Check all that apply.
      THE TRANZONIC COMPANIES
      26301 CURTISS WRIGHT PKWY STE 200                             ¨ Contingent
      CLEVELAND, OH 44143                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    400.00
                                                                    Check all that apply.
      THE WAY TRUCKING LLC
      OR INTERNET TRUCKSTOP PAYMENTS, LLC                           ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    425.00
                                                                    Check all that apply.
      THEO TRUCKING INC
      948 SPRING HILL CT                                            ¨ Contingent
      BRUNSWICK, OH 44212                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      THERE IT IS THERE LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      THERMAL TECH
      1911 AIRPORT BLVD                                             þ Contingent
      SANTA ROSA, CA 95403                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,845.00
                                                                    Check all that apply.
      THK TRUCKING INC
      562 WEST LORRAINE AVE                                         ¨ Contingent
      ELMHURST, IL 60126                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      THOMAS TRANSPORTATION
      1828 OAKHAVEN DRIVE                                           ¨ Contingent
      ALBANY, GA 31701                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.258
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 15,892.76
                                                                    Check all that apply.
      THOROUGHBRED DIRECT INTERMODAL SERVICES
      PO BOX 71209                                                  ¨ Contingent
      MAIL CODE 5629                                                ¨ Unliquidated
      CHARLOTTE, NC 28272                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  5,317.08
                                                                    Check all that apply.
      THOROUGHBRED TRANSPORTATION, INC.
      PO BOX 991274                                                 ¨ Contingent
      LOUISVILLE, KY 40269                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    900.00
                                                                    Check all that apply.
      THREE C&T TRUCKING LLC
      OR ECAPITAL FREIGHT FACTORING CORP.                           ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    400.00
                                                                    Check all that apply.
      THREE WAY LOGISTICS, INC.
      PO BOX 1806                                                   ¨ Contingent
      FREMONT, CA 94538                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    750.00
                                                                    Check all that apply.
      THREE-D TRANSPORT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 15,300.00
                                                                    Check all that apply.
      THUNDER AG INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 15,300.00
                                                                    Check all that apply.
      THUNDER AUTO GROUP LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      THUNDER EXPRESS INC.
      241 S DELLROSE                                                ¨ Contingent
      WICHITA, KS 67218                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                     35.00
                                                                    Check all that apply.
      THUNDER TRANSPORTATION INC
      67808 CAMPGROUND RD                                           ¨ Contingent
      WASHINGTON TWP, MI 48095                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TIENTA TRANSPORT INC
      112 PINE NEEDLE CIRCLE                                        ¨ Contingent
      CAPE CARTERET, NC 28584                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.259
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      TIGER LINES LLC
      9826 S 242ND PL                                               ¨ Contingent
      KENT, WA 98030                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      TIMBERLAND TRUCKING, INC.
      1906 MEDWAY RD                                                ¨ Contingent
      MEDWAY, ME 04460                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      TIMEX, INC
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      TIP TOP LOGISTICS INC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      TIPTOP TRANS INC
      2968 SENTIMENT LANE                                           ¨ Contingent
      GREENWOOD, IN 46143                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,900.00
                                                                    Check all that apply.
      TIPTOP TRANSPORT
      OR ECAPITAL ORILLIA (CAN)                                     ¨ Contingent
      174 WEST ST SOUTH 2ND FLOOR                                   ¨ Unliquidated
      ORILLIA, L3V6L4                                               ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    425.00
                                                                    Check all that apply.
      TITAN LOGISTICS LLC
      OR NEAL FREEMAN INVESTMENTS                                   ¨ Contingent
      PO BOX 505062                                                 ¨ Unliquidated
      ST LOUIS, MO 63150                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      TITAN TRANSPORT, LLC
      OR TRANSPORT CLEARINGS EAST                                   ¨ Contingent
      9140 ARROWPOINT BLVD SUITE 370                                ¨ Unliquidated
      CHARLOTTE, NC 28273                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    825.00
                                                                    Check all that apply.
      TITANS WAY LLC
      OR EXPRESS FREIGHT FINANCE                                    ¨ Contingent
      PO BOX 6188                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  5,900.00
                                                                    Check all that apply.
      TJ GOODS CARRIER INC
      606 NICOLE DR APT B                                           ¨ Contingent
      GREENWOOD, IN 46143                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.260
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  5,250.00
                                                                    Check all that apply.
      TJ LOGISTICS LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,048.75
                                                                    Check all that apply.
      TKO LOGISTICS INC
      1012 JOLIET ST                                                ¨ Contingent
      WEST CHICAGO, IL 60185                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      TLAXCALA PRODUCE LLC
      OR ADVANCED COMMERCIAL CAPITAL                                ¨ Contingent
      761 EAST ENTERPRISE DR # 1                                    ¨ Unliquidated
      ST GEORGE, UT 84790                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    550.00
                                                                    Check all that apply.
      TLC TRANSPORT GROUP LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      TLD LOGISTICS SERVICES INC.
      TLD LOGISTICS SERVICES INC.                                   ¨ Contingent
      DEPT AT 952873                                                ¨ Unliquidated
      ATLANTA, GA 31192-2873                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    800.00
                                                                    Check all that apply.
      TM TRANS LLC
      2718 KRISTEN STREET                                           ¨ Contingent
      LIVE OAK, CA 95953                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      TMARK TRUCKING LLC
      7801 DAY DR UNIT 29495                                        ¨ Contingent
      CLEVELAND, OH 44129-5683                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    825.00
                                                                    Check all that apply.
      TMT EXPRESS LLC
      OR GENERAL BUSINESS CREDIT                                    ¨ Contingent
      110 E. 9THST, SUITE C-900                                     ¨ Unliquidated
      LOS ANGELES, CA 90079                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  4,000.00
                                                                    Check all that apply.
      TMT TRUCKING LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TNT
      6600 S MELVINA AVE UNIT 102                                   þ Contingent
      BEDFORD PARK, IL 60638                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.261
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TNT EXPRESS
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      TOBY EXPRESS
      OR INTERNET TRUCKSTOP PAYMENTS LLC                            ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      TOLEN TRUCKING
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 10,150.00
                                                                    Check all that apply.
      TONY LOGISTICS INC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    550.00
                                                                    Check all that apply.
      TOP GUN TRANSPORTATION LLC
      1430 CLINTON STREET                                           ¨ Contingent
      BUFFALO, NY 14206                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TOP OF THE LINE HAY STRAW & TRANSPORT LLC
      PO BOX 301                                                    ¨ Contingent
      HARRIS, NY 12742                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,450.00
                                                                    Check all that apply.
      TOP-TEN EXPRESS CORP
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TOSAF USA
      330 SOUTHRIDGE PKWY                                           þ Contingent
      BESSEMER CITY, NC 28016                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      TOTAL CARGO LLC
      810 E CASS ST                                                 ¨ Contingent
      JOLIET, IL 60432                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TOTAL PRIME LOGISTICS LLC
      OR TBS FACTORING SERVICE LLC                                  ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.262
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      TOTAL QUALITY TRUCKING INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      TOW EXPRESS LLC
      715 MURFREESBORO PIKE                                         ¨ Contingent
      NASHVILLE, TN 37210                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      TP TRANSPORT LLC
      29 GREENBRIER DR                                              ¨ Contingent
      WESTAMPTON, NJ 08060                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      TP TRUCKING, LLC
      5630 TABLE ROCK RD                                            ¨ Contingent
      CENTRAL POINT, OR 97502                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,165.00
                                                                    Check all that apply.
      TPA CARGO SOLUTIONS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      TR LINES INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      TRAC USA LLC
      810 UNION PACIFIC BLVD                                        ¨ Contingent
      LAREDO, TX 78045                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,200.00
                                                                    Check all that apply.
      TRADE OFF TRUCKING LLC
      1282 COMSTOCK RD                                              ¨ Contingent
      ULSTER, PA 18850                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      TRADEWINDS LOGISTICS INC
      OR MARQUETTE TRANPORTATION FINANCE                            ¨ Contingent
      P O BOX 1450 NW 7939                                          ¨ Unliquidated
      MINNEAPOLIS, MN 55485                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TRAIL LINES, INC.
      9415 SORENSEN AVE                                             ¨ Contingent
      SANTA FE SPRINGS, CA 90670                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.263
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      TRAMCOR CORPORATION
      908 N 2000 W                                                  ¨ Contingent
      FARR WEST, UT 84404                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    800.00
                                                                    Check all that apply.
      TRANS AM LOGISTICS LLC
      2743 BACHMAN DR                                               ¨ Contingent
      BETHLEHEM, PA 18020                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,775.00
                                                                    Check all that apply.
      TRANS AMERICAN EXPRESS INC
      PO BOX 589                                                    ¨ Contingent
      MEMPHIS, TN 38101                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      TRANS CONNECTION LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  9,400.00
                                                                    Check all that apply.
      TRANS EXPERT INC
      100 MARKET DR                                                 ¨ Contingent
      MILTON, ON L9T 3H5                                            ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,450.00
                                                                    Check all that apply.
      TRANS GLOBAL EXPRESS INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      TRANS LOGISTICS LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      TRANSABSOLUT CO
      22W261 THORNDALE AVE                                          ¨ Contingent
      MEDINAH, IL 60157                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    800.00
                                                                    Check all that apply.
      TRANSFLEET
      11699 FENNER RD                                               ¨ Contingent
      PERRY, MI 48872                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                   1,600.00
                                                                    Check all that apply.
      TRANSIT ONE LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.264
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    900.00
                                                                    Check all that apply.
      TRANSMC INCORPORATED
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 104,898.42
                                                                    Check all that apply.
      TRANS-NATIONAL EXPRESS
      12250 WINDEMERE DR                                            ¨ Contingent
      EL PASO, TX 79928                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                   5,000.00
                                                                    Check all that apply.
      TRANSNET LOGISTICS LLC
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRANSPORT INSIGHT
      PO BOX 23000                                                  þ Contingent
      HICKORY, NC 28603                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      TRANSPORT MAX INC
      OR NEXT DAY FUNDING, INC.                                     ¨ Contingent
      21000 TORRENCE AVE                                            ¨ Unliquidated
      FORD HEIGHTS, IL 60411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TRANSPORT ONE, INC.
      3514 GOODFELLOW BLVD                                          ¨ Contingent
      ST. LOUIS, MO 63120                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      TRANSPORT US
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      TRANSPORTER SOLUTION LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      TRANSURFING INC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508-1099                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      TRANSVAL INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.265
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      TRANSWORTH LEASING LLC
      PO BOX 1657                                                   ¨ Contingent
      FORTSON, GA 31808                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,000.00
                                                                    Check all that apply.
      TRANZIT INC
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      TRAVELOKO
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 PO BOX 1000                                         ¨ Unliquidated
      MEMPHIS, TN 38148-0390                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRAX DXYN
      3175 LENOX BLVD                                               þ Contingent
      MEMPHIS, TN 38115                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      TRC FREIGHT INC
      OR SUNBELT FINANCE                                            ¨ Contingent
      PO BOX 1000 DEPT 144                                          ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,640.00
                                                                    Check all that apply.
      TRH WHEELS LLC
      411 HACKENSACK AVE STE 200                                    ¨ Contingent
      HACKENSACK, NJ 07601-6451                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    790.00
                                                                    Check all that apply.
      TRI CITY DELIVERY LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,397.50
                                                                    Check all that apply.
      TRI STAR FREIGHT SYSTEM, INC.
      5407 MESA DRIVE                                               ¨ Contingent
      HOUSTON, TX 77028                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      TRI STARS LOGISTICS, INC.
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRI WEST LTD
      12005 PIKE ST                                                 þ Contingent
      SANTA FE SPRINGS, CA 90670                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.266
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    850.00
                                                                    Check all that apply.
      TRI-BUILT CONSTRUCTION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRICO TECHNOLOGIES CORP % ITS TRAFFIC SY
      28915 CLEMENS RD STE 200                                      þ Contingent
      WESTLAKE, OH 44145                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  8,000.00
                                                                    Check all that apply.
      TRILLIUM ROADWAYS
      1625 SHAWSON DRIVE                                            ¨ Contingent
      MISSISSAUGA, L4W 1T7                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    300.00
                                                                    Check all that apply.
      TRIMBLE TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRIPACK SLEEVER
      401 MILFORD PKWY                                              þ Contingent
      MILFORD, OH 45150                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      TRIPLE I EXPRESS LLC
      OR SAINT JOHN CAPITAL CORPORATION                             ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  5,600.00
                                                                    Check all that apply.
      TRIPPLE SILVER STAR, INC
      OR ASTERIA CORP                                               ¨ Contingent
      PO BOX 911                                                    ¨ Unliquidated
      BURBANK, CA 91503                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    710.00
                                                                    Check all that apply.
      TRITON LOGISTICS INC (MIAMI FL)
      1900 NW 129 AVE STE 115                                       ¨ Contingent
      MIAMI, FL 33182                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      TROTTER TRANSPORT LLC
      610 N MISSOURI STREET SUITE 1                                 ¨ Contingent
      WEST MEMPHIS, AR 72301                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      TRUCK IT LLC
      875 SUMMIT AVE                                                ¨ Contingent
      HARRISONBURG, VA 22802                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.267
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      TRUCK ON LOGISTICS INC
      828 SOMMERSWEET RUN                                           ¨ Contingent
      GREENWOOD, IN 46143-5566                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    950.00
                                                                    Check all that apply.
      TRUCK ONE LLC. LIMITED LIABILITY COMPANY
      OR ALADDIN FINANCIAL, INC                                     ¨ Contingent
      PO BOX 1394                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    630.00
                                                                    Check all that apply.
      TRUCKBULL LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    750.00
                                                                    Check all that apply.
      TRUCKENS WAYS LLC
      PO BOX 8595                                                   ¨ Contingent
      PORT SAINT LUCIE, FL 34985                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TRUCKERS DRIVE LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 17,048.75
                                                                    Check all that apply.
      TRUCKERS GLOBE LOGISTICS, INC
      OR CROSSROAD SERVICES LLC                                     ¨ Contingent
      PO BOX 653076                                                 ¨ Unliquidated
      DALLAS, TX 75265                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      TRUCKLAND INC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TRUCKLOAD ONLY LESLIE POOL % ECHO
      600 W CHICAGO AVE                                             þ Contingent
      CHICAGO, IL 60654                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      TRUCKNLOAD EXPRESS
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO Box 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  4,300.00
                                                                    Check all that apply.
      TRUCKS 2 GO LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      DEPT# 390 P.O. BOX 1000                                       ¨ Unliquidated
      MEMPHIS, TN 38148                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.268
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  4,600.00
                                                                    Check all that apply.
      TRUCKS LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      TRUE LINES FREIGHT INC
      2656 COOLIDGE PL                                              ¨ Contingent
      MANTECA, CA 95337                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,400.00
                                                                    Check all that apply.
      TRUKING
      DBA VAL EXPRESS LLC                                           ¨ Contingent
      3530 MALVERN DR                                               ¨ Unliquidated
      BRUNSWICK, OH 44212                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,300.00
                                                                    Check all that apply.
      TRUST TRANSPORT INC
      430 E BUFFALO ST                                              ¨ Contingent
      NEW BUFFALO, MI 49117                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TRUSTED INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,325.00
                                                                    Check all that apply.
      TRUSTED TRANSFER, LLC
      710 N MAIN STREET SUITE 101A                                  ¨ Contingent
      RIVER FALLS, WI 54022                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TRYON TRUCKING, INC.
      PO BOX 68                                                     ¨ Contingent
      FAIRLESS HILLS, PA 19030                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TSS ACQUISITION
      8800 GLOBAL WAY                                               þ Contingent
      DOOR 50, W CHESTER, OH 45069                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      TT UNITED INC
      OR J D FACTORS, LLC                                           ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TTM TECHNOLOGIES
      1200 SEVERN WAY                                               þ Contingent
      STERLING, VA 20166                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.269
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    205.80
                                                                    Check all that apply.
      TUCSON-XCEL INC
      3770 S BROADMONT DR                                           ¨ Contingent
      TUCSON, AZ 85713                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    450.00
                                                                    Check all that apply.
      TUENTE TRUCKING, INC.
      14804 STATE , ROUTE 716                                       ¨ Contingent
      YORKSHIRE, OH 45388                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,375.00
                                                                    Check all that apply.
      TUJ TRANSPORTATION INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TURFWAY PARK LLC DBA NEWPORT RACING AND GAMING
      1723 MONMOUTH ST                                              þ Contingent
      NEWPORT, KY 41071                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      TWC LOGISTICS CORP
      OR PAY4FREIGHT.COM                                            ¨ Contingent
      PO BOX 1429                                                   ¨ Unliquidated
      BELLEVUE, NE 68005-1429                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      TWINKLE STAR LOGISTICS INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    500.00
                                                                    Check all that apply.
      TWO & TWO TRUCKING LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      TY & TAN EXPRESS LLC
      OR G SQUARED FUNDING, LLC                                     ¨ Contingent
      8215 ROSWELL RD - BUILDING 600                                ¨ Unliquidated
      SANDY SPRINGS, GA 30350                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      TYCO SIMPLEXGRINNELL LP
      915 TATE SE BLVD                                              þ Contingent
      HICKORY, NC 28602                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,516.60
                                                                    Check all that apply.
      TYCOON LOGISTICS INC
      OR REV CAPITAL                                                ¨ Contingent
      PO BOX 741791                                                 ¨ Unliquidated
      LOS ANGELES, CA 90074                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.270
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      TYME-IT TRANSPORTATION, INC.
      DEPARTMENT 4949                                               ¨ Contingent
      CAROL STREAM, IL 60122                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,900.00
                                                                    Check all that apply.
      U MAX LOGISTICS
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      UCS
      8755 S 300 W                                                  þ Contingent
      SANDY, UT 84070                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 15,154.62
                                                                    Check all that apply.
      ULINE SHIPPING SUPPLY SPECIALISTS
      2200 S LAKESIDE DRIVE                                         ¨ Contingent
      WAUKEGAN, IL 60085                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    900.00
                                                                    Check all that apply.
      ULTIMATE FREIGHT CARGO LLC
      ULTIMATE FREIGHT CARGO LLC                                    ¨ Contingent
      452 FARMER RD                                                 ¨ Unliquidated
      BRIDGEWATER, NJ 08807                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,750.00
                                                                    Check all that apply.
      UMAR INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,552.00
                                                                    Check all that apply.
      UMBER TRANS INC
      1169 S MAIN ST SUITE 353                                      ¨ Contingent
      MANTECA, CA 95337                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      UNDERGROUND KINGS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    600.00
                                                                    Check all that apply.
      UNDERWOOD TRANSPORT LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      UNICORN FREIGHT SOLUTIONS LLC
      11835 S CENTRAL PARK AVE                                      ¨ Contingent
      MERRIONETT PK, IL 60803                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.271
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      UNIQUALITY
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    600.00
                                                                    Check all that apply.
      UNIQUE'S TRANSPORTATION LLC
      OR PORTER BILLING SERVICES, LLC                               ¨ Contingent
      PO BOX 440127                                                 ¨ Unliquidated
      NASHVILLE, TN 37244                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 33,305.00
                                                                    Check all that apply.
      UNITED AUTO TRANSPORT
      OR ACS FACTORS                                                ¨ Contingent
      PO BOX 150306                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      UNITED CARRIER LLC (BOILING SPRINGS SC)
      170 OLD JOHN DODD RD                                          ¨ Contingent
      BOILING SPRINGS, SC 29316                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    750.00
                                                                    Check all that apply.
      UNITED EXPRESS LINES INC.
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      UNITED FREIGHT LINES INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  5,000.00
                                                                    Check all that apply.
      UNITED KING TRANSPORT LTD
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,900.00
                                                                    Check all that apply.
      UNITED LINES INC
      OR ASSIST FINANCIAL SERVICES, INC.                            ¨ Contingent
      PO BOX 347                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    650.00
                                                                    Check all that apply.
      UNITED LOGISTICS LLC
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      UNITED MATERIAL HANDLING INC
      24665 NANDIA AVE AVE                                          þ Contingent
      MORENO VALLEY, CA 92551                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.272
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    900.00
                                                                    Check all that apply.
      UNITED TRANS LLC
      2485 MARGARET CT                                              ¨ Contingent
      EASTON, PA 18040                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  6,200.00
                                                                    Check all that apply.
      UNITED TRANS LOGISTICS INC
      OR CD CONSORTIUM CORP.                                        ¨ Contingent
      8930 WAUKEGAN RD STE 230                                      ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    500.00
                                                                    Check all that apply.
      UNITED TRANSPORT INC
      UNITED TRANSPORT INC                                          ¨ Contingent
      3640 179TH ST                                                 ¨ Unliquidated
      HAMMOND, IN 46323                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    900.00
                                                                    Check all that apply.
      UNITED TRUCKING EXPRESS LLC
      OR INSIGHT TECHNOLOGY, INC                                    ¨ Contingent
      PO BOX 27405                                                  ¨ Unliquidated
      SALT LAKE CITY, UT 84127                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      UNITED TRUCKING LLC (DENVER CO)
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      UNIVERSAL EXPRESS TRUCKING INC
      7350 SACHEM TRL                                               ¨ Contingent
      VICTOR, NY 14564                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      UNIVERSE TRANSPORT LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      UNKNOWN
                                                                    þ Contingent
                                                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      UNLIMITED CARGO TRANSPORT LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,375.00
                                                                    Check all that apply.
      URSA LOGISTICS
      2075 W PINNACLE PEAK RD                                       ¨ Contingent
      STE 130                                                       ¨ Unliquidated
      PHOENIX, AZ 85027                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.273
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    800.00
                                                                    Check all that apply.
      US ADVANCE TRANSPORTATION INC
      US ADVANCE TRANSPORTATION INC                                 ¨ Contingent
      11171 NW 26TH DRIVE                                           ¨ Unliquidated
      CORAL SPRINGS, FL 33065                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      US BANK SYNCADA
      10990 ROE AVE                                                 þ Contingent
      OVERLAND PARK, KS 66211                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 31,200.00
                                                                    Check all that apply.
      US COMMERCIAL FREIGHT INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    800.00
                                                                    Check all that apply.
      US EXPRESS LLC (ANDERSON SC)
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FORT WORTH, TX 76161                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    150.00
                                                                    Check all that apply.
      US FREIGHT CARRIER LLC
      167 HERITAGE LANE                                             ¨ Contingent
      LYNDEN, WA 98264                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  3,050.00
                                                                    Check all that apply.
      US PRIDE INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      US TRUCKING INC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      USA EXPRESS LLC
      OR SAINT JOHN CAPITAL CORP                                    ¨ Contingent
      PO BOX 74007671                                               ¨ Unliquidated
      CHICAGO, IL 60674-7671                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      USA TRANSPORT GROUP INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  5,500.00
                                                                    Check all that apply.
      USBT
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.274
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  6,200.00
                                                                    Check all that apply.
      USCARGOLINE EXPRESS INC.
      13060 CAMELLIA RD                                             ¨ Contingent
      VICTORVILLE, CA 92392                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                 93,917.58
                                                                    Check all that apply.
      USF HOLLAND
      24903 NETWORK PL                                              ¨ Contingent
      CHICAGO, IL 60673                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    314.00
                                                                    Check all that apply.
      USF REDDAWAY INC.
      11500 OUTLOOK STREET                                          ¨ Contingent
      SUITE 400                                                     ¨ Unliquidated
      OVERLAND PARK, KS 66211                                       ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  3,900.00
                                                                    Check all that apply.
      USMEX TRUCKING INC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  3,650.00
                                                                    Check all that apply.
      UZ MOTORS TRANSPORTATION LLC
      9624 OLD STABLE CT                                            ¨ Contingent
      MASON, OH 45040                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      UZUETA RUIZ & SON TRANSPORT LLC
      OR INTERNET TRUCKSTOP PAYMENTS, LLC                           ¨ Contingent
      PO BOX 7410411                                                ¨ Unliquidated
      CHICAGO, IL 60674-0411                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    875.00
                                                                    Check all that apply.
      V&B ENTERPRISE 57 LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    500.00
                                                                    Check all that apply.
      V1 TRANSPORT INC
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161-1029                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      V4U LOGISTIC INC
      V4U LOGISTICS INC                                             ¨ Contingent
      27 HANSEN ROAD                                                ¨ Unliquidated
      BRAMPTON, L6W3H7                                              ¨ Disputed
      CANADA
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    300.00
                                                                    Check all that apply.
      VALLEY BROS TRANSPORTATION INC
      P.O. BOX 314                                                  ¨ Contingent
      LATHROP, CA 95330                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.275
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    600.00
                                                                    Check all that apply.
      VAN DAM EGG CO., INC.
      4409 - 38TH ST.                                               ¨ Contingent
      HAMILTON, MI 49419                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VAN ZYVERDEN INC
      12035 HIGGINS AIRPORT WAY                                     þ Contingent
      BURLINGTON, WA 98233                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 26,700.00
                                                                    Check all that apply.
      VANGUARD TRANSPORTATION LLC
      OR ECAPITAL FREIGHT FACTORING, INC                            ¨ Contingent
      PO BOX 660919                                                 ¨ Unliquidated
      DALLAS, TX 75266-0919                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    500.00
                                                                    Check all that apply.
      VANN & SONS TRANSPORT LLC
      OR TBS FACTORING                                              ¨ Contingent
      PO BOX 151052                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VANTAGE
      5070 PHILLIP LEE DR SW                                        þ Contingent
      ATLANTA, GA 30336                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VAPETRO TECHNOLOGY
      8300B WESTPARK DR STE 1                                       þ Contingent
      HOUSTON, TX 77063                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VASWANI
      75 CARTER DR                                                  þ Contingent
      STE 1, EDISON, NJ 08817                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      VBT LOGISTICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      VCT
      OR PARIKH FINANCIAL                                           ¨ Contingent
      2802 TRAILRIDGE COURT                                         ¨ Unliquidated
      MISSOURI CITY, TX 77459                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      VD SERVICES LLC
      PO BOX 12742                                                  ¨ Contingent
      CHICAGO, IL 60612                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.276
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VEHICLE SERVICE GROUP
      PO BOX 888440                                                 þ Contingent
      GRAND RAPIDS, MI 49588                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  3,534.72
                                                                    Check all that apply.
      VELOX TRANSPORT SOLUTIONS LLC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    550.00
                                                                    Check all that apply.
      VELTRI, INC.
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VENTURE PRODUCTS INC
      500 VENTURE DR                                                þ Contingent
      ORRVILLE, OH 44667                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      VENUS TRUCKING
      OR INTEGRA FUNDING SOLUTIONS, LLC                             ¨ Contingent
      6300 RIDGLEA PL, SUITE 1101                                   ¨ Unliquidated
      FORT WORTH, TX 76116                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    625.00
                                                                    Check all that apply.
      VEPAC TRANSPORT LLC
      OR OTR CAPITAL, LLC                                           ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    693.50
                                                                    Check all that apply.
      VEREENS EXPEDITING SERVICES LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,397.00
                                                                    Check all that apply.
      VEROOT LLC
      PO BOX 57                                                     ¨ Contingent
      BEREA, OH 44017                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      VERTICAL LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,020.00
                                                                    Check all that apply.
      VERY BEST TRANSPORT LLC
      OR GRADE A FUNDING INC.                                       ¨ Contingent
      P.O. BOX 45                                                   ¨ Unliquidated
      HUNTINGBURG, IN 47542                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.277
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,050.00
                                                                    Check all that apply.
      VESONE TRANSPORTATION INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      VETSLG
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,875.00
                                                                    Check all that apply.
      VHS TRUCKING INC.
      OR CD CONSORTIUM CORP.                                        ¨ Contingent
      8930 WAUKEGAN RD, STE 230                                     ¨ Unliquidated
      MORTON GROVE, IL 60053                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      VICTORY TRANSPORTATION, INCORPORATED
      PO BOX 308                                                    ¨ Contingent
      SELLERBURG, IN 47172                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      VIN LOGISTICS INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,480.00
                                                                    Check all that apply.
      VINCO LOGISTICS, INC.
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      VIP LOGISTICS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      VIRDI TRANSPORT LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    900.00
                                                                    Check all that apply.
      VIRVISAF COMPANY LLC
      OR SUMMAR FINANCIAL LLC                                       ¨ Contingent
      2299 SW 27 AVE                                                ¨ Unliquidated
      MIAMI, FL 33145                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      VISION LOGISTICS (MC748540)
      OR AEROFUND FINANCIAL INC                                     ¨ Contingent
      6910 SANTA TERESA BLVD                                        ¨ Unliquidated
      SAN JOSE, CA 95119                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.278
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    650.00
                                                                    Check all that apply.
      VISION LOGISTICS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      VISION TRANS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,275.00
                                                                    Check all that apply.
      VISION TRANSPORT LOGISTICS LLC
      1029 CLUB DR                                                  ¨ Contingent
      DULUTH, GA 30096                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,000.00
                                                                    Check all that apply.
      VISTABELLA TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    850.00
                                                                    Check all that apply.
      VITAR EXPRESS INC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      VIVA FREIGHT INC
      1041 RIVER DOWNS CT                                           ¨ Contingent
      BUFORD, GA 30518                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,300.00
                                                                    Check all that apply.
      VIVA LOGISTICS INC
      OR RIVIERA FINANCE - MINNEAPOLIS                              ¨ Contingent
      PO BOX 850243                                                 ¨ Unliquidated
      MINNEAPLIS, MN 55485-0243                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      VK TRUCKING INC.
      106 HICKORY STREET                                            ¨ Contingent
      CARTERET, NJ 07008                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  3,600.00
                                                                    Check all that apply.
      VKA EXPRESS INC
      OR PORTER BILLING SERVICES, LLC                               ¨ Contingent
      PO BOX 398                                                    ¨ Unliquidated
      BIRMINGHAM, AL 35201                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      VLASIC FREIGHT LLC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.279
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VM INNOVATIONS
      2021 TRANSFORMATION DR SUITE 2500                             þ Contingent
      LINCOLN, NE 68508                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    350.00
                                                                    Check all that apply.
      VM TRUCKING LLC
      4967 MARTIN RD                                                ¨ Contingent
      WARREN, MI 48092                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      VOESH CORP
      5001 HADLEY RD STE 2                                          þ Contingent
      SOUTH PLAINFIELD, NJ 07080                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    896.77
                                                                    Check all that apply.
      VOYAGER EXPRESS INC
      4111 CENTRAL ST                                               ¨ Contingent
      DETROIT, MI 48210                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  9,870.00
                                                                    Check all that apply.
      VOYAGER FREIGHTWAY INC.
      13 KISTLER ST                                                 ¨ Contingent
      BRAMPTON, ON L6R 0P7                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      VOZI INC.
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,150.00
                                                                    Check all that apply.
      VR TRUCKING
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,500.00
                                                                    Check all that apply.
      VSP TRANSPORTATION LLC
      OR PATHWARD NATIONAL ASSOCIATION                              ¨ Contingent
      PO BOX 682348                                                 ¨ Unliquidated
      FRANKLIN, TN 37068                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,735.00
                                                                    Check all that apply.
      VSS TRANSPORTATION GROUP, INC.
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  5,200.00
                                                                    Check all that apply.
      VVV PARADISE LOGISTIC LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 639565                                                 ¨ Unliquidated
      CINCINNATI, OH 45263-9565                                     ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.280
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,010.00
                                                                    Check all that apply.
      VYSNIA GLOBAL TRANSPORT INC
      OR PARTNERS FUNDING INC                                       ¨ Contingent
      PO BOX 5431                                                   ¨ Unliquidated
      CAROL STREAM, IL 60197-5431                                   ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      W R LONG INCORPORATED
      401 WEST HOPE LODGE ST.                                       þ Contingent
      TARBORO, NC 27886                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  4,375.00
                                                                    Check all that apply.
      W. M. JOHNSON TRUCK LINES, INC.
      PO BOX 467                                                    ¨ Contingent
      FORT MADISON, IA 52627                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WABCO NORTH AMERICA
      8225 PATRIOT BLVD                                             þ Contingent
      NORTH CHARLESTON, SC 29418                                    þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WAL-MART CORPORATE OFFICE
      720 SW 8TH STREET                                             þ Contingent
      BENTONVILLE, AR 72716                                         þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      WALTER'S TRANSPORT INC
      OR OTR CAPITAL LLC                                            ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WAREHOUSE SPECIALISTS INC-WSI
      525 ENTERPRISE DR.                                            þ Contingent
      NEENAH, WI 54956                                              þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      WARM TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                 20,825.00
                                                                    Check all that apply.
      WARM UP EXPRESS INC
      2815 YOJOA PLACE                                              ¨ Contingent
      HACIENDA HEIGHTS, CA 91745                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WARMINGTON INDUSTRIES
      1336 FRONT ST                                                 þ Contingent
      GRAND RAPIDS, MI 49504                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.281
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                    550.00
                                                                    Check all that apply.
      WASHINGTON FREIGHT TEAM INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    475.00
                                                                    Check all that apply.
      WATKINS EXPRESS FREIGHT, INC.
      WATKINS EXPRESS FREIGHT, INC.                                 ¨ Contingent
      420 DAVENPORT LANE                                            ¨ Unliquidated
      HOPKINSVILLE, KY 42240                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,250.00
                                                                    Check all that apply.
      WAVE LOGISTICS INC
      WAVE LOGISTICS INC                                            ¨ Contingent
      2027 FIELDCREST LANE                                          ¨ Unliquidated
      TWINSBURG, OH 44087                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,700.00
                                                                    Check all that apply.
      WAY EXPRESS
      24440 MEADOW LN                                               ¨ Contingent
      OLMSTED FALLS, OH 44138                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      WAYSTAR EXPRESS, INC
      9546 CREEMORE DR                                              ¨ Contingent
      TUJUNGA, CA 91042                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  5,600.00
                                                                    Check all that apply.
      WCT LOGISTICS LLC
      WCT LOGISTICS LLC                                             ¨ Contingent
      4660 SOUTH 146TH ST                                           ¨ Unliquidated
      TUKWILA, WA 98168                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    950.00
                                                                    Check all that apply.
      WE HAUL LOGISTICS (MC1077175)
      OR REVOLUTION CAPITAL, PO BOX 741791                          ¨ Contingent
      LOS ANGELES, CA 90074                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    700.00
                                                                    Check all that apply.
      WE OUTSIDE LLC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    600.00
                                                                    Check all that apply.
      WEAVES TRUCKING INC
      OR ORANGE COMMERCIAL CREDIT, PO BOX 11099                     ¨ Contingent
      OLYMPIA, WA 98508-1099                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      WEBSTAR LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.282
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WELLA OPERATIONS US LLC
      PO BOX 9202                                                   þ Contingent
      OLD BETHPAGE, NY 11804-9002                                   þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WELLSTON AEROSOL
      PO BOX 326                                                    þ Contingent
      WELLSTON, OH 45692                                            þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      WEP EXPRESS INC
      19824 E RAMBLING RD # B                                       ¨ Contingent
      COVINA, CA 91724-3441                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      WESFER FREIGHT INC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      WEST CARRIERS LLC
      OR FARWEST CAPITAL                                            ¨ Contingent
      PO BOX 961209                                                 ¨ Unliquidated
      EL PASO, TX 79996                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    900.00
                                                                    Check all that apply.
      WEST COAST FREIGHTLINE LLC
      OR WEX FLEET ONE                                              ¨ Contingent
      PO BOX 94565                                                  ¨ Unliquidated
      CLEVELAND, OH 44101-4565                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      WEST PROLINE LOGISTICS
      OR QUICKPAY FUNDING LLC                                       ¨ Contingent
      PO BOX 23360                                                  ¨ Unliquidated
      SAN DIEGO, CA 92193-3360                                      ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  6,600.00
                                                                    Check all that apply.
      WEST SIDE CONNECTION
      446 W 150TH ST                                                ¨ Contingent
      LOS ANGELES, CA 90003                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      WEST TN EXPEDITING
      182 VOLZ RD.                                                  ¨ Contingent
      RIPLEY, TN 38063                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  1,850.00
                                                                    Check all that apply.
      WESTERN FREIGHT CARRIER, INC.
      321 E GARDENA BLVD                                            ¨ Contingent
      GARDENA, CA 90248                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.283
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 11,900.00
                                                                    Check all that apply.
      WESTERN LINES INC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    365.81
                                                                    Check all that apply.
      WESTERN PEAKS LOGISTICS
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                    450.00
                                                                    Check all that apply.
      WESTERN TRANSPORTATION LLC
      7480 NORTH 56TH STREET SUITE 6                                ¨ Contingent
      LINCOLN, NE 68514                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  4,200.00
                                                                    Check all that apply.
      WESTWAY GROUP CANADA INC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      WH FREIGHT LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                    650.00
                                                                    Check all that apply.
      WHEEL OF GOD TRANSPORT LLC
      OR PORTER BILLING SERVICES, LLC                               ¨ Contingent
      PO BOX 440127                                                 ¨ Unliquidated
      NASHVILLE, TN 37244                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,295.00
                                                                    Check all that apply.
      WHITACRE LOGISTICS LLC
      12602 S DIXIE HIGHWAY                                         ¨ Contingent
      PORTAGE, OH 43451                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,175.00
                                                                    Check all that apply.
      WHITAKER & FAMILY TRUCK LLC
      OR TBS FACTORING SERVICE LLC                                  ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      WHITE CITY LOGISTICS
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      WHITE EAGLE TRANS LLC
      OR CARRIERNET GROUP FINANCIAL                                 ¨ Contingent
      PO BOX 1130                                                   ¨ Unliquidated
      SIOUX FALLS, SD 57101                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.284
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,750.00
                                                                    Check all that apply.
      WHITE WAY LLC
      5540 CENTERVILLE DR STE 204                                   ¨ Contingent
      RALEIGH, NC 27606                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      WHITNIEL AUTOMOBILE & LOGISTICS LLC
      OR TBS FACTORING SERVICE                                      ¨ Contingent
      PO BOX 248920                                                 ¨ Unliquidated
      OKLAHOMA CITY, OK 73124-8920                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     82.50
                                                                    Check all that apply.
      WHOLESALE INTERIORS
      991 SUPREME DR                                                ¨ Contingent
      BENSENVILLE, IL 60106                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  2,400.00
                                                                    Check all that apply.
      WHOLESOME TRUCKING
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,200.00
                                                                    Check all that apply.
      WIDER GROUP INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WIKIWOO LLC
      11917 PLANTSIDE DR                                            þ Contingent
      LOUISVILLE, KY 40299                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    700.00
                                                                    Check all that apply.
      WILLIAM J. TOBY TRUCKING
      PO BOX 188                                                    ¨ Contingent
      CENTRALIA, KS 66415                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      WILLYMAR CORPORATION
      8779 DARCY RD                                                 ¨ Contingent
      DISTRICT HEIGHTS, MD 20747                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    800.00
                                                                    Check all that apply.
      WILSON'S ROADWAY SERVICES LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WINCO MANUFACTURING
      5516 SW 1ST LANE                                              þ Contingent
      OCALA, FL 34474                                               þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.285
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      WINDS TRANSPORTATION INC
      OR ECAPITAL FREIGHT FACTORING CORP                            ¨ Contingent
      PO BOX 206773                                                 ¨ Unliquidated
      DALLAS, TX 75320-6773                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  2,169.76
                                                                    Check all that apply.
      WINDSURFING DIRECT LIMITED
      598 NORRIS CT                                                 ¨ Contingent
      KINGSTON, ON K7P 2R9                                          ¨ Unliquidated
      CANADA                                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WINOLA INDUSTRIAL INC
      5790 MISLEVY RD                                               þ Contingent
      FACTORYVILLE, PA 18419                                        þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      WIPEOUT LOGISTICS LLC
      OR FIRST LINE FUNDING GROUP                                   ¨ Contingent
      PO BOX 328                                                    ¨ Unliquidated
      MADISON, SD 57042                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      WIRE CARGO INC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WISPERKOOL
      1001 N 3RD ST                                                 þ Contingent
      FT SMITH, AR 72901 1009                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    600.00
                                                                    Check all that apply.
      WITL TRUCKING LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    775.00
                                                                    Check all that apply.
      WOLF PAK TRANSPORT LLC.
      PO BOX 466                                                    ¨ Contingent
      ELIZABETHTOWN, PA 17022                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,350.00
                                                                    Check all that apply.
      WONDER EXPRESS INC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                    900.00
                                                                    Check all that apply.
      WOOD TRUCK LINES LLC
      OR CENTURY FINANCE LLC                                        ¨ Contingent
      PO BOX 589                                                    ¨ Unliquidated
      MEMPHIS, TN 38101                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.286
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WOODSTREAM % DATA2LOGISTICS
      PO BOX 61050                                                  þ Contingent
      FORT MYERS, FL 33906                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    922.00
                                                                    Check all that apply.
      WOODWORKSBYLEGRAND
      5214 MEADOW CREST                                             ¨ Contingent
      LAPORTE, TX 77571                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,800.00
                                                                    Check all that apply.
      WOOSTER MOTOR WAYS, INC.
      PO BOX 19                                                     ¨ Contingent
      WOOSTER, OH 44691                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WORKPLACE RESOURCE
      2639 E ROSEMEADE PKWY                                         þ Contingent
      CARROLLTON, TX 75007                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      WORLDWIDE LOGISTICS
      1213 W REMINGTON BLVD                                         þ Contingent
      ROMEOVILLE, IL 60446                                          þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      WRAY TRUCKING CO., LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,600.00
                                                                    Check all that apply.
      WRIGHT TRANSPORTATION, INC.
      PO BOX 50317                                                  ¨ Contingent
      MOBILE, AL 36605                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      WT EMPIRE INC
      2190 JORDAN COURT                                             ¨ Contingent
      ELGIN, IL 60123                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                    700.00
                                                                    Check all that apply.
      WWL EXPRESS, INC.
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                  2,100.00
                                                                    Check all that apply.
      X RAY LOGISTICS LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.287
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  2,050.00
                                                                    Check all that apply.
      XAT LOGISTICS LLC
      OR ORANGE COMMERCIAL CREDIT                                   ¨ Contingent
      PO BOX 11099                                                  ¨ Unliquidated
      OLYMPIA, WA 98508-1099                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      XPRESS LOGISTICS LLC
      OR ENGAGED FINANCIAL LLC                                      ¨ Contingent
      PO BOX 775553                                                 ¨ Unliquidated
      CHICAGO, IL 60677-5553                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,900.00
                                                                    Check all that apply.
      XPRO EXPRESS LLC
      OR RTS FINANCIAL SERVICE, INC                                 ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                    600.00
                                                                    Check all that apply.
      Y&B TRANSPORTATION LLC
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    600.00
                                                                    Check all that apply.
      Y&L DELIVERY
      OR TRIUMPH FINANCIAL SERVICES, LLC                            ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261-0028                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  2,875.00
                                                                    Check all that apply.
      YALONG LLC
      OR LOVES SOLUTIONS LLC                                        ¨ Contingent
      PO BOX 96-0479                                                ¨ Unliquidated
      OKLAHOMA CITY, OK 73196-0479                                  ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                    800.00
                                                                    Check all that apply.
      YASA EXPRESS LOADS INC
      OR TRIUMPH BUSINESS CAPITAL                                   ¨ Contingent
      PO BOX 610028                                                 ¨ Unliquidated
      DALLAS, TX 75261                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YELLOW
      10990 ROE AVE                                                 þ Contingent
      LEAWOOD, KS 66211                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YELLOW LOGISTICS - ENGINEERED SOLUTIONS
      5200 W 110TH ST                                               þ Contingent
      OVERLAND PARK, KS 66211                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YELLOW LOGISTICS RESI
      5200 110TH ST                                                 þ Contingent
      OVERLAND PARK, KS 66211                                       þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.288
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 30,207.04
                                                                    Check all that apply.
      YELLOW LOGISTICS RESI
      5200 110TH ST                                                 ¨ Contingent
      OVERLAND PARK, KS 66211                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  4,800.00
                                                                    Check all that apply.
      YLD TRANSPORT, INC
      2609 SE ELLIOTT DR                                            ¨ Contingent
      GRESHAM, OR 97080                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  1,700.00
                                                                    Check all that apply.
      YM TRUCKING LLC
      3030 N 35TH AVE APT 332                                       ¨ Contingent
      PHOENIX, AZ 85017                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                   1,240.00
                                                                    Check all that apply.
      YOUR SOURCE TRANSPORT LLC
      OR OPERATION FINANCE, INC, 539 W COMMERCE ST # 2400           ¨ Contingent
      DALLAS, TX 75208                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                    500.00
                                                                    Check all that apply.
      YOWELL TRANSPORTATION SERVICES INC.
      YOWELL TRANSPORTATION SERVICES INC.                           ¨ Contingent
      PO BOX 9278                                                   ¨ Unliquidated
      DAYTON, OH 45409                                              ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                 549,724.30
                                                                    Check all that apply.
      YRC ENTERPRISE SERVICES, INC.
      11500 OUTLOOK STREET                                          ¨ Contingent
      SUITE 400                                                     ¨ Unliquidated
      OVERLAND PARK, KS 66211                                       ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                 232,155.93
                                                                    Check all that apply.
      YRC FREIGHT
      PO BOX 730375                                                 ¨ Contingent
      DALLAS, TX 75373                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YRC FREIGHT - PT ONLY
      10990 ROE AVE                                                 þ Contingent
      LEAWOOD, KS 66211                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $             Undetermined
                                                                    Check all that apply.
      YRC FREIGHT - UPGRADES
      10990 ROE AVE                                                 þ Contingent
      LEAWOOD, KS 66211                                             þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Customer Claim



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                þ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                     1,562.12
                                                                    Check all that apply.
      YRC FREIGHT - UPGRADES
      10990 ROE AVE                                                 ¨ Contingent
      LEAWOOD, KS 66211                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.289
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                 1,283,601.65
                                                                    Check all that apply.
      YRC INC.
      11500 OUTLOOK STREET                                          ¨ Contingent
      SUITE 400                                                     ¨ Unliquidated
      OVERLAND PARK, KS 66211                                       ¨ Disputed
                                                                    Basis for the claim: Intercompany Payable



     Date or dates debt was incurred      Undetermined              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                     2,100.00
                                                                    Check all that apply.
      YSS ENTERPRISES INC
      OR EWALL CAPITAL SOLUTIONS                                    ¨ Contingent
      PO BOX 33849                                                  ¨ Unliquidated
      LAS VEGAS, NV 89133                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                     3,350.00
                                                                    Check all that apply.
      YUGOS LOGISTICS LLC
      OR TRU FUNDING LLC                                            ¨ Contingent
      PO BOX 151013                                                 ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                             Page 581 of 588
   Debtor
                                Case 23-11083-CTG
            Yellow Logistics, Inc.
                                                            Doc 4       Filed 09/12/23     Page(If known)
                                                                                     Case number    625 of 23-11083
                                                                                                           649 (CTG)
            Name


  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,600.00
                                                                    Check all that apply.
      Z BEST LOGISTICS INC.
      4632 N ORANGE AVE                                             ¨ Contingent
      NORRIDGE, IL 60706                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      Z BROTHERS LLC
      OR YANKTON FACTORING INC                                      ¨ Contingent
      PO BOX 217                                                    ¨ Unliquidated
      YANKTON, SD 57078                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,300.00
                                                                    Check all that apply.
      Z&L LOGISTICS, INC
      161 LYNDHURST DR                                              ¨ Contingent
      LAVERGNE, TN 37086                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  3,000.00
                                                                    Check all that apply.
      Z4 LOGISTICS INC
      OR OTR SOLUTIONS                                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  2,000.00
                                                                    Check all that apply.
      ZAGROS EXPRESS LLC
      2713 NOLENSVILLE PIKE                                         ¨ Contingent
      NASHVILLE, TN 37211                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                             Page 582 of 588
   Debtor
                                Case 23-11083-CTG
            Yellow Logistics, Inc.
                                                            Doc 4       Filed 09/12/23     Page(If known)
                                                                                     Case number    626 of 23-11083
                                                                                                           649 (CTG)
            Name


  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  2,800.00
                                                                    Check all that apply.
      ZAM TRANS INC
      4811 CHIPPENDALE DR - SUITE 802                               ¨ Contingent
      SACRAMENTO, CA 95841                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 15,550.00
                                                                    Check all that apply.
      ZAV EXPRESS INC
      OR FLAT RATE FUNDING GROUP LLC                                ¨ Contingent
      P.O. BOX 150581                                               ¨ Unliquidated
      OGDEN, UT 84415                                               ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.290
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,125.00
                                                                    Check all that apply.
      ZAVALAS TRUCKING
      25454 MOORLAND RD                                             ¨ Contingent
      MORENO VALLEY, CA 92551                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                  1,250.00
                                                                    Check all that apply.
      ZCLLZ TRANSPORTATION
      OR BOBTAIL                                                    ¨ Contingent
      PO BOX 7410633                                                ¨ Unliquidated
      CHICAGO, IL 60674                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                  2,200.00
                                                                    Check all that apply.
      ZED EXPRESS LLC
      OR ENGLAND CARRIER SERVICES                                   ¨ Contingent
      PO BOX 953086                                                 ¨ Unliquidated
      ST LOUIS, MO 63195-3086                                       ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                             Page 583 of 588
   Debtor
                                Case 23-11083-CTG
            Yellow Logistics, Inc.
                                                            Doc 4       Filed 09/12/23     Page(If known)
                                                                                     Case number    627 of 23-11083
                                                                                                           649 (CTG)
            Name


  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                 17,100.00
                                                                    Check all that apply.
      ZED PLUS TRANSPORT INC
      OR RTS FINANCIAL SERVICE INC                                  ¨ Contingent
      PO BOX 840267                                                 ¨ Unliquidated
      DALLAS, TX 75284-0267                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  4,550.00
                                                                    Check all that apply.
      ZEPHYR EXPEDITING LLC
      OR COMPASS FUNDING SOLUTIONS                                  ¨ Contingent
      PO BOX 205154                                                 ¨ Unliquidated
      DALLAS, TX 75320-5154                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                     62.00
                                                                    Check all that apply.
      ZEPHYR VENTILATION LLC
      2277 HARBOR BAY PARKWAY                                       ¨ Contingent
      ALAMEDA, CA 94502                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  2,550.00
                                                                    Check all that apply.
      ZEPPELIN LOGISTICS LLC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                  3,800.00
                                                                    Check all that apply.
      ZERO PRESSURE FREIGHT LLC
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                             Page 584 of 588
   Debtor
                                Case 23-11083-CTG
            Yellow Logistics, Inc.
                                                            Doc 4       Filed 09/12/23     Page(If known)
                                                                                     Case number    628 of 23-11083
                                                                                                           649 (CTG)
            Name


  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  7                                                                                                                 $                  1,500.00
                                                                    Check all that apply.
      ZEROMAX MOTORS INC.
      OR APEX CAPITAL CORP                                          ¨ Contingent
      PO BOX 961029                                                 ¨ Unliquidated
      FT WORTH, TX 76161                                            ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  8                                                                                                                 $                 18,857.50
                                                                    Check all that apply.
      ZETINOS TRANSPORT
      OR FREIGHT FACTORING SPECIALISTS LLC                          ¨ Contingent
      DEPT 10010 - PO BOX 31792                                     ¨ Unliquidated
      TAMPA, FL 03361-3792                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.291
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  9                                                                                                                 $                  3,500.00
                                                                    Check all that apply.
      ZHW TRUCKING INC
      OR TAFS INC                                                   ¨ Contingent
      P.O. BOX 872632                                               ¨ Unliquidated
      KANSAS CITY, MO 64187                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  0                                                                                                                 $                    950.00
                                                                    Check all that apply.
      ZION TRANSFER
      OR OTR CAPITAL DBA OTR SOLUTIONS                              ¨ Contingent
      PO BOX 1175760                                                ¨ Unliquidated
      ATLANTA, GA 30368-7576                                        ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  1                                                                                                                 $                 13,300.00
                                                                    Check all that apply.
      ZION TRANSPORT
      20401 NE 116TH CIRCLE                                         ¨ Contingent
      BRUSH PRAIRIE, WA 98606                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                             Page 585 of 588
   Debtor
                                Case 23-11083-CTG
            Yellow Logistics, Inc.
                                                            Doc 4       Filed 09/12/23     Page(If known)
                                                                                     Case number    629 of 23-11083
                                                                                                           649 (CTG)
            Name


  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  2                                                                                                                 $                  1,400.00
                                                                    Check all that apply.
      ZION TRANSPORT LLC
      8710 SHERWOOD TERRACE                                         ¨ Contingent
      8710 SHERWOOD TERRACE                                         ¨ Unliquidated
      SAN DIEGO, CA 92154                                           ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  3                                                                                                                 $                  1,100.00
                                                                    Check all that apply.
      ZOUIN TRANSPORT LLC
      803 HARLAND CT                                                ¨ Contingent
      SHELBYVILLE, KY 40065                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  4                                                                                                                 $                  1,220.00
                                                                    Check all that apply.
      ZULA LLC
      OR COMFREIGHT HAULPAY                                         ¨ Contingent
      PO BOX 200400                                                 ¨ Unliquidated
      DALLAS, TX 75320-0400                                         ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  5                                                                                                                 $                  1,350.00
                                                                    Check all that apply.
      ZULA TRUCKING LLC
      OR PHOENIX CAPITAL GROUP                                      ¨ Contingent
      PO BOX 1415                                                   ¨ Unliquidated
      DES MOINES, IA 50305                                          ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes
3.292
      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
  6                                                                                                                 $                    550.00
                                                                    Check all that apply.
      ZUPA GLOBAL INC
      OR JD FACTORS LLC                                             ¨ Contingent
      PO BOX 687                                                    ¨ Unliquidated
      WHEATON, IL 60187                                             ¨ Disputed
                                                                    Basis for the claim: Trade Payable



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                             Page 586 of 588
                                   Case 23-11083-CTG                     Doc 4         Filed 09/12/23               Page 630 of 649
   Debtor     Yellow Logistics, Inc.                                                                      Case number (If known):    23-11083 (CTG)
              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




   Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 587 of 588
 Debtor        Yellow Logistics, Inc.
                                        Case 23-11083-CTG     Doc 4      Filed 09/12/23 Case
                                                                                         Page    631 of 649
                                                                                             number (If known) 23-11083 (CTG)
               Name


     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts



5a.     Total claims from Part 1                                                               5a.          $                            0.00




5b.     Total claims from Part 2                                                               5b.    +     $                   12,403,105.58
                                                                                                                         + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                                 5c.          $                   12,403,105.58
        Lines 5a + 5b = 5c.                                                                                              + Undetermined Amounts




      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                        Page 588 of 588
                                    Case 23-11083-CTG                 Doc 4      Filed 09/12/23           Page 632 of 649
  Fill in this information to identify the case:

  Debtor name      Yellow Logistics, Inc.

  United States Bankruptcy Court for the:   District of Delaware
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      23-11083 (CTG)                                                                                               amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired lease
                                                REAL PROPERTY LEASE - LITHIA
         State what the contract or             SPRINGS, GA                            BREIT INDUSTRIAL CANYON GA 1B01 LLC
 2.1     lease is for and the nature                                                   C/O LINK INDUSTRIAL MANAGEMENT
         of the debtor’s interest                                                      602 W OFFICE CENTER DRIVE
                                                                                       SUITE 200
         State the term remaining                                                      FORT WASHINGTON, PA 30122

         List the contract number of
         any government contract

                                                REAL PROPERTY LEASE - AUSTELL,
         State what the contract or             GA                                     HARTMAN ROAD LLC
 2.2     lease is for and the nature                                                   ATTN: WADE GOETZ
         of the debtor’s interest                                                      1904 MONROE DRIVE
                                                                                       SUITE 250
         State the term remaining                                                      ATLANTA, GA 30324

         List the contract number of
         any government contract

                                                REAL PROPERTY LEASE - SALT LAKE
         State what the contract or             CITY, UT                               NED PROPERTIES, LLC
 2.3     lease is for and the nature                                                   ATTN: MARK DEWALD
         of the debtor’s interest                                                      2200 EAST CAMELBACK ROAD
                                                                                       SUITE 101
         State the term remaining                                                      PHOENIX, AZ 85016

         List the contract number of
         any government contract

                                                REAL PROPERTY LEASE - GROVE
         State what the contract or             CITY, OH                               PAC OPERATING LIMITED PARTNERSHIP
 2.4     lease is for and the nature                                                   ATTN: HALLE GREENHUT
         of the debtor’s interest                                                      383 NORTH FRONT STREET
                                                                                       SUITE 1A
         State the term remaining                                                      COLUMBUS, OH 43215

         List the contract number of
         any government contract

                                                REAL PROPERTY LEASE - SAN
         State what the contract or             DIEGO, CA                              PPF SUDBERRY OCEAN VIEW HILLS, LP
 2.5     lease is for and the nature                                                   ATTN: TERESA SOURIS
         of the debtor’s interest                                                      PO BOX 100329
                                                                                       PASADENA, CA 91189
         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                    Page 1 of 2
  Debtor      Yellow Logistics, Inc.
                                       Case 23-11083-CTG       Doc 4      Filed 09/12/23     Page 633 of 649
                                                                                       Case number (If known): 23-11083 (CTG)
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease

                                             AMENDMENT TO TRANSPORTATION
           State what the contract or        SERVICES AGREEMENT DATED    PROGISTICS DISTRIBUTION INC
 2.6       lease is for and the nature       07/22/2023                  PO BOX 5045
           of the debtor’s interest                                      HAYWARD, CA 94540

           State the term remaining
           List the contract number of
           any government contract

                                             REAL PROPERTY LEASE - GROVE
           State what the contract or        CITY, OH                          PROLOGIS LP
 2.7       lease is for and the nature                                         ATTN: HALLE GREENHUT
           of the debtor’s interest                                            383 NORTH FRONT STREET
                                                                               SUITE 1A
           State the term remaining                                            COLUMBUS, OH 43215

           List the contract number of
           any government contract

                                             REAL PROPERTY LEASE -
           State what the contract or        MESQUITE, TX                      RGA DALFEN EAST DALLAS LP
 2.8       lease is for and the nature                                         ATTN: MICHELLE ANNETT
           of the debtor’s interest                                            C/O 1460 E KEARNEY OWNER
                                                                               5575 S SEMORAN BOULEVARD
           State the term remaining                                            SUITE 5010
                                                                               ORLANDO, FL 32882
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                             Page 2 of 2
                                   Case 23-11083-CTG                      Doc 4          Filed 09/12/23               Page 634 of 649
  Fill in this information to identify the case:

 Debtor name      Yellow Logistics, Inc.

 United States Bankruptcy Court for the:     District of Delaware
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      23-11083 (CTG)                                                                                                           amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                              Mailing address                                                                 Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   1105481 Ontario Inc.                11500 Outlook Street                                                          CHUBB GROUP                 ¨ D
                                           Suite 400                                                                                                 þ E/F
                                           Overland Park, KS 66211
                                                                                                                                                     ¨ G



 2.2   1105481 Ontario Inc.                11500 Outlook Street                                                          CITADEL                     þ D
                                           Suite 400                                                                                                 ¨ E/F
                                           Overland Park, KS 66211
                                                                                                                                                     ¨ G



 2.3   1105481 Ontario Inc.                11500 Outlook Street                                                          CITIZENS BUSINESS           þ D
                                           Suite 400                                                                     CAPITAL                     ¨ E/F
                                           Overland Park, KS 66211
                                                                                                                                                     ¨ G



 2.4   1105481 Ontario Inc.                11500 Outlook Street                                                          LIBERTY MUTUAL              ¨ D
                                           Suite 400                                                                     GROUP                       þ E/F
                                           Overland Park, KS 66211
                                                                                                                                                     ¨ G



 2.5   1105481 Ontario Inc.                11500 Outlook Street                                                          UNITED STATES               þ D
                                           Suite 400                                                                     DEPARTMENT OF               ¨ E/F
                                           Overland Park, KS 66211                                                       TREASURY
                                                                                                                                                     ¨ G



 2.6   Express Lane Service, Inc. 11500 Outlook Street                                                                   CHUBB GROUP                 ¨ D
                                  Suite 400                                                                                                          þ E/F
                                  Overland Park, KS 66211
                                                                                                                                                     ¨ G




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   Debtor   Yellow Logistics, Inc.                                                               Case number (If known):   23-11083 (CTG)
            Name


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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.7    Express Lane Service, Inc. 11500 Outlook Street                                                           CITADEL                   þ D
                                   Suite 400                                                                                                ¨ E/F
                                   Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.8    Express Lane Service, Inc. 11500 Outlook Street                                                           CITIZENS BUSINESS         þ D
                                   Suite 400                                                                      CAPITAL                   ¨ E/F
                                   Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.9    Express Lane Service, Inc. 11500 Outlook Street                                                           LIBERTY MUTUAL            ¨ D
                                   Suite 400                                                                      GROUP                     þ E/F
                                   Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.10   Express Lane Service, Inc. 11500 Outlook Street                                                           UNITED STATES             þ D
                                   Suite 400                                                                      DEPARTMENT OF             ¨ E/F
                                   Overland Park, KS 66211                                                        TREASURY
                                                                                                                                            ¨ G



 2.11   New Penn Motor Express         11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        LLC                            Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.12   New Penn Motor Express         11500 Outlook Street                                                       CITADEL                   þ D
        LLC                            Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.13   New Penn Motor Express         11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        LLC                            Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.14   New Penn Motor Express         11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        LLC                            Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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   Debtor   Yellow Logistics, Inc.                                                               Case number (If known):   23-11083 (CTG)
            Name


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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.15   New Penn Motor Express         11500 Outlook Street                                                       UNITED STATES             þ D
        LLC                            Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.16   Roadway Express                11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        International, Inc.            Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.17   Roadway Express                11500 Outlook Street                                                       CITADEL                   þ D
        International, Inc.            Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.18   Roadway Express                11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        International, Inc.            Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.19   Roadway Express                11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        International, Inc.            Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.20   Roadway Express                11500 Outlook Street                                                       UNITED STATES             þ D
        International, Inc.            Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.21   Roadway LLC                    11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.22   Roadway LLC                    11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.23   Roadway LLC                    11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.24   Roadway LLC                    11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.25   Roadway LLC                    11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.26   Roadway Next Day               11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Corporation                    Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.27   Roadway Next Day               11500 Outlook Street                                                       CITADEL                   þ D
        Corporation                    Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.28   Roadway Next Day               11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Corporation                    Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.29   Roadway Next Day               11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Corporation                    Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.30   Roadway Next Day               11500 Outlook Street                                                       UNITED STATES             þ D
        Corporation                    Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G




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            Name


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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.31   USF Bestway Inc.               11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.32   USF Bestway Inc.               11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.33   USF Bestway Inc.               11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.34   USF Bestway Inc.               11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.35   USF Bestway Inc.               11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.36   USF Dugan Inc.                 11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.37   USF Dugan Inc.                 11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.38   USF Dugan Inc.                 11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.39   USF Dugan Inc.                 11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.40   USF Dugan Inc.                 11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.41   USF Holland International 11500 Outlook Street                                                            CHUBB GROUP               ¨ D
        Sales Corporation         Suite 400                                                                                                 þ E/F
                                  Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.42   USF Holland International 11500 Outlook Street                                                            CITADEL                   þ D
        Sales Corporation         Suite 400                                                                                                 ¨ E/F
                                  Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.43   USF Holland International 11500 Outlook Street                                                            CITIZENS BUSINESS         þ D
        Sales Corporation         Suite 400                                                                       CAPITAL                   ¨ E/F
                                  Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.44   USF Holland International 11500 Outlook Street                                                            LIBERTY MUTUAL            ¨ D
        Sales Corporation         Suite 400                                                                       GROUP                     þ E/F
                                  Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.45   USF Holland International 11500 Outlook Street                                                            UNITED STATES             þ D
        Sales Corporation         Suite 400                                                                       DEPARTMENT OF             ¨ E/F
                                  Overland Park, KS 66211                                                         TREASURY
                                                                                                                                            ¨ G



 2.46   USF Holland LLC                11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.47   USF Holland LLC                11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.48   USF Holland LLC                11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.49   USF Holland LLC                11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.50   USF Holland LLC                11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.51   USF Reddaway Inc.              11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.52   USF Reddaway Inc.              11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.53   USF Reddaway Inc.              11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.54   USF Reddaway Inc.              11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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            Name


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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.55   USF Reddaway Inc.              11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.56   USF RedStar LLC                11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.57   USF RedStar LLC                11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.58   USF RedStar LLC                11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.59   USF RedStar LLC                11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.60   USF RedStar LLC                11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.61   Yellow Corporation             11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.62   Yellow Corporation             11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.63   Yellow Corporation             11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.64   Yellow Corporation             11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.65   Yellow Corporation             11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.66   Yellow Freight Corporation 11500 Outlook Street                                                           CHUBB GROUP               ¨ D
                                   Suite 400                                                                                                þ E/F
                                   Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.67   Yellow Freight Corporation 11500 Outlook Street                                                           LIBERTY MUTUAL            ¨ D
                                   Suite 400                                                                      GROUP                     þ E/F
                                   Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.68   YRC Association                11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Solutions, Inc.                Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.69   YRC Association                11500 Outlook Street                                                       CITADEL                   þ D
        Solutions, Inc.                Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.70   YRC Association                11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Solutions, Inc.                Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.71   YRC Association                11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Solutions, Inc.                Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.72   YRC Association                11500 Outlook Street                                                       UNITED STATES             þ D
        Solutions, Inc.                Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.73   YRC Enterprise Services,       11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Inc.                           Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.74   YRC Enterprise Services,       11500 Outlook Street                                                       CITADEL                   þ D
        Inc.                           Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.75   YRC Enterprise Services,       11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Inc.                           Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.76   YRC Enterprise Services,       11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Inc.                           Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.77   YRC Enterprise Services,       11500 Outlook Street                                                       UNITED STATES             þ D
        Inc.                           Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.78   YRC Freight Canada             11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Company                        Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.79   YRC Freight Canada             11500 Outlook Street                                                       CITADEL                   þ D
        Company                        Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.80   YRC Freight Canada             11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Company                        Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.81   YRC Freight Canada             11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Company                        Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.82   YRC Freight Canada             11500 Outlook Street                                                       UNITED STATES             þ D
        Company                        Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.83   YRC Inc.                       11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.84   YRC Inc.                       11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.85   YRC Inc.                       11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.86   YRC Inc.                       11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.87   YRC Inc.                       11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.88   YRC International              11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Investments, Inc.              Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.89   YRC International              11500 Outlook Street                                                       CITADEL                   þ D
        Investments, Inc.              Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.90   YRC International              11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Investments, Inc.              Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.91   YRC International              11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Investments, Inc.              Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.92   YRC International              11500 Outlook Street                                                       UNITED STATES             þ D
        Investments, Inc.              Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.93   YRC Logistics Inc.             11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.94   YRC Logistics Inc.             11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




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            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

 2.95   YRC Logistics Inc.             11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.96   YRC Logistics Inc.             11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.97   YRC Logistics Inc.             11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



 2.98   YRC Logistics Services,        11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Inc.                           Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



 2.99   YRC Logistics Services,        11500 Outlook Street                                                       CITADEL                   þ D
        Inc.                           Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.100   YRC Logistics Services,        11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Inc.                           Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.101   YRC Logistics Services,        11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Inc.                           Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.102   YRC Logistics Services,        11500 Outlook Street                                                       UNITED STATES             þ D
        Inc.                           Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                  Page 13 of 15
                                     Case 23-11083-CTG               Doc 4         Filed 09/12/23            Page 647 of 649
   Debtor   Yellow Logistics, Inc.                                                               Case number (If known):   23-11083 (CTG)
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

2.103   YRC Mortgages, LLC             11500 Outlook Street                                                       CHUBB GROUP               ¨ D
                                       Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.104   YRC Mortgages, LLC             11500 Outlook Street                                                       CITADEL                   þ D
                                       Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.105   YRC Mortgages, LLC             11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
                                       Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.106   YRC Mortgages, LLC             11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
                                       Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.107   YRC Mortgages, LLC             11500 Outlook Street                                                       UNITED STATES             þ D
                                       Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



2.108   YRC Regional                   11500 Outlook Street                                                       CHUBB GROUP               ¨ D
        Transportation, Inc.           Suite 400                                                                                            þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.109   YRC Regional                   11500 Outlook Street                                                       CITADEL                   þ D
        Transportation, Inc.           Suite 400                                                                                            ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.110   YRC Regional                   11500 Outlook Street                                                       CITIZENS BUSINESS         þ D
        Transportation, Inc.           Suite 400                                                                  CAPITAL                   ¨ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                  Page 14 of 15
                                     Case 23-11083-CTG               Doc 4         Filed 09/12/23            Page 648 of 649
   Debtor   Yellow Logistics, Inc.                                                               Case number (If known):   23-11083 (CTG)
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                        Mailing address                                                              Name                   Check all schedules
                                                                                                                                            that apply:

2.111   YRC Regional                   11500 Outlook Street                                                       LIBERTY MUTUAL            ¨ D
        Transportation, Inc.           Suite 400                                                                  GROUP                     þ E/F
                                       Overland Park, KS 66211
                                                                                                                                            ¨ G



2.112   YRC Regional                   11500 Outlook Street                                                       UNITED STATES             þ D
        Transportation, Inc.           Suite 400                                                                  DEPARTMENT OF             ¨ E/F
                                       Overland Park, KS 66211                                                    TREASURY
                                                                                                                                            ¨ G



2.113                                                                                                                                       ¨ D
                                                                                                                                            ¨ E/F
                                                                                                                                            ¨ G



2.114                                                                                                                                       ¨ D
                                                                                                                                            ¨ E/F
                                                                                                                                            ¨ G



2.115                                                                                                                                       ¨ D
                                                                                                                                            ¨ E/F
                                                                                                                                            ¨ G



2.116                                                                                                                                       ¨ D
                                                                                                                                            ¨ E/F
                                                                                                                                            ¨ G



2.117                                                                                                                                       ¨ D
                                                                                                                                            ¨ E/F
                                                                                                                                            ¨ G



2.118                                                                                                                                       ¨ D
                                                                                                                                            ¨ E/F
                                                                                                                                            ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                  Page 15 of 15
                                Case 23-11083-CTG                   Doc 4           Filed 09/12/23               Page 649 of 649
  Fill in this information to identify the case and this filing:


   Debtor name Yellow Logistics, Inc.


   United States Bankruptcy Court for the: District of Delaware

   Case number (If known) 23-11083 (CTG)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 09/11/2023                                    X /s/ Daniel L. Olivier
                       MM / DD / YYYY                                Signature of individual signing on behalf of debtor



                                                                     Daniel L. Olivier
                                                                     Printed name

                                                                     Chief Financial Officer
                                                                     Position or relationship to debtor




   Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
